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                              Schedule 1
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                                                                                                  Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                                  Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                Link                 Multiple Works Asserted as
      Ex. No.                                                                                                                                                                                                                    Part of Same Compilation
Ex. 1          (515)                                    Slipknot                                 6187      2         SR0000330440        PX-3462 (RC)        PA0001062108       PX-645 (RC)    Same album identified on both                 X
                                                                                                                                         PX-7185 (PC)                           PX-4608 (PC)   certificates
Ex. 2            1234                                   Feist                                    4142      1933      SR0000406935        PX-2386 (RC)        PA0001692663       PX-2818 (RC)   Same artist identified on both
                                                                                                                                         PX-7384 (PC)                           PX-5365 (PC)   certificates
Ex. 3            1985                                   Bowling For Soup                         3078      1399      SR0000361081        PX-1597 (RC)        PA0001159762       PX-2732 (RC)   Same album identified on both                 X
                                                                                                                                         PX-7260 (PC)                           PX-4863 (PC)   certificates
Ex. 4            2024                                   Cage The Elephant                        1099      607       SR0000703665        PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                         PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 5            #Beautiful                             Mariah Carey                             4929      1563      SR0000750755        PX-1925 (RC)        PA0001888760       PX-2943 (RC)   Same artist identified on both
                                                                                                                                         PX-7965 (PC)                           PX-6367 (PC)   certificates
Ex. 6            (I've Just Begun) Having My Fun        Britney Spears                           3095      1562      SR0000361774        PX-1599 (RC)        PA0001287638       PX-2637 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7262 (PC)                           PX-4955 (PC)   certificates
Ex. 7            (Oh No) What You Got                   Justin Timberlake                        3158      2459      SR0000319834        PX-1563 (RC)        PA0001149533       PX-3803 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7163 (PC)                                          certificates
Ex. 8            (One Of Those) Crazy Girls             Paramore                                 5788      2460      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist and album                         X
                                                                                                                                         PX-7850 (PC)                                          identified on both certificates
Ex. 9            (sic)                                  Slipknot                                 6188      3         SR0000301094        PX-3461 (RC)        PA0001040104       PX-4585 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7118 (PC)                                          certificates
Ex. 10           ***Flawless (Explicit)                 Beyoncé                                  773       2620      SR0000747291        PX-1834 (RC)        PA0001918122       PX-6469 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7956 (PC)                                          certificates
Ex. 11           03' Bonnie & Clyde                     JAY-Z                                    4422      1215      SR0000322448        PX-7172 (PC)        PA0001147399       PX-2431 (PC)   Same artist identified on both
                                                                                                                                                                                PX-4785 (PC)   certificates
Ex. 12           1 Mo Time                              Plies                                    5826      2402      SR0000612286        PX-3452 (RC)        PA0001765676       PX-3970 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7402 (PC)                                          certificates
Ex. 13           1+1                                    Beyoncé                                  774       2461      SR0000683948        PX-1715 (RC)        PA0001861929       PX-3546 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7681 (PC)                                          certificates
Ex. 14           10 Days Late                           Third Eye Blind                          6113      491       SR0000278241        PX-3485 (RC)        PA0000986880       PX-4507 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7078 (PC)                                          certificates
Ex. 15           100 Yard Dash                          Raphael Saadiq                           2616      1953      SR0000619872        PX-1658 (RC)        PA0001612668       PX-5144 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7452 (PC)                                          certificates
Ex. 16           1st Of Tha Month                       Bone Thugs-N-Harmony                     888       1995      SR0000225335        PX-1434 (RC)        PA0000782831       PX-4322 (PC)   Same artist identified on both                X
                                                                                                                                         PX-6999 (PC)        SRu000005339                      certificates
Ex. 17           1st Time (feat. Marques Houston)       Yung Joc                                 5993      2031      SR0000393525        PX-3300 (RC)        PA0001347989       PX-5028 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7346 (PC)                                          certificates
Ex. 18           2 Of Amerikaz Most Wanted (Explicit)   2Pac                                     3508      1028      SR0000628433        PX-2127 (RC)        PA0001070596       PX-2420 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7495 (PC)                           PX-4633 (PC)   certificates
Ex. 19           2 On                                   Tinashe feat. Schoolboy Q                2884      606       SR0000763606        PX-7985 (PC)        PA0001910781       PX-6437 (PC)   Same artist identified on both
                                                                                                                                                                                               certificates
Ex. 20           2 Reasons (feat. T.I.)                 Trey Songz                               5909      3006      SR0000715080        PX-3296 (RC)        PA0001865859       PX-4028 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7805 (PC)                                          certificates
Ex. 21           25 To Life                             Eminem                                   3999      1029      SR0000653572        PX-2087 (RC)        PA0001730984       PX-2805 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7573 (PC)                           PX-5526 (PC)   certificates
Ex. 22           3 a.m.                                 Eminem                                   4000      3163      SR0000633152        PX-2378 (RC)        PA0001848044       PX-951 (RC)    Same artist identified on both                X
                                                                                                                                         PX-7513 (PC)        PA0001707168       PX-5441 (PC)   certificates (Eminen is the
                                                                                                                                                                                PX-6202 (PC)   psudonym of Marshall
                                                                                                                                                                                               Mathers) see PX-2705
Ex. 23           3AM                                    Matchbox Twenty                          5720      329       SR0000227755        PX-3294 (RC)        PA0000844647       PX-4369 (PC)   Same artist and album                         X
                                                                                                                                         PX-7003 (PC)                                          identified on both certificates
Ex. 24           4 Real                                 Avril Lavigne                            754       1564      SR0000680182        PX-1709 (RC)        PA0001742275       PX-2684 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7668 (PC)                           PX-5633 (PC)   certificates
Ex. 25           4 Years Old                            Chris Brown                              1248      3119      SR0000711816        PX-1742 (RC)        PA0001842281       PX-3633 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7791 (PC)                           PX-6179 (PC)   certificates
Ex. 26           400 Lux                                Lorde                                    4889      190       SR0000732619        PX-1912 (RC)        PA0002007289       PX-6584 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7896 (PC)                                          certificates
Ex. 27           50 Ways To Say Goodbye                 Train                                    2886      4         SR0000700152        PX-1724 (RC)        PA0001799437       PX-5923 (PC)                                                 X
                                                                                                                                         PX-7727 (PC)
Ex. 28           8 Mile                                 Eminem                                   4001      1830      SR0000322706        PX-2224 (RC)        PA0001204555       PX-3130 (PC)   Same album identified on both                 X
                                                                                                                                         PX-7174 (PC)                                          certificates
Ex. 29           9 Piece                                Rick Ross                                5131      608       SR0000677844        PX-1971 (RC)        PA0001864281       PX-6283 (PC)
                                                                                                                                         PX-7656 (PC)

   Abbreviation Key:
   PC - U.S. Copyright Office Public Catalog Entry
                                                                                    Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
   RC - Registration Certificate                                                                                                1
   SR - Sound Recording
   MC - Musical Composition
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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                 Track                                   Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 30         A Baltimore Love Thing               50 Cent                                  3541      574       SR0000366051        PX-2111 (RC)        PA0001160841       PX-741 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7275 (PC)                           PX-4907 (PC)   certificates
Ex. 31          A Capella (Something's Missing)     Brandy                                   996       609       SR0000622255        PX-1665 (RC)        PA0001821297       PX-1133 (RC)                                                 X
                                                                                                                                     PX-7474 (PC)                           PX-6077 (PC)
Ex. 32          A Fool's Dance                      Phillip Phillips                         5089      1031      SR0000712841        PX-1963 (RC)        PA0001839497       PX-2997 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7795 (PC)                           PX-6165 (PC)   certificates
Ex. 33          A Girl Like Me                      Rihanna                                  5168      903       SR0000387137        PX-2333 (RC)        PA0001164298       PX-8259 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7332 (PC)                                          certificates
Ex. 34          A Kiss                              Bad Meets Evil                           3702      1032      SR0000678636        PX-2135 (RC)        PA0001784201       PX-2705 (RC)   Same artist-affiliated entities               X
                                                                                                                                     PX-7662 (PC)                           PX-5863 (PC)   identified on both certificates
Ex. 35          A Moment To Myself                  Macy Gray                                2135      358       SR0000267460        PX-1510 (RC)        PA0000986838       PX-4506 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7060 (PC)                                          certificates
Ex. 36          A Name In This Town                 Josh Thompson                            1925      611       SR0000652025        PX-1689 (RC)        PA0001777805       PX-1058 (RC)   Same artist identifed on both                 X
                                                                                                                                     PX-7569 (PC)                           PX-5819 (PC)   certificates
Ex. 37          A Night Like This                   The Cure                                 6095      1801      SR0000065872        PX-3480 (RC)        PA0000279380       PX-2477 (PC)   Same artist identified on both                X
                                                                                                                                     PX-6821 (PC)                           PX-4193 (PC)   certificates
Ex. 38          A Question Mark                     Elliott Smith                            3972      1238      SR0000241677        PX-2223 (RC)        PA0000943571       PX-3139 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7012 (PC)                           PX-4453 (PC)   certificates
Ex. 39          A Welcome Burden                    Disturbed                                6344      2463      SR0000685183        PX-3355 (RC)        PA0001059185       PX-3510 (RC)                                                 X
                                                                                                                                     PX-7684 (PC)
Ex. 40          Aberdeen                            Cage The Elephant                        1100      612       SR0000703665        PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                     PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 41          Above The Law                       Bad Meets Evil                           3703      3076      SR0000678636        PX-2135 (RC)        PA0001808400       PX-3540 (RC)   Same record label identified on               X
                                                                                                                                     PX-7662 (PC)                           PX-5990 (PC)   both certificates
Ex. 42          Ace In The Hole                     George Strait                            4222      1239      SR0000100975        PX-2230 (RC)        PA0000419894       PX-2494 (PC)   Same artist identified on both                X
                                                                                                                                     PX-6869 (PC)                           PX-4220 (PC)   certificates
Ex. 43          Achilles Last Stand                 Led Zeppelin                             5681      2464      N31545              PX-8048 (card)      Eu0000655755       PX-4115 (PC)   Same song writers identified                  X
                                                                                                                                                         RE0000895725       PX-8119 (PC)   on both certificates
Ex. 44          Achy Breaky Song                    Weird Al Yankovic                        3021      957       SR0000184456        PX-6919 (PC)        PA0000713892       PX-2515 (RC)   Same artist identified on both                X
                                                                                                                                                                            PX-4279 (PC)   certificates
Ex. 45          Ack Like You Know                   Flo Rida                                 5540      613       SR0000629161        PX-3314 (RC)        PA0001644889       PX-5242 (PC)   Same artist and album                         X
                                                                                                                                     PX-7498 (PC)                                          identified on both certificates
Ex. 46          Across The World                    Pitbull featuring B.O.B.                 2588      380       SR0000641804        PX-1683 (RC)        PA0001706677       PX-941 (RC)                                                  X
                                                                                                                                     PX-7542 (PC)                           PX-5430 (PC)
Ex. 47          Addicted                            Simple Plan                              5879      2465      SR0000351060        PX-3457 (RC)        PA0001084656       PX-4010 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7235 (PC)                                          certificates
Ex. 48          Adorn                               Miguel                                   2246      1565      SR0000709268        PX-1736 (RC)        PA0001899234       PX-2960 (RC)   Same artist identified on both
                                                                                                                                     PX-7775 (PC)                                          certificates
Ex. 49          Adrenaline Rush (Explicit)          Obie Trice                               5053      1566      SR0000322706        PX-2224 (RC)        PA0001145821       PX-2988 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7174 (PC)                           PX-4782 (PC)   certificates
Ex. 50          Afrodisiac                          Brandy                                   5449      2466      SR0000370673        PX-3289 (RC)        PA0001236712       PX-3607 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7283 (PC)                           PX-8173 (PC)   certificates
Ex. 51          A-hole                              Bowling For Soup                         3079      1400      SR0000361081        PX-1597 (RC)        PA0001159770       PX-2593 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7260 (PC)                           PX-4870 (PC)   certificates
Ex. 52          Ain't It The Life                   Foo Fighters                             1467      1567      SR0000285034        PX-1522 (RC)        PA0001693327       PX-3186 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7083 (PC)                           PX-5379 (PC)   certificates
Ex. 53          Ain't No Rest for the Wicked        Cage The Elephant                        1101      614       SR0000615871        PX-7428 (PC)        PA0001794291       PX-1093 (RC)   Same album identified on both
                                                                                                                                                                            PX-5914 (PC)   certificates
Ex. 54          Airstream Song                      Miranda Lambert                          2275      615       SR0000641403        PX-1681 (RC)        PA0001682737       PX-910 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7540 (PC)                           PX-5329 (PC)   certificates
Ex. 55          Alejandro                           Lady Gaga                                4687      616       SR0000642917        PX-1886 (RC)        PA0001751975       PX-1018 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7552 (PC)                           PX-5677 (PC)   certificates
Ex. 56          Alice                               Avril Lavigne                            755       1568      SR0000680182        PX-1709 (RC)        PA0001728745       PX-2685 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7668 (PC)                           PX-5497 (PC)   certificates
Ex. 57          All About Tonight                   Blake Shelton                            6257      492       SR0000668677        PX-3319 (RC)        PA0001716538       PX-5455 (PC)                                                 X
                                                                                                                                     PX-7615 (PC)
Ex. 58          All Alone                           fun.                                     6152      3245      SR0000704930        PX-3416 (RC)        PA0001791456       PX-1116 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7752 (PC)        PA0001810597       PX-6001 (PC)   certificates



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  RC - Registration Certificate                                                                                             2
  SR - Sound Recording
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                                                                                                 Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                       Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 59         All Alright                              fun.                                    6153      3246      SR0000704930        PX-3416 (RC)        PA0001791457       PX-1118 (RC)   Same artist identified on both               X
                                                                                                                                        PX-7752 (PC)        PA0001810599       PX-5909 (PC)   certificates
                                                                                                                                                                               PX-6003 (PC)
Ex. 60           All Around The World                   Justin Bieber                           4504      617       SR0000710074        PX-2204 (RC)        PA0001850389       PX-6227 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7784 (PC)                                          certificates
Ex. 61           All Back                               Chris Brown                             1249      1570      SR0000679366        PX-1708 (RC)        PA0001750523       PX-2751 (RC)                                                X
                                                                                                                                        PX-7667 (PC)                           PX-5670 (PC)
Ex. 62           All Black Everything                   Lupe Fiasco                             5692      1241      SR0000704469        PX-3291 (RC)        PA0001740713       PX-2918 (RC)   Same artist identified on both               X
                                                                                                                                        PX-7747 (PC)                           PX-5619 (PC)   certificates
Ex. 63           All I Have In This World               Rick Ross                               5132      1033      SR0000642144        PX-1972 (RC)        PA0001639922       PX-5192 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7549 (PC)                                          certificates
Ex. 64           All I Have To Give                     Backstreet Boys                         3065      1401      SR0000250678        PX-1452 (RC)        PA0000859324       PX-7029 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7029 (PC)                           PX-8360 (PC)   certificates
                                                                                                                                                                               PX-8361 (PC)
                                                                                                                                                                               PX-8362 (PC)
                                                                                                                                                                               PX-8363 (PC)
Ex. 65           All I Need                             Matchbox Twenty                         5721      5         SR0000345857        PX-7223 (PC)        PA0001104579       PX-660 (RC)    Same album identified on both                X
                                                                                                                                                                               PX-4711 (PC)   certificates
Ex. 66           All I Really Want (Explicit)           Rick Ross                               5133      618       SR0000631749        PX-1973 (RC)        PA0001748296       PX-1013 (RC)   Same artist identified on both
                                                                                                                                        PX-7509 (PC)                           PX-5654 (PC)   certificates
Ex. 67           All I Want For Christmas Is You        Justin Bieber                           4505      1034      SR0000704701        PX-7749 (PC)        PA0001780229       PX-3273 (RC)                                                X
                 (SuperFestive!) Duet with Mariah Carey                                                                                                                        PX-5839 (PC)

Ex. 68           All I Want Is You                      Justin Bieber                           4506      1571      SR0000704701        PX-7749 (PC)        PA0001780224       PX-5837 (PC)   Same artist identified on both               X
                                                                                                                                                                                              certificates
Ex. 69           All I Wanted                           Paramore                                5789      2469      SR0000657157        PX-3450 (RC)        PA0001676908       PX-3953 (RC)   Same artist identified on both               X
                                                                                                                                        PX-7587 (PC)                                          certificates
Ex. 70           All I Wanted Was a Car                 Brad Paisley                            81        6         SR0000610946        PX-1650 (RC)        PA0001167812       PX-788 (RC)    Same artist identified on both               X
                                                                                                                                        PX-7398 (PC)                           PX-8210 (PC)   certificates
Ex. 71           All Kinds of Kinds                     Miranda Lambert                         2276      2036      PA0001805349        PX-1495 (RC)        PA0001789995       PX-5902 (PC)   Same artist identified on both               X
                                                                                                                                        PX-5935 (PC)                                          certificates
Ex. 72           All My Life                            Flo Rida                                5541      362       SR0000629161        PX-3314 (RC)        PA0001644944       PX-5245 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7498 (PC)                                          certificates
Ex. 73           All My Love                            Led Zeppelin                            5682      2472      SR0000013105        PX-3430 (RC)        PA0000078104       PX-4152 (PC)   Same album identified on both                X
                                                                                                                                        PX-6691 (PC)                                          certificates
Ex. 74           All Of The Lights                      Kanye West                              4536      2037      SR0000683430        PX-7679 (PC)        PA0001791088       PX-5906 (PC)   Same artist identified on both               X
                                                                                                                                                                                              certificates
Ex. 75           All Of The Lights (Interlude)          Kanye West                              4537      2038      SR0000683430        PX-7679 (PC)        PA0001791088       PX-5906 (PC)   Same artist identified on both               X
                                                                                                                                                                                              certificates
Ex. 76           All Over Me                            Josh Turner                             4457      381       SR0000645586        PX-2314 (RC)        PA0001732490       PX-5552 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7561 (PC)                                          certificates
Ex. 77           All Over The Road                      Easton Corbin                           3923      2449      SR0000709974        PX-2076 (RC)        PA0001859563       PX-3557 (RC)   Same album identified on both                X
                                                                                                                                        PX-7783 (PC)                           PX-3566 (RC)   certificates
Ex. 78           All Summer Long                        Kid Rock                                5669      2039      SR0000622796        PX-3332 (RC)        PA0001643681       PX-5231 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7477 (PC)                                          certificates
Ex. 79           All That I Am                          Rob Thomas                              5841      7         SR0000373876        PX-3453 (RC)        PA0001161185       PX-744 (RC)    Same artist identified on both               X
                                                                                                                                        PX-7291 (PC)                           PX-4921 (PC)   certificates
Ex. 80           All The Money In The World             Rick Ross                               5134      619       SR0000656701        PX-1974 (RC)        PA0001821914       PX-6088 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7581 (PC)                                          certificates
Ex. 81           All The Time                           Green Day                               6476      2475      SR0000244558        PX-3367 (RC)        PA0001059863       PX-4602 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7016 (PC)                                          certificates
Ex. 82           All Your Reasons                       Matchbox Twenty                         5722      8         SR0000633456        PX-3433 (RC)        PA0001588610       PX-796 (RC)                                                 X
                                                                                                                                        PX-7515 (PC)                           PX-5081 (PC)
Ex. 83           All-American Girl                      Carrie Underwood                        1134      3107      SR0000627157        PX-1670 (RC)        PA0001590017       PX-804 (RC)    Same artist identified on both               X
                                                                                                                                        PX-7487 (PC)                           PX-5089 (PC)   certificates
Ex. 84           Almost                                 Bowling For Soup                        3080      1403      SR0000361081        PX-1597 (RC)        PA0001159760       PX-4861 (PC)   Same artist identified on both               X
                                                                                                                                        PX-7260 (PC)                                          certificates
Ex. 85           Almost Doesn't Count                   Brandy                                  5451      1242      SR0000256701        PX-3334 (RC)        PA0000917406       PX-2552 (RC)   Same artist identified on both               X
                                                                                                                                        PX-7040 (PC)                           PX-4441 (PC)   certificates


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                                                                                   Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                                3
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                  Schedule 1 - Derivative Works with Unique Track Names



Cox Submission               Track                                       Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Same Compilation
Ex. 86         Almost Famous                           Eminem                                    4002      1036      SR0000653572        PX-2087 (RC)        PA0001730979       PX-2806 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7573 (PC)                           PX-5524 (PC)   certificates
Ex. 87          Alone                                  Trey Songz                                5910      3137      SR0000671697        PX-3298 (RC)        PA0001856241       PX-5872 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7631 (PC)        PA0001786329       PX-6249 (PC)   certificates
Ex. 88          Already Gone                           Puddle Of Mudd                            5103      2476      SR0000347741        PX-7229 (PC)        PA0001249431       PX-3982 (RC)   Same artist identified on both                X
                                                                                                                                                                                               certificates
Ex. 89          Always Been Me                         Josh Thompson                             1926      620       SR0000652025        PX-1689 (RC)        PA0001777807       PX-1060 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7569 (PC)                           PX-5821 (PC)   certificates
Ex. 90          Always Something                       Cage The Elephant                         1102      621       SR0000703665        PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                         PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 91          Am I Ever Gonna Find Out               Lifehouse                                 4797      382       SR0000321812        PX-1903 (RC)        PA0001104897       PX-665 (RC)    Same album identified on both                 X
                                                                                                                                         PX-7167 (PC)                           PX-4717 (PC)   certificates
Ex. 92          Amazin'                                Young Jeezy                               5418      493       SR0000616586        PX-2339 (RC)        PA0001640767       PX-869 (RC)    Same artist identified on both                X
                                                                                                                                         PX-7430 (PC)                           PX-5205 (PC)   certificates
Ex. 93          Amen (feat. Drake)                     Meek Mill                                 5774      2477      SRu001109021        PX-3492 (RC)        PA0001842305       PX-3907 (RC)   Same artist identified on both
                                                                                                                                         PX-8001 (PC)                                          certificates
Ex. 94          American Idiot                         Green Day                                 6477      2479      SR0000362126        PX-3371 (RC)        PA0001251385       PX-3755 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7264 (PC)                                          certificates
Ex. 95          American Saturday Night                Brad Paisley                              955       2450      SR0000639650        PX-1677 (RC)        PA0001674346       PX-5313 (PC)   Same artist and album                         X
                                                                                                                                         PX-7535 (PC)                                          identified on both certificates
Ex. 96          American Superstar (feat. Lil Wayne)   Flo Rida                                  5542      3197      SR0000629161        PX-3314 (RC)        PA0001638917       PX-5187 (PC)   Same artist and album                         X
                                                                                                                                         PX-7498 (PC)        PA0001644943       PX-5244 (PC)   identified on both certificates
Ex. 97          Americano                              Lady Gaga                                 4689      3198      SR0000678406        PX-1887 (RC)        PA0001757746                      Same artist identified on both                X
                                                                                                                                         PX-7657 (PC)        PA0001752324       PX-5696 (PC)   certificates
Ex. 98          Amish Paradise                         Weird Al Yankovic                         3023      958       SR0000225008        PX-6998 (PC)        PA0000809516       PX-2535 (RC)   Same artist identified on both                X
                                                                                                                                                                                PX-4357 (PC)   certificates
Ex. 99          Amity                                  Elliott Smith                             3973      1244      SR0000241677        PX-2223 (RC)        PA0000943572       PX-3140 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7012 (PC)                           PX-4454 (PC)   certificates
Ex. 100         And I                                  Ciara                                     3143      196       SR0000355316        PX-1594 (RC)        PA0001159779       PX-733 (RC)    Same artist and album                         X
                                                                                                                                         PX-7247 (PC)                           PX-4878 (PC)   identified on both certificates
Ex. 101         Angel Eyes                             Love and Theft                            2119      198       PA0001922065        PX-1496 (RC)        PA0001810572       PX-5997 (PC)
                                                                                                                                         PX-6477 (PC)
Ex. 102         Angel Flying Too Close To The Ground Willie Nelson                               3001      572       SR0000033917        PX-1296 (RC)        PA0000049322       PX-1235 (RC)   Same artist identified on both
                                                                                                                                         PX-6739 (PC)                           PX-4145 (PC)   certificates
Ex. 103         Anger                                  Marvin Gaye                               4980      604       SR0000005020        PX-2303 (RC)        PA0000041233       PX-1234 (RC)   Same artist and album
                                                                                                                                         PX-8043 (PC)                           PX-4132 (PC)   identified on both certificates
                                                                                                                                         PX-8131 (PC)
Ex. 104         Angry                                  Matchbox Twenty                           5723      330       SR0000305708        PX-3431 (RC)        PA0001006950       PX-637 (RC)    Same artist and album                         X
                                                                                                                                         PX-7130 (PC)                           PX-4513 (PC)   identified on both certificates
                                                                                                                                                                                PX-8366 (PC)
                                                                                                                                                                                PX-8367 (PC)
Ex. 105         Animal Instinct                        The Cranberries                           5324      1958      SR0000264395        PX-2251 (RC)        PA0000968355       PX-2557 (RC)   Same artist and album                         X
                                                                                                                                         PX-7056 (PC)                           PX-4481 (PC)   identified on both certificates
Ex. 106         Anklebiters                            Paramore                                  5790      2480      SR0000724441        PX-3451 (RC)        PA0001854436       PX-3959 (RC)   Same artist and album                         X
                                                                                                                                         PX-7850 (PC)                                          identified on both certificates
Ex. 107         Anna Begins                            Counting Crows                            3892      383       SR0000345378        PX-2221 (RC)        PA0000708858       PX-4275 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7220 (PC)                           PX-8350 (PC)   certificates
                                                                                                                                                                                PX-8351 (PC)
Ex. 108         Another Round                          Foo Fighters                              1469      1037      SR0000377762        PX-1609 (RC)        PA0001730878       PX-2827 (RC)   Same artist and album                         X
                                                                                                                                         PX-7304 (PC)                           PX-5512 (PC)   identified on both certificates
Ex. 109         Another Try                            Josh Turner                               4459      1574      SR0000615283        PX-2313 (RC)        PA0001642916       PX-5227 (PC)   Same artist and album
                                                                                                                                         PX-8039 (PC)                                          identified on both certificates
                                                                                                                                         PX-8134 (PC)
Ex. 110         Anything (To Find You)                 Monica Featuring Rick Ross                2340      363       SR0000700530        PX-1726 (RC)        PA0001900915       PX-1211 (RC)
                                                                                                                                         PX-7730 (PC)                           PX-6428 (PC)
Ex. 111         Anything But Ordinary                  Avril Lavigne                             421       1575      SR0000312786        PX-1556 (RC)        PA0001101512       PX-3288 (RC)   Same artist and album                         X
                                                                                                                                         PX-7147 (PC)                           PX-4701 (PC)   identified on both certificates
Ex. 112         Anywhere With You                      Jake Owen                                 1781      3152      SR0000697851        PX-1721 (RC)        PA0001917492       PX-3754 (RC)   Same artist and album                         X
                                                                                                                                         PX-7714 (PC)                           PX-6464 (PC)   identified on both certificates


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                                                                                    Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                                 4
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                       Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                      Track                                  Artist                  PX-01 # PX-02 #       Reg. No. (SR)           SR Ex. No.      Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                       Part of Same Compilation
Ex. 113        Apologize                                 Timbaland                                 5364       622       SR0000411631       n/a                 PA0001708388       PX-955 (RC)                                                  X
                                                                                                                                                                                  PX-5446 (PC)
Ex. 114         Appetite                                 Usher                                     630        3071      SR0000620940       PX-1662 (RC)        PA0001699247       PX-5352 (PC)   Same artist and album                         X
                                                                                                                                           PX-7466 (PC)        PA0001687431       PX-5397 (PC)   identified on both certificates
Ex. 115         Applause                                 Lady Gaga                                 4690       3266      SR0000729225       PX-1889 (RC)        PA0001893358       PX-3828 (RC)   Same artist identified on both
                                                                                                                                           PX-7881 (PC)                           PX-6386 (PC)   certificates
Ex. 116         Apple Pie Moonshine                      Jake Owen                                 1782       2043      SR0000697851       PX-1721 (RC)        PA0001761402       PX-5744 (PC)   Same artist and album                         X
                                                                                                                                           PX-7714 (PC)        PA0001917489                      identified on both certificates
Ex. 117         Architects                               Rise Against                              5241       623       SR0000671826       PX-1992 (RC)        PA0001887807       PX-6365 (PC)
                                                                                                                                           PX-7634 (PC)
Ex. 118         Argue                                    Matchbox Twenty                           5724       331       SR0000227755       PX-3294 (RC)        PA0000844644       PX-4366 (PC)   Same artist and album                         X
                                                                                                                                           PX-7003 (PC)                                          identified on both certificates
Ex. 119         Armatage Shanks                          Green Day                                 6478       2481      SR0000188562       PX-3366 (RC)        PA0000774217       PX-4316 (PC)   Same artist and album                         X
                                                                                                                                           PX-6956 (PC)                                          identified on both certificates
Ex. 120         Around My Head                           Cage The Elephant                         1103       624       SR0000703665       PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                           PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 121         ARTPOP                                   Lady Gaga                                 4691       3267      SR0000737557       PX-1888 (RC)        PA0001893362       PX-3829 (RC)   Same artist and album                         X
                                                                                                                                           PX-7918 (PC)                           PX-6389 (PC)   identified on both certificates
Ex. 122         As Fast As I Could                       Josh Turner                               4460       1038      SR0000645586       PX-2314 (RC)        PA0001700896       PX-3167 (RC)   Same artist and album                         X
                                                                                                                                           PX-7561 (PC)                           PX-5411 (PC)   identified on both certificates
Ex. 123         As I Am (Intro)                          Alicia Keys                               7          199       SR0000627148       PX-1668 (RC)        PA0001590109       PX-808 (RC)    Same artist and album                         X
                                                                                                                                           PX-7485 (PC)                           PX-5091 (PC)   identified on both certificates
Ex. 124         As Long As You Love Me                   Justin Bieber                             4507       625       SR0000710074       PX-2204 (RC)        PA0001834758       PX-6149 (PC)   Same artist identified on both                X
                                                                                                                                           PX-7784 (PC)                                          certificates
Ex. 125         As You Turn Away                         Lady Antebellum                           3412       2044      SR0000686148       PX-2196 (RC)        PA0001817433       PX-6050 (PC)   Same artist and album                         X
                                                                                                                                           PX-2372 (RC)                                          identified on both certificates
                                                                                                                                           PX-7690 (PC)
Ex. 126         Ass Like That                            Eminem                                    4003       3007      SR0000364769       PX-2283 (RC)        PA0001284525       PX-3687 (RC)   Same artist and album                         X
                                                                                                                                           PX-2376 (RC)                           PX-4954 (PC)   identified on both certificates
                                                                                                                                           PX-7273 (PC)
Ex. 127         Aston Martin Music                       Rick Ross                                 5135       626       SR0000656701       PX-1974 (RC)        PA0001821912       PX-1142 (RC)   Same artist and album                         X
                                                                                                                                           PX-7581 (PC)                                          identified on both certificates
Ex. 128         Astronaut Chick                          Future                                    1592       1577      SR0000701457       PX-1728 (RC)        PA0001856280       PX-2851 (RC)   Same artist identified on both                X
                                                                                                                                           PX-7734 (PC)                           PX-6255 (PC)   certificates
Ex. 129         Attention                                Avant featuring Snoop Dogg                3235       200       SR0000648878       PX-2188 (RC)        PA0001621899       PX-5151 (PC)   Same artist identified on both                X
                                                                                                                                           PX-7563 (PC)                                          certificates
Ex. 130         Aura                                     Lady Gaga                                 4692       627       SR0000737557       PX-1888 (RC)        PA0001941105       PX-6500 (PC)   Same artist identified on both                X
                                                                                                                                           PX-7918 (PC)                                          certificates
Ex. 131         Aurora                                   Foo Fighters                              1470       1578      SR0000285034       PX-1522 (RC)        PA0001693316       PX-3185 (RC)   Same artist and album                         X
                                                                                                                                           PX-7083 (PC)                           PX-5375 (PC)   identified on both certificates
Ex. 132         AV                                       Avant                                     3649       1406      SR0000339561       PX-2110 (RC)        PA0001158617       PX-4810 (PC)   Same artist and album                         X
                                                                                                                                           PX-7203 (PC)                                          identified on both certificates
Ex. 133         Available (feat. Akon)                   Flo Rida                                  5543       629       SR0000658178       PX-3306 (RC)        PA0001807827       PX-1106 (RC)   Same artist identified on both                X
                                                                                                                                           PX-7589 (PC)                           PX-5979 (PC)   certificates
Ex. 134         Avarice                                  Disturbed                                 6345       2482      SR0000380289       PX-3351 (RC)        PA0001352640       PX-8015 (PC)   Same artist and album                         X
                                                                                                                                           PX-7313 (PC)        PA0001296201       PX-8400 (PC)   identified on both certificates
                                                                                                                                                                                  PX-8401 (PC)
Ex. 135         Aw Naw                                   Chris Young                               1290       2451      SR0000726910       PX-1777 (RC)        PA0001887674       PX-3641 (RC)   Same artist identified on both
                                                                                                                                           PX-7864 (PC)                                          certificates
Ex. 136         Awaken                                   Disturbed                                 6346       2483      SR0000316958       PX-3348 (RC)        PA0001111236       PX-3511 (RC)   Same artist and album                         X
                                                                                                                                           PX-7156 (PC)                           PX-3558 (RC)   identified on both certificates
                                                                                                                                                                                  PX-3559 (RC)
Ex. 137         B.M.F. (Blowin' Money Fast) (Explicit)   Rick Ross                                 5136       630       SR0000656701       PX-1974 (RC)        PA0001821909       PX-6087 (PC)   Same artist and album                         X
                                                                                                                                           PX-7581 (PC)                                          identified on both certificates
Ex. 138         B.O.B. (Explicit)                        OutKast                                   581        9         SR0000306741       PX-1550 (RC)        PA0001039708       PX-8231 (PC)   Same artist and album                         X
                                                                                                                                           PX-7134 (PC)                                          identified on both certificates
Ex. 139         Bab's Uvula Who?                         Green Day                                 6479       2484      SR0000188562       PX-3366 (RC)        PA0000774217       PX-4316 (PC)   Same artist and album                         X
                                                                                                                                           PX-6956 (PC)                                          identified on both certificates
Ex. 140         Baby Britain                             Elliott Smith                             3974       1246      SR0000241677       PX-2223 (RC)        PA0000943582       PX-3141 (PC)   Same artist and album                         X
                                                                                                                                           PX-7012 (PC)                           PX-4463 (PC)   identified on both certificates

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  RC - Registration Certificate                                                                                                   5
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                      Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 141        Baby You Belong                         Faith Hill                              6407      2486      SR0000321377        PX-3358 (RC)        PA0001147137       PX-3709 (RC)   Same artist and album                         X
                                                                                                                                       PX-7165 (PC)                                          identified on both certificates
Ex. 142         Baby, I Go Crazy                       Josh Turner                             4461      1579      SR0000621056        PX-2061 (RC)        PA0001642909       PX-5225 (PC)   Same artist identified on both
                                                                                                                                       PX-7468 (PC)                                          certificates
Ex. 143         Back 2 Good (Remastered Version)       Matchbox Twenty                         5725      313       SR0000633456        PX-3433 (RC)        PA0000844646       PX-4368 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7515 (PC)                                          certificates
Ex. 144         Back Against The Wall                  Cage The Elephant                       1104      631       SR0000631003        PX-1674 (RC)        PA0001794291       PX-1093 (RC)   Same artist and album                         X
                                                                                                                                       PX-7507 (PC)                           PX-5914 (PC)   identified on both certificates
Ex. 145         Back Around                            Josh Thompson                           1927      3199      SR0000652025        PX-1689 (RC)        PA0001693110       PX-5370 (PC)   Same artist and album                         X
                                                                                                                                       PX-7569 (PC)        PA0001777802       PX-5817 (PC)   identified on both certificates
Ex. 146         Back on Earth                          Ozzy Osbourne                           2424      905       SR0000247732        PX-1445 (RC)        PA0000895946       PX-4433 (PC)   Same artist and album
                                                                                                                                       PX-8428 (PC)                                          identified on both certificates
                                                                                                                                       PX-8429 (PC)
Ex. 147         Back Stabbin' Betty (Explicit)         Cage The Elephant                       1105      632       SR0000631003        PX-1674 (RC)        PA0001794291       PX-1093 (RC)   Same artist and album                         X
                                                                                                                                       PX-7507 (PC)                           PX-5914 (PC)   identified on both certificates
Ex. 148         Back To School (Mini Maggit)           Deftones                                6295      2487      SR0000288286        PX-7089 (PC)        PA0001033072       PX-4570 (PC)   Same artist and album
                                                                                                                                                                                             identified on both certificates
Ex. 149         Back To You                            Faith Hill                              6408      962       SR0000321377        PX-3358 (RC)        PA0001120340       PX-3193 (RC)   Same artist and album                         X
                                                                                                                                       PX-7165 (PC)                           PX-4752 (PC)   identified on both certificates
Ex. 150         Back When It Was                       Heather Headley                         220       384       SR0000382683        PX-1611 (RC)        PA0001321505       PX-614 (RC)    Same album identified on both                 X
                                                                                                                                       PX-7318 (PC)                           PX-5007 (PC)   certificates
Ex. 151         backagain                              Musiq Soulchild                         5775      359       SR0000706644        PX-3435 (RC)        PA0001395994       PX-5071 (PC)   Same artist and album                         X
                                                                                                                                       PX-7764 (PC)                                          identified on both certificates
Ex. 152         Bad Blood                              Bastille                                3236      1833      SR0000753441        PX-2147 (RC)        PA0001915737       PX-2706 (RC)                                                 X
                                                                                                                                       PX-2408 (RC)                           PX-6459 (PC)
                                                                                                                                       PX-7972 (PC)
Ex. 153         Bad Day                                Fuel                                    1546      963       SR0000269920        PX-1512 (RC)        PA0001025285       PX-3178 (PC)   Same artist and album                         X
                                                                                                                                       PX-7062 (PC)                           PX-4554 (PC)   identified on both certificates
Ex. 154         Bad Decisions                          Trey Songz                              5911      2046      SR0000715080        PX-3296 (RC)        PA0001865868       PX-6292 (PC)   Same artist and album                         X
                                                                                                                                       PX-7805 (PC)                                          identified on both certificates
Ex. 155         Bad Girl                               Usher                                   345       3085      SR0000354784        PX-1591 (RC)        PA0001227184       PX-8178 (PC)   Same artist and album                         X
                                                                                                                                       PX-7243 (PC)        PA0001159548       PX-715 (RC)    identified on both certificates
                                                                                                                                                                              PX-4842 (PC)
Ex. 156         Bad Habits                             Maxwell                                 2204      633       SR0000639738        PX-1678 (RC)        PA0001707770       PX-953 (RC)    Same artist and album                         X
                                                                                                                                       PX-7536 (PC)                           PX-5443 (PC)   identified on both certificates
Ex. 157         Bad News                               Kanye West                              4539      2489      SR0000620203        PX-2067 (RC)        PA0001633768       PX-5183 (PC)   Same artist and album                         X
                                                                                                                                       PX-7462 (PC)                                          identified on both certificates
Ex. 158         Bad Romance                            Lady Gaga                               4694      634       SR0000642919        PX-1890 (RC)        PA0001751974       PX-1017 (RC)   Same artist identified on both
                                                                                                                                       PX-7553 (PC)                           PX-5676 (PC)   certificates
Ex. 159         Bagpipes From Baghdad                  Eminem                                  4004      3165      SR0000633152        PX-2378 (RC)        PA0001848045       PX-6203 (PC)   Same artist and album                         X
                                                                                                                                       PX-7513 (PC)        PA0001706495                      identified on both certificates
Ex. 160         Bang (feat. YG Hootie & Slim Dunkin)   Waka Flocka Flame                       5945      2048      SR0000672357        PX-3299 (RC)        PA0001739089       PX-4052 (RC)   Same artist and album                         X
                                                                                                                                       PX-7638 (PC)                                          identified on both certificates
Ex. 161         bang bang bang                         Christina Perri                         5528      2490      SR0000704080        PX-3411 (RC)        PA0001750215       PX-3642 (RC)   Same artist and album                         X
                                                                                                                                       PX-7742 (PC)                                          identified on both certificates
Ex. 162         Bang It Up                             Ciara                                   572       386       SR0000404728        PX-1640 (RC)        PA0001626146       PX-5174 (PC)   Same artist and album                         X
                                                                                                                                       PX-7379 (PC)                                          identified on both certificates
Ex. 163         Barry Bonds                            Kanye West                              4540      2050      SR0000615020        PX-2068 (RC)        PA0001861693       PX-6274 (PC)   Same artist and album                         X
                                                                                                                                       PX-7420 (PC)                                          identified on both certificates
Ex. 164         Basement                               Puddle Of Mudd                          5104      2491      SR0000301465        PX-1965 (RC)        PA0001075310       PX-3972 (RC)   Same artist and album                         X
                                                                                                                                       PX-2267 (RC)                           PX-8372 (PC)   identified on both certificates
                                                                                                                                       PX-7119 (PC)                           PX-8373 (PC)
Ex. 165         Basket Case                            Green Day                               6480      2492      SR0000185457        PX-3365 (RC)        PA0000713967       PX-4281 (PC)   Same album identified on both                 X
                                                                                                                                       PX-6953 (PC)                                          certificates
Ex. 166         Bassline (Explicit)                    Chris Brown                             1250      635       SR0000711816        PX-1742 (RC)        PA0001896024       PX-1197 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7791 (PC)                           PX-6392 (PC)   certificates
Ex. 167         Bat Country                            Avenged Sevenfold                       6238      201       SR0000374368        PX-3337 (RC)        PA0001162004       PX-753 (RC)    Same artist and album                         X
                                                                                                                                       PX-7293 (PC)                           PX-4930 (PC)   identified on both certificates
Ex. 168         Battle-axe                             Deftones                                6296      2493      SR0000335169        PX-7198 (PC)        PA0001157470       PX-3498 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates

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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 169        Be (Intro)                             Common                                  3870      1041      SR0000377106        PX-2112 (RC)        PA0001302097       PX-4979 (PC)   Same artist and album                         X
                                                                                                                                      PX-7302 (PC)                                          identified on both certificates
Ex. 170         Be Alone                              Paramore                                5791      2495      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist and album                         X
                                                                                                                                      PX-7850 (PC)                                          identified on both certificates
Ex. 171         Be Alright                            Justin Bieber                           4508      1580      SR0000710074        PX-2204 (RC)        PA0001850370       PX-2900 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7784 (PC)                           PX-6224 (PC)   certificates
Ex. 172         Be Quiet And Drive (Far Away)         Deftones                                6297      2496      SR0000244493        PX-7015 (PC)        PA0000870906       PX-3502 (RC)   Same artist and album                         X
                                                                                                                                                                                            identified on both certificates
Ex. 173         Be The Lake                           Brad Paisley                            958       3129      SR0000680360        PX-1710 (RC)        PA0001743353       PX-5641 (PC)   Same artist and album                         X
                                                                                                                                      PX-7669 (PC)        PA0002004490       PX-6583 (PC)   identified on both certificates
Ex. 174         Be The One                            Hootie & The Blowfish                   5608      10        SR0000223661        PX-3423 (RC)        PA0000795267       PX-4349 (PC)   Same artist identified on both                X
                                                                                                                                      PX-6994 (PC)                                          certificates

Ex. 175         Be Your Everything                    Boys Like Girls                         919       202       SR0000717244        PX-1750 (RC)        PA0001831407       PX-1157 (RC)                                                 X
                                                                                                                                      PX-7810 (PC)                           PX-6130 (PC)
Ex. 176         Beast And The Harlot                  Avenged Sevenfold                       6239      203       SR0000374368        PX-3337 (RC)        PA0001162005       PX-754 (RC)    Same artist and album                         X
                                                                                                                                      PX-7293 (PC)                           PX-4931 (PC)   identified on both certificates
Ex. 177         Beautiful Freaks                      Hot Chelle Rae                          1676      636       SR0000412466        PX-8434 (PC)        PA0001803641       PX-5929 (PC)   Same artist and album                         X
                                                                                                                                      PX-8435 (PC)                                          identified on both certificates
Ex. 178         Beautiful Goodbye                     Maroon 5                                4932      1249      SR0000705167        PX-1928 (RC)        PA0001810814       PX-2944 (RC)   Same date of first publication                X
                                                                                                                                      PX-7755 (PC)                           PX-6012 (PC)   on both certificates
Ex. 179         Beautiful Lasers (2 Ways) (feat. MDMA) Lupe Fiasco                            5693      1250      SR0000704469        PX-3291 (RC)        PA0001739094       PX-2448 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7747 (PC)                           PX-5610 (PC)   certificates
Ex. 180         Beautiful Mess                        Diamond Rio                             208       387       SR0000319527        PX-7162 (PC)        PA0001153078       PX-4787 (PC)   Same artist and album
                                                                                                                                                          PA0001073133       PX-649 (RC)    identified on both certificates
                                                                                                                                                                             PX-8232 (PC)
Ex. 181         Beautiful People                      Chris Brown feat. Benny Benassi         1268      1043      SR0000679366        PX-1708 (RC)        PA0001750727       PX-2752 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7667 (PC)                           PX-5671 (PC)   certificates
Ex. 182         Beautiful, Dirty, Rich                Lady GaGa                               4695      637       SR0000617842        PX-1884 (RC)        PA0001685320       PX-919 (RC)    Same artist identified on both
                                                                                                                                      PX-7440 (PC)                           PX-5343 (PC)   certificates
Ex. 183         Beauty And A Beat                     Justin Bieber                           4509      1581      SR0000710074        PX-2204 (RC)        PA0001850375       PX-6226 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7784 (PC)                                          certificates
Ex. 184         Because Of Your Love                  Kenny Chesney                           286       2051      SR0000277700        PX-1519 (RC)        PA0001249901       PX-4089 (PC)   Same artist and album                         X
                                                                                                                                      PX-7076 (PC)                                          identified on both certificates
Ex. 185         Bed Of Lies                           Matchbox Twenty                         5726      314       SR0000305708        PX-3431 (RC)        PA0001006952       PX-638 (RC)    Same artist and album                         X
                                                                                                                                      PX-7130 (PC)                           PX-4515 (PC)   identified on both certificates
Ex. 186         Before I Forget                       Slipknot                                6191      12        SR0000358238        PX-3463 (RC)        PA0001231062       PX-792 (RC)    Same artist and album                         X
                                                                                                                                      PX-7253 (PC)                           PX-8177 (PC)   identified on both certificates
Ex. 187         Before I Met You                      Usher                                   632       315       SR0000620940        PX-1662 (RC)        PA0001673114       PX-5312 (PC)   Same artist and album                         X
                                                                                                                                      PX-7466 (PC)                                          identified on both certificates
Ex. 188         Beg For It                            Chris Brown                             1251      3268      SR0000679366        PX-1708 (RC)        PA0001864144       PX-6281 (PC)   Same artist and album                         X
                                                                                                                                      PX-7667 (PC)        PA0001772282       PX-1051 (RC)   identified on both certificates
                                                                                                                                                                             PX-5780 (PC)
Ex. 189         Believe                               Disturbed                               6347      2498      SR0000316958        PX-3348 (RC)        PA0001111236       PX-3511 (RC)   Same artist and album                         X
                                                                                                                                      PX-7156 (PC)                           PX-3548 (PC)   identified on both certificates
Ex. 190         Bent (Remastered Version)             Matchbox Twenty                         5727      332       SR0000633456        PX-3433 (RC)        PA0001006950       PX-637 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7515 (PC)                           PX-4513 (PC)   certificates
                                                                                                                                                                             PX-8366 (PC)
                                                                                                                                                                             PX-8367 (PC)
Ex. 191         Berzerk                               Eminem                                  4006      2499      SR0000729822        PX-2088 (RC)        PA0001863184       PX-3699 (RC)   Same artist and album
                                                                                                                                      PX-7883 (PC)                                          identified on both certificates
Ex. 192         Best For Last                         Adele                                   689       1835      SR0000616701        PX-1654 (RC)        PA0001975721       PX-3067 (PC)   Same artist and album                         X
                                                                                                                                      PX-7431 (PC)                           PX-6553 (PC)   identified on both certificates
Ex. 193         Best Friend                           Brandy                                  5459      1044      SR0000202696        PX-3303 (RC)        PA0000757400       PX-2524 (PC)   Same artist and album                         X
                                                                                                                                      PX-6971 (PC)                           PX-4298 (PC)   identified on both certificates
Ex. 194         Best Of You                           Foo Fighters                            1472      1045      SR0000734391        PX-1800 (RC)        PA0001730963       PX-2828 (RC)   Same artist identified on both
                                                                                                                                      PX-7904 (PC)                           PX-5519 (PC)   certificates
Ex. 195         Best Thing                            Usher feat. Jay-Z                       663       3120      SR0000620940        PX-1662 (RC)        PA0001690183       PX-4050 (RC)   Same artist and album                         X
                                                                                                                                      PX-7466 (PC)                           PX-5357 (PC)   identified on both certificates


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                                                                                 Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                              7
  SR - Sound Recording
  MC - Musical Composition
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                                                                                             Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                 Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)          MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Same Compilation
Ex. 196        Best Thing I Never Had               Beyoncé                                 777       3046      SR0000683948        PX-1715 (RC)        PA0001752857       PX-5703 (PC)       Same artist and album                         X
                                                                                                                                    PX-7681 (PC)                                              identified on both certificates
Ex. 197         Betrayed                            Avenged Sevenfold                       6240      204       SR0000374368        PX-3337 (RC)        PA0001162006       PX-755 (RC)        Same artist and album                         X
                                                                                                                                    PX-7293 (PC)                           PX-4932 (PC)       identified on both certificates
Ex. 198         Better Days                         Faith Hill                              6411      1582      SR0000253752        PX-7036 (PC)        PA0000877830       PX-4410 (PC)                                                     X
Ex. 199         Better In The Long Run              Miranda Lambert                         2278      2053      PA0001805349        PX-1495 (RC)        PA0001790002       PX-3914 (RC)       Same artist and album                         X
                                                                                                                                    PX-5935 (PC)                                              identified on both certificates
Ex. 200         Better Version                      Shinedown                               5855      205       SR0000342566        PX-3455 (RC)        PA0001131836       PX-679 (RC)        Same artist and album                         X
                                                                                                                                    PX-7215 (PC)                           PX-4769 (PC)       identified on both certificates
Ex. 201         Betty's a Bombshell                 Grouplove                               5592      2500      SR0000704081        PX-3418 (RC)        PA0001762863       PX-3560 (RC)       Same artist and album                         X
                                                                                                                                    PX-7744 (PC)                           PX-8404 (PC)       identified on both certificates
                                                                                                                                                                           PX-8405 (PC)
Ex. 202         Between Two Lungs                   Florence + The Machine                  4181      1836      SR0000645045        PX-2101 (RC)        PA0001892800       PX-3118 (PC)       Same artist and album                         X
                                                                                                                                    PX-7560 (PC)                           PX-6381 (PC)       identified on both certificates
Ex. 203         Beware                              Big Sean                                3718      1046      SR0000730543        PX-2145 (RC)        PA0001916151       PX-2715 (RC)       Same artist identified on both
                                                                                                                                    PX-7887 (PC)                           PX-6462 (PC)       certificates
Ex. 204         BGTY                                Ledisi                                  4772      495       SR0000611046        PX-1893 (RC)        PA0001760358       PX-1042 (RC)       Same artist identified on both                X
                                                                                                                                    PX-7399 (PC)                           PX-5734 (PC)       certificates
Ex. 205         Big Night                           Big Time Rush                           829       640       SR0000668082        PX-1694 (RC)        PA0001807064       PX-5960 (PC)       Same date of first publication                X
                                                                                                                                    PX-7613 (PC)                                              on both certificates
Ex. 206         Big Weenie                          Eminem                                  4007      3009      SR0000364769        PX-2283 (RC)        PA0001284525       PX-3687 (RC)       Same artist and album                         X
                                                                                                                                    PX-2376 (RC)                           PX-4954 (PC)       identified on both certificates
                                                                                                                                    PX-7273 (PC)
Ex. 207         Biggest Fan (Explicit)              Chris Brown                             1252      3281      SR0000711816        PX-1742 (RC)        PA0001842280       PX-6178 (PC)       Same artist and album                         X
                                                                                                                                    PX-7791 (PC)        PA0001896028       PX-1200 (RC)       identified on both certificates
                                                                                                                                                                           PX-6395 (PC)
Ex. 208         Birthday Cake                       Rihanna                                 5170      2504      SR0000689431        PX-1980 (RC)        PA0001841920       PX-4003 (PC)       Same artist and album                         X
                                                                                                                                    PX-7695 (PC)                                              identified on both certificates
Ex. 209         Birthmark                           Deftones                                6298      2505      SR0000171111        PX-6935 (PC)        PA0000776635       PX-3494 (RC)       Same artist and album                         X
                                                                                                                                                                                              identified on both certificates
Ex. 210         Biting Down                         Lorde                                   4890      206       SR0000724529        PX-1911 (RC)        PA0001904440       PX-6432 (PC)       Same artist and album                         X
                                                                                                                                    PX-7852 (PC)                                              identified on both certificates
Ex. 211         Black & White People                Matchbox Twenty                         5728      333       SR0000305708        PX-3431 (RC)        PA0001006950       PX-637 (RC)        Same artist and album                         X
                                                                                                                                    PX-7130 (PC)                           PX-4513 (PC)       identified on both certificates
                                                                                                                                                                           PX-8366 (PC)
                                                                                                                                                                           PX-8367 (PC)
Ex. 212         Black Jesus (Amen Fashion)          Lady Gaga                               4696      641       SR0000678406        PX-1887 (RC)        PA0001752320       PX-1031 (RC)       Same artist identified on both                X
                                                                                                                                    PX-7657 (PC)                           PX-5692 (PC)       certificates
Ex. 213         Black Leather Jacket                Keith Urban                             3388      562       SR0000733375        PX-1894 (RC)        PA0001947438       PX-1218 (RC)       Same album identified on both                 X
                                                                                                                                    PX-7899 (PC)                           PX-6507 (PC)       certificates
Ex. 214         Black Moon                          Deftones                                6299      2507      SR0000390931        PX-7342 (PC)        PA0001336033       PX-3499 (RC)       Same artist and album                         X
                                                                                                                                                                                              identified on both certificates
Ex. 215         Black Skinhead                      Kanye West                              4543      2055      SR0000724178        PX-2316 (RC)        PA0001891174       PX-8162 (PC)       Same artist identified on both                X
                                                                                                                                    PX-7847 (PC)        PA0001890242       PX-6375 (PC)       certificates
                                                                                                                                                        PA0001901344
Ex. 216         Black Star                          Avril Lavigne                           757       1584      SR0000680182        PX-1709 (RC)        PA0001742258       PX-2686 (RC)       Same artist identified on both                X
                                                                                                                                    PX-7668 (PC)                           PX-5631 (PC)       certificates
Ex. 217         Blame It On Waylon                  Josh Thompson                           1929      563       SR0000652025        PX-1689 (RC)        PA0001896309       PX-1204 (RC)       Same artist and album                         X
                                                                                                                                    PX-7569 (PC)                           PX-6400 (PC)       identified on both certificates
Ex. 218         Bled White                          Elliott Smith                           3975      1254      SR0000241677        PX-2223 (RC)        PA0000943583       PX-3142 (PC)       Same artist and album                         X
                                                                                                                                    PX-7012 (PC)                           PX-4464 (PC)       identified on both certificates
Ex. 219         Bleeding Out                        Imagine Dragons                         4360      1047      SR0000707482        PX-2052 (RC)        PA0001816018       PX-2869 (RC)       Same date of first publication                X
                                                                                                                                    PX-7766 (PC)                           PX-6042 (PC)       on both certificates
Ex. 220         Blinded In Chains                   Avenged Sevenfold                       6241      207       SR0000374368        PX-3337 (RC)        PA0001162007       PX-756 (RC)        Same artist and album                         X
                                                                                                                                    PX-7293 (PC)                           PX-4933 (PC)       identified on both certificates
Ex. 221         Blood Brothers                      Luke Bryan                              3440      2509      SR0000722027        PX-1920 (RC)        PA0001870874       PX-3886 (RC)       Same artist and album                         X
                                                                                                                                    PX-7837 (PC)                                              identified on both certificates
Ex. 222         Blood On The Leaves                 Kanye West                              4545      2057      SR0000724178        PX-2316 (RC)        PA0001855571       n/a                Same artist identified on both                X
                                                                                                                                    PX-7847 (PC)        PA0001921565                          certificates
                                                                                                                                                        PA0001890233

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  RC - Registration Certificate                                                                                            8
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                                                                                                 Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                 Track                                    Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Same Compilation
Ex. 223        Blood, Sex And Booze                    Green Day                                6481      2510      SR0000288352        PX-3368 (RC)        PA0001022884       PX-4547 (PC)   Same artist and album                         X
                                                                                                                                        PX-7091 (PC)                                          identified on both certificates
Ex. 224         Bloody Mary                            Lady Gaga                                4697      3200      SR0000678406        PX-1887 (RC)        PA0001757746       PX-5728 (PC)   Same artist and album                         X
                                                                                                                                        PX-7657 (PC)        PA0001752323       PX-1033 (RC)   identified on both certificates
                                                                                                                                                                               PX-5695 (PC)
Ex. 225         Blue                                   Beyoncé feat. Blue Ivy                   822       3047      SR0000747291        PX-1834 (RC)        PA0001918115       PX-3554 (RC)   Same artist and album                         X
                                                                                                                                        PX-7956 (PC)                                          identified on both certificates
Ex. 226         Blue Clear Sky                         George Strait                            4229      2023      SR0000358502        PX-2395 (RC)        PA0000828422       PX-3733 (RC)                                                 X
                                                                                                                                        PX-7254 (PC)
Ex. 227         Blue Ocean Floor                       Justin Timberlake                        1946      2059      SR0000717770        PX-1751 (RC)        PA0001915504       PX-6455 (PC)   Same artist and album                         X
                                                                                                                                        PX-7811 (PC)                                          identified on both certificates
Ex. 228         Bodies                                 CeeLo Green                              6024      208       SR0000673160        PX-3333 (RC)        PA0001731809       PX-982 (RC)                                                  X
                                                                                                                                        PX-7642 (PC)                           PX-5544 (PC)
Ex. 229         Body Ache                              Britney Spears                           1025      2061      SR0000738040        PX-1810 (RC)        PA0001917965       PX-6467 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7922 (PC)                                          certificates
Ex. 230         Bomb (Explicit)                        Chris Brown feat. Wiz Khalifa            1279      3247      SR0000679366        PX-1708 (RC)        PA0001736350       PX-5595 (PC)   Same artist and album                         X
                                                                                                                                        PX-7667 (PC)        PA0001883694       PX-6351 (PC)   identified on both certificates
Ex. 231         Boo                                    Macy Gray                                2137      1408      SR0000302804        PX-1544 (RC)        PA0001068355       PX-3100 (PC)   Same artist and album                         X
                                                                                                                                        PX-7122 (PC)                           PX-4625 (PC)   identified on both certificates
Ex. 232         Boom Skit                              M.I.A.                                   4908      1049      SR0000736308        PX-2327 (RC)        PA0001915826       PX-2925 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7912 (PC)                           PX-6460 (PC)   certificates
Ex. 233         Bored                                  Deftones                                 6300      2511      SR0000171111        PX-6935 (PC)        PA0000776635       PX-3494 (RC)   Same artist and album                         X
                                                                                                                                                                                              identified on both certificates
Ex. 234         Born For This                          Paramore                                 5792      2512      SR0000631909        PX-3323 (RC)        PA0001595081       PX-5114 (PC)   Same artist and album                         X
                                                                                                                                        PX-7510 (PC)                                          identified on both certificates
Ex. 235         Born This Way                          Lady Gaga                                4698      3202      SR0000678406        PX-1887 (RC)        PA0001757756       PX-5730 (PC)   Same artist and album                         X
                                                                                                                                        PX-7657 (PC)        PA0001751981       PX-1022 (RC)   identified on both certificates
                                                                                                                                                                               PX-5682 (PC)
Ex. 236         Bottle Poppin' (feat. Gorilla Zoe)     Yung Joc                                 5994      2062      SR0000622799        PX-3489 (RC)        PA0001648776       PX-5256 (PC)   Same artist and album                         X
                                                                                                                                        PX-7478 (PC)                                          identified on both certificates
Ex. 237         Bottom                                 Puddle Of Mudd                           5105      2513      SR0000347741        PX-7229 (PC)        PA0001225978       PX-8186 (PC)   Same album identified on both                 X
                                                                                                                                                            PA0001204553       PX-8193 (PC)   certificates
Ex. 238         Bottoms Up (Feat. Nicki Minaj)         Trey Songz                               5913      3166      SR0000671697        PX-3298 (RC)        PA0001747296       PX-5652 (PC)   Same artist and album                         X
                                                                                                                                        PX-7631 (PC)        PA0001856248       PX-6252 (PC)   identified on both certificates
Ex. 239         Boulevard Of Broken Dreams             Green Day                                6482      2514      SR0000362126        PX-3371 (RC)        PA0001251317       PX-3756 (RC)   Same artist and album                         X
                                                                                                                                        PX-7264 (PC)                                          identified on both certificates
Ex. 240         Bound                                  Disturbed                                6348      2515      SR0000316958        PX-3348 (RC)        PA0001111236       PX-3511 (RC)   Same artist and album                         X
                                                                                                                                        PX-7156 (PC)                           PX-3558 (RC)   identified on both certificates
                                                                                                                                                                               PX-3559 (RC)
Ex. 241         Bound 2                                Kanye West                               4546      2063      SR0000724178        PX-2316 (RC)        PA0001921191       PX-6476 (PC)   Same artist and album                         X
                                                                                                                                        PX-7847 (PC)                                          identified on both certificates
Ex. 242         Bow Chicka Wow Wow                     Mike Posner                              2259      3282      PA0001762099        PX-1494 (RC)        PA0001720333       PX-970 (RC)    Same artist identified on both
                                                                                                                                        PX-5751 (PC)        PA0001767655       PX-5466 (PC)   certificates
                                                                                                                                                                               PX-5761 (PC)
Ex. 243         Boyfriend (Album Version)              Justin Bieber                            4511      3248      SR0000710074        PX-2204 (RC)        PA0001834755       PX-3800 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7784 (PC)                           PX-6148 (PC)   certificates


Ex. 244         Boys Boys Boys                         Lady GaGa                                4699      644       SR0000617841        PX-1885 (RC)        PA0001685351       PX-923 (RC)    Same artist and album                         X
                                                                                                                                        PX-7439 (PC)                           PX-5347 (PC)   identified on both certificates
Ex. 245         Boys 'Round Here (feat. Pistol Annies & Blake Shelton                           6259      497       SR0000721082        PX-3330 (RC)        PA0001837383       PX-6156 (PC)   Same artist identified on both                X
                Friends)                                                                                                                PX-7831 (PC)                                          certificates
Ex. 246         Brand New                               Yung Joc                                5995      3067      SR0000622799        PX-3489 (RC)        PA0001858773       PX-4065 (RC)   Same artist and album                         X
                                                                                                                                        PX-7478 (PC)                           PX-6265 (PC)   identified on both certificates
Ex. 247         Brandy Alexander                       Feist                                    4143      1935      SR0000406936        PX-2388 (RC)        PA0001692661       PX-2819 (RC)   Same artist and album                         X
                                                                                                                                        PX-7385 (PC)                           PX-5364 (PC)   identified on both certificates
Ex. 248         Brat                                   Green Day                                6483      2516      SR0000188562        PX-3366 (RC)        PA0000774217       PX-4316 (PC)   Same artist and album                         X
                                                                                                                                        PX-6956 (PC)                                          identified on both certificates
Ex. 249         Bravado                                Lorde                                    4891      645       SR0000724529        PX-1911 (RC)        PA0001904440       PX-6432 (PC)   Same artist and album                         X
                                                                                                                                        PX-7852 (PC)                                          identified on both certificates

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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 250        Brave                                Sara Bareilles                           2665      646       SR0000727192        PX-1783 (RC)        PA0001967864       PX-1226 (RC)   Same artist identified on both
                                                                                                                                     PX-7871 (PC)                           PX-6531 (PC)   certificates
Ex. 251         Bravo                               Ledisi                                   4773      2064      SR0000611046        PX-1893 (RC)        PA0001778260       PX-5827 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7399 (PC)                                          certificates
Ex. 252         Break Ya Back                       Avant                                    3226      1050      SR0000648878        PX-2188 (RC)        PA0001395672       PX-5063 (PC)   Same artist and album                         X
                                                                                                                                     PX-7563 (PC)                                          identified on both certificates
Ex. 253         Break Your Heart                    Taio Cruz                                5291      14        SR0000655287        PX-2004 (RC)        PA0001687491       PX-5353 (PC)   Same artist and album
                                                                                                                                     PX-7578 (PC)                                          identified on both certificates
Ex. 254         Breakdown                           Mariah Carey                             2180      3108      SR0000244014        PX-1440 (RC)        PA0000896279       PX-4434 (PC)   Same artist and album
                                                                                                                                     PX-7014 (PC)                                          identified on both certificates
Ex. 255         Breakout                            Foo Fighters                             1473      1586      SR0000285034        PX-1522 (RC)        PA0001693301       PX-3184 (RC)   Same artist and album                         X
                                                                                                                                     PX-7083 (PC)                           PX-5371 (PC)   identified on both certificates
Ex. 256         Breathing                           Lifehouse                                4800      388       SR0000289389        PX-1904 (RC)        PA0001051657       PX-644 (RC)    Same artist and album                         X
                                                                                                                                     PX-2275 (RC)                           PX-4594 (PC)   identified on both certificates
                                                                                                                                     PX-7095 (PC)
Ex. 257         Brenda's Got A Baby                 2Pac                                     3509      1409      SR0000172261        PX-2268 (RC)        PA0001319771       PX-5006 (PC)   Same artist identified on both                X
                                                                                                                                     PX-6939 (PC)                                          certificates
Ex. 258         Brick By Boring Brick               Paramore                                 5793      2518      SR0000657157        PX-3450 (RC)        PA0001676905       PX-3954 (PC)   Same artist and album                         X
                                                                                                                                     PX-7587 (PC)                                          identified on both certificates
Ex. 259         Bricksquad (feat. Gudda Gudda)      Waka Flocka Flame                        5946      2066      SR0000672357        PX-3299 (RC)        PA0001739083       PX-4051 (RC)   Same artist and album                         X
                                                                                                                                     PX-7638 (PC)                                          identified on both certificates
Ex. 260         Brightest Morning Star              Britney Spears                           1026      1410      SR0000738040        PX-1810 (RC)        PA0001915188       PX-2734 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7922 (PC)                           PX-6451 (PC)   certificates
Ex. 261         Bring Me Down                       Puddle Of Mudd                           5106      2519      SR0000301465        PX-1965 (RC)        PA0001311759       PX-8017 (PC)   Same artist and album                         X
                                                                                                                                     PX-2267 (RC)        PA0001075311       PX-8396 (PC)   identified on both certificates
                                                                                                                                     PX-7119 (PC)                           PX-8397 (PC)
Ex. 262         Bring The Noize                     M.I.A.                                   4909      2520      SR0000736308        PX-2327 (RC)        PA0001862990       PX-3890 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7912 (PC)                                          certificates (M.I.A. is the
                                                                                                                                                                                           pseudonym of Mathangi
                                                                                                                                                                                           Arulpragasm) see PX-2925
Ex. 263         Bringing Out The Elvis              Faith Hill                               6413      1824      SR0000276629        PX-7075 (PC)        PA0000955483       PX-4475 (PC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 264         Broken Mirrors                      Rise Against                             5242      647       SR0000671827        PX-1993 (RC)        PA0001887807       PX-6365 (PC)   Same album identified on both                 X
                                                                                                                                     PX-7635 (PC)                                          certificates
Ex. 265         Brown Eyes                          Lady GaGa                                4700      648       SR0000617841        PX-1885 (RC)        PA0001685359       PX-924 (RC)    Same artist and album                         X
                                                                                                                                     PX-7439 (PC)                           PX-5348 (PC)   identified on both certificates
Ex. 266         Bubbly                              Colbie Caillat                           3854      649       SR0000620298        PX-2365 (RC)        PA0001391445       PX-5057 (PC)   Same artist identified on both
                                                                                                                                                                                           certificates
Ex. 267         Build You Up                        50 Cent                                  3542      1587      SR0000366051        PX-2111 (RC)        PA0001298503       PX-2423 (RC)   Same artist and album                         X
                                                                                                                                     PX-7275 (PC)                           PX-4973 (PC)   identified on both certificates
Ex. 268         Burn                                Usher                                    346       3072      SR0000354784        PX-1591 (RC)        PA0001227181       PX-4049 (RC)   Same artist and album                         X
                                                                                                                                     PX-7243 (PC)        PA0001159079       PX-4823 (PC)   identified on both certificates
Ex. 269         Burning Bright                      Shinedown                                5857      498       SR0000342566        PX-3455 (RC)        PA0001278083       PX-4952 (PC)   Same artist and album                         X
                                                                                                                                     PX-7215 (PC)                                          identified on both certificates
Ex. 270         Burnout                             Green Day                                6484      2524      SR0000185457        PX-3365 (RC)        PA0000713967       PX-4281 (PC)   Same artist and album                         X
                                                                                                                                     PX-6953 (PC)                                          identified on both certificates
Ex. 271         Business                            Eminem                                   4008      2525      SR0000317924        PX-2277 (RC)        PA0001118664       PX-3686 (RC)   Same artist and album                         X
                                                                                                                                     PX-2380 (RC)                                          identified on both certificates
                                                                                                                                     PX-7160 (PC)
Ex. 272         Bust Your Windows                   Jazmine Sullivan                         250       15        SR0000618093        PX-4656 (RC)        PA0001640781       PX-878 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7442 (PC)                           PX-5214 (PC)   certificates
Ex. 273         Busted                              Matchbox Twenty                          5729      334       SR0000227755        PX-3294 (RC)        PA0000844644       PX-4366 (PC)   Same artist and album                         X
                                                                                                                                     PX-7003 (PC)                                          identified on both certificates
Ex. 274         Bustin' At 'Em                      Waka Flocka Flame                        5947      2067      SR0000672357        PX-3299 (RC)        PA0001739055       PX-5608 (PC)   Same artist and album                         X
                                                                                                                                     PX-7638 (PC)                                          identified on both certificates
Ex. 275         But I Will                          Faith Hill                               6414      3011      SR0000182853        PX-3362 (RC)        PA0000669875       PX-3708 (RC)   Same artist and album                         X
                                                                                                                                     PX-6947 (PC)                           PX-8224 (PC)   identified on both certificates
Ex. 276         But, Honestly                       Foo Fighters                             1474      1051      SR0000617325        PX-1655 (RC)        PA0001625341       PX-2829 (RC)   Same artist and album                         X
                                                                                                                                     PX-7436 (PC)                           PX-5167 (PC)   identified on both certificates


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                                                                                Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                            10
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                 Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)           SR Ex. No.      Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Same Compilation
Ex. 277        By The Way                              Young Jeezy                              5419      389       SR0000616586        PX-2339 (RC)        PA0001640696       PX-862 (RC)    Same artist identified on both                X
                                                                                                                                        PX-7430 (PC)                           PX-5198 (PC)   certificates
Ex. 278         Bye                                    Elliott Smith                            3977      1257      SR0000280584        PX-2085 (RC)        PA0001015793       PX-3143 (PC)   Same artist and album                         X
                                                                                                                                        PX-7187 (PC)                           PX-4542 (PC)   identified on both certificates
Ex. 279         BYOB                                   Yung Joc                                 5996      2069      SR0000622799        PX-3489 (RC)        PA0001648815       PX-5259 (PC)   Same artist and album                         X
                                                                                                                                        PX-7478 (PC)                                          identified on both certificates
Ex. 280         California Gurls (feat. Snoop Dogg)    Katy Perry                               3352      2526      SR0000669922        PX-2192 (RC)        PA0001753646       PX-5714 (PC)   Same artist identified on both
                (Armand Van Helden Remix) (Explicit)                                                                                    PX-7621 (PC)                                          certificates
Ex. 281         California Gurls (feat. Snoop Dogg)    Katy Perry                               3386      2526      SR0000662268        PX-2190 (RC)        PA0001753646       PX-5714 (PC)   Same artist and album                         X
                (Passion Pit Main Mix) (Explicit)                                                                                       PX-7599 (PC                                           identified on both certificates
Ex. 282         California King Bed                    Rihanna                                  5173      2070      SR0000684805        PX-2334 (RC)        PA0001771890       PX-4001 (PC)   Same artist and album                         X
                                                                                                                                        PX-8458 (PC)                                          identified on both certificates
                                                                                                                                        PX-8459 (PC)
Ex. 283         Caligula                               Macy Gray                                2138      1412      SR0000267460        PX-1510 (RC)        PA0000982321       PX-3101 (PC)   Same artist and album                         X
                                                                                                                                        PX-7060 (PC)                           PX-4501 (PC)   identified on both certificates
Ex. 284         Call Me                                Shinedown                                5858      499       SR0000673788        PX-3456 (RC)        PA0001601050       PX-833 (RC)                                                  X
                                                                                                                                        PX-7644 (PC)                           PX-5125 (PC)
Ex. 285         Call Me Guilty                         Jazmine Sullivan                         251       1413      SR0000618093        PX-1656 (RC)        PA0001897137       PX-2429 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7442 (PC)                           PX-6410 (PC)   certificates
Ex. 286         Call Of The Wild                       Pitbull                                  2555      886       SR0000641804        PX-1683 (RC)        PA0001733405       PX-5571 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7542 (PC)                                          certificates
Ex. 287         Call On Me                             Avant                                    3650      1414      SR0000308368        PX-2106 (RC)        PA0001087663       PX-4672 (PC)   Same artist and album                         X
                                                                                                                                        PX-7137 (PC)                                          identified on both certificates
Ex. 288         Call The Man                           Céline Dion                              1182      1258      SR0000224159        PX-1431 (RC)        PA0000786592       PX-4326 (PC)   Same artist and album                         X
                                                                                                                                        PX-6995 (PC)                                          identified on both certificates
Ex. 289         Can U Get Away (Explicit)              2Pac                                     3511      906       SR0000198774        PX-2107 (RC)        PA0000875890       PX-2419 (RC)   Same artist and album                         X
                                                                                                                                        PX-2108 (RC)                           PX-4409 (PC)   identified on both certificates
                                                                                                                                        PX-6964 (PC)
Ex. 290         Can U Handle It?                       Usher                                    347       17        SR0000354784        PX-1591 (RC)        PA0001159345       PX-709 (RC)    Same artist and album                         X
                                                                                                                                        PX-7243 (PC)                           PX-4836 (PC)   identified on both certificates
Ex. 291         Can U Help Me                          Usher                                    633       212       SR0000307207        PX-1551 (RC)        PA0000846618       PX-4374 (PC)   Same artist and album                         X
                                                                                                                                        PX-7136 (PC)                                          identified on both certificates
Ex. 292         Candy                                  Gavin DeGraw                             1611      2073      SR0000412465        PX-8432 (PC)        PA0001763960       PX-3730 (PC)   Same artist and album                         X
                                                                                                                                        PX-8433 (PC)                                          identified on both certificates
Ex. 293         Candy Shop                             50 Cent                                  3543      1589      SR0000366051        PX-2111 (RC)        PA0001298495       PX-2427 (RC)   Same artist and album                         X
                                                                                                                                        PX-7275 (PC)                           PX-4967 (PC)   identified on both certificates
Ex. 294         Candyman                               Christina Aguilera                       115       1260      SR0000393677        PX-1624 (RC)        PA0001165131       PX-8266 (PC)   Same artist and album
                                                                                                                                        PX-7348 (PC)                                          identified on both certificates
Ex. 295         Can't Be Friends                       Trey Songz                               5914      3139      SR0000671697        PX-3298 (RC)        PA0001787041       PX-1074 (RC)   Same artist and album                         X
                                                                                                                                        PX-7631 (PC)        PA0001856245       PX-5879 (PC)   identified on both certificates
                                                                                                                                                                               PX-6251 (PC)
Ex. 296         Can't Get the Best of Me               Cypress Hill                             1326      1415      SR0000287128        PX-1525 (RC)        PA0001009100       PX-3222 (RC)   Same artist and album
                                                                                                                                        PX-7087 (PC)                           PX-4516 (PC)   identified on both certificates
Ex. 297         Can't Go Wrong                         Phillip Phillips                         5090      1052      SR0000712841        PX-1963 (RC)        PA0001839494       PX-2998 (RC)   Same artist and album                         X
                                                                                                                                        PX-7795 (PC)                           PX-6164 (PC)   identified on both certificates
Ex. 298         Can't Make A Sound                     Elliott Smith                            3978      1259      SR0000280584        PX-2085 (RC)        PA0001015792       PX-3144 (PC)   Same artist and album                         X
                                                                                                                                        PX-7187 (PC)                           PX-4541 (PC)   identified on both certificates
Ex. 299         Can't Stop Me Now                      Pitbull                                  2556      650       SR0000641804        PX-1683 (RC)        PA0001733402       n/a            Same artist identified on both                X
                                                                                                                                        PX-7542 (PC)                                          certificates
Ex. 300         Careful                                Paramore                                 5794      2527      SR0000657157        PX-3450 (RC)        PA0001676905       PX-3954 (RC)   Same artist and album                         X
                                                                                                                                        PX-7587 (PC)                                          identified on both certificates
Ex. 301         Carried Away                           George Strait                            4230      2074      SR0000358502        PX-2395 (RC)        PA0000830048       PX-8225 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7254 (PC)                                          certificates
Ex. 302         Carry On                               fun.                                     6154      3249      SR0000704930        PX-3416 (RC)        PA0001791456       PX-5908 (PC)   Same artist and album                         X
                                                                                                                                        PX-7752 (PC)        PA0001812238       PX-1121 (RC)   identified on both certificates
                                                                                                                                                                               PX-6017 (PC)
Ex. 303         Carry Out                              Timbaland                                5366      2075      SR0000411631        n/a                 PA0001780010       PX-4018 (RC)   Recording artist identified on                X
                                                                                                                                                                                              composition certificate
Ex. 304         Carrying Your Love With Me             George Strait                            4231      2076      SR0000358502        PX-2395 (RC)        PA0000849801       PX-3734 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7254 (PC)                                          certificates

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  RC - Registration Certificate                                                                                               11
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Cox Submission                 Track                                    Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 305        Castle Made Of Sand                    Pitbull Featuring Kelly Rowland & Jamie 2592      3186      SR0000681904        PX-1713 (RC)        PA0001771874       PX-5774 (PC)   Same artist and album                         X
                                                      Drastik                                                                         PX-7677 (PC)        PA0001780992       PX-1066 (RC)   identified on both certificates
                                                                                                                                                                             PX-5850 (PC)
Ex. 306         Castle of Glass                       Linkin Park                             6549      1416      SR0000708311        PX-3386 (RC)        PA0001805745       PX-2907 (RC)   Same artist and album                         X
                                                                                                                                      PX-7770 (PC)                           PX-5941 (PC)   identified on both certificates
Ex. 307         Catch All The Fish                    Brad Paisley                            960       2452      SR0000639650        PX-1677 (RC)        PA0001644207       PX-5232 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7535 (PC)                                          certificates
Ex. 308         Caught Up                             Usher                                   348       18        SR0000354784        PX-1591 (RC)        PA0001159081       PX-700 (RC)    Same artist and album                         X
                                                                                                                                      PX-7243 (PC)                           PX-4825 (PC)   identified on both certificates
Ex. 309         Celebrity                             Big Sean                                3719      1417      SR0000678630        PX-2134 (RC)        PA0001752525       PX-2722 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7661 (PC)                           PX-5701 (PC)   certificates
                                                                                                                                                                             PX-8402 (PC)
                                                                                                                                                                             PX-8403 (PC)
Ex. 310         Center Stage                          Capital Cities                          3305      651       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)    Same album identified on both                 X
                                                                                                                                      PX-7858 (PC)                           PX-1221 (RC)   certificates
                                                                                                                                                                             PX-6518 (PC)
Ex. 311         Chaining Day                          J. Cole                                 1760      2390      SR0000730319        PX-7885 (PC)        PA0001939572       PX-3752 (RC)   Same artist and album                         X
                                                                                                                                                                             PX-6499 (PC)   identified on both certificates
Ex. 312         Change (In The House Of Flies)        Deftones                                6301      2529      SR0000284862        PX-7082 (PC)        PA0001029983       PX-3497 (RC)   Same artist and album                         X
                                                                                                                                                                                            identified on both certificates
Ex. 313         Change My Mind                        Puddle Of Mudd                          5107      2530      SR0000347741        PX-7229 (PC)        PA0001204552       PX-3979 (RC)   Same artist and album                         X
                                                                                                                                                                             PX-8194 (PC)   identified on both certificates
Ex. 314         Chapter V                             Trey Songz                              5915      2078      SR0000715080        PX-3296 (RC)        PA0001865863       PX-6291 (PC)   Same artist and album                         X
                                                                                                                                      PX-7805 (PC)                                          identified on both certificates
Ex. 315         Charlotte Sometimes                   The Cure                                6097      1802      SR0000192615        PX-3479 (RC)        PA0000344066       PX-4205 (PC)   Same artist identified on both
                                                                                                                                      PX-6960 (PC)                                          certificates
Ex. 316         Chartreuse                            Capital Cities                          3306      652       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7858 (PC)                           PX-1221 (RC)   certificates
                                                                                                                                                                             PX-6518 (PC)
Ex. 317         Chasin' That Neon Rainbow             Alan Jackson                            387       2531      SR0000120465        PX-1382 (RC)        PA0000458323       PX-3532 (RC)   Same artist identified on both                X
                                                                                                                                      PX-6885 (PC)                                          certificates
Ex. 318         Chasing Pavements                     Adele                                   690       1838      SR0000616701        PX-1654 (RC)        PA0001975709       PX-3066 (PC)   Same artist and album                         X
                                                                                                                                      PX-7431 (PC)                           PX-6547 (PC)   identified on both certificates
Ex. 319         Chasing You                           Capital Cities                          3307      653       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7858 (PC)                           PX-1221 (RC)   certificates
                                                                                                                                                                             PX-6518 (PC)
Ex. 320         Chattahoochee                         Alan Jackson                            388       2533      SR0000147716        PX-1402 (RC)        PA0000587430       PX-3536 (RC)   Same artist identified on both                X
                                                                                                                                      PX-6923 (PC)                                          certificates
Ex. 321         Cheated                               Boys Like Girls                         921       3077      SR0000731314        PX-1793 (RC)        PA0001853123       PX-3598 (RC)   Same artist and album                         X
                                                                                                                                      PX-7890 (PC)                           PX-6241 (PC)   identified on both certificates
Ex. 322         Check Me Out (feat. Diddy & Meek Mill) Trey Songz                             5916      3012      SR0000715080        PX-3296 (RC)        PA0001865883       PX-4029 (RC)   Same artist and album                         X
                                                                                                                                      PX-7805 (PC)                                          identified on both certificates
Ex. 323         Cheer Up, Boys (Your Make Up Is       Foo Fighters                            1475      1054      SR0000617325        PX-1655 (RC)        PA0001625323       PX-2830 (RC)   Same artist and album                         X
                Running)                                                                                                              PX-7436 (PC)                           PX-5164 (PC)   identified on both certificates
Ex. 324         Cheers                                Obie Trice                              5054      1796      SR0000341637        PX-2245 (RC)        PA0001245485       PX-2489 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7211 (PC)                                          certificates
Ex. 325         Chemicals Collide                     Boys Like Girls                         922       548       SR0000643654        PX-1684 (RC)        PA0001735285       PX-992 (RC)                                                  X
                                                                                                                                      PX-7554 (PC)                           PX-5589 (PC)
Ex. 326         Chevy Smile                           Yung Joc                                5997      2079      SR0000622799        PX-3489 (RC)        PA0001648814       PX-4067 (RC)   Same artist and album                         X
                                                                                                                                      PX-7478 (PC)                                          identified on both certificates
Ex. 327         Chi-City                              Common                                  3872      1055      SR0000377106        PX-2112 (RC)        PA0001302103       PX-3225 (RC)   Same artist and album                         X
                                                                                                                                      PX-7302 (PC)                           PX-4984 (PC)   identified on both certificates
Ex. 328         Children Of The Korn                  Korn                                    2054      2535      SR0000263749        PX-1463 (RC)        PA0001058922       PX-3819 (RC)   Same artist and album                         X
                                                                                                                                      PX-7052 (PC)                                          identified on both certificates
Ex. 329         Chloe                                 Grouplove                               5593      2536      SR0000704081        PX-3418 (RC)        PA0001762863       PX-3560 (RC)   Same artist and album                         X
                                                                                                                                      PX-7744 (PC)                           PX-8404 (PC)   identified on both certificates
                                                                                                                                                                             PX-8405 (PC)
Ex. 330         Choose                                Stone Sour                              6223      19        SR0000330447        PX-3466 (RC)        PA0001157849       PX-4790 (PC)   Same artist and album                         X
                                                                                                                                      PX-8004 (PC)                           PX-8386 (PC)   identified on both certificates
                                                                                                                                                                             PX-8387 (PC)

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  RC - Registration Certificate                                                                                             12
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Cox Submission                      Track                             Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 331        Christmas Eve                        Justin Bieber                           4513      1218      SR0000704701        PX-7749 (PC)        PA0001780227       PX-2898 (RC)   Same artist identified on both                X
                                                                                                                                                                           PX-5838 (PC)   certificates
Ex. 332         Chump                               Green Day                               6485      2538      SR0000185457        PX-3365 (RC)        PA0000713967       PX-4281 (PC)   Same artist and album                         X
                                                                                                                                    PX-6953 (PC)                                          identified on both certificates
Ex. 333         Church On Sunday                    Green Day                               6486      2539      SR0000288352        PX-3368 (RC)        PA0001022884       PX-4547 (PC)   Same artist and album                         X
                                                                                                                                    PX-7091 (PC)                                          identified on both certificates
Ex. 334         Ciara To The Stage                  Ciara                                   1299      1056      SR0000631011        PX-1675 (RC)        PA0001729154       PX-2757 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7508 (PC)                           PX-5499 (PC)   certificates
Ex. 335         Cinderella Man                      Eminem                                  4010      1057      SR0000653572        PX-2087 (RC)        PA0001730987       PX-2807 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7573 (PC)                           PX-5527 (PC)   certificates
Ex. 336         Circle The Drain (Explicit)         Katy Perry                              3353      2540      SR0000662268        PX-2190 (RC)        PA0001753641       PX-5709 (PC)   Same artist and album                         X
                                                                                                                                    PX-7599 (PC)                                          identified on both certificates
Ex. 337         Circulate                           Young Jeezy                             5420      503       SR0000616586        PX-2339 (RC)        PA0001640772       PX-873 (RC)    Same artist identified on both                X
                                                                                                                                    PX-7430 (PC)                           PX-5209 (PC)   certificates
Ex. 338         Circus                              Britney Spears                          3099      2081      SR0000620789        PX-1661 (RC)        PA0001622999       PX-5153 (PC)   Same artist and album                         X
                                                                                                                                    PX-7465 (PC)                                          identified on both certificates
Ex. 339         Clarity                             Zedd                                    5436      391       SR0000736147        PX-2036 (RC)        PA0001832089       PX-6133 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7910 (PC)                                          certificates
Ex. 340         Cleanin' Out My Closet              Eminem                                  4011      1840      SR0000317924        PX-2277 (RC)        PA0001073403       PX-4663 (PC)   Same artist and album                         X
                                                                                                                                    PX-2380 (RC)        PA0001225996       PX-8013 (PC)   identified on both certificates
                                                                                                                                    PX-7160 (PC)
Ex. 341         Cleveland Is The City (Explicit)    Bone Thugs-n-Harmony                    890       20        SR0000330830        PX-8005 (PC)        PA0001105255       PX-666 (RC)    Same artist and album                         X
                                                                                                                                                                           PX-4719 (PC)   identified on both certificates
Ex. 342         Climax                              Usher                                   2900      365       SR0000731104        PX-1792 (RC)        PA0001825135       PX-6115 (PC)   Same artist and album                         X
                                                                                                                                    PX-7889 (PC)                                          identified on both certificates
Ex. 343         Cling And Clatter                   Lifehouse                               4804      392       SR0000289389        PX-1904 (RC)        PA0001051657       PX-644 (RC)    Same artist and album                         X
                                                                                                                                    PX-2275 (RC)                           PX-4594 (PC)   identified on both certificates
                                                                                                                                    PX-7095 (PC)
Ex. 344         Clique                              Kanye West                              4550      2541      SR0000763373        PX-2039 (RC)        PA0001913932       PX-6447 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7984 (PC)                                          certificates
Ex. 345         Close Your Eyes and Count to Ten    Grouplove                               5594      2542      SR0000704081        PX-3418 (RC)        PA0001762863       PX-3560 (RC)   Same artist and album                         X
                                                                                                                                    PX-7744 (PC)                           PX-8404 (PC)   identified on both certificates
                                                                                                                                                                           PX-8405 (PC)
Ex. 346         Closer                              Kings Of Leon                           2046      2407      SR0000617761        PX-7438 (PC)        PA0001204538       PX-8204 (PC)   Same artist and album                         X
                                                                                                                                                        PA0001615767                      identified on both certificates
Ex. 347         Closure                             Chevelle                                1234      2543      SR0000324184        PX-1569 (RC)        PA0001859504       PX-3569 (RC)   Same artist and album                         X
                                                                                                                                    PX-7177 (PC)                                          identified on both certificates
Ex. 348         Cloud 9                             Puddle Of Mudd                          5108      2544      SR0000347741        PX-7229 (PC)        PA0001262375       PX-3980 (RC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 349         Clumsy                              Fergie                                  4169      2027      SR0000393675        PX-2100 (RC)        PA0001165468       PX-8268 (PC)   Same artist and album                         X
                                                                                                                                    PX-8430 (PC)                                          identified on both certificates
                                                                                                                                    PX-8431 (PC)
Ex. 350         Coffee                              Ledisi                                  4774      2545      SR0000611046        PX-1893 (RC)        PA0001779668       PX-5831 (PC)   Same artist and album                         X
                                                                                                                                    PX-7399 (PC)                                          identified on both certificates
Ex. 351         Coffee Shop (feat. Gorilla Zoe)     Yung Joc                                5998      2546      SR0000622799        PX-3489 (RC)        PA0001858764       PX-4076 (RC)   Same artist and album                         X
                                                                                                                                    PX-7478 (PC)                                          identified on both certificates
Ex. 352         Cold As Stone                       Lady Antebellum                         3416      2083      SR0000686148        PX-2196 (RC)        PA0001817040       PX-3823 (RC)   Same artist and album                         X
                                                                                                                                    PX-2372 (RC)                                          identified on both certificates
                                                                                                                                    PX-7690 (PC)
Ex. 353         Cold Case Love                      Rihanna                                 5176      21        SR0000644571        PX-1982 (RC)        PA0001704466       PX-931 (RC)    Same date of first publication                X
                                                                                                                                    PX-7558 (PC)                           PX-5415 (PC)   on both certificates
Ex. 354         Cold Day In The Sun                 Foo Fighters                            1476      1058      SR0000377762        PX-1609 (RC)        PA0001731042       PX-5531 (PC)   Same artist and album                         X
                                                                                                                                    PX-7304 (PC)                                          identified on both certificates
Ex. 355         Cold Shoulder                       Adele                                   691       1841      SR0000616701        PX-1654 (RC)        PA0001975723       PX-3065 (PC)   Same artist and album                         X
                                                                                                                                    PX-7431 (PC)                           PX-6554 (PC)   identified on both certificates
Ex. 356         Cold Wind Blows                     Eminem                                  4012      1059      SR0000653572        PX-2087 (RC)        PA0001731091       PX-5533 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7573 (PC)                                          certificates
Ex. 357         Colorbars                           Elliott Smith                           3979      1265      SR0000280584        PX-2085 (RC)        PA0001015789       PX-3215 (RC)   Same artist and album                         X
                                                                                                                                    PX-7187 (PC)                           PX-4538 (PC)   identified on both certificates


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                                                                               Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                           13
  SR - Sound Recording
  MC - Musical Composition
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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                              Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 358        Colours                              Grouplove                                 5595      2547      SR0000707748        PX-3419 (RC)        PA0001397703       PX-8018 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7768 (PC)        PA0001762865       PX-3574 (RC)   certificates
Ex. 359         Come A Little Closer                Brandy                                    5462      2084      SR0000345858        PX-7224 (PC)        PA0001069964       PX-4627 (PC)                                                 X
Ex. 360         Come Alive                          Foo Fighters                              1477      1060      SR0000617325        PX-1655 (RC)        PA0001625311       PX-2831 (RC)   Same artist and album                         X
                                                                                                                                      PX-7436 (PC)                           PX-5163 (PC)   identified on both certificates
Ex. 361         Come As You Are                     Brandy                                    5463      2549      SR0000370673        PX-3289 (RC)        PA0001236710       PX-3608 (RC)   Same artist and album                         X
                                                                                                                                      PX-7283 (PC)                           PX-8175 (PC)   identified on both certificates
Ex. 362         Come Back                           Usher                                     634       304       SR0000257730        PX-1458 (RC)        PA0000893388       PX-4430 (PC)   Same artist and album                         X
                                                                                                                                      PX-7041 (PC)                                          identified on both certificates
Ex. 363         Come N Go                           Pitbull Featuring Enrique Iglesias        2590      655       SR0000681904        PX-1713 (RC)        PA0001780999       PX-1068 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7677 (PC)                           PX-5852 (PC)   certificates
Ex. 364         Come Together                       Macy Gray                                 2139      1418      SR0000336638        PX-1576 (RC)        PA0001131225       PX-2940 (RC)   Same artist and album                         X
                                                                                                                                      PX-7200 (PC)                           PX-4758 (PC)   identified on both certificates
Ex. 365         Comfortable Liar                    Chevelle                                  1235      2551      SR0000324184        PX-1569 (RC)        PA0001859610       PX-3628 (RC)   Same artist and album                         X
                                                                                                                                      PX-7177 (PC)                                          identified on both certificates
Ex. 366         Coming Clean                        Green Day                                 6487      2552      SR0000185457        PX-3365 (RC)        PA0000713967       PX-4281 (PC)   Same artist and album                         X
                                                                                                                                      PX-6953 (PC)                                          identified on both certificates
Ex. 367         Coming Home                         SWV                                       321       1419      SR0000146905        PX-1400 (RC)        PA0000968742       PX-2559 (PC)   Same artist and album                         X
                                                                                                                                      PX-6921 (PC)                           PX-4484 (PC)   identified on both certificates
Ex. 368         Coming Up (feat. MDMA)              Lupe Fiasco                               5695      1266      SR0000704469        PX-3291 (RC)        PA0001739096       PX-2919 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7747 (PC)                           PX-5611 (PC)   certificates
Ex. 369         Compass                             Lady Antebellum                           3417      2086      SR0000750709        PX-1878 (RC)        PA0001879179       PX-6336 (PC)   Same album identified on both
                                                                                                                                      PX-7964 (PC)                                          certificates
Ex. 370         Complete Control                    The Clash                                 2827      1842      SR0000293426        PX-1532 (RC)        PA0000066408       PX-2461 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7102 (PC)                           PX-4149 (PC)   certificates
Ex. 371         Complicated                         Avril Lavigne                             59        1591      PA0001328757        PX-1482 (RC)        PA0001101506       PX-2687 (RC)   Same artist and album
                                                                                                                                      PX-5015 (PC)                           PX-4696 (PC)   identified on both certificates
Ex. 372         Confessions                         Usher                                     349       2000      SR0000354784        PX-1591 (RC)        PA0001227181       PX-4049 (RC)   Same artist and album                         X
                                                                                                                                      PX-7243 (PC)                                          identified on both certificates
Ex. 373         Confessions Part II                 Usher                                     350       3073      SR0000354784        PX-1591 (RC)        PA0001227181       PX-4049 (RC)   Same artist and album                         X
                                                                                                                                      PX-7243 (PC)        PA0001159082       PX-4826 (PC)   identified on both certificates
                                                                                                                                                          PA0001160227       PX-4900 (PC)
Ex. 374         Conflict                            Disturbed                                 6350      2554      SR0000288344        PX-3354 (RC)        PA0001000622       PX-3505 (RC)   Same artist and album
                                                                                                                                      PX-7090 (PC)                                          identified on both certificates
Ex. 375         Contagious                          Avril Lavigne                             60        22        SR0000609671        PX-1648 (RC)        PA0001354282       PX-795 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7394 (PC)                           PX-5032 (PC)   certificates
Ex. 376         Cop Car                             Keith Urban                               3390      2555      SR0000733375        PX-1894 (RC)        PA0001878240       PX-6329 (PC)   Same artist and album                         X
                                                                                                                                      PX-7899 (PC)                                          identified on both certificates
Ex. 377         Cosmic Love                         Florence + The Machine                    4183      1843      SR0000645045        PX-2101 (RC)        PA0001892799       PX-3123 (PC)   Same artist and album                         X
                                                                                                                                      PX-7560 (PC)                           PX-6380 (PC)   identified on both certificates
Ex. 378         Count On You                        Big Time Rush feat. Jordin Sparks         849       23        SR0000668082        PX-1694 (RC)        PA0001726662       PX-5485 (PC)   Same album identified on both                 X
                                                                                                                                      PX-7613 (PC)                                          certificates
Ex. 379         Countdown                           Beyoncé                                   780       2556      SR0000683948        PX-1715 (RC)        PA0001861897       PX-3548 (RC)   Same artist and album                         X
                                                                                                                                      PX-7681 (PC)                                          identified on both certificates
Ex. 380         Crack A Bottle                      Eminem                                    4013      3013      SR0000642488        PX-2379 (RC)        PA0001848051       PX-3696 (RC)   Same artist and album                         X
                                                                                                                                      PX-7551 (PC)                                          identified on both certificates
Ex. 381         Crash My Party                      Luke Bryan                                3441      2453      SR0000722027        PX-1920 (RC)        PA0001870878       PX-3887 (RC)   Same artist and album                         X
                                                                                                                                      PX-7837 (PC)                                          identified on both certificates
Ex. 382         Crashed                             Daughtry                                  1338      1269      SR0000399960        PX-1636 (RC)        PA0001166377       PX-3271 (RC)   Same artist and album                         X
                                                                                                                                      PX-7367 (PC)                           PX-8281 (PC)   identified on both certificates
Ex. 383         Crawling (Live In Texas)            Linkin Park                               6550      1420      SR0000350998        PX-3384 (RC)        PA0001092510       PX-2578 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7234 (PC)                           PX-4692 (PC)   certificates
Ex. 384         Crazy                               Simple Plan                               5880      2557      SR0000375167        PX-3458 (RC)        PA0001251376       n/a            Same artist identified on both                X
                                                                                                                                      PX-7299 (PC)                                          certificates
Ex. 385         Crazy Dream                         Los Lonely Boys                           2107      396       SR0000352465        PX-1587 (RC)        PA0001159601       PX-721 (RC)    Same artist and album                         X
                                                                                                                                      PX-7238 (PC)                           PX-4850 (PC)   identified on both certificates
Ex. 386         Crazy in Love                       Beyoncé                                   781       1996      SR0000787489        n/a                 PA0001131132       PX-4754 (PC)   Same artist and album
                                                                                                                                                          PA0001208972       PX-8301 (PC)   identified on both certificates
Ex. 387         Crazy Little Thing Called Love      Rihanna                                   5178      1061      SR0000387137        PX-2333 (RC)        PA0001330052       PX-5017 (PC)   Same date of first publication                X
                                                                                                                                      PX-7332 (PC)                                          on both certificates

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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)          MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                       Part of Same Compilation
Ex. 388        Creep                                   TLC                                     618       25        SR0000198743        PX-1413 (RC)        PA0000797832       PX-4354 (PC)       Same artist and album                         X
                                                                                                                                       PX-6963 (PC)                                              identified on both certificates
Ex. 389         Crenshaw Punch / I'll Throw Rocks At   Deftones                                6303      2558      SR0000390931        PX-7342 (PC)        PA0001336034       n/a                Same artist identified on both                X
                You                                                                                                                                                                              certificates
Ex. 390         Crept And We Came                      Bone Thugs-N-Harmony                    891       1593      SR0000225335        PX-1434 (RC)        PA0000767829       PX-2728 (RC)       Same artist and album                         X
                                                                                                                                       PX-6999 (PC)                           PX-4305 (PC)       identified on both certificates
Ex. 391         Criminal                               Disturbed                               6351      2559      SR0000647297        PX-7562 (PC)        PA0001697247       PX-3565 (RC)       Same artist and album                         X
                                                                                                                                                                                                 identified on both certificates
Ex. 392         Cruel and Beautiful World              Grouplove                               5596      2560      SR0000704081        PX-3418 (RC)        PA0001762863       PX-3560 (RC)       Same artist and album                         X
                                                                                                                                       PX-7744 (PC)                           PX-8404 (PC)       identified on both certificates
                                                                                                                                                                              PX-8405 (PC)
Ex. 393         crushcrushcrush                        Paramore                                5795      2561      SR0000631909        PX-3323 (RC)        PA0001595045       PX-3958 (RC)       Same artist and album                         X
                                                                                                                                       PX-7510 (PC)                                              identified on both certificates
Ex. 394         Crutch                                 Matchbox Twenty                         5733      335       SR0000305708        PX-3431 (RC)        PA0001006950       PX-637 (RC)        Same artist and album                         X
                                                                                                                                       PX-7130 (PC)                           PX-4513 (PC)       identified on both certificates
                                                                                                                                                                              PX-8366 (PC)
                                                                                                                                                                              PX-8367 (PC)
Ex. 395         Cry Baby                               CeeLo Green                             6026      215       SR0000673160        PX-3333 (RC)        PA0001731812       PX-983 (RC)                                                      X
                                                                                                                                       PX-7642 (PC)                           PX-5545 (PC)
Ex. 396         Cry Me A River                         Justin Timberlake                       3160      2562      SR0000319834        PX-1563 (RC)        PA0001266147       PX-3804 (RC)       Same artist identified on both                X
                                                                                                                                       PX-7163 (PC)                                              certificates
Ex. 397         Curiosity                              Carly Rae Jepsen                        3825      1594      SR0000738473        PX-2146 (RC)        PA0001864128       PX-2737 (RC)       Same artist identified on both                X
                                                                                                                                       PX-7924 (PC)                           PX-6280 (PC)       certificates
Ex. 398         Cut Throat (featuring The Game, Jim    Yung Joc                                5999      3203      SR0000622799        PX-3489 (RC)        PA0001648869       PX-4078 (RC)       Same artist and album                         X
                Jones & Block)                                                                                                         PX-7478 (PC)                           PX-5260 (PC)       identified on both certificates
Ex. 399         Daddy's Little Girl                    Pitbull featuring Slim                  2596      216       SR0000641804        PX-1683 (RC)        PA0001706680       PX-942 (RC)                                                      X
                                                                                                                                       PX-7542 (PC)                           PX-5431 (PC)
Ex. 400         Daffodil Lament                        The Cranberries                         5325      1959      SR0000218047        PX-2012 (RC)        PA0000734582       PX-2521 (RC)       Same artist and album                         X
                                                                                                                                       PX-2272 (RC)                           PX-4291 (PC)       identified on both certificates
                                                                                                                                       PX-6988 (PC)
Ex. 401         Dai The Flu                            Deftones                                6304      2564      SR0000244493        PX-7015 (PC)        PA0000870906       PX-3502 (RC)       Same artist and album                         X
                                                                                                                                                                                                 identified on both certificates
Ex. 402         Damn                                   Matchbox Twenty                         5734      336       SR0000227755        PX-3294 (RC)        PA0000844644       PX-4366 (PC)       Same artist and album                         X
                                                                                                                                       PX-7003 (PC)                                              identified on both certificates
Ex. 403         Damn Girl (feat. will.i.am)            Justin Timberlake                       3181      1421      SR0000395943        PX-1630 (RC)        PA0001165054       PX-2441 (RC)       Same artist and album                         X
                                                                                                                                       PX-7356 (PC)                           PX-8264 (PC)       identified on both certificates
Ex. 404         Dance (Ass)                            Big Sean                                3720      603       SR0000678630        PX-2134 (RC)        PA0001760422       PX-5736 (PC)       Same artist identified on both                X
                                                                                                                                       PX-7661 (PC)                                              certificates
Ex. 405         Dance In The Dark                      Lady Gaga                               4702      3204      SR0000642917        PX-1886 (RC)        PA0001668360       PX-3832 (RC)       Same artist and album                         X
                                                                                                                                       PX-7552 (PC)                           PX-5309 (PC)       identified on both certificates
Ex. 406         Dance Real Slow                        Easton Corbin                           3925      2409      SR0000709974        PX-2076 (RC)        PA0001859563       PX-3557 (RC)       Same album identified on both                 X
                                                                                                                                       PX-7783 (PC)                           PX-3566 (RC)       certificates
Ex. 407         Dancin' Away With My Heart             Lady Antebellum                         3418      2090      SR0000686148        PX-2196 (RC)        PA0001817030       PX-3824 (RC)       Same artist and album                         X
                                                                                                                                       PX-2372 (RC)                                              identified on both certificates
                                                                                                                                       PX-7690 (PC)
Ex. 408         Dangerously In Love                    Beyoncé                                 783       2566      SR0000289199        PX-1526 (RC)        PA0000954078       PX-4469 (PC)       Same artist and album
                                                                                                                                       PX-7093 (PC)                                              identified on both certificates
Ex. 409         Darlin                                 Avril Lavigne                           758       1595      SR0000680182        PX-1709 (RC)        PA0001742277       PX-2688 (RC)       Same artist identified on both                X
                                                                                                                                       PX-7668 (PC)                           PX-5634 (PC)       certificates
Ex. 410         Day Dreams                             Raphael Saadiq                          2618      968       SR0000677734        PX-1706 (RC)        PA0001752520       PX-3005 (RC)       Same artist identified on both                X
                                                                                                                                       PX-7655 (PC)                           PX-5699 (PC)       certificates
Ex. 411         Daydreamer                             Adele                                   693       1844      SR0000616701        PX-1654 (RC)        PA0001975694       PX-3063 (PC)       Same artist and album                         X
                                                                                                                                       PX-7431 (PC)                           PX-6544 (PC)       identified on both certificates
Ex. 412         Daydreaming                            Paramore                                5796      2567      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)       Same artist and album                         X
                                                                                                                                       PX-7850 (PC)                                              identified on both certificates
Ex. 413         Days With You                          Fuel                                    1547      969       SR0000342237        PX-1579 (RC)        PA0001245154       PX-2622 (PC)       Same artist and album                         X
                                                                                                                                       PX-7213 (PC)                                              identified on both certificates
Ex. 414         Dead Flowers                           Miranda Lambert                         2281      657       SR0000641403        PX-1681 (RC)        PA0001682745       PX-916 (RC)        Same artist and album                         X
                                                                                                                                       PX-7540 (PC)                           PX-5336 (PC)       identified on both certificates


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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                                 Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 415        Dear Mama                                2Pac                                   3513      2093      SR0000198941        PX-6965 (PC)        PA0000773741       PX-4312 (PC)   Same artist identified on both
                                                                                                                                                           PA0000875888       PX-8226 (PC)   certificates
Ex. 416         Death Around The Corner                 2Pac                                   3514      1062      SR0000198774        PX-2107 (RC)        PA0001070586       PX-2647 (RC)   Same artist and album                         X
                                                                                                                                       PX-2108 (RC)                           PX-4630 (PC)   identified on both certificates
                                                                                                                                       PX-6964 (PC)
Ex. 417         Deathblow                              Deftones                                6305      2570      SR0000335169        PX-7198 (PC)        PA0001157470       PX-3498 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 418         Decadence                               Disturbed                              6352      2571      SR0000380289        PX-3351 (RC)        PA0001296200       PX-3504 (RC)   Same artist and album                         X
                                                                                                                                       PX-7313 (PC)                                          identified on both certificates
Ex. 419         Deceiver                               Disturbed                               6353      2572      SR0000647297        PX-7562 (PC)        PA0001697227       PX-3506 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 420         Definition Of A Thug N***a              2Pac                                   3515      908       SR0000627960        PX-2126 (RC)        PA0000776781       PX-3265 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7491 (PC)                           PX-4317 (PC)   certificates
Ex. 421         Dehumanized                            Disturbed                               6354      2573      SR0000695381        PX-3352 (RC)        PA0001224644       PX-3512 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7702 (PC)                           PX-8187 (PC)   certificates
Ex. 422         Deify                                  Disturbed                               6355      2574      SR0000380289        PX-3351 (RC)        PA0001296199       PX-3516 (RC)   Same artist and album                         X
                                                                                                                                       PX-7313 (PC)                                          identified on both certificates
Ex. 423         Deja Vu                                Eminem                                  4017      3167      SR0000633152        PX-2378 (RC)        PA0001848045       PX-6203 (PC)   Same artist and album                         X
                                                                                                                                       PX-7513 (PC)        PA0001706428       PX-5421 (PC)   identified on both certificates
Ex. 424         Dem Haters                              Rihanna                                5180      2094      SR0000387137        PX-2333 (RC)        PA0001317458       PX-3998 (RC)   Same artist and album                         X
                                                                                                                                       PX-7332 (PC)                                          identified on both certificates
Ex. 425         Destiny                                Avant                                   3651      1422      SR0000281220        PX-2105 (RC)        PA0001012581       PX-4523 (PC)   Same artist and album                         X
                                                                                                                                       PX-7189 (PC)                                          identified on both certificates
Ex. 426         Deuces                                 Chris Brown featuring Tyga & Kevin      1288      397       SR0000679366        PX-1708 (RC)        PA0001738384       PX-999 (RC)    Same artist identified on both                X
                                                       McCall                                                                          PX-7667 (PC)                           PX-5600 (PC)   certificates
Ex. 427         Deuces Are Wild                        Aerosmith                               3578      1599      SR0000200298        PX-2215 (RC)        PA0000693447       PX-2513 (PC)   Same artist identified on both                X
                                                                                                                                       PX-6968 (PC)                           PX-4271 (PC)   certificates
Ex. 428         Devil In A New Dress                    Kanye West                             4554      2095      SR0000683430        PX-7679 (PC)        PA0001791337       PX-5907 (PC)   Same artist identified on both                X
                                                                                                                                                                                             certificates
Ex. 429         Diamond In The Rough                   Anthony Hamilton                        408       1219      SR0000625444        PX-7484 (PC)        PA0001768249       PX-3069 (PC)   Same artist and album                         X
                                                                                                                                                                              PX-5762 (PC)   identified on both certificates
Ex. 430         Diary                                  Alicia Keys                             10        218       SR0000346869        PX-1584 (RC)        PA0001158368       PX-690 (RC)    Same artist and album                         X
                                                                                                                                       PX-7227 (PC)                           PX-8243 (PC)   identified on both certificates
Ex. 431         Didn't We Almost Have It All            Whitney Houston                        545       1600      SR0000089966        PX-1369 (RC)        PA0000348786       PX-4206 (PC)   Same artist and album                         X
                                                                                                                                       PX-6864 (PC)                                          identified on both certificates
Ex. 432         Die In Your Arms                        Justin Bieber                          4516      3181      SR0000705165        PX-2065 (RC)        PA0001793961       PX-3799 (RC)   Same artist and album
                                                                                                                                       PX-7754 (PC)        EU0000456357       PX-5912 (PC)   identified on both certificates
Ex. 433         Die Like This                           Fuel                                   1548      970       SR0000342237        PX-1579 (RC)        PA0001245156       PX-2624 (PC)   Same artist and album                         X
                                                                                                                                       PX-7213 (PC)                                          identified on both certificates
Ex. 434         Digital (Did You Tell)                  Stone Sour                             6224      27        SR0000689549        PX-3468 (RC)        PA0001722498       PX-972 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7697 (PC)                           PX-5469 (PC)   certificates
Ex. 435         Digital Bath                           Deftones                                6306      2576      SR0000284862        PX-7082 (PC)        PA0001029983       PX-3497 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 436         Dilemma                                Nelly                                   5020      28        SR0000339724        PX-2298 (RC)        PA0001073273       PX-650 (RC)    Same artist identified on both
                                                                                                                                       PX-7205 (PC)                           PX-4657 (PC)   certificates
Ex. 437         Dime Mi Amor                           Los Lonely Boys                         2108      398       SR0000352465        PX-1587 (RC)        PA0001159602       PX-722 (RC)    Same artist and album                         X
                                                                                                                                       PX-7238 (PC)                           PX-4851 (PC)   identified on both certificates
Ex. 438         Director                               Avant                                   3652      1064      SR0000396388        PX-2117 (RC)        PA0001371419       PX-3258 (RC)   Same artist and album                         X
                                                                                                                                       PX-7358 (PC)                           PX-5043 (PC)   identified on both certificates
Ex. 439         Dirt                                   Mary Mary                               2195      29        SR0000711038        PX-1740 (RC)        PA0001640796       PX-881 (RC)                                                  X
                                                                                                                                       PX-7788 (PC)                           PX-5217 (PC)
Ex. 440         Dirt Off Your Shoulder / Lying From You Linkin Park & Jay-Z                    6593      2577      SR0000362315        PX-3318 (RC)        PA0001937215       PX-3873 (RC)   Same artist and album
                                                                                                                                       PX-7266 (PC)                                          identified on both certificates
Ex. 441         Dirt Road Diary                         Luke Bryan                             3442      3191      SR0000722027        PX-1920 (RC)        PA0001870870       PX-6309 (PC)   Same artist and album                         X
                                                                                                                                       PX-7837 (PC)        PA0001967431       PX-1225 (RC)   identified on both certificates
                                                                                                                                                                              PX-6530 (PC)
Ex. 442         Dirty                                  Tyler Farr                              2890      507       SR0000735228        PX-1802 (RC)        PA0001895398       PX-6391 (PC)   Same artist and album                         X
                                                                                                                                       PX-7906 (PC)                                          identified on both certificates
Ex. 443         Disco Inferno                          50 Cent                                 3545      1220      SR0000366950        PX-2214 (RC)        PA0001298497       PX-2424 (RC)   Same artist identified on both
                                                                                                                                       PX-7278 (PC)                           PX-4969 (PC)   certificates

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                                                                                  Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                              16
  SR - Sound Recording
  MC - Musical Composition
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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                                 Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 444        Disease                                Matchbox Twenty                         5735      337       SR0000345857        PX-7223 (PC)        PA0001105084       PX-4718 (PC)   Same artist and album                         X
                                                                                                                                                                                            identified on both certificates
Ex. 445         Disease (Acoustic)                    Matchbox Twenty                         5736      337       SR0000353594        PX-3432 (RC)        PA0001105084       PX-4718 (PC)   Same artist identified on both
                                                                                                                                      PX-7239 (PC)                                          certificates
Ex. 446         Disease (Remastered Version)          Matchbox Twenty                         5737      337       SR0000633456        PX-3433 (RC)        PA0001105084       PX-4718 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7515 (PC)                                          certificates
Ex. 447         Disparity By Design                   Rise Against                            5243      658       SR0000671827        PX-1993 (RC)        PA0001887807       PX-6365 (PC)   Same album identified on both                 X
                                                                                                                                      PX-7635 (PC)                                          certificates
Ex. 448         Dive                                  Usher                                   2901      508       SR0000731104        PX-1792 (RC)        PA0001828070       PX-6123 (PC)   Same album identified on both                 X
                                                                                                                                      PX-7889 (PC)                                          certificates
Ex. 449         Dive In                               Trey Songz                              5917      2096      SR0000715080        PX-3296 (RC)        PA0001868040       PX-4030 (RC)   Same artist and album                         X
                                                                                                                                      PX-7805 (PC)                                          identified on both certificates
Ex. 450         Divide                                Disturbed                               6357      2579      SR0000647297        PX-7562 (PC)        PA0001697247       PX-3565 (RC)   Same artist and album                         X
                                                                                                                                                                                            identified on both certificates
Ex. 451         DJ Khaled Interlude                   Rick Ross                               5140      659       SR0000642144        PX-1972 (RC)        PA0001661345       PX-899 (RC)    Same date of first publication                X
                                                                                                                                      PX-7549 (PC)                           PX-5293 (PC)   on both certificates
Ex. 452         DJ Play A Love Song                   Jamie Foxx                              245       1603      SR0000374820        PX-1607 (RC)        PA0001696017       PX-2439 (RC)   Same artist and album                         X
                                                                                                                                      PX-7297 (PC)                           PX-5387 (PC)   identified on both certificates
Ex. 453         Do It All Again                       Emblem3                                 1438      219       SR0000726978        PX-1781 (RC)        PA0001866549       PX-6296 (PC)   Same date of first publication                X
                                                                                                                                      PX-7869 (PC)                                          on both certificates
Ex. 454         Do It To Me                           Usher                                   351       220       SR0000354784        PX-1591 (RC)        PA0001159080       PX-815 (RC)    Same artist and album                         X
                                                                                                                                      PX-7243 (PC)                           PX-4824 (PC)   identified on both certificates
Ex. 455         Do Something                          Macy Gray                               2140      1423      SR0000267460        PX-1510 (RC)        PA0000965750       PX-3102 (PC)   Same artist and album                         X
                                                                                                                                      PX-7060 (PC)                           PX-4478 (PC)   identified on both certificates
Ex. 456         Do You Know What You Have             Brandy                                  999       3014      SR0000710136        PX-1739 (RC)        PA0001882749       PX-3614 (RC)   Same artist and album                         X
                                                                                                                                      PX-7785 (PC)                                          identified on both certificates
Ex. 457         DOA                                   Foo Fighters                            1479      1065      SR0000377762        PX-1609 (RC)        PA0001730972       PX-3183 (RC)   Same artist and album                         X
                                                                                                                                      PX-7304 (PC)                           PX-5522 (PC)   identified on both certificates
Ex. 458         Dog Days Are Over                     Florence + The Machine                  4184      1846      SR0000645045        PX-2101 (RC)        PA0001892802       PX-3119 (PC)   Same artist and album                         X
                                                                                                                                      PX-7560 (PC)                           PX-6383 (PC)   identified on both certificates
Ex. 459         Done Stealin'                         Carolina Liar                           5519      1825      SR0000637774        PX-3410 (RC)        PA0001677401       PX-5314 (PC)   Same album identified on both                 X
                                                                                                                                      PX-7528 (PC)                                          certificates
Ex. 460         Don't Be Scared (feat. Rick Ross)     Trey Songz                              5918      2097      SR0000715080        PX-3296 (RC)        PA0001931589       PX-4031 (RC)   Same artist and album                         X
                                                                                                                                      PX-7805 (PC)                                          identified on both certificates
Ex. 461         Don't Do It                           Young Jeezy                             5422      558       SR0000616586        PX-2339 (RC)        PA0001640702       PX-864 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7430 (PC)                           PX-5200 (PC)   certificates
Ex. 462         Don't Give Up On Us                   Sarah McLachlan                         2676      660       SR0000661978        PX-7597 (PC)        PA0001719662       PX-969 (RC)    Same artist identified on both                X
                                                                                                                                                                             PX-5463 (PC)   certificates
Ex. 463         Don't Hold The Wall                   Justin Timberlake                       1948      2098      SR0000717770        PX-1751 (RC)        PA0001915504       PX-6455 (PC)   Same artist and album                         X
                                                                                                                                      PX-7811 (PC)                                          identified on both certificates
Ex. 464         Don't Judge Me                        Chris Brown                             1253      661       SR0000711816        PX-1742 (RC)        PA0001896026       PX-1199 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7791 (PC)                           PX-6394 (PC)   certificates
Ex. 465         Don't Know How To Act (feat. Yung Joc) Flo Rida                               5545      3205      SR0000629161        PX-3314 (RC)        PA0001647060       PX-5250 (PC)   Same artist and album                         X
                                                                                                                                      PX-7498 (PC)        PA0001644874       PX-885 (RC)    identified on both certificates
                                                                                                                                                                             PX-5239 (PC)
Ex. 466         Don't Let Me Be The Last One To Know Britney Spears                           3100      971       SR0000285667        PX-1523 (RC)        PA0001010089       PX-3247 (RC)   Same artist and album                         X
                                                                                                                                      PX-7084 (PC)                           PX-4517 (PC)   identified on both certificates
Ex. 467         Don't Like.1                          Kanye West                              4556      1997      SR0000683430        PX-7679 (PC)        PA0001808408       PX-5993 (PC)   Same artist identified on both                X
                                                                                                                                                                                            certificates
Ex. 468         Don't Look Down                       Jennifer Hudson                         1808      338       SR0000674220        PX-1703 (RC)        PA0001738410       PX-1004 (RC)   Same date of first publication                X
                                                                                                                                      PX-7647 (PC)                           PX-5605 (PC)   on both certificates
Ex. 469         Don't Phunk Around                    Black Eyed Peas                         3758      1558      SR0000633584        PX-2128 (RC)        PA0001824676       PX-3039 (RC)   Same date of first publication                X
                                                                                                                                      PX-8452 (PC)                           PX-6107 (PC)   on both certificates
                                                                                                                                      PX-8453 (PC)
Ex. 470         Don't Play This Song                  Kid Cudi                                4659      662       SR0000696989        PX-2318 (RC)        PA0001750006       PX-1014 (RC)   Same artist and album                         X
                                                                                                                                      PX-7708 (PC)                           PX-5661 (PC)   identified on both certificates
Ex. 471         Don't Play Wit It (feat. Big Gee)     Yung Joc                                6001      2099      SR0000393525        PX-3300 (RC)        PA0001347984       PX-4079 (RC)   Same artist and album                         X
                                                                                                                                      PX-7346 (PC)                                          identified on both certificates
Ex. 472         Don't Rock The Jukebox                Alan Jackson                            389       2580      SR0000138302        PX-1392 (RC)        PA0000525633       PX-3531 (RC)   Same artist and album                         X
                                                                                                                                      PX-6909 (PC)                                          identified on both certificates

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  RC - Registration Certificate                                                                                             17
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Cox Submission                 Track                                    Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 473        Don't Say No, Just Say Yes             Avant                                   3653      1424      SR0000341102        PX-7209 (PC)        PA0001087665       PX-4674 (PC)   Same artist identified on both
                                                                                                                                                                                            certificates
Ex. 474          Don't Take Your Love Away            Avant                                   3654      1425      SR0000339561        PX-2110 (RC)        PA0001158619       PX-4812 (PC)   Same artist and album                         X
                                                                                                                                      PX-7203 (PC)                                          identified on both certificates
Ex. 475          Don't Wake Me Up                     Chris Brown                             1254      2581      SR0000711816        PX-1742 (RC)        PA0001842282       PX-3634 (RC)   Same artist and album                         X
                                                                                                                                      PX-7791 (PC)                                          identified on both certificates
Ex. 476          Don't You Know                       Young Jeezy                             5423      510       SR0000616586        PX-2339 (RC)        PA0001640771       PX-872 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7430 (PC)                           PX-5208 (PC)   certificates
Ex. 477          Don't You Remember                   Adele                                   694       1847      SR0000673074        PX-1701 (RC)        PA0001734876       PX-3032 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7641 (PC)                           PX-5582 (PC)   certificates
Ex. 478          Doorbell                             Trey Songz                              5919      2101      SR0000671697        PX-3298 (RC)        PA0001856251       PX-4043 (RC)   Same artist and album                         X
                                                                                                                                      PX-7631 (PC)                                          identified on both certificates
Ex. 479          Dope                                 Lady Gaga                               4706      3269      SR0000737557        PX-1888 (RC)        PA0001893362       PX-3829 (RC)   Same artist and album                         X
                                                                                                                                      PX-7918 (PC)                           PX-6389 (PC)   identified on both certificates
Ex. 480          Dope Ball (Interlude)                Pitbull                                 2558      663       SR0000641804        PX-1683 (RC)        PA0001733400       PX-5569 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7542 (PC)                                          certificates
Ex. 481          Dope Boy Magic (feat. Nicholas "Play  Yung Joc                               6002      2102      SR0000393525        PX-3300 (RC)        PA0001347985       PX-4068 (RC)   Same artist and album                         X
                 Boy Nick" Smith, Corey "Black Owned C                                                                                PX-7346 (PC)                                          identified on both certificates
                 Bone" Andrews & Chino Dolla)
Ex. 482          Dopefiend's Diner                     2Pac                                   3516      2583      SR0000627960        PX-2126 (RC)        PA0001696337       PX-3523 (RC)   Same artist and album                         X
                                                                                                                                      PX-7491 (PC)                                          identified on both certificates
Ex. 483          Double Bubble Trouble                M.I.A.                                  4911      2584      SR0000736308        PX-2327 (RC)        PA0001919079       PX-3891 (RC)   Same artist and album                         X
                                                                                                                                      PX-7912 (PC)                                          identified on both certificates
Ex. 484          Down                                 Fuel                                    1549      972       SR0000269920        PX-1512 (RC)        PA0001025288       PX-3114 (PC)   Same artist and album                         X
                                                                                                                                      PX-7062 (PC)                           PX-4557 (PC)   identified on both certificates
Ex. 485          Down For The Count                   Bowling For Soup                        3081      1426      SR0000361081        PX-1597 (RC)        PA0001159774       PX-2596 (PC)   Same artist and album                         X
                                                                                                                                      PX-7260 (PC)                           PX-4874 (PC)   identified on both certificates
Ex. 486          Down Inside Of You                   Fuel                                    1550      973       SR0000342237        PX-1579 (RC)        PA0001245163       PX-2631 (PC)   Same artist and album                         X
                                                                                                                                      PX-7213 (PC)                                          identified on both certificates
Ex. 487          Down With The King                   RUN-DMC                                 486       577       SR0000291221        PX-1530 (RC)        PA0001143443       PX-4779 (PC)
                                                                                                                                      PX-7099 (PC)
Ex. 488          Down With The Sickness               Disturbed                               6358      2585      SR0000280324        PX-3353 (RC)        PA0001000622       PX-3505 (RC)   Same artist and album                         X
                                                                                                                                      PX-7186 (PC)                                          identified on both certificates
Ex. 489          Downfall                             Matchbox Twenty                         5738      318       SR0000345857        PX-7223 (PC)        PA0001104581       PX-662 (RC)    Same artist and album                         X
                                                                                                                                                                             PX-4713 (PC)   identified on both certificates
Ex. 490          Downtown                             Lady Antebellum                         3419      894       SR0000721174        PX-1876 (RC)        PA0001864826       PX-6288 (PC)
                                                                                                                                      PX-7832 (PC)
Ex. 491          Downtown Girl                        Hot Chelle Rae                          1677      2103      SR0000412466        PX-8434 (PC)        PA0001856129       PX-3568 (RC)   Same artist and album                         X
                                                                                                                                      PX-8435 (PC)                                          identified on both certificates
Ex. 492          Dr. West                             Eminem                                  4019      1068      SR0000633152        PX-2378 (RC)        PA0001943912       PX-2808 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7513 (PC)                           PX-6502 (PC)   certificates
Ex. 493          Dragon Days                          Alicia Keys                             11        221       SR0000346869        PX-1584 (RC)        PA0001158214       PX-683 (RC)    Same artist and album                         X
                                                                                                                                      PX-7227 (PC)                           PX-4791 (PC)   identified on both certificates
Ex. 494          Dreamer                              Ozzy Osbourne                           2431      399       SR0000303331        PX-1545 (RC)        PA0001071485       PX-647 (RC)    Same artist and album                         X
                                                                                                                                      PX-7124 (PC)                           PX-4635 (PC)   identified on both certificates
Ex. 495          Dreams of Our Fathers                Dave Matthews Band                      154       909       SR0000300313        PX-1541 (RC)        PA0001039322       PX-4576 (PC)   Same artist and album                         X
                                                                                                                                      PX-7115 (PC)                                          identified on both certificates
Ex. 496          Dress On                             Justin Timberlake                       1949      31        SR0000717770        PX-1751 (RC)        PA0001843834       PX-6193 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7811 (PC)                                          certificates
Ex. 497          Dressin' Up                          Katy Perry                              3354      2588      SR0000695553        PX-2198 (RC)        PA0001816541       PX-6048 (PC)   Same artist and album                         X
                                                                                                                                      PX-7704 (PC)                                          identified on both certificates
Ex. 498          Drift And Die                        Puddle Of Mudd                          5109      2589      SR0000301465        PX-1965 (RC)        PA0001075312       PX-4667 (PC)   Same artist and album                         X
                                                                                                                                      PX-2267 (RC)                                          identified on both certificates
                                                                                                                                      PX-7119 (PC)
Ex. 499          Drink to That All Night              Jerrod Niemann                          1820      3134      SR0000738148        PX-1811 (RC)        PA0001953394       PX-6520 (PC)   Same artist and album
                                                                                                                                      PX-7923 (PC)        PA0001910988       PX-6442 (PC)   identified on both certificates
Ex. 500          Drinks for You (Ladies Anthem)       Pitbull                                 2559      664       SR0000714643        PX-1745 (RC)        PA0001833788       PX-1162 (RC)   Same date of first publication                X
                                                                                                                                      PX-7799 (PC)                           PX-6140 (PC)   on both certificates



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Cox Submission                     Track                               Artist                PX-01 # PX-02 #       Reg. No. (SR)           SR Ex. No.      Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 501        Drips                                Eminem                                   4020       32        SR0000317924       PX-2277 (RC)        PA0001092246       PX-655 (RC)    Same artist and album                         X
                                                                                                                                     PX-2380 (RC)                           PX-4688 (PC)   identified on both certificates
                                                                                                                                     PX-7160 (PC)
Ex. 502         Drive (For Daddy Gene)              Alan Jackson                             2          222       SR0000311615       PX-7144 (PC)        PA0001118350       PX-4746 (PC)   Same artist identified on both                X
                                                                                                                                                                            PX-8376 (PC)   certificates
                                                                                                                                                                            PX-8377 (PC)
Ex. 503         Drive By                            Train                                    2887       33        SR0000700152       PX-1724 (RC)        PA0001799432       PX-5922 (PC)   Same date of first publication                X
                                                                                                                                     PX-7727 (PC)                                          on both certificates
Ex. 504         Drive Me                            Phillip Phillips                         5091       1069      SR0000712841       PX-1963 (RC)        PA0001839492       PX-2994 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7795 (PC)                           PX-6162 (PC)   certificates
Ex. 505         Drive Slow (Explicit)               Kanye West                               4557       2590      SR0000372867       PX-7287 (PC)        PA0001310079       PX-4992 (PC)   Same artist identified on both                X
                                                                                                                                                                                           certificates
Ex. 506         Drones In The Valley                Cage The Elephant                        1107       665       SR0000631003       PX-1674 (RC)        PA0001794291       PX-1093 (RC)                                                 X
                                                                                                                                     PX-7507 (PC)                           PX-5914 (PC)
Ex. 507         Droppin' Plates                     Disturbed                                6359       2591      SR0000280324       PX-3353 (RC)        PA0001000622       PX-3505 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7186 (PC)                                          certificates
Ex. 508         Drunk And Hot Girls                 Kanye West                               4558       2105      SR0000615020       PX-2068 (RC)        PA0001592989       PX-5110 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7420 (PC)                                          certificates
Ex. 509         Drunk in Love                       Beyoncé feat. Jay-Z                      825        2106      SR0000747291       PX-1834 (RC)        PA0001918132       PX-3596 (RC    Same artist identified on both                X
                                                                                                                                     PX-7956 (PC)                                          certificates
Ex. 510         Duality                             Slipknot                                 6196       34        SR0000358238       PX-3463 (RC)        PA0001231062       PX-792 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7253 (PC)                           PX-8177 (PC)   certificates
Ex. 511         D'yer Mak'er                        Led Zeppelin                             5683       2563      N5660              PX-3328 (RC)        EP0000256801       PX-3838 (RC)   Same artist identified on both                X
                                                                                                                                                                            PX-8085 (PC)   certificates
Ex. 512         E.T.                                Katy Perry                               3355       2592      SR0000681293       PX-2195 (RC)        PA0001753644       PX-5712 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7674 (PC)                                          certificates
Ex. 513         Each Other                          Kelly Rowland                            4620       3250      SR0000681564       PX-1863 (RC)        PA0001823951       PX-1150 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7675 (PC)        PA0001763340       PX-6101 (PC)   certificates
                                                                                                                                                                            PX-5753 (PC)
Ex. 514         Ease Off The Liquor                 Timbaland                                5367       2108      SR0000411631       n/a                 PA0001780085       PX-4022 (RC)   Recording artist identified on                X
                                                                                                                                                                                           composition certificate
Ex. 515         East 1999                           Bone Thugs-N-Harmony                     894        1604      SR0000225335       PX-1434 (RC)        PA0000767827       PX-2729 (RC)   Same artist identified on both                X
                                                                                                                                     PX-6999 (PC)                           PX-4303 (PC)   certificates
Ex. 516         Echo                                Bad Meets Evil                           3705       1070      SR0000678636       PX-2135 (RC)        PA0001842409       PX-6184 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7662 (PC)                                          certificates
Ex. 517         Ego Tripping Out                    Marvin Gaye                              4981       35        SR0000012844       PX-2240 (RC)        PA0000065832       PX-4146 (PC)   Same artist identified on both
                                                                                                                                     PX-6688 (PC)                                          certificates
Ex. 518         Eh, Eh (Nothing Else I Can Say)     Lady Gaga                                4707       666       SR0000617841       PX-1885 (RC)        PA0001685326       PX-921 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7439 (PC)                           PX-5345 (PC)   certificates
Ex. 519         Einstein                            Kelly Clarkson                           1989       3087      SR0000693113       PX-1717 (RC)        PA0001851192       PX-6231 (PC)   Same artist identified on both                X
                                                                                                                                     PX-8462 (PC)        PA0001771871                      certificates
                                                                                                                                     PX-8463 (PC)
Ex. 520         Elevate                             Big Time Rush                            833        36        SR0000697856       PX-1722 (RC)        PA0001825038       PX-6112 (PC)   Same date of first publication                X
                                                                                                                                     PX-7715 (PC)                                          on both certificates
Ex. 521         Elevator (feat. Timbaland)          Flo Rida                                 5546       2594      SR0000629161       PX-3314 (RC)        PA0001647059       PX-3718 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7498 (PC)                                          certificates
Ex. 522         Emenius Sleepus                     Green Day                                6489       2595      SR0000185457       PX-3365 (RC)        PA0000713968       PX-4282 (PC)   Same artist identified on both                X
                                                                                                                                     PX-6953 (PC)                                          certificates
Ex. 523         Empty Spaces                        Fuel                                     1552       976       SR0000269920       PX-1512 (RC)        PA0001025283       PX-4552 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7062 (PC)                                          certificates
Ex. 524         Encore                              Jason Derulo                             6529       667       SR0000685175       PX-3380 (RC)        PA0001813214       PX-6023 (PC)   Same date of first publication                X
                                                                                                                                     PX-7683 (PC)                                          on both certificates
Ex. 525         Encore/Curtains Down                Eminem                                   4023       1849      SR0000364769       PX-2283 (RC)        PA0001295406       PX-3131 (RC)   Same artist identified on both                X
                                                                                                                                     PX-2376 (RC)                           PX-4960 (PC)   certificates
                                                                                                                                     PX-7273 (PC)
Ex. 526         End Of Time                         Beyoncé                                  787        2597      SR0000683948       PX-1715 (RC)        PA0001861922       PX-3553 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7681 (PC)                                          certificates
Ex. 527         End Over End                        Foo Fighters                             1481       1071      SR0000377762       PX-1609 (RC)        PA0001730846       PX-2832 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7304 (PC)                           PX-5508 (PC)   certificates


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                                                                                Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                            19
  SR - Sound Recording
  MC - Musical Composition
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                                                                                             Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                               Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 528        Endgame                              Rise Against                            5244      668       SR0000671827        PX-1993 (RC)        PA0001887807       PX-6365 (PC)   Same date of first publication                X
                                                                                                                                    PX-7635 (PC)                                          on both certificates
Ex. 529         Energy                              Keri Hilson                             4625      367       SR0000612858        PX-1864 (RC)        PA0001840559       PX-6172 (PC)
                                                                                                                                    PX-7404 (PC)
Ex. 530         English Civil War                   The Clash                               2829      1850      SR0000006482        PX-1255 (RC)        PA0000044735       PX-2450 (RC)   Same artist identified on both                X
                                                                                                                                    PX-6671 (PC)                           PX-4134 (PC)   certificates
Ex. 531         English Town                        Matchbox Twenty                         5739      401       SR0000714896        PX-3434 (RC)        PA0001850285       PX-6218 (PC)   Same date of first publication                X
                                                                                                                                    PX-7803 (PC)                                          on both certificates
Ex. 532         Enough                              Disturbed                               6360      2598      SR0000647297        PX-7562 (PC)        PA0001697242       PX-3509 (RC)   Same artist identified on both                X
                                                                                                                                                                                          certificates
Ex. 533         Enough Of No Love                   Keyshia Cole                            4639      3088      SR0000704034        PX-1870 (RC)        PA0001850232       PX-6213 (PC)   Same artist identified on both
                                                                                                                                    PX-7742 (PC)        PA0001833132       PX-1159 (RC)   certificates
                                                                                                                                                                           PX-6136 (PC)
Ex. 534         Entombed                            Deftones                                6308      2599      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7824 (PC)                           PX-3501 (RC)   certificates
Ex. 535         Erase/Replace                       Foo Fighters                            1483      1072      SR0000617325        PX-1655 (RC)        PA0001625296       PX-2833 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7436 (PC)                           PX-5161 (PC)   certificates
Ex. 536         Eternal                             Bone Thugs-N-Harmony                    896       1607      SR0000225335        PX-1434 (RC)        PA0000767828       PX-2730 (RC)   Same artist identified on both                X
                                                                                                                                    PX-6999 (PC)                           PX-4304 (PC)   certificates
Ex. 537         Even The Stars Fall 4 U             Keith Urban                             3391      402       SR0000733375        PX-1894 (RC)        PA0001947441       PX-1219 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7899 (PC)                                          certificates
Ex. 538         Ever The Same                       Rob Thomas                              5842      37        SR0000373876        PX-3453 (RC)        PA0001161186       PX-745 (RC)    Same artist identified on both                X
                                                                                                                                    PX-7291 (PC)                           PX-4922 (PC)   certificates
Ex. 539         Every Night                         Imagine Dragons                         4361      1073      SR0000707482        PX-2052 (RC)        PA0001816017       PX-6041 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7766 (PC)                                          certificates
Ex. 540         Every Other Memory                  Eli Young Band                          3933      223       SR0000684024        PX-2080 (RC)        PA0001765856       PX-5758 (PC)   Same date of first publication                X
                                                                                                                                    PX-7682 (PC)                                          on both certificates
Ex. 541         Every Position                      R. Kelly                                2603      1427      SR0000737848        PX-1807 (RC)        PA0002031790       PX-3095 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7919 (PC)                           PX-6586 (PC)   certificates
Ex. 542         Everybody                           Macy Gray                               4920      403       SR0000395382        PX-2326 (RC)        PA0001592998       PX-5112 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7352 (PC)                                          certificates
Ex. 543         Everybody Cares, Everybody          Elliott Smith                           3981      1275      SR0000241677        PX-2223 (RC)        PA0000943580       PX-3146 (RC)   Same artist identified on both                X
                Understands                                                                                                         PX-7012 (PC)                           PX-4462 (PC)   certificates
Ex. 544         Everybody Hurts                     Avril Lavigne                           759       224       SR0000680182        PX-1709 (RC)        PA0001761234       PX-5743 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7668 (PC)                                          certificates
Ex. 545         Everybody Needs Love                Jennifer Hudson                         1809      39        SR0000674220        PX-1703 (RC)        PA0001738398       PX-1000 (RC)   Same date of first publication                X
                                                                                                                                    PX-7647 (PC)                           PX-5601 (PC)   on both certificates
Ex. 546         Everyday                            Dave Matthews Band                      157       910       SR0000300313        PX-1541 (RC)        PA0001039330       PX-4583 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7115 (PC)                                          certificates
Ex. 547         Everything About You                Avant                                   3655      1428      SR0000339561        PX-2110 (RC)        PA0001158625       PX-3278 (RC)   Same artist and album                         X
                                                                                                                                    PX-7203 (PC)                           PX-4818 (PC)   identified on both certificates
Ex. 548         Everything Back But You             Avril Lavigne                           61        511       SR0000609671        PX-1648 (RC)        PA0001167505       PX-782 (RC)    Same artist and album                         X
                                                                                                                                    PX-7394 (PC)                           PX-8296 (PC)   identified on both certificates
Ex. 549         Everything Ends                     Slipknot                                6197      40        SR0000330440        PX-3462 (RC)        PA0001102120       PX-4705 (PC)   Same artist and album                         X
                                                                                                                                    PX-7185 (PC)                                          identified on both certificates
Ex. 550         Everything Is Fine                  Josh Turner                             4464      1609      SR0000621055        PX-2062 (RC)        PA0001642898       PX-2897 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7467 (PC)                           PX-5223 (PC)   certificates
Ex. 551         Everything Reminds Me Of Her        Elliott Smith                           3982      1277      SR0000280584        PX-2085 (RC)        PA0001015782       PX-3211 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7187 (PC)                           PX-4532 (PC)   certificates
Ex. 552         Everytime                           Simple Plan                             5881      2602      SR0000375167        PX-3458 (RC)        PA0001251376       n/a            Same artist identified on both                X
                                                                                                                                    PX-7299 (PC)                                          certificates
Ex. 553         Everywhere                          Common                                  3873      319       SR0000619987        PX-2125 (RC)        PA0001731500       PX-5542 (PC)   Same date of first publication                X
                                                                                                                                    PX-7455 (PC)                                          on both certificates
Ex. 554         Evil Deeds                          Eminem                                  4024      3017      SR0000364769        PX-2283 (RC)        PA0001284525       PX-3687 (RC)   Same artist identified on both                X
                                                                                                                                    PX-2376 (RC)                           PX-4954 (PC)   certificates
                                                                                                                                    PX-7273 (PC)
Ex. 555         Exclusive                           Avant                                   3656      1611      SR0000396388        PX-2117 (RC)        PA0001323360       PX-3257 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7358 (PC)                           PX-5008 (PC)   certificates
Ex. 556         Eye Candy                           Josh Turner                             4465      1075      SR0000645586        PX-2314 (RC)        PA0001681746       PX-5327 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7561 (PC)                                          certificates

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                                                                                                     Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                       Artist                    PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                        Part of Same Compilation
Ex. 557        Eye In The Sky                           The Alan Parsons Project                    533       1278      SR0000037591        PX-6749 (PC)        PA0000144130       PX-2669 (RC)   Same artist identified on both                X
                                                                                                                                                                                   PX-4165 (PC)   certificates
Ex. 558         Eyeless                                 Slipknot                                    6198      41        SR0000301094        PX-3461 (RC)        PA0000965864       PX-4480 (PC)   Same artist identified on both                X
                                                                                                                                            PX-7118 (PC)                                          certificates
Ex. 559         F**k The Club Up (feat. Pastor Troy &   Waka Flocka Flame                           5948      2605      SR0000672357        PX-3299 (RC)        PA0001847136       PX-4082 (RC)   Same artist identified on both                X
                Slim Dunkin)                                                                                                                PX-7638 (PC)                                          certificates
Ex. 560         F**k This Industry                      Waka Flocka Flame                           5949      2113      SR0000672357        PX-3299 (RC)        PA0001739132       PX-4081 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7638 (PC)                                          certificates
Ex. 561         Facade                                  Disturbed                                   6361      2607      SR0000647297        PX-7562 (PC)        PA0001697247       PX-3565 (RC)   Same artist identified on both                X
                                                                                                                                                                                                  certificates
Ex. 562         Fading                                  Rihanna                                     5185      225       SR0000684805        PX-2334 (RC)        PA0001728370       PX-5493 (PC)                                                 X
                                                                                                                                            PX-8458 (PC)
                                                                                                                                            PX-8459 (PC)
Ex. 563         Faithful                                Common                                      3874      2411      SR0000377106        PX-2112 (RC)        PA0001299024       PX-3648 (RC)   Same artist and album                         X
                                                                                                                                            PX-7302 (PC)                                          identified on both certificates
Ex. 564         Fall Asleep                             Wiz Khalifa                                 5964      3206      SR0000715951        PX-3297 (RC)        PA0001874350       PX-1187 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7809 (PC)                           PX-6320 (PC)   certificates
Ex. 565         Fall To Pieces                          Avril Lavigne                               62        1613      SR0000332312        PX-1575 (RC)        PA0001251271       PX-2689 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7193 (PC)                                          certificates
Ex. 566         Fallin'                                 Alicia Keys                                 13        226       PA0001328763        PX-1483 (RC)        PA0001118374       PX-4747 (PC)   Same artist identified on both
                                                                                                                                            PX-5016 (PC)                                          certificates
Ex. 567         Fallin' In Love                         Anthony Hamilton                            409       1077      SR0000625444        PX-7484 (PC)        PA0001603747       PX-3277 (RC)   Same artist identified on both                X
                                                                                                                                                                                   PX-5135 (PC)   certificates
Ex. 568         Fallin' Out                             Keyshia Cole                                4640      339       SR0000615233        PX-1869 (RC)        PA0001589919       PX-802 (RC)    Same artist identified on both                X
                                                                                                                                            PX-7423 (PC)                           PX-5087 (PC)   certificates
Ex. 569         Fallin' To Pieces                       Rob Thomas                                  5843      43        SR0000373876        PX-3453 (RC)        PA0001161187       PX-746 (RC)    Same artist identified on both                X
                                                                                                                                            PX-7291 (PC)                           PX-4923 (PC)   certificates
Ex. 570         Falling In Love (Is Hard On The Knees) Aerosmith                                    720       911       SR0000246031        PX-1441 (RC)        PA0000847442       PX-3262 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7017 (PC)                           PX-4376 (PC)   certificates
Ex. 571         Falls On Me                             Fuel                                        1553      977       PA0001234071        PX-1475 (PC)        PA0001245161       PX-2629 (PC)   Same artist identified on both
                                                                                                                                            PX-8031 (PC)                                          certificates
Ex. 572         Farewell                                Rihanna                                     5186      1078      SR0000689431        PX-1980 (RC)        PA0001778700       PX-3013 (RC)   Same date of first publication                X
                                                                                                                                            PX-7695 (PC)                           PX-5829 (PC)   on both certificates
Ex. 573         Fashion Of His Love                     Lady Gaga                                   4709      3207      SR0000678406        PX-1887 (RC)        PA0001757748       PX-5729 (PC)   Same artist identified on both                X
                                                                                                                                            PX-7657 (PC)        PA0001751985       PX-1025 (RC)   certificates
                                                                                                                                                                                   PX-5685 (PC)
Ex. 574         Fast In My Car                          Paramore                                    5797      2609      SR0000724441        PX-3451 (RC)        PA0001854436       PX-3959 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7850 (PC)                                          certificates
Ex. 575         Fast Lane                               Bad Meets Evil                              3706      3188      SR0000678637        PX-2193 (RC)        PA0001842407       PX-3539 (RC)   Same artist identified on both
                                                                                                                                            PX-2352 (RC)                           PX-6183 (PC)   certificates
                                                                                                                                            PX-7663 (PC)
Ex. 576         Feast                                   Avant                                       3657      1430      SR0000339561        PX-2110 (RC)        PA0001158622       PX-3279 (RC)   Same artist and album                         X
                                                                                                                                            PX-7203 (PC)                           PX-4815 (PC)   identified on both certificates
Ex. 577         Feel                                    Matchbox Twenty                             5740      44        SR0000345857        PX-7223 (PC)        PA0001104645       PX-664 (RC)    Same album identified on both                 X
                                                                                                                                                                                   PX-4716 (PC)   certificates
Ex. 578         Feel This Moment                        Pitbull feat. Christina Aguilera            2576      896       SR0000714643        PX-1745 (RC)        PA0001858590       PX-6262 (PC)   Same artist identified on both                X
                                                                                                                                            PX-7799 (PC)                                          certificates
Ex. 579         Feeling Sorry                           Paramore                                    5798      2611      SR0000657157        PX-3450 (RC)        PA0001676906       PX-3955 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7587 (PC)                                          certificates
Ex. 580         Feeling U, Feeling Me (Interlude)       Alicia Keys                                 14        227       SR0000346869        PX-1584 (RC)        PA0001158215       PX-684 (RC)    Same artist identified on both                X
                                                                                                                                            PX-7227 (PC)                           PX-4792 (PC)   certificates
Ex. 581         Fences                                  Paramore                                    5799      2612      SR0000631909        PX-3323 (RC)        PA0001595053       PX-3961 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7510 (PC)                                          certificates
Ex. 582         Feng Shui                               Gnarls Barkley                              5580      2117      SR0000398345        PX-3293 (RC)        PA0001338255       PX-3740 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7361 (PC)                                          certificates
Ex. 583         Finally                                 Brandy                                      5465      2616      SR0000370673        PX-3289 (RC)        PA0001236713       PX-3609 (RC)   Same artist identified on both                X
                                                                                                                                            PX-7283 (PC)                           PX-8192 (PC)   certificates
Ex. 584         Finally Here                            Flo Rida                                    5547      669       SR0000658178        PX-3306 (RC)        PA0001807843       PX-5985 (PC)   Same artist identified on both                X
                                                                                                                                            PX-7589 (PC)                                          certificates


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Cox Submission                     Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Same Compilation
Ex. 585        Fine Again                                Anthony Hamilton                       410       514       SR0000625444        PX-7484 (PC)        PA0001627411       PX-856 (RC)    Same artist identified on both                X
                                                                                                                                                                               PX-5176 (PC)   certificates
Ex. 586         Fireal                                   Deftones                               6309      2617      SR0000171111        PX-6935 (PC)        PA0000776635       PX-3494 (RC)   Same artist identified on both                X
                                                                                                                                                                                              certificates
Ex. 587         Firework                                 Katy Perry                             3358      2618      SR0000662268        PX-2190 (RC)        PA0001753920       PX-5716 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7599 (PC)                                          certificates
Ex. 588         First Love                               Adele                                  695       1852      SR0000616701        PX-1654 (RC)        PA0001975718       PX-3062 (RC)   Same artist and album                         X
                                                                                                                                        PX-7431 (PC)                           PX-6551 (PC)   identified on both certificates
Ex. 589         Fistful Of Tears                         Maxwell                                2206      368       SR0000639738        PX-1678 (RC)        PA0001707770       PX-953 (RC)    Same artist identified on both                X
                                                                                                                                        PX-7536 (PC)                           PX-5443 (PC)   certificates
Ex. 590         Flaws                                    Bastille                               3240      1853      SR0000753441        PX-2147 (RC)        PA0001915732       PX-2708 (RC)                                                 X
                                                                                                                                        PX-2408 (RC)                           PX-6457 (PC)
                                                                                                                                        PX-7972 (PC)
Ex. 591         Flickin'                                 Avant                                  3658      1432      SR0000339561        PX-2110 (RC)        PA0001158627       PX-3280 (RC)   Same artist and album                         X
                                                                                                                                        PX-7203 (PC)                           PX-4819 (PC)   identified on both certificates
Ex. 592         Flip Flop (feat. Boyz N Da Hood and      Yung Joc                               6004      2118      SR0000393525        PX-3300 (RC)        PA0001347987       PX-4071 (RC)   Same artist identified on both                X
                Cheri Dennis)                                                                                                           PX-7346 (PC)                                          certificates
Ex. 593         Flow                                     Cage The Elephant                      1108      671       SR0000703665        PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                        PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 594         Flowers                                  Brad Paisley                           84        2119      SR0000366007        PX-1609 (RC)        PA0001162294       PX-4941 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7304 (PC)                                          certificates
Ex. 595         Fly As The Sky                           Chamillionaire                         3838      1615      SR0000381901        PX-2114 (RC)        PA0001317549       PX-3245 (RC)   Same artist identified on both                X
                                                                                                                                        PX-2362 (RC)                           PX-5001 (PC)   certificates
                                                                                                                                        PX-7316 (PC)
Ex. 596         Focus                                    Brandy                                 5466      2621      SR0000370673        PX-3289 (RC)        PA0001236716       PX-3610 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7283 (PC)                           PX-8170 (PC)   certificates
Ex. 597         Fold Your Hands Child                    Cobra Starship                         6140      228       SR0000657140        PX-3413 (RC)        PA0001656112       PX-5274 (PC)   Same date of first publication                X
                                                                                                                                        PX-7586 (PC)                                          on both certificates
Ex. 598         Follow Me                                Usher                                  352       45        SR0000354784        PX-1591 (RC)        PA0001159084       PX-701 (RC)    Same album identified on both                 X
                                                                                                                                        PX-7243 (PC)                           PX-4827 (PC)   certificates
Ex. 599         Fool In Love                             Rihanna                                5189      1079      SR0000689431        PX-1980 (RC)        PA0001804439       PX-3014 (RC)   Same date of first publication                X
                                                                                                                                        PX-7695 (PC)                           PX-5932 (PC)   on both certificates
Ex. 600         Fool to Think                            Dave Matthews Band                     158       912       SR0000300313        PX-1541 (RC)        PA0001039327       PX-4580 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7115 (PC)                                          certificates
Ex. 601         For A Pessimist, I'm Pretty Optimistic   Paramore                               5800      2622      SR0000631909        PX-3323 (RC)        PA0001595045       PX-3958 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7510 (PC)                                          certificates
Ex. 602         For My Dawgs                             Waka Flocka Flame                      5950      2623      SR0000672357        PX-3299 (RC)        PA0001847144       PX-4053 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7638 (PC)                                          certificates
Ex. 603         For Tha Love Of $                        Bone Thugs-N-Harmony with Eazy-E       909       913       SR0000223608        PX-1430 (RC)        PA0000713004       PX-2435 (PC)   Same artist identified on both                X
                                                                                                                                        PX-6993 (PC)                           PX-4277 (PC)   certificates
Ex. 604         Forca                                    Nelly Furtado                          5024      672       SR0000729667        PX-1944 (RC)        PA0001239138       PX-793 (RC)    Same artist identified on both                X
                                                                                                                                        PX-7882 (PC)                                          certificates
Ex. 605         Forever Unstoppable                      Hot Chelle Rae                         1678      2121      SR0000412466        PX-8434 (PC)        PA0001856129       PX-3568 (RC)   Same artist identified on both                X
                                                                                                                                        PX-8435 (PC)                                          certificates
Ex. 606         Forever Yours                            Trey Songz                             5920      2122      SR0000715080        PX-3296 (RC)        PA0001865870       PX-4038 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7805 (PC)                                          certificates
Ex. 607         Forfeit                                  Chevelle                               1236      2624      SR0000324184        PX-1569 (RC)        PA0001859504       PX-3569 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7177 (PC)                                          certificates
Ex. 608         Forgiven                                 Disturbed                              6363      2625      SR0000380289        PX-3351 (RC)        PA0001352640       PX-8015 (PC)   Same album identified on both                 X
                                                                                                                                        PX-7313 (PC)        PA0001296201       PX-8400 (PC)   certificates
                                                                                                                                                                               PX-8401 (PC)
                                                                                                                                                                               PX-8016 (PC)
                                                                                                                                                                               PX-8394 (PC)
                                                                                                                                                                               PX-8395 (PC)
Ex. 609         Forgotten                                Avril Lavigne                          63        1616      SR0000332312        PX-1575 (RC)        PA0001251273       PX-3254 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7193 (PC)                                          certificates
Ex. 610         Fortune Teller                           Maroon 5                               4937      1279      SR0000705167        PX-1928 (RC)        PA0001810795       PX-6008 (PC)   Same date of first publication                X
                                                                                                                                        PX-7755 (PC)                                          on both certificates
Ex. 611         Freak Like Me                            Macy Gray                              2143      1         SR0000302804        PX-1544 (RC)        PA0001158289       PX-4796 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7122 (PC)                                          certificates

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  RC - Registration Certificate                                                                                               22
  SR - Sound Recording
  MC - Musical Composition
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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                     Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 612        Freak Of The World                     Puddle Of Mudd                          5110      2626      SR0000347741        PX-7229 (PC)        PA0001225980       PX-3981 (RC)   Same artist identified on both                X
                                                                                                                                                                             PX-8184 (PC)   certificates
Ex. 613         Freak Out                             Avril Lavigne                           64        229       SR0000332312        PX-1575 (RC)        PA0001159307       PX-706 (RC)    Same artist and album                         X
                                                                                                                                      PX-7193 (PC)                           PX-4832 (PC)   identified on both certificates
Ex. 614         Freaky Deaky (feat. Trey Songz)       Flo Rida                                5548      673       SR0000629161        PX-3314 (RC)        PA0001644872       PX-884 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7498 (PC)                           PX-5238 (PC)   certificates
Ex. 615         Free Love                             Cage The Elephant                       1109      674       SR0000631003        PX-1674 (RC)        PA0001794291       PX-1093 (RC)   Same album identified on both                 X
                                                                                                                                      PX-7507 (PC)                           PX-5914 (PC)   certificates
Ex. 616         Free Me                               Foo Fighters                            1486      1080      SR0000377762        PX-1609 (RC)        PA0001730772       PX-2834 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7304 (PC)                           PX-5504 (PC)   certificates
Ex. 617         Free To Decide                        The Cranberries                         5326      1960      SR0000228075        PX-7004 (PC)        PA0000791577       PX-2531 (RC)   Same artist identified on both
                                                                                                                                                                             PX-4344 (PC)   certificates
Ex. 618         Friday                                Plies                                   5828      2414      SR0000612286        PX-3452 (RC)        PA0001765676       PX-3970 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7402 (PC)                                          certificates
Ex. 619         Friend Of A Friend                    Foo Fighters                            1487      1081      SR0000377762        PX-1609 (RC)        PA0001730881       PX-2835 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7304 (PC)                           PX-5513 (PC)   certificates
Ex. 620         Friends O' Mine                       Bowling For Soup                        3082      1433      SR0000361081        PX-1597 (RC)        PA0001159776       PX-3041 (RC)   Same album identified on both                 X
                                                                                                                                      PX-7260 (PC)                           PX-4876 (PC)   certificates
                                                                                                                                                                             PX-8390 (PC)
                                                                                                                                                                             PX-8391 (PC)
Ex. 621         Frontin'                              Chamillionaire                          3839      1617      SR0000381901        PX-2114 (RC)        PA0001317546       PX-3244 (RC)   Same artist identified on both                X
                                                                                                                                      PX-2362 (RC)                           PX-4998 (PC)   certificates
                                                                                                                                      PX-7316 (PC)
Ex. 622         Fuck The World (Explicit)             2Pac                                    3517      1434      SR0000198774        PX-2107 (RC)        PA0000956432       PX-2422 (PC)   Same artist identified on both                X
                                                                                                                                      PX-2108 (RC)                           PX-4477 (PC)   certificates
                                                                                                                                      PX-6964 (PC)
Ex. 623         Fumble                                Trey Songz                              5921      2123      SR0000715080        PX-3296 (RC)        PA0001866132       PX-4032 (RC)   Same artist identifed on both                 X
                                                                                                                                      PX-7805 (PC)                                          certificates
Ex. 624         Future                                Paramore                                5801      2627      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7850 (PC)                                          certificates
Ex. 625         FutureSex / LoveSound                 Justin Timberlake                       3161      2001      SR0000395943        PX-1630 (RC)        PA0001368884       PX-5036 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7356 (PC)                                          certificates
Ex. 626         G Check (feat. YG Hootie, Bo Deal &   Waka Flocka Flame                       5951      2124      SR0000672357        PX-3299 (RC)        PA0001739116       PX-4057 (RC)   Same artist identified on both                X
                Joe Moses)                                                                                                            PX-7638 (PC)                                          certificates
Ex. 627         G Is For Girl (A-Z)                   Ciara                                   1300      46        SR0000631011        PX-1675 (RC)        PA0001649993       PX-5266 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7508 (PC)                                          certificates
Ex. 628         Gangsta Bop                           Akon                                    3585      676       SR0000610156        PX-2119 (RC)        PA0001167178       PX-779 (RC)    Same album identified on both                 X
                                                                                                                                      PX-2293 (RC)                           PX-8292 (PC)   certificates
                                                                                                                                      PX-2415 (RC)
                                                                                                                                      PX-7397 (PC)
Ex. 629         GATman And Robbin                     50 Cent                                 3546      575       SR0000366051        PX-2111 (RC)        PA0001160842       PX-742 (RC)    Same album identified on both                 X
                                                                                                                                      PX-7275 (PC)                           PX-4908 (PC)   certificates
Ex. 630         Gauze                                 Deftones                                6310      2628      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7824 (PC)                           PX-3501 (RC)   certificates
Ex. 631         Geek Stink Breath                     Green Day                               6491      2629      SR0000188562        PX-3366 (RC)        PA0000774217       PX-4316 (PC)   Same artist identified on both                X
                                                                                                                                      PX-6956 (PC)                                          certificates
Ex. 632         Generation                            Simple Plan                             5882      2020      SR0000639323        PX-3459 (RC)        PA0001644603       PX-5233 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7534 (PC)                                          certificates
Ex. 633         Generator                             Foo Fighters                            1488      1618      SR0000285034        PX-1522 (RC)        PA0001693314       PX-3182 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7083 (PC)                           PX-5374 (PC)   certificates
Ex. 634         Get Allot                             Young Jeezy                             5425      515       SR0000616586        PX-2339 (RC)        PA0001640710                      Same artist identified on both                X
                                                                                                                                      PX-7430 (PC)                           PX-5201 (PC)   certificates
Ex. 635         Get Away                              Avant                                   3659      1435      SR0000281220        PX-2105 (RC)        PA0001025466       PX-3089 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7189 (PC)                           PX-4562 (PC)   certificates
Ex. 636         Get Back In My Life                   Maroon 5                                4938      1280      SR0000664531        PX-1929 (RC)        PA0001726280       PX-2945 (RC)   Same date of first publication                X
                                                                                                                                      PX-7606 (PC)                           PX-5477 (PC)   on both certificates
Ex. 637         Get Happy                             Bowling For Soup                        3083      1436      SR0000361081        PX-1597 (RC)        PA0001159763       PX-2589 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7260 (PC)                           PX-4864 (PC)   certificates
Ex. 638         Get In My Car                         50 Cent                                 3547      1619      SR0000366051        PX-2111 (RC)        PA0001298494       PX-2428 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7275 (PC)                           PX-4966 (PC)   certificates

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Cox Submission                    Track                                   Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Same Compilation
Ex. 639        Get Inside                              Stone Sour                               6225      48        SR0000330447        PX-3466 (RC)        PA0001115051       PX-673 (RC)    Same artist identified on both                 X
                                                                                                                                        PX-8004 (PC)                           PX-4742 (PC)   certificates
Ex. 640         Get It Started                         Pitbull                                  2561      3192      SR0000714740        PX-1747 (RC)        PA0001856139       PX-6247 (PC)   Same artist identified on both
                                                                                                                                        PX-7801 (PC)        PA0001833984       PX-6144 (PC)   certificates
Ex. 641         Get Out                                Macy Gray                                4921      605       SR0000395382        PX-2326 (RC)        PA0001592997       PX-5111 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7352 (PC)                                          certificates
Ex. 642         Get Out Of This Town                   Carrie Underwood                         1143      3151      SR0000627157        PX-1670 (RC)        PA0001590007       PX-5088 (PC)                                                  X
                                                                                                                                        PX-7487 (PC)        PA0001396401       PX-5078 (PC)
Ex. 643         Get Some                               Chevelle                                 1237      2127      SR0000363500        PX-1602 (RC)        PA0001253726       PX-4092 (RC)   Same artist identified on both                 X
                                                                                                                                        PX-7271 (PC)                                          certificates
Ex. 644         Get To Me                              Lady Antebellum                          3422      404       SR0000724696        PX-1877 (RC)        PA0001867242       PX-6298 (PC)                                                  X
                                                                                                                                        PX-7856 (PC)
Ex. 645         Get Up Get Down                        Phillip Phillips                         5092      49        SR0000712841        PX-1963 (RC)        PA0001839489       PX-6160 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7795 (PC)                                          certificates
Ex. 646         Get Your Money Up                      Keri Hilson                              4626      2631      SR0000629123        PX-1867 (RC)        PA0001881522       PX-6342 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7497 (PC)                                          certificates
Ex. 647         Getting Thru?                          Fuel                                     1555      978       SR0000342237        PX-1579 (RC)        PA0001245157       PX-2625 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7213 (PC)                                          certificates
Ex. 648         Getting to da Money (featuring Mike    Yung Joc                                 6005      2128      SR0000622799        PX-3489 (RC)        PA0001648763       PX-4077 (RC)   Same artist identified on both                 X
                Carlito & Gorilla Zoe)                                                                                                  PX-7478 (PC)                                          certificates
Ex. 649         Ghetto Dreams                          2 Chainz                                 3505      1620      SR0000706415        PX-2140 (RC)        PA0001833561       PX-2659 (RC)   Same artist identified on both                 X
                                                                                                                                        PX-7763 (PC)                           PX-6137 (PC)   certificates
Ex. 650         Ghetto Gospel (Explicit)               2Pac                                     3518      1621      SR0000366107        PX-2210 (RC)        PA0001323618       PX-5009 (PC)   Same artist and date of first
                                                                                                                                        PX-7276 (PC)                                          publication on both certificates

Ex. 651         Ghost Behind My Eyes                   Ozzy Osbourne                            2433      914       SR0000171292        PX-1406 (PC)        PA0000795018       PX-2533 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-6936 (PC)                           PX-4348 (PC)   certificates
Ex. 652         GHOST!                                 Kid Cudi                                 4661      677       SR0000696989        PX-2318 (RC)        PA0001750014       PX-1016 (RC)   Same artist identified on both                 X
                                                                                                                                        PX-7708 (PC)                           PX-5663 (PC)   certificates
Ex. 653         Gimme All Your Lovin' or I Will Kill You Macy Gray                              2144      1437      SR0000302804        PX-1544 (RC)        PA0001068357       PX-3103 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7122 (PC)                           PX-4626 (PC)   certificates
Ex. 654         Gimme Stitches                         Foo Fighters                             1489      1622      SR0000285034        PX-1522 (RC)        PA0001693310       PX-3181 (RC)   Same artist identified on both                 X
                                                                                                                                        PX-7083 (PC)                           PX-5373 (PC)   certificates
Ex. 655         Gimme Whatcha Got                      Chris Brown                              3127      2130      SR0000630132        PX-1673 (RC)        PA0001732722       PX-3632 (RC)   Same artist and album                          X
                                                                                                                                        PX-7503 (PC)                                          identified on both certificates
Ex. 656         Gimmie Dat                             Ciara                                    1301      678       PA0001744092        PX-1492 (RC)        PA0001835722       PX-1168 (RC)   Same artist identified on both
                                                                                                                                        PX-5643 (PC)                           PX-6155 (PC)   certificates
Ex. 657         Girl Like That                         Matchbox Twenty                          5741      340       SR0000227755        PX-3294 (RC)        PA0000844644       PX-4366 (PC)   Same artist identifed on both                  X
                                                                                                                                        PX-7003 (PC)                                          certificates
Ex. 658         Girlfriend                             Avril Lavigne                            760       1623      SR0000719163        PX-1758 (RC)        PA0001334139       PX-3253 (RC)   Same artist identified on both
                                                                                                                                        PX-7820 (PC)                           PX-5018 (PC)   certificates
Ex. 659         Girlfriend In The City                 Nelly Furtado                            5026      679       SR0000729667        PX-1944 (RC)        PA0001753993       PX-1035 (RC)   Same artist identified on both                 X
                                                                                                                                        PX-7882 (PC)                           PX-5718 (PC)   certificates
Ex. 660         Girls                                  Pitbull                                  2562      680       SR0000641804        PX-1683 (RC)        PA0001733986       PX-5574 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7542 (PC)                                          certificates
Ex. 661         Girls Like You                         Miguel                                   2249      682       SR0000673073        PX-1700 (RC)        PA0001808680       PX-1110 (RC)   Same artist identified on both                 X
                                                                                                                                        PX-7640 (PC)                           PX-5994 (PC)   certificates
Ex. 662         Give A Little More                     Maroon 5                                 4939      1282      SR0000664529        PX-1931 (RC)        PA0001726268       PX-2946 (RC)
                                                                                                                                        PX-7605 (PC)                           PX-5475 (PC)
Ex. 663         Give Me Everything                     Pitbull                                  2563      683       SR0000681904        PX-1713 (RC)        PA0001780977       PX-1064 (RC)   Same artist identified on both                 X
                                                                                                                                        PX-7677 (PC)                           PX-5848 (PC)   certificates
Ex. 664         Give Me My Month                       James Blake                              4412      1857      SR0000673339        PX-2056 (RC)        PA0001824175       PX-6103 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7643 (PC)                                          certificates
Ex. 665         Give Them What They Ask For            Pitbull                                  2564      684       SR0000641804        PX-1683 (RC)        PA0001733406       PX-5572 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7542 (PC)                                          certificates
Ex. 666         Glamorous                              Fergie                                   4172      1625      SR0000393675        PX-2100 (RC)        PA0001370493       PX-2826 (RC)   Same artist identified on both                 X
                                                                                                                                        PX-8430 (PC)                           PX-5039 (PC)   certificates
                                                                                                                                        PX-8431 (PC)
Ex. 667         Global Warming                         Pitbull feat. Sensato                    2581      898       SR0000714643        PX-1745 (RC)        PA0001858589       PX-6261 (PC)   Same artist identified on both                 X
                                                                                                                                        PX-7799 (PC)                                          certificates

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Cox Submission                Track                                        Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                      Part of Same Compilation
Ex. 668        Glory And Gore                            Lorde                                    4892      230       SR0000732619        PX-1912 (RC)        PA0002007289       PX-6584 (PC)   Same artist identified on both                X
                                                                                                                                          PX-7896 (PC)                                          certificates
Ex. 669         Go                                       Boys Like Girls                          927       50        SR0000643654        PX-1684 (RC)        PA0001735199       PX-990 (RC)                                                  X
                                                                                                                                          PX-7554 (PC)                           PX-5587 (PC)
Ex. 670         Go (Explicit Album Version)              Common                                   3876      2633      SR0000377106        PX-2112 (RC)        PA0001302099       PX-4981 (PC)   Same artist and album                         X
                                                                                                                                          PX-7302 (PC)                                          identified on both certificates
Ex. 671         Go Ahead                                 Alicia Keys                              16        231       SR0000627148        PX-1668 (RC)        PA0001590126       PX-811 (RC)    Same artist identified on both                X
                                                                                                                                          PX-7485 (PC)                           PX-5094 (PC)   certificates
Ex. 672         God Bless                                Mary Mary                                2197      51        SR0000711038        PX-1740 (RC)        PA0001111571       PX-670 (RC)    Same artist identified on both                X
                                                                                                                                          PX-7788 (PC)                           PX-4725 (PC)   certificates
Ex. 673         God Gave Me Style                        50 Cent                                  3548      902       SR0000366051        PX-2111 (RC)        PA0001160843       PX-743 (RC)    Same album identified on both                 X
                                                                                                                                          PX-7275 (PC)                           PX-4909 (PC)   certificates
Ex. 674         God Must Hate Me                         Simple Plan                              5883      2634      SR0000351060        PX-3257 (RC)        PA0001084657       PX-4007 (RC)   Same artist and album                         X
                                                                                                                                          PX-7235 (PC)                                          identified on both certificates
Ex. 675         God Of The Mind                          Disturbed                                6364      2635      SR0000695381        PX-3352 (RC)        PA0001045439       PX-4589 (PC)   Same artist identified on both                X
                                                                                                                                          PX-7702 (PC)                                          certificates
Ex. 676         Going Through Changes                    Eminem                                   4030      1085      SR0000653572        PX-2087 (RC)        PA0001731106       PX-2809 (RC)   Same artist identified on both                X
                                                                                                                                          PX-7573 (PC)                           PX-5534 (PC)   certificates
Ex. 677         Gold Digger                              Kanye West                               4562      1981      SR0000372867        PX-7287 (PC)        PA0001299043       PX-4977 (PC)   Same artist and album                         X
                                                                                                                                                                                                identified on both certificates
Ex. 678         Gone                                     Daughtry                                 1340      1283      SR0000399960        PX-1636 (RC)        PA0001694264       PX-2769 (RC)   Same artist and album                         X
                                                                                                                                          PX-7367 (PC)                           PX-5386 (PC)   identified on both certificates
Ex. 679         Gone Be Fine                             Monica featuring OutKast                 451       54        SR0000263982        PX-1465 (RC)        PA0000914750       PX-4439 (PC)   Same artist and album
                                                                                                                                          PX-7054 (PC)                                          identified on both certificates
Ex. 680         Gone Country                             Alan Jackson                             391       979       SR0000202090        PX-1416 (RC)        PA0000642408       PX-2504 (PC)   Same artist and album                         X
                                                                                                                                          PX-6970 (PC)                           PX-4249 (PC)   identified on both certificates
Ex. 681         Good Girl                                Carrie Underwood                         1144      55        SR0000700157        PX-1725 (RC)        PA0001807727       PX-5975 (PC)   Same artist identified on both                X
                                                                                                                                          PX-7728 (PC)                                          certificates
Ex. 682         Good Girls Go Bad (feat. Leighton        Cobra Starship                           6141      56        SR0000657140        PX-3413 (RC)        PA0001662734       PX-904 (RC)    Same date of first publication                X
                Meester)                                                                                                                  PX-7586 (PC)                                          on both certificates
Ex. 683         Good Girls Go To Heaven (Bad Girls       Meat Loaf                                4992      980       SR0000316425        PX-1940 (RC)        PA0000669674       PX-3165 (RC)   Same artist and album                         X
                Go Everywhere)                                                                                                            PX-7152 (PC)                           PX-4262 (PC)   identified on both certificates
Ex. 684         Good Life                                Kanye West                               4563      2135      SR0000615020        PX-2068 (RC)        PA0001597235       PX-5115 (PC)   Same artist and album                         X
                                                                                                                                          PX-7420 (PC)                                          identified on both certificates
Ex. 685         Good Ole Boys                            Blake Shelton                            6267      516       SR0000693085        PX-3320 (RC)        PA0001760428                      Same date of first publication                X
                                                                                                                                          PX-7699 (PC)                           PX-5737 (PC)   on both certificates
Ex. 686         Good Riddance (Time Of Your Life)        Green Day                                6492      2636      SR0000244558        PX-3367 (RC)        PA0001059866       PX-4604 (PC)   Same artist and album                         X
                                                                                                                                          PX-7016 (PC)                                          identified on both certificates
Ex. 687         Good Times Gone                          Nickelback                               6177      2136      SR0000330446        PX-8003 (PC)        PA0001103821       PX-3925 (RC)   Same artist and album                         X
                                                                                                                                                                                                identified on both certificates
Ex. 688         Good To Me                               Mary Mary featuring Destiny's Child      2203      3089      SR0000269994        PX-1514 (RC)        PA0001016045       PX-640 (RC)    Same artist and album
                                                                                                                                          PX-7064 (PC)                           PX-4544 (PC)   identified on both certificates
Ex. 689         Good Woman Bad                           Josh Turner                              4468      915       SR0000344336        PX-2296 (RC)        PA0000785095       PX-2896 (RC)                                                 X
                                                                                                                                          PX-7216 (PC)                           PX-4324 (PC)
Ex. 690         Goodbye                                  Avril Lavigne                            761       1628      SR0000680182        PX-1709 (RC)        PA0001742279       PX-2690 (RC)   Same artist and album                         X
                                                                                                                                          PX-7668 (PC)                           PX-5635 (PC)   identified on both certificates
Ex. 691         Goodbye Earl                             Dixie Chicks                             1367      406       SR0000275086        PX-1516 (RC)        PA0000969189       PX-4485 (PC)   Same artist and album                         X
                                                                                                                                          PX-7069 (PC)                                          identified on both certificates
Ex. 692         Goodies                                  Ciara                                    3145      3141      SR0000355316        PX-1594 (RC)        PA0001263487       PX-4944 (PC)   Same artist and album                         X
                                                                                                                                          PX-7247 (PC)        PA0001241896       PX-8165 (PC)   identified on both certificates
Ex. 693         Goon Squad                               Deftones                                 6311      2638      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)   Same artist and album                         X
                                                                                                                                          PX-7824 (PC)                           PX-3501 (RC)   identified on both certificates
Ex. 694         Gorgeous                                 Kanye West                               4565      2137      SR0000683430        PX-7679 (PC)        PA0001740943       PX-5621 (PC)   Same artist and album                         X
                                                                                                                                                                                                identified on both certificates
Ex. 695         Gorilla                                  Bruno Mars                               5512      3048      SR0000715738        PX-3305 (RC)        PA0001869823       PX-3651 (RC)   Same artist and album                         X
                                                                                                                                          PX-7807 (PC)                                          identified on both certificates
Ex. 696         Got Everything (feat. Courtney Noelle)   Wiz Khalifa                              5965      3208      SR0000715951        PX-3297 (RC)        PA0001951624       PX-6517 (PC)   Same artist and album                         X
                                                                                                                                          PX-7809 (PC)        PA0001874348       PX-6319 (PC)   identified on both certificates
Ex. 697         Got Some Teeth (Explicit)                Obie Trice                               5055      1797      SR0000341637        PX-2245 (RC)        PA0001245484       PX-2491 (PC)   Same artist and album                         X
                                                                                                                                          PX-7211 (PC)                                          identified on both certificates

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                                                                                     Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                                 25
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                     Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 698        Got To Get My Heart Back              Keyshia Cole                              4642      2138      SR0000615233        PX-1869 (RC)        PA0001603589       PX-3809 (RC)   Same artist and album                         X
                                                                                                                                       PX-7423 (PC)                                          identified on both certificates
Ex. 699         Gotta Get It (Dancer)                Flo Rida                                  5549      686       SR0000658178        PX-3306 (RC)        PA0001807837       PX-1108 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7589 (PC)                           PX-5983 (PC)   certificates
Ex. 700         Gotta Have It                        JAY-Z                                     4423      1972      SR0000683714        PX-7680 (PC)        PA0001762033       PX-3787 (RC)   Same artist and album                         X
                                                                                                                                                                              PX-5749 (PC)   identified on both certificates
Ex. 701         Government Hooker                    Lady Gaga                                 4713      3209      SR0000678406        PX-1887 (RC)        PA0001757746       PX-5728 (PC)   Same artist and album                         X
                                                                                                                                       PX-7657 (PC)        PA0001752316       PX-5689 (PC)   identified on both certificates
Ex. 702         GPSA (Ghetto Public Service          Avant                                     3660      1629      SR0000396388        PX-2117 (RC)        PA0001371422       PX-2682 (RC)   Same artist and album                         X
                Announcement)                                                                                                          PX-7358 (PC)                           PX-5046 (PC)   identified on both certificates
Ex. 703         Graphic Nature                       Deftones                                  6312      2639      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)   Same artist and album                         X
                                                                                                                                       PX-7824 (PC)                           PX-3501 (RC)   identified on both certificates
Ex. 704         Grove St. Party (feat. Kebo Gotti)   Waka Flocka Flame                         5952      2139      SR0000672357        PX-3299 (RC)        PA0001739117       PX-4054 (RC)   Same artist and album                         X
                                                                                                                                       PX-7638 (PC)                                          identified on both certificates
Ex. 705         Grow Up                              Paramore                                  5802      2640      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist and album                         X
                                                                                                                                       PX-7850 (PC)                                          identified on both certificates
Ex. 706         Guarded                              Disturbed                                 6365      2641      SR0000374276        PX-3349 (RC)        PA0001296198       PX-3503 (RC)   Same artist identified on both
                                                                                                                                       PX-7292 (PC)                           PX-8392 (PC)   certificates
                                                                                                                                                                              PX-8393 (PC)
Ex. 707         Guilt Trip                           Kanye West                                4567      2642      SR0000724178        PX-2316 (RC)        PA0001883988       PX-6353 (PC)   Same artist and album                         X
                                                                                                                                       PX-7847 (PC)                                          identified on both certificates
Ex. 708         Guilty                               Usher feat. T.I.                          2918      57        SR0000652023        PX-1688 (RC)        PA0001807273       PX-5972 (PC)   Same artist and album                         X
                                                                                                                                       PX-7568 (PC)                                          identified on both certificates
Ex. 709         Guilty Conscience                    Eminem                                    4031      3055      SR0000262686        PX-2407 (RC)        PA0001207060       PX-8298 (PC)   Same artist and album                         X
                                                                                                                                       PX-7047 (PC)        PA0000954422       PX-4470 (PC)   identified on both certificates
                                                                                                                                                           PA0000962146       PX-8299 (PC)
Ex. 710         Guitar String / Wedding Ring         Carly Rae Jepsen                          3827      1632      SR0000738473        PX-2146 (RC)        PA0001842644       PX-2738 (RC)   Same artist identified on both                X
                                                                                                                                       PX-2361 (RC)                           PX-6191 (PC)   certificates
                                                                                                                                       PX-7924 (PC)
Ex. 711         Gunz Come Out                        50 Cent                                   3549      2643      SR0000366051        PX-2111 (RC)        PA0001281577       PX-3524 (RC)   Same artist and album                         X
                                                                                                                                       PX-7275 (PC)                                          identified on both certificates
Ex. 712         Gypsy                                Lady Gaga                                 4714      687       SR0000737557        PX-1888 (RC)        PA0001893359       PX-6387 (PC)   Same artist and album                         X
                                                                                                                                       PX-7918 (PC)                                          identified on both certificates
Ex. 713         Hail Mary (feat. Young Jeezy & Lil   Trey Songz                                5922      2140      SR0000715080        PX-3296 (RC)        PA0001865861       PX-4033 (RC)   Same artist and album                         X
                Wayne)                                                                                                                 PX-7805 (PC)                                          identified on both certificates
Ex. 714         Hair                                 Lady Gaga                                 4715      688       SR0000678406        PX-1887 (RC)        PA0001752317       PX-1029 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7657 (PC)                           PX-5390 (PC)   certificates
Ex. 715         Hallelujah                           Paramore                                  5803      2644      SR0000631909        PX-3323 (RC)        PA0001595045       PX-3958 (RC)   Same artist and album                         X
                                                                                                                                       PX-7510 (PC)                                          identified on both certificates
Ex. 716         Hand Me Down                         Matchbox Twenty                           5742      58        SR0000345857        PX-7223 (PC)        PA0001104642       PX-663 (RC)    Same artist and album                         X
                                                                                                                                                                              PX-4714 (PC)   identified on both certificates
Ex. 717         Hand On The Pump                     Cypress Hill                              1329      916       SR0000134573        PX-1385 (RC)        PA0000538434       PX-3221 (RC)   Same artist and album
                                                                                                                                       PX-6899 (PC)                           PX-4231 (PC)   identified on both certificates
Ex. 718         Hands Are Clever                     Alex Clare                                3593      1858      SR0000700527        PX-2201 (RC)        PA0001806286       PX-5951 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7729 (PC)                                          certificates
Ex. 719         Hands in the Air                     Miley Cyrus feat. Ludacris                2273      3104      SR0000735242        PX-1803 (RC)        PA0001869999       PX-8161 (PC)   Same artist and album                         X
                                                                                                                                       PX-7907 (PC)                                          identified on both certificates
Ex. 720         Hang                                 Matchbox Twenty                           5743      341       SR0000227755        PX-3294 (RC)        PA0000844644       PX-4366 (PC)   Same artist and album                         X
                                                                                                                                       PX-7003 (PC)                                          identified on both certificates
Ex. 721         Hangnail                             Nickelback                                6178      2142      SR0000330446        PX-8003 (PC)        PA0001103821       PX-3925 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 722         Happiness                            Macy Gray                                 2145      1440      SR0000336638        PX-1576 (RC)        PA0001131229       PX-2562 (RC)   Same artist and album                         X
                                                                                                                                       PX-7200 (PC)                           PX-4760 (PC)   identified on both certificates
Ex. 723         Happy                                Avant                                     3662      1441      SR0000281220        PX-2105 (RC)        PA0001012579       PX-3088 (PC)   Same artist and album                         X
                                                                                                                                       PX-7189 (PC)                           PX-4521 (PC)   identified on both certificates
Ex. 724         Happy On The Hey Now (A Song For     Kenny Chesney                             2004      689       SR0000726972        PX-1779 (RC)        PA0001899369       PX-1210 (RC)   Same artist and album                         X
                Kristi)                                                                                                                PX-7867 (PC)                           PX-6422 (PC)   identified on both certificates
Ex. 725         Harajuku Girls                       Gwen Stefani                              4314      2143      SR0000364759        PX-2282 (RC)        PA0001274356       PX-3747 (RC)   Same artist and album                         X
                                                                                                                                       PX-2341 (RC)                                          identified on both certificates
                                                                                                                                       PX-7272 (PC)

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  RC - Registration Certificate                                                                                              26
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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                               Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 726        Hard                                 Rihanna                                  5191      2645      SR0000644571        PX-1982 (RC)        PA0001711867       PX-4088 (RC)   Same artist and album                         X
                                                                                                                                     PX-7558 (PC)                                          identified on both certificates
Ex. 727         Hard To Breathe                     Anthony Hamilton                         411       1086      SR0000625444        PX-7484 (PC)        PA0001768251       PX-2678 (RC)   Same artist and album                         X
                                                                                                                                                                            PX-5763 (PC)   identified on both certificates
Ex. 728         Harder To Breathe                   Maroon 5                                 4941      1286      SR0000702833        PX-1932 (RC)        PA0001073084       PX-2649 (RC)   Same artist and album                         X
                                                                                                                                     PX-7735 (PC)                           PX-4644 (PC)   identified on both certificates
Ex. 729         Hardly Breathing                    Brandy                                   1001      2018      SR0000710136        PX-1739 (RC)        PA0001882751       PX-6345 (PC)   Same artist and album                         X
                                                                                                                                     PX-7785 (PC)                                          identified on both certificates
Ex. 730         Harlem's Nocturne                   Alicia Keys                              18        233       SR0000346869        PX-1584 (RC)        PA0001158371       PX-693 (RC)    Same artist and album                         X
                                                                                                                                     PX-7227 (PC)                           PX-4801 (PC)   identified on both certificates
Ex. 731         Hate It Or Love It                  50 Cent                                  3550      1635      SR0000366051        PX-2111 (RC)        PA0001277483       PX-4950 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7275 (PC)                                          certificates
Ex. 732         Hate To See Your Heart Break        Paramore                                 5804      2647      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist and album                         X
                                                                                                                                     PX-7850 (PC)                                          identified on both certificates
Ex. 733         Haunted                             Disturbed                                6366      2648      SR0000647297        PX-7562 (PC)        PA0001697242       PX-3509 (RC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 734         Haunted (Explicit)                  Beyoncé                                  790       3049      SR0000747291        PX-1834 (RC)        PA0001918115       PX-3554 (RC)   Same artist and album                         X
                                                                                                                                     PX-7956 (PC)                                          identified on both certificates
Ex. 735         Haywire                             Josh Turner                              4470      1087      SR0000645586        PX-2314 (RC)        PA0001700892       PX-2895 (RC)   Same artist and album                         X
                                                                                                                                     PX-7561 (PC)                           PX-5410 (PC)   identified on both certificates
Ex. 736         Hazel                               Phillip Phillips                         5094      1088      SR0000712841        PX-1963 (RC)        PA0001848179       PX-2995 (RC)   Same artist and album                         X
                                                                                                                                     PX-7795 (PC)                           PX-6206 (PC)   identified on both certificates
Ex. 737         He Wasn't                           Avril Lavigne                            65        1637      SR0000332312        PX-1575 (RC)        PA0001251276       PX-2694 (RC)   Same artist and album                         X
                                                                                                                                     PX-7193 (PC)                                          identified on both certificates
Ex. 738         Headup                              Deftones                                 6313      2651      SR0000244493        PX-7015 (PC)        PA0000870907       PX-4398 (PC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 739         Headwires                           Foo Fighters                             1490      1638      SR0000285034        PX-1522 (RC)        PA0001693324       PX-3180 (RC)   Same artist and album                         X
                                                                                                                                     PX-7083 (PC)                           PX-5378 (PC)   identified on both certificates
Ex. 740         Hear Me                             Imagine Dragons                          4363      1089      SR0000707482        PX-2052 (RC)        PA0001816016       PX-2871 (RC)   Same artist and album                         X
                                                                                                                                     PX-7766 (PC)                           PX-6040 (PC)   identified on both certificates
Ex. 741         Hear Me Coming                      Yung Joc                                 6007      2144      SR0000393525        PX-3300 (RC)        PA0001347989       PX-5028 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7346 (PC)                                          certificates
Ex. 742         Heart Heart Heartbreak              Boys Like Girls                          928       342       SR0000643654        PX-1684 (RC)        PA0001735191       PX-987 (RC)    Same artist and album                         X
                                                                                                                                     PX-7554 (PC)        PA0001730760       PX-5584 (PC)   identified on both certificates
                                                                                                                                                                            PX-5503 (PC)
Ex. 743         Heart Like Mine                     Miranda Lambert                          2295      690       SR0000641403        PX-1681 (RC)        PA0001682741       PX-913 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7540 (PC)                           PX-5332 (PC)   certificates
Ex. 744         Heartbreak Hotel                    Whitney Houston                          549       320       SR0000298453        PX-1536 (RC)        PA0000927023       PX-4443 (PC)   Same artist and album                         X
                                                                                                                                     PX-7109 (PC)                                          identified on both certificates
Ex. 745         Heartburn                           Alicia Keys                              19        3109      SR0000346869        PX-1584 (RC)        PA0001158218       PX-687 (RC)    Same artist and album                         X
                                                                                                                                     PX-7227 (PC)        PA0001879469       PX-4795 (PC)   identified on both certificates
                                                                                                                                                                            PX-6340 (PC)
Ex. 746         Heartland                           George Strait                            4246      2654      SR0000213745        PX-2229 (RC)        PA0000643056       PX-3737 (RC)                                                 X
                                                                                                                                     PX-6984 (PC)
Ex. 747         Heaven Sent                         Keyshia Cole                             4643      59        SR0000615233        PX-1869 (RC)        PA0001395845       PX-5069 (PC)   Same artist and album                         X
                                                                                                                                     PX-7423 (PC)                                          identified on both certificates
Ex. 748         Heavy In The Game (Explicit)        2Pac                                     3520      1091      SR0000198774        PX-2107 (RC)        PA0000914501       PX-4438 (PC)   Same artist and album                         X
                                                                                                                                     PX-2108 (RC)                                          identified on both certificates
                                                                                                                                     PX-6964 (PC)
Ex. 749         Heavy Metal Lover                   Lady Gaga                                4716      3210      SR0000678406        PX-1887 (RC)        PA0001757748       PX-5729 (PC)   Same artist and album                         X
                                                                                                                                     PX-7657 (PC)        PA0001751982       PX-1023 (RC)   identified on both certificates
                                                                                                                                                                            PX-5683 (PC)
Ex. 750         Help Is On The Way                  Rise Against                             5245      691       SR0000671825        PX-1994 (RC)        PA0001887807       PX-6365 (PC)
                                                                                                                                     PX-7633 (PC)
Ex. 751         Help Me                             Chris Brown                              3129      1287      SR0000630132        PX-1673 (RC)        PA0001395680       PX-3238 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7503 (PC)                           PX-5068 (PC)   certificates
Ex. 752         Help Somebody                       Maxwell                                  2207      369       SR0000639738        PX-1678 (RC)        PA0001707770       PX-953 (RC)    Same artist and album                         X
                                                                                                                                     PX-7536 (PC)                           PX-5443 (PC)   identified on both certificates
Ex. 753         Her Heart                           Anthony Hamilton                         412       517       SR0000625444        PX-7484 (PC)        PA0001768280       PX-5767 (PC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates

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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission               Track                                       Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 754        Here Comes The Weekend                 P!nk                                     2463      1640      SR0000709056        PX-1734 (RC)        PA0001817456       PX-2991 (RC)   Same artist and album                         X
                                                                                                                                       PX-7773 (PC)                           PX-6051 (PC)   identified on both certificates
Ex. 755         Here I Am                             Rick Ross                                5142      1641      SR0000627325        PX-1975 (RC)        PA0001661331       PX-5292 (PC)   Same artist and album
                                                                                                                                       PX-7488 (PC)                                          identified on both certificates
Ex. 756         Here I Go Again                       Rihanna                                  5193      917       SR0000372611        PX-7285 (PC)        PA0001328100       PX-5013 (PC)   Same artist and album                         X
                                                                                                                                                           PA0001162725       PX-8249 (PC)   identified on both certificates
Ex. 757         Here I Stand                          Usher                                    635       3184      SR0000620940        PX-1662 (RC)        PA0001673111       PX-5311 (PC)   Same artist and album                         X
                                                                                                                                       PX-7466 (PC)        PA0001659007       PX-5282 (PC)   identified on both certificates
Ex. 758         Here In The Real World                Alan Jackson                             392       2657      SR0000120465        PX-1382 (RC)        PA0000458321       PX-3534 (RC)   Same artist and album                         X
                                                                                                                                       PX-6885 (PC)                                          identified on both certificates
Ex. 759         Hero                                  Miguel                                   2251      1642      SR0000673073        PX-1700 (RC)        PA0001751381       PX-2961 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7640 (PC)                           PX-5674 (PC)   certificates
Ex. 760         Hexagram                              Deftones                                 6314      2659      SR0000335169        PX-7198 (PC)        PA0001157469       PX-8241 (PC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 761         Hey Baby (Drop It To The Floor)       Pitbull featuring T-Pain                 2597      692       SR0000681904        PX-1713 (RC)        PA0001719812       PX-5465 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7677 (PC)                                          certificates
Ex. 762         Hey Daddy (Daddy's Home)              Usher                                    2903      3074      SR0000652023        PX-1688 (RC)        PA0001700475       PX-5409 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7568 (PC)        PA0001707160       PX-5440 (PC)   certificates
Ex. 763         Hey Hey What Can I Do?                Hootie & The Blowfish                    5609      2660      SR0000311807        PX-3426 (RC)        Eu0000222687       PX-3749 (RC)                                                 X
                                                                                                                                       PX-7145 (PC)                           PX-8111 (PC)
Ex. 764         Hey You                               Boys Like Girls                          931       549       SR0000731314        PX-1793 (RC)        PA0001831262       PX-1154 (RC)   Same date of first publication                X
                                                                                                                                       PX-7890 (PC)                           PX-6127 (PC)   on both certificates
Ex. 765         Hideaway                              Fuel 238                                 1580      983       SR0000253431        PX-1455 (RC)        PA0000893223       PX-3175 (RC)   Same artist and album                         X
                                                                                                                                       PX-7035 (PC)                           PX-4419 (PC)   identified on both certificates
Ex. 766         Hi-Definition (feat. Snoop Dogg & Pooh Lupe Fiasco                             5716      410       SR0000639320        PX-3302 (RC)        PA0001600815       PX-827 (RC)    Same artist identified on both                X
                Bear)                                                                                                                  PX-7533 (PC)                           PX-5119 (PC)   certificates
Ex. 767         High                                   Big Sean                                3723      3168      SR0000678630        PX-2134 (RC)        PA0001808178       PX-3590 (RC)   Same artist and album                         X
                                                                                                                                       PX-7661 (PC)                           PX-5986 (PC)   identified on both certificates
Ex. 768         High Price                            Ciara feat. Ludacris                     1311      3110      SR0000631011        PX-1675 (RC)        PA0001659051       PX-3645 (RC)   Same artist and album                         X
                                                                                                                                       PX-7508 (PC)                           PX-5284 (PC)   identified on both certificates
Ex. 769         Higher Power                          Boston                                   913       984       SR0000239485        PX-1439 (RC)        PA0000863654       PX-2545 (RC)   Same artist and album                         X
                                                                                                                                       PX-7011 (PC)                           PX-4391 (PC)   identified on both certificates
Ex. 770         Highway Unicorn (Road To Love)        Lady Gaga                                4717      3211      SR0000678406        PX-1887 (RC)        PA0001757746       PX-5728 (PC)   Same artist and album                         X
                                                                                                                                       PX-7657 (PC)        PA0001752322       PX-1032 (RC)   identified on both certificates
                                                                                                                                                                              PX-5694 (PC)
Ex. 771         Hip Hop Star                          Beyoncé feat. Big Boi and Sleepy         821       2661      SR0000342236        PX-1578 (RC)        PA0001208970       PX-8189 (PC)   Same artist and album                         X
                                                      Brown                                                                            PX-7212 (PC)                                          identified on both certificates
Ex. 772         Hitchin' A Ride                       Green Day                                6493      2662      SR0000244558        PX-3367 (RC)        PA0001059862       PX-4601 (PC)   Same artist and album                         X
                                                                                                                                       PX-7016 (PC)                                          identified on both certificates
Ex. 773         Hold My Liquor                        Kanye West                               4571      2149      SR0000724178        PX-2316 (RC)        PA0001890241       PX-6374 (PC)   Same artist and album                         X
                                                                                                                                       PX-7847 (PC)                                          identified on both certificates
Ex. 774         Hold On                               Phillip Phillips                         5095      1093      SR0000712841        PX-1963 (RC)        PA0001839485       PX-2514 (PC)   Same artist and album                         X
                                                                                                                                       PX-7795 (PC)                           PX-6159 (PC)   identified on both certificates
Ex. 775         Hold On Tight                         Britney Spears                           1028      1443      SR0000738040        PX-1810 (RC)        PA0001915189       PX-2735 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7922 (PC)                           PX-6452 (PC)   certificates
Ex. 776         Holding On                            Simple Plan                              5884      2664      SR0000639323        PX-3459 (RC)        PA0001644614       PX-4014 (RC)   Same artist and album                         X
                                                                                                                                       PX-7534 (PC)                                          identified on both certificates
Ex. 777         Hollywood Divorce                     OutKast                                  587       2152      SR0000395944        PX-1631 (RC)        PA0001603423       PX-3949 (RC)   Same artist and album                         X
                                                                                                                                       PX-7357 (PC)                                          identified on both certificates
Ex. 778         Holy Roller Novocaine                 Kings Of Leon                            310       2417      SR0000330401        PX-1573 (RC)        PA0001204548       PX-8195 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7184 (PC)                                          certificates
Ex. 779         Home This Christmas                   Justin Bieber                            4520      890       SR0000704701        PX-7749 (PC)        PA0001780222       PX-5836 (PC)   Same artist identified on both                X
                                                                                                                                                                                             certificates
Ex. 780         Hometown Glory                        Adele                                    697       1861      SR0000616701        PX-1654 (RC)        PA0001975714       PX-3061 (PC)   Same artist and album                         X
                                                                                                                                       PX-7431 (PC)                           PX-6549 (PC)   identified on both certificates
Ex. 781         Homewrecker                           Gretchen Wilson                          1648      1644      PA0001245662        PX-1477 (RC)        PA0001248780       n/a            Same artist identified on both                X
                                                                                                                                       PX-8033 (PC)                                          certificates
Ex. 782         Homies (feat. YG Hootie, Popa Smurf & Waka Flocka Flame                        5953      2667      SR0000672357        PX-3299 (RC)        PA0001847137       PX-4058 (RC)   Same artist and album                         X
                Ice Burgundy)                                                                                                          PX-7638 (PC)                                          identified on both certificates


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  RC - Registration Certificate                                                                                              28
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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                              Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 783        Honey Bee                            Blake Shelton                            6272      519       SR0000693085        PX-3320 (RC)        PA0001760410       PX-1043 (RC)                                                  X
                                                                                                                                     PX-7699 (PC)                           PX-5735 (PC)
Ex. 784         Honey Honey                         Feist                                    4145      1937      SR0000406936        PX-2388 (RC)        PA0001692656       PX-2820 (RC)   Same artist and album                          X
                                                                                                                                     PX-7385 (PC)                           PX-5362 (PC)   identified on both certificates
Ex. 785         Hooked                              Avant                                    3665      1444      SR0000339561        PX-2110 (RC)        PA0001158620       PX-3281 (RC)   Same artist and album                          X
                                                                                                                                     PX-7203 (PC)                           PX-4813 (PC)   identified on both certificates
Ex. 786         Hope We Meet Again                  Pitbull feat. Chris Brown                2575      899       SR0000714643        PX-1745 (RC)        PA0001858593       PX-6263 (PC)   Same artist identified on both                 X
                                                                                                                                     PX-7799 (PC)                                          certificates
Ex. 787         Hot                                 Avril Lavigne                            66        234       SR0000609671        PX-1648 (RC)        PA0001167507       PX-784 (RC)    Same artist and album                          X
                                                                                                                                     PX-7394 (PC)                           PX-8220 (PC)   identified on both certificates
Ex. 788         Hot For Teacher                     Van Halen                                6729      2669      SR0000054482        PX-3409 (RC)        PA0000215905       PX-4181 (PC)   Same artist and album                          X
                                                                                                                                     PX-8418 (PC)                                          identified on both certificates
                                                                                                                                     PX-8419 (PC)
Ex. 789         Hot Mess                            Cobra Starship                           6142      3123      SR0000657140        PX-3413 (RC)        PA0001679596       PX-5325 (PC)   Same artist identified on both                 X
                                                                                                                                     PX-7586 (PC)        PA0001662752       PX-5299 (PC)   certificates
Ex. 790         Hotel Room Service                  Pitbull                                  2565      3189      SR0000641804        PX-1683 (RC)        PA0001677761       PX-3966 (RC)   Same artist and album                          X
                                                                                                                                     PX-7542 (PC)                           PX-5316 (PC)   identified on both certificates
Ex. 791         Houses Of The Holy                  Led Zeppelin                             5684      2671      N21799              PX-8049 (PC)        Eu0000557533       n/a            Same artist identified on both                 X
                                                                                                                                                                                           certificates
Ex. 792         How                                 Maroon 5                                 4943      1289      SR0000664531        PX-1929 (RC)        PA0001784067       PX-5860 (PC)   Same artist and album                          X
                                                                                                                                     PX-7606 (PC)                                          identified on both certificates
Ex. 793         How 'Bout Them Cowgirls             George Strait                            4247      1290      SR0000398524        PX-2398 (RC)        PA0001165925       PX-2614 (PC)   Same artist and album
                                                                                                                                     PX-7363 (PC)                           PX-8272 (PC)   identified on both certificates
Ex. 794         How Do I Say                        Usher                                    638       235       SR0000307207        PX-1551 (RC)        PA0000846620       PX-4375 (PC)   Same artist and album                          X
                                                                                                                                     PX-7136 (PC)                                          identified on both certificates
Ex. 795         How Do U Want It                    2Pac                                     3521      1096      SR0000628433        PX-2127 (RC)        PA0001070595       PX-2421 (PC)   Same artist identified on both                 X
                                                                                                                                     PX-7495 (PC)                           PX-4632 (PC)   certificates
Ex. 796         How Does It Feel                    Avril Lavigne                            67        1645      SR0000332312        PX-1575 (RC)        PA0001251275       PX-2691 (RC)   Same artist and album                          X
                                                                                                                                     PX-7193 (PC)                                          identified on both certificates
Ex. 797         How Far We've Come                  Matchbox Twenty                          5744      60        SR0000633456        PX-3433 (RC)        PA0001588613       PX-798 (RC)                                                   X
                                                                                                                                     PX-7515 (PC)                           PX-5083 (PC)
Ex. 798         How Forever Feels                   Kenny Chesney                            291       3018      SR0000263302        PX-1461 (RC)        PA0001044172       PX-4588 (PC)   Same artist and album                          X
                                                                                                                                     PX-7050 (PC)                                          identified on both certificates
Ex. 799         How I Feel                          Brandy                                   5472      61        SR0000370673        PX-3289 (RC)        PA0001159657       PX-730 (RC)    Same album identified on both                  X
                                                                                                                                     PX-7283 (PC)                           PX-4859 (PC)   certificates
Ex. 800         How Long                            Matchbox Twenty                          5745      62        SR0000714896        PX-3434 (RC)        PA0001850276       PX-1175 (RC)   Same date of first publication                 X
                                                                                                                                     PX-7803 (PC)                           PX-6216 (PC)   on both certificates
Ex. 801         How My Heart Behaves                Feist                                    4146      1938      SR0000406936        PX-2388 (RC)        PA0001692650       PX-5361 (PC)   Same artist and album                          X
                                                                                                                                     PX-7385 (PC)                                          identified on both certificates
Ex. 802         How Will I Know                     Whitney Houston                          550       1646      SR0000060716        PX-1341 (RC)        PAu000817628       PX-6599 (PC)   Same artist and album                          X
                                                                                                                                     PX-6812 (PC)        PA0000243349       PX-8338 (PC)   identified on both certificates
                                                                                                                                                         PA0000266437       PX-8339 (PC)
                                                                                                                                                                            PX-8340 (PC)
                                                                                                                                                                            PX-8431 (PC)
                                                                                                                                                                            PX-4192 (PC)
Ex. 803         Human                               Brandy                                   1002      63        SR0000622255        PX-1665 (RC)        PA0001625982       PX-854 (RC)    Same artist and date of first                  X
                                                                                                                                     PX-7474 (PC)                           PX-5172 (PC)   publication on both certificates

Ex. 804         Human Nature                        Michael Jackson                          2239      2672      SR0000041965        PX-1314 (RC)        PA0000158773       PX-4166 (PC)   Same artist and album                          X
                                                                                                                                     PX-6762 (PC)                                          identified on both certificates
Ex. 805         Humming Bird                        Alex Clare                               3594      1863      SR0000700527        PX-2201 (RC)        PA0001806288       PX-2673 (RC)   Same artist identified on both                 X
                                                                                                                                     PX-7729 (PC)                           PX-5952 (PC)   certificates
Ex. 806         Hummingbird Heartbeat (Explicit)    Katy Perry                               3360      2673      SR0000662268        PX-2190 (RC)        PA0001753638       PX-5706 (PC)   Same artist and album                          X
                                                                                                                                     PX-7599 (PC)                                          identified on both certificates
Ex. 807         Hurt So Good                        Carly Rae Jepsen                         3828      413       SR0000738473        PX-2146 (RC)        PA0001842641       PX-6190 (PC)   Same artist identified on both                 X
                                                                                                                                     PX-7924 (PC)                                          certificates
Ex. 808         Hustlaz Ambition                    Young Jeezy                              5426      520       SR0000616586        PX-2033 (RC)        PA0001640768       PX-870 (RC)    Same artist identified on both                 X
                                                                                                                                     PX-2339 (RC)                           PX-5206 (PC)   certificates
                                                                                                                                     PX-7430 (PC)


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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                        Track                            Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 809        Hustle Hard                           Ace Hood                                3573      2156      SR0000674482        PX-2347 (RC)        PA0001808406       PX-3527 (RC)   Same artist identified on both
                                                                                                                                                                                           certificates
Ex. 810         Hustlemania (Skit)                   Yung Joc                                6009      2157      SR0000622799        PX-3489 (RC)        PA0001648764       PX-5255 (PC)   Same artist and album                         X
                                                                                                                                     PX-7478 (PC)                                          identified on both certificates
Ex. 811         Hustlenomics                         Yung Joc                                6010      3091      SR0000622799        PX-3489 (RC)        PA0001648809       PX-5255 (PC)   Same artist and album                         X
                                                                                                                                     PX-7478 (PC)        PA0001648764       PX-5258 (PC)   identified on both certificates
Ex. 812         Hustler's Ambition                   50 Cent                                 3551      1647      SR0000382030        PX-2115 (RC)        PA0001372056       PX-2426 (RC)   Same artist identified on both
                                                                                                                                     PX-2369 (RC)                           PX-5048 (PC)   certificates
                                                                                                                                     PX-7317 (PC)
Ex. 813         Hustlin' (Explicit)                  Rick Ross                               5143      3283      SR0000387156        PX-2329 (RC)        PA0001334589       PX-5021 (PC)   Same artist and album
                                                                                                                                     PX-7333 (PC)        PA0001367972       PX-5034 (PC)   identified on both certificates
Ex. 814         Hyyerr                               Kid Cudi                                4663      2159      SR0000637865        PX-1871 (RC)        PA0001679583       PX-3811 (RC)   Same artist and album                         X
                                                                                                                                     PX-7529 (PC)                                          identified on both certificates
Ex. 815         I Ain't In Checotah Anymore          Carrie Underwood                        1146      986       SR0000383054        PX-1612 (RC)        PA0001327781       PX-3042 (RC)   Same artist and album                         X
                                                                                                                                     PX-7320 (PC)                           PX-5010 (PC)   identified on both certificates
Ex. 816         I Ain't Mad At Cha                   2Pac                                    3522      589       SR0000628433        PX-2127 (RC)        PA0001070600       PX-4634 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7495 (PC)                                          certificates
Ex. 817         I Always Get What I Want             Avril Lavigne                           68        236       SR0000332312        PX-1575 (RC)        PA0001160190       PX-735 (RC)    Same artist and album                         X
                                                                                                                                     PX-7193 (PC)                           PX-4897 (PC)   identified on both certificates
Ex. 818         I Am The Club                        Plies                                   5831      2418      SR0000612286        PX-3452 (RC)        PA0001765676       PX-3970 (RC)   Same artist and album                         X
                                                                                                                                     PX-7402 (PC)                                          identified on both certificates
Ex. 819         I Can Do Better                      Avril Lavigne                           69        1648      SR0000609671        PX-1648 (RC)        PA0001334140       PX-2692 (RC)   Same artist and album                         X
                                                                                                                                     PX-7394 (PC)                           PX-5019 (PC)   identified on both certificates
Ex. 820         I Can Transform Ya                   Chris Brown featuring Lil Wayne &       1285      2163      SR0000747284        PX-1832 (RC)        PA0001744956       PX-3639 (RC)   Same artist and album
                                                     Swizz Beatz                                                                     PX-7954 (PC)                                          identified on both certificates
Ex. 821         I Can Wait Forever                   Simple Plan                             5885      2674      SR0000639323        PX-3459 (RC)        PA0001644607       PX-4015 (RC)   Same artist and album                         X
                                                                                                                                     PX-7534 (PC)                                          identified on both certificates
Ex. 822         I Can't Be With You                  The Cranberries                         5328      1962      SR0000218047        PX-2012 (RC)        PA0000734572       PX-2519 (RC)   Same artist and album                         X
                                                                                                                                     PX-2272 (RC)                           PX-4288 (PC)   identified on both certificates
                                                                                                                                     PX-6988 (PC)
Ex. 823         I Can't Let U Go                     Usher                                   639       237       SR0000307207        PX-1551 (RC)        PA0000846615       PX-4373 (PC)   Same artist and album                         X
                                                                                                                                     PX-7136 (PC)                                          identified on both certificates
Ex. 824         I Can't Lie                          Maroon 5                                4944      1292      SR0000664531        PX-1929 (RC)        PA0001784067       PX-5860 (PC)   Same artist and album                         X
                                                                                                                                     PX-7606 (PC)                                          identified on both certificates
Ex. 825         I Can't Wait                         Akon                                    3586      1445      SR0000610156        PX-2119 (RC)        PA0001396082       PX-5073 (PC)   Same artist and album                         X
                                                                                                                                     PX-2293 (RC)                                          identified on both certificates
                                                                                                                                     PX-2415 (RC)
                                                                                                                                     PX-7397 (PC)
Ex. 826         I Can't Wait To Meetchu              Macy Gray                               2148      64        SR0000267460        PX-1510 (RC)        PA0000986835       PX-4504 (PC)   Same artist and album                         X
                                                                                                                                     PX-7060 (PC)                                          identified on both certificates
Ex. 827         I Care                               Beyoncé                                 793       1293      SR0000683948        PX-1715 (RC)        PA0001748375       PX-2714 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7681 (PC)                           PX-5655 (PC)   certificates
Ex. 828         I Choose You                         Sara Bareilles                          2671      693       SR0000727195        PX-1785 (RC)        PA0001967866       PX-6532 (PC)   Same artist and album                         X
                                                                                                                                     PX-7873 (PC)                                          identified on both certificates
Ex. 829         I Cross My Heart                     George Strait                           4249      2419      SR0000213745        PX-2229 (RC)        PA0000593349       PX-4241 (PC)                                                 X
                                                                                                                                     PX-6984 (PC)        PA0000643057       PX-8223 (PC)
Ex. 830         I Cry                                Flo Rida                                5550      3251      SR0000754532        PX-3331 (RC)        PA0001864854       PX-6289 (PC)   Same artist and album                         X
                                                                                                                                     PX-7974 (PC)        PA0001887864       PX-6366 (PC)   identified on both certificates
Ex. 831         I Did It                             Dave Matthews Band                      163       920       SR0000300313        PX-1541 (RC)        PA0001039319       PX-4575 (PC)   Same artist and album                         X
                                                                                                                                     PX-7115 (PC)                                          identified on both certificates
Ex. 832         I Did It For Sho                     Anthony Hamilton                        413       521       SR0000625444        PX-7484 (PC)        PA0001627415       PX-5179 (PC)   Same artist identified on both                X
                                                                                                                                                                                           certificates
Ex. 833         I Didn't Understand                  Elliott Smith                           3984      1294      SR0000241677        PX-2223 (RC)        PA0000943573       PX-3147 (PC)   Same artist and album                         X
                                                                                                                                     PX-7012 (PC)                           PX-4455 (PC)   identified on both certificates
Ex. 834         I Don't Feel Like Loving You Today   Gretchen Wilson                         1649      1097      SR0000388036        PX-1621 (RC)        PA0001299754       PX-4978 (PC    Same artist and album                         X
                                                                                                                                     PX-7335 (PC)                                          identified on both certificates
Ex. 835         I Don't Have To Try                  Avril Lavigne                           70        1650      SR0000609671        PX-1648 (RC)        PA0001724691       PX-2693 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7394 (PC)                           PX-5472 (PC)   certificates
Ex. 836         I Don't Need 'Em                     50 Cent                                 3552      1446      SR0000366051        PX-2111 (RC)        PA0001298501       PX-3030 (RC)   Same artist and album                         X
                                                                                                                                     PX-7275 (PC)                           PX-4972 (PC)   identified on both certificates

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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                      Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 837        I Don't Remember                        Ciara                                   1302      1210      SR0000631011        PX-1675 (RC)        PA0001729163       PX-5500 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7508 (PC)                                          certificates
Ex. 838         I Don't Wanna Care Right Now (feat.    Lupe Fiasco                             5701      1295      SR0000704469        PX-3291 (RC)        PA0001739119       PX-2920 (RC)   Same artist identified on both                X
                MDMA)                                                                                                                  PX-7747 (PC)                           PX-5616 (PC)   certificates
Ex. 839         I Feel It All                          Feist                                   4147      1939      SR0000406936        PX-2388 (RC)        PA0001692643       PX-2821 (RC)   Same artist and album                         X
                                                                                                                                       PX-7385 (PC)                           PX-5360 (PC)   identified on both certificates
Ex. 840         I Feel Like I'm Forgetting Something   Lee Ann Womack                          4787      2675      SR0000281198        PX-2041 (RC)        PAu002504855       PX-6609 (PC)   Same artist and album                         X
                                                                                                                                       PX-7188 (PC)        PA0001120877       PX-4753 (PC)   identified on both certificates
Ex. 841         I Get It                               Chevelle                                1238      2164      SR0000407044        PX-1643 (RC)        PA0001387419       PX-3629 (RC)   Same artist and album                         X
                                                                                                                                       PX-7388 (PC)                                          identified on both certificates
Ex. 842         I Go To Extremes                       Billy Joel                              865       1652      SR0000109420        PX-1377 (RC)        PA0000458310       PX-4225 (PC)   Same artist and album                         X
                                                                                                                                       PX-6878 (PC)                                          identified on both certificates
Ex. 843         I Got My Baby                          Faith Hill                              6420      1654      SR0000276629        PX-7075 (PC)        PA0000976310       PX-2816 (RC)   Same artist and album                         X
                                                                                                                                                                              PX-4487 (PC)   identified on both certificates
Ex. 844         I Gotta Feeling                        Black Eyed Peas                         3761      65        SR0000633584        PX-2128 (RC)        PA0001396542       PX-5079 (PC)                                                 X
                                                                                                                                       PX-8452 (PC)
                                                                                                                                       PX-8453 (PC)
Ex. 845         I Hate Everything                      George Strait                           4250      1447      SR0000358502        PX-2395 (RC)        PA0001159807       PX-2598 (PC)   Same artist and album                         X
                                                                                                                                       PX-7254 (PC)                           PX-4879 (PC)   identified on both certificates
Ex. 846         I Just Want You                        Ozzy Osbourne                           2437      1656      SR0000171292        PX-1406 (PC)        PA0000774129       PX-2500 (PC)   Same artist and album                         X
                                                                                                                                       PX-6936 (PC)                           PX-4315 (PC)   identified on both certificates
Ex. 847         I Know You Know                        Big Time Rush feat. Cymphonique         848       694       SR0000668082        PX-1694 (RC)        PA0001807117       PX-5963 (PC)   Same date of first publication                X
                                                                                                                                       PX-7613 (PC)                                          on both certificates
Ex. 848         I Know You See It                      Yung Joc                                6011      2165      SR0000393525        PX-3300 (RC)        PA0001347990       PX-4070 (RC)   Same artist and album                         X
                                                                                                                                       PX-7346 (PC)                                          identified on both certificates
Ex. 849         I Know You Want Me (Calle Ocho)        Pitbull                                 2566      3253      SR0000641804        PX-1683 (RC)        PA0001733983       PX-5573 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7542 (PC)        PA0001706662       PX-5429 (PC)   certificates
Ex. 850         I Know You Won't                       Carrie Underwood                        1148      2166      SR0000627157        PX-1670 (RC)        PA0001644685       PX-3624 (RC)   Same artist and album                         X
                                                                                                                                       PX-7487 (PC)                                          identified on both certificates
Ex. 851         I Love LA                              Emblem3                                 1440      238       SR0000726978        PX-1781 (RC)        PA0001920258       PX-6473 (PC)   Same artist and album                         X
                                                                                                                                       PX-7869 (PC)        PA0001879197       PX-6339 (PC)   identified on both certificates
Ex. 852         I Love You                             Avril Lavigne                           762       1658      SR0000680182        PX-1709 (RC)        PA0001785768       PX-2695 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7668 (PC)                           PX-5871 (PC)   certificates
Ex. 853         I Mind                                 James Blake                             4413      1865      SR0000673339        PX-2056 (RC)        PA0001827817       PX-2884 (RC)   Same artist and album                         X
                                                                                                                                       PX-7643 (PC)                           PX-6119 (PC)   identified on both certificates
Ex. 854         I Miss You                             Incubus                                 1725      66        SR0000278818        PX-1520 (RC)        PA0000978102       PX-4492 (PC)   Same artist and album                         X
                                                                                                                                       PX-7080 (PC)                           PX-8364 (PC)   identified on both certificates
                                                                                                                                                                              PX-8365 (PC)
Ex. 855         I Need You                             Alicia Keys                             20        311       SR0000627148        PX-1668 (RC)        PA0001590128       PX-812 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7485 (PC)                           PX-5095 (PC)   certificates
Ex. 856         I Never Learnt To Share                James Blake                             4414      1866      SR0000673339        PX-2056 (RC)        PA0001827811       PX-2885 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7643 (PC)                           PX-6116 (PC)   certificates
Ex. 857         I Run To You                           Lady Antebellum                         3426      2170      SR0000732681        PX-1881 (RC)        PA0001706945       PX-3820 (RC)   Same artist identified on both
                                                                                                                                       PX-7897 (PC)                                          certificates
Ex. 858         I Sold My Bed, But Not My Stereo       Capital Cities                          3309      696       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)    Same album identified on both                 X
                                                                                                                                       PX-7858 (PC)                           PX-1221 (RC)   certificates
                                                                                                                                                                              PX-6518 (PC)
Ex. 859         I Tried                                Brandy                                  5477      2676      SR0000370673        PX-3289 (RC)        PA0001236714       PX-3611 (RC)   Same artist and album                         X
                                                                                                                                       PX-7283 (PC)                           PX-8172 (PC)   identified on both certificates
Ex. 860         I Wanna Know                           Avant                                   3666      1448      SR0000281220        PX-2105 (RC)        PA0001012580       PX-3087 (PC)   Same artist and album                         X
                                                                                                                                       PX-7189 (PC)                           PX-4522 (PC)   identified on both certificates
Ex. 861         I Want Crazy (Encore)                  Hunter Hayes                            5624      1098      SR0000748751        PX-3322 (RC)        PA0001856536       PX-2868 (RC)   Same artist and album
                                                                                                                                       PX-7961 (PC)                           PX-6259 (PC)   identified on both certificates
Ex. 862         I Want to Give It All                  Air Supply                              377       1296      SR0000027856        PX-6718 (PC)        PA0000106853       PX-3259 (RC)   Same artist and album                         X
                                                                                                                                                                              PX-4155 (PC)   identified on both certificates
Ex. 863         I Will                                 Matchbox Twenty                         5746      67        SR0000714896        PX-3434 (RC)        PA0001850366       PX-1181 (RC)   Same date of first publication                X
                                                                                                                                       PX-7803 (PC)                           PX-6223 (PC)   on both certificates
Ex. 864         I Wish                                 One Direction                           2385      68        SR0000703645        PX-1729 (RC)        PA0001813030       PX-6019 (PC)   Same artist and album                         X
                                                                                                                                       PX-7737 (PC)                                          identified on both certificates


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                                                                                  Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                              31
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                 Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                  Track                                     Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Same Compilation
Ex. 865        I Won't Be There                         Simple Plan                             5886      2679      SR0000351060        PX-3457 (RC)        PA0001084657       PX-4007 (RC)   Same artist and album                         X
                                                                                                                                        PX-7235 (PC)                                          identified on both certificates
Ex. 866         I Won't Go Crazy                        Josh Thompson                           1930      697       SR0000652025        PX-1689 (RC)        PA0001777806       PX-1059 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7569 (PC)                           PX-5820 (PC)   certificates
Ex. 867         I Won't Let You Down                    Alex Clare                              3595      1869      SR0000700527        PX-2201 (RC)        PA0001806274       PX-3033 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7729 (PC)                           PX-5947 (PC)   certificates
Ex. 868         Ice Cold (Explicit)                     Rick Ross                               5146      565       SR0000706411        PX-1976 (RC)        PA0001854208       PX-6242 (PC)   Same artist and album                         X
                                                                                                                                        PX-7762 (PC)                                          identified on both certificates
Ex. 869         I'd Do Anything                         Simple Plan                             5887      2680      SR0000351060        PX-3457 (RC)        PA0001084655       PX-4006 (RC)   Same artist and album                         X
                                                                                                                                        PX-7235 (PC)                                          identified on both certificates
Ex. 870         I'd Rather                              Luther Vandross                         314       1661      SR0000298047        PX-1535 (RC)        PA0001053165       PX-2568 (RC)   Same artist and album                         X
                                                                                                                                        PX-7108 (PC)                           PX-4596 (PC)   identified on both certificates
Ex. 871         If Drinkin' Don't Kill Me (Her Memory   George Jones                            1623      2178      SR0000021788        PX-1277 (RC)        PA0000102104       PX-4154 (PC)   Same artist identified on both                X
                Will)                                                                                                                   PX-6707 (PC)                                          certificates
Ex. 872         If I Ain't Got You                      Alicia Keys                             21        240       SR0000346869        PX-1584 (RC)        PA0001158216       PX-685 (RC)    Same artist and album                         X
                                                                                                                                        PX-7227 (PC)                           PX-4793 (PC)   identified on both certificates
Ex. 873         If I Could Love You                     Puddle Of Mudd                          5112      2684      SR0000618742        PX-1966 (RC)        PA0001657879       PX-3975 (RC)   Same artist and album                         X
                                                                                                                                        PX-7445 (PC)                                          identified on both certificates
Ex. 874         If I Die 2Nite                          2Pac                                    3523      923       SR0000198774        PX-2107 (RC)        PA0000773737       PX-2526 (PC)   Same artist and album                         X
                                                                                                                                        PX-2108 (RC)                           PX-4309 (PC)   identified on both certificates
                                                                                                                                        PX-6964 (PC)
Ex. 875         If I Fall                               Matchbox Twenty                         5748      73        SR0000633456        PX-3433 (RC)        PA0001588611       PX-797 (RC)                                                  X
                                                                                                                                        PX-7515 (PC)                           PX-5082 (PC)
Ex. 876         If I Had It All                         Dave Matthews Band                      164       924       SR0000300313        PX-1541 (RC)        PA0001039324       PX-4578 (PC)   Same artist and album                         X
                                                                                                                                        PX-7115 (PC)                                          identified on both certificates
Ex. 877         If I Ruled The World                    Big Time Rush                           835       700       SR0000697856        PX-1722 (RC)        PA0001825040       PX-1152 (RC)                                                 X
                                                                                                                                        PX-7715 (PC)                           PX-6114 (PC)
Ex. 878         If It's Lovin' That You Want            Rihanna                                 5194      1452      SR0000377878        PX-2288 (RC)        PA0001167048       PX-8289 (PC)   Same artist identified on both
                                                                                                                                        PX-7305 (PC)        PA0001162726       PX-8250 (PC)   certificates
Ex. 879         If It's Lovin' That You Want - Part 2   Rihanna                                 5195      1453      SR0000387137        PX-2333 (RC)        PA0001689043       PX-2639 (PC)   Same artist and album                         X
                                                                                                                                        PX-7332 (PC)                           PX-5354 (PC)   identified on both certificates
Ex. 880         If My Heart Had Wings                   Faith Hill                              6428      1667      SR0000276629        PX-7075 (PC)        PA0000976309       PX-4486 (PC)   Same artist and album                         X
                                                                                                                                                                                              identified on both certificates
Ex. 881         If Today Was Your Last Day              Nickelback                              6180      2179      SR0000651954        PX-7566 (PC)        PA0001622259       PX-3928 (RC)   Same artist and album
                                                                                                                                                                                              identified on both certificates
Ex. 882         If U Seek Amy                           Britney Spears                          3104      417       SR0000620789        PX-1661 (RC)        PA0001881662       PX-6343 (PC)   Same artist and album                         X
                                                                                                                                        PX-7465 (PC)                                          identified on both certificates
Ex. 883         If You Can Do Anything Else             George Strait                           4257      418       SR0000270094        PX-2232 (RC)        PA0000981323       PX-4497 (PC)   Same artist and album                         X
                                                                                                                                        PX-7065 (PC)                                          identified on both certificates
Ex. 884         If You Only Knew                        Shinedown                               5865      522       SR0000673788        PX-3456 (RC)        PA0001601046       PX-831 (RC)                                                  X
                                                                                                                                        PX-7644 (PC)                           PX-5123 (PC)
Ex. 885         If You're Gone                          Matchbox Twenty                         5749      343       SR0000305708        PX-3431 (RC)        PA0001006950       PX-637 (RC)    Same artist and album                         X
                                                                                                                                        PX-7130 (PC)        PA0001038500       PX-4513 (PC)   identified on both certificates
                                                                                                                                                                               PX-8366 (PC)
                                                                                                                                                                               PX-8367 (PC)
                                                                                                                                                                               PX-642 (RC)
                                                                                                                                                                               PX-4574 (PC)
Ex. 886         If You're Out There                     John Legend                             1833      74        SR0000619653        PX-1657 (RC)        PA0001646374       PX-5249 (PC)   Same artist and album                         X
                                                                                                                                        PX-7449 (PC)                                          identified on both certificates
Ex. 887         Ignorance                               Paramore                                5805      2685      SR0000657157        PX-3450 (RC)        PA0001676905       PX-3954 (RC)   Same artist and album                         X
                                                                                                                                        PX-7587 (PC)                                          identified on both certificates
Ex. 888         I'LL BE GONE                            Linkin Park                             6561      1450      SR0000708311        PX-3386 (RC)        PA0001805744       PX-2908 (RC)   Same artist and album                         X
                                                                                                                                        PX-7770 (PC)                           PX-5940 (PC)   identified on both certificates
Ex. 889         I'll Believe You When                   Matchbox Twenty                         5747      69        SR0000633456        PX-3433 (RC)        PA0001588615       PX-800 (RC)                                                  X
                                                                                                                                        PX-7515 (PC)                           PX-5085 (PC)
Ex. 890         I'll Call Ya                            Chris Brown                             3132      1099      SR0000630132        PX-1673 (RC)        PA0001644932       PX-5243 (PC)   Same artist and album                         X
                                                                                                                                        PX-7503 (PC)                                          identified on both certificates




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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                   Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 891        I'll Never Break Your Heart           Backstreet Boys                          3070      1451      SR0000250678        PX-1452 (RC)        PA0000859260       PX-2538 (RC)   Same artist and album                         X
                                                                                                                                      PX-7029 (PC)                           PX-4377 (PC)   identified on both certificates
                                                                                                                                                                             PX-8358 (PC)
                                                                                                                                                                             PX-8359 (PC)
Ex. 892          I'm A G (feat. Bun B & Young Dro)   Yung Joc                                 6012      3092      SR0000622799        PX-3489 (RC)        PA0001648787       PX-5257 (PC)   Same artist and album                         X
                                                                                                                                      PX-7478 (PC)                                          identified on both certificates
Ex. 893          I'm Alive                           Disturbed                                6368      2681      SR0000380289        PX-3351 (RC)        PA0001296200       PX-3504 (RC)   Same artist and album                         X
                                                                                                                                      PX-7313 (PC)                                          identified on both certificates
Ex. 894          I'm Goin Back                       Jadakiss                                 4407      1662      SR0000356267        PX-2239 (RC)        PA0001159522       PX-2587 (PC)   Same artist and album                         X
                                                                                                                                      PX-7250 (PC)                           PX-4840 (PC)   identified on both certificates
Ex. 895          I'm Him                             Yung Joc                                 6013      2173      SR0000393525        PX-3300 (RC)        PA0001347988       PX-5027 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7346 (PC)                                          certificates
Ex. 896          I'm In It                           Kanye West                               4576      2174      SR0000724178        PX-2316 (RC)        PA0001890238       PX-6373 (PC)   Same artist and album                         X
                                                                                                                                      PX-7847 (PC)                                          identified on both certificates
Ex. 897          I'm Just A Kid                      Simple Plan                              5888      2682      SR0000351060        PX-3457 (RC)        PA0001084655       PX-4006 (RC)   Same artist and album                         X
                                                                                                                                      PX-7235 (PC)                                          identified on both certificates
Ex. 898          I'm Not A Star                      Rick Ross                                5144      699       SR0000656701        PX-1974 (RC)        PA0001821873       PX-1138 (RC)   Same artist and album                         X
                                                                                                                                      PX-7581 (PC)                           PX-6083 (PC)   identified on both certificates
Ex. 899          I'm Not Calling You A Liar          Florence + The Machine                   4188      1870      SR0000645045        PX-2101 (RC)        PA0001892801       PX-3120 (PC)   Same artist and album                         X
                                                                                                                                      PX-7560 (PC)                           PX-6832 (PC)   identified on both certificates
Ex. 900          I'm Off That                        Pitbull                                  2567      564       SR0000714643        PX-1745 (RC)        PA0001833780       PX-1161 (RC)   Same date of first publication                X
                                                                                                                                      PX-7799 (PC)                           PX-6139 (PC)   on both certificates
Ex. 901          I'm On Everything                   Bad Meets Evil                           3707      3078      SR0000678636        PX-2135 (RC)        PA0001808404       PX-3541 (RC)   Same artist and album                         X
                                                                                                                                      PX-7662 (PC)                           PX-5992 (PC)   identified on both certificates
Ex. 902          I'm Out (Explicit)                  Ciara feat. Nicki Minaj                  1312      1663      SR0000724534        PX-1772 (RC)        PA0001936025       PX-2760 (RC)   Same artist and album
                                                                                                                                      PX-7853 (PC)                           PX-6495 (PC)   identified on both certificates
Ex. 903          I'm Running                         Mary Mary                                2199      70        SR0000711038        PX-1740 (RC)        PA0001640785       PX-879 (RC)                                                  X
                                                                                                                                      PX-7788 (PC)                           PX-5215 (PC)
Ex. 904          I'm Scared                          Duffy                                    3915      1871      SR0000613340        PX-2075 (RC)        PA0001698335       PX-3044 (RC)   Same artist and album                         X
                                                                                                                                      PX-7408 (PC)                           PX-5393 (PC)   identified on both certificates
Ex. 905          I'm so into You                     SWV                                      327       921       SR0000146905        PX-1400 (RC)        PA0000664028       PX-2511 (PC)   Same artist and album                         X
                                                                                                                                      PX-6921 (PC)                           PX-4256 (PC)   identified on both certificates
Ex. 906          I'm So Sure                         Puddle Of Mudd                           5111      2683      SR0000618742        PX-1966 (RC)        PA0001669444       PX-3974 (RC)   Same artist and album                         X
                                                                                                                                      PX-7445 (PC)                                          identified on both certificates
Ex. 907          I'm Still A Guy                     Brad Paisley                             86        3079      SR0000610946        PX-1650 (RC)        PA0001167815       PX-790 (RC)    Same artist and album                         X
                                                                                                                                      PX-7398 (PC)                           PX-4091 (PC)   identified on both certificates
                                                                                                                                                                             PX-8208 (PC)
Ex. 908          I'm Supposed To Die Tonight         50 Cent                                  3553      1664      SR0000366051        PX-2111 (RC)        PA0001298492       PX-3029 (RC)   Same artist and album                         X
                                                                                                                                      PX-7275 (PC)                           PX-4965 (PC)   identified on both certificates
Ex. 909          I'm Trippin                         Future featuring Juicy J                 1606      1665      SR0000701457        PX-1728 (RC)        PA0001856289       PX-2855 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7734 (PC)                           PX-6256 (PC)   certificates
Ex. 910          I'm with You                        Avril Lavigne                            422       1666      SR0000312786        PX-1556 (RC)        PA0001101508       PX-2696 (RC)   Same artist and album                         X
                                                                                                                                      PX-7147 (PC)                           PX-4698 (PC)   identified on both certificates
Ex. 911          Imagination                         Avant                                    3667      1101      SR0000396388        PX-2117 (RC)        PA0001371420       PX-3256 (RC)   Same artist and album                         X
                                                                                                                                      PX-7358 (PC)                           PX-5044 (PC)   identified on both certificates
Ex. 912          In Between Us (Explicit)            Scarface                                 5270      1454      SR0000362246        PX-2301 (RC)        PA0001113731       PX-2581 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7265 (PC)                           PX-4727 (PC)   certificates
Ex. 913          In God's Hands                      Nelly Furtado                            5028      75        SR0000612217        PX-1945 (RC)        PA0001164471       PX-770 (RC)    Same artist identified on both
                                                                                                                                      PX-7401 (PC)                           PX-8262 (PC)   certificates
Ex. 914          In Love With Another Man            Jazmine Sullivan                         254       1455      SR0000618093        PX-1656 (RC)        PA0001897134       PX-2891 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7442 (PC)                           PX-6409 (PC)   certificates
Ex. 915          In Memory                           Shinedown                                5866      241       SR0000342566        PX-3455 (RC)        PA0001131837       PX-680 (RC)    Same album identified on both                 X
                                                                                                                                      PX-7215 (PC)                           PX-4770 (PC)   certificates
Ex. 916          In My Business                      Whitney Houston                          560       419       SR0000298453        PX-1536 (RC)        PA0000931051       PX-4444 (PC)   Same artist and album                         X
                                                                                                                                      PX-7109 (PC)                                          identified on both certificates
Ex. 917          In My Head                          Jason Derulo                             6531      3213      SR0000685175        PX-3380 (RC)        PA0001742580       PX-3770 (RC)   Same artist and album                         X
                                                                                                                                      PX-7683 (PC)        PA0001813215       PX-5639 (PC)   identified on both certificates
                                                                                                                                                                             PX-6024 (PC)
Ex. 918          IN MY REMAINS                       Linkin Park                              6563      1456      SR0000708311        PX-3386 (RC)        PA0001805741       PX-2909 (RC)   Same artist and album                         X
                                                                                                                                      PX-7770 (PC)                           PX-5937 (PC)   identified on both certificates

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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                             Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 919        In One Ear                           Cage The Elephant                        1110      701       SR0000631003        PX-1674 (RC)        PA0001794292       PX-1094 (RC)                                                 X
                                                                                                                                     PX-7507 (PC)                           PX-5915 (PC)
Ex. 920         In The Ayer (feat. will.I.am)       Flo Rida                                 5552      3214      SR0000629161        PX-3314 (RC)        PA0001647062       PX-5251 (PC)   Same artist and album                         X
                                                                                                                                     PX-7498 (PC)        PA0001644948       PX-5246 (PC)   identified on both certificates
Ex. 921         In The End                          Green Day                                6494      2687      SR0000185457        PX-3365 (RC)        PA0000713967       PX-4281 (PC)   Same artist and album                         X
                                                                                                                                     PX-6953 (PC)                                          identified on both certificates
Ex. 922         In The Evening                      Led Zeppelin                             5685      2688      SR0000013105        PX-3430 (RC)        PA0000078099       PX-4151 (PC)   Same album identified on both                 X
                                                                                                                                     PX-6691 (PC)                                          certificates
Ex. 923         In The Lost And Found (Honky        Elliott Smith                            3985      1297      SR0000280584        PX-2085 (RC)        PA0001015785       PX-3208 (RC)   Same artist and album                         X
                Bach)/The Roost                                                                                                      PX-7187 (PC)                           PX-4534 (PC)   identified on both certificates
Ex. 924         In Your Honor                       Foo Fighters                             1494      1102      SR0000377762        PX-1609 (RC)        PA0001730947       PX-2838 (RC)   Same artist and album                         X
                                                                                                                                     PX-7304 (PC)                           PX-5516 (PC)   identified on both certificates
Ex. 925         Incredible                          Lloyd                                    4848      3093      SR0000391940        PX-2325 (RC)        PA0001387427       PX-5056 (PC)   Same artist and album                         X
                                                                                                                                     PX-7344 (PC)        PA0001167536       PX-8216 (PC)   identified on both certificates
Ex. 926         Independence                        The Band Perry                           5307      420       SR0000664551        PX-2009 (RC)        PA0001728329       PX-5491 (PC)   Same date of first publication                X
                                                                                                                                     PX-7609 (PC)                                          on both certificates
Ex. 927         Independence Day                    Elliott Smith                            3986      1298      SR0000241677        PX-2223 (RC)        PA0000846538       PX-2784 (RC)   Same artist and album                         X
                                                                                                                                     PX-7012 (PC)                           PX-4370 (PC)   identified on both certificates
Ex. 928         Indestructible                      Disturbed                                6369      2690      SR0000647297        PX-7562 (PC)        PA0001697227       PX-3506 (RC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 929         Indifference (Remastered)           Pearl Jam                                2511      1669      SR0000207219        PX-1421 (RC)        PA0000669762       PX-2503 (PC)   Same artist and album                         X
                                                                                                                                     PX-6978 (PC)                           PX-4267 (PC)   identified on both certificates
Ex. 930         Indy Kidz                           Cage The Elephant                        1111      703       SR0000703665        PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                     PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 931         Inhale                              Stone Sour                               6227      76        SR0000330447        PX-3466 (RC)        PA0001115050       PX-672 (RC)    Same artist and album                         X
                                                                                                                                     PX-8004 (PC)                           PX-4741 (PC)   identified on both certificates
                                                                                                                                                                            PX-8374 (PC)
                                                                                                                                                                            PX-8375 (PC)
Ex. 932         Initiation (feat. Lola Monroe)      Wiz Khalifa                              5966      2181      SR0000715951        PX-3297 (RC)        PA0001951618       PX-6514 (PC)   Same artist and album                         X
                                                                                                                                     PX-7809 (PC)                                          identified on both certificates
Ex. 933         Innocent                            Fuel                                     1560      988       SR0000269920        PX-1512 (RC)        PA0001025291       PX-4560 (PC)   Same artist and album                         X
                                                                                                                                     PX-7062 (PC)                                          identified on both certificates
Ex. 934         Insane                              Eminem                                   4034      3169      SR0000633152        PX-2378 (RC)        PA0001848044       PX-6202 (PC)   Same artist and album                         X
                                                                                                                                     PX-7513 (PC)        PA0001666843       PX-907 (RC)    identified on both certificates
                                                                                                                                                                            PX-5306 (PC)
Ex. 935         Inside Interlewd                    Trey Songz                               5924      2182      SR0000715080        PX-3296 (RC)        PA0001866129       PX-4034 (RC)   Same artist and album                         X
                                                                                                                                     PX-7805 (PC)                                          identified on both certificates
Ex. 936         Inside The Fire                     Disturbed                                6370      2691      SR0000647297        PX-7562 (PC)        PA0001697227       PX-3506 (RC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 937         Interlude: Holiday                  Paramore                                 5806      2692      SR0000724441        PX-3451 (RC)        PA0001854437       PX-3960 (RC)   Same artist and album                         X
                                                                                                                                     PX-7850 (PC)                                          identified on both certificates
Ex. 938         Interlude: I'm Not Angry Anymore    Paramore                                 5807      2693      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist and album                         X
                                                                                                                                     PX-7850 (PC)                                          identified on both certificates
Ex. 939         Interlude: Moving On                Paramore                                 5808      2694      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist and album                         X
                                                                                                                                     PX-7850 (PC)                                          identified on both certificates
Ex. 940         Interlude4U                         Trey Songz                               5925      2184      SR0000715080        PX-3296 (RC)        PA0001865878       PX-4035 (RC)   Same artist and album                         X
                                                                                                                                     PX-7805 (PC)                                          identified on both certificates
Ex. 941         International Love                  Pitbull Featuring Chris Brown            2589      3215      SR0000681904        PX-1713 (RC)        PA0001771867       PX-3969 (RC)   Same artist and album                         X
                                                                                                                                     PX-7677 (PC)                           PX-5771 (PC)   identified on both certificates
Ex. 942         Intoxication                        Disturbed                                6371      2695      SR0000316958        PX-3348 (RC)        PA0001111236       PX-3511 (RC)   Same artist and album                         X
                                                                                                                                     PX-7156 (PC)                           PX-3558 (RC)   identified on both certificates
                                                                                                                                                                            PX-3559 (RC)
Ex. 943         Intuition                           Feist                                    4149      1940      SR0000406936        PX-2388 (RC)        PA0001692658       PX-2822 (RC)   Same artist and album                         X
                                                                                                                                     PX-7385 (PC)                           PX-5363 (PC)   identified on both certificates
Ex. 944         Invisible                           Big Time Rush                            836       704       SR0000697856        PX-1722 (RC)        PA0001825037       PX-6111 (PC)   Same date of first publication                X
                                                                                                                                     PX-7715 (PC)                                          on both certificates
Ex. 945         Involve Yourself                    Avant                                    3228      523       SR0000648878        PX-2188 (RC)        PA0001395666       PX-5061 (PC)   Same artist and album                         X
                                                                                                                                     PX-7563 (PC)                                          identified on both certificates
Ex. 946         Iowa (Live Version)                 Slipknot                                 6201      78        SR0000390797        PX-3464 (RC)        PA0001102120       PX-4705 (PC)   Same artist and album
                                                                                                                                     PX-7341 (PC)                                          identified on both certificates

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                                                                                Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                            34
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                   Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 947        It Ain't Easy (Explicit)             2Pac                                    3524       1104      SR0000198774       PX-2107 (RC)        PA0001070585       PX-3056 (PC)   Same artist and album                         X
                                                                                                                                    PX-2108 (RC)                           PX-4629 (PC)   identified on both certificates
                                                                                                                                    PX-6964 (PC)
Ex. 948          It Did                             Brad Paisley                            88         2186      SR0000610946       PX-1650 (RC)        PA0001628194       PX-3572 (RC)   Same artist and album                         X
                                                                                                                                    PX-7398 (PC)                                          identified on both certificates
Ex. 949          It Gets Better                     fun.                                    6155       3254      SR0000704930       PX-3416 (RC)        PA0001791456       PX-5908 (PC)   Same artist and album                         X
                                                                                                                                    PX-7752 (PC)        PA0001810595       PX-1114 (RC)   identified on both certificates
                                                                                                                                                                           PX-5999 (PC)
Ex. 950          It Matters To Me                   Faith Hill                              6432       2024      SR0000169102       PX-3360 (RC)        PAu001966659       PX-3713 (RC)                                                 X
                                                                                                                                    PX-6933 (PC)
Ex. 951          It Was Faith                       Puddle Of Mudd                          5113       3159      SR0000618742       PX-1966 (RC)        PA0001657887       PX-3976 (RC)   Same artist and album                         X
                                                                                                                                    PX-7445 (PC)                           PX-5278 (PC)   identified on both certificates
Ex. 952          It Will Be Me                      Faith Hill                              6433       2187      SR0000276629       PX-7075 (PC)        PA0000988177       PX-4508 (PC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 953          Itchin' On A Photograph            Grouplove                               5601       2698      SR0000704081       PX-3418 (RC)        PA0001762863       PX-3560 (RC)   Same artist and album                         X
                                                                                                                                    PX-7744 (PC)                           PX-8404 (PC)   identified on both certificates
                                                                                                                                                                           PX-8405 (PC)
Ex. 954          It's All About The Pentiums        Weird Al Yankovic                       3212       244       SR0000275219       PX-7071 (PC)        PA0000976952       PX-4490 (PC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 955          It's Five O' Clock Somewhere       Alan Jackson                            3          2188      SR0000340026       PX-7206 (PC)        PA0001158580       PX-4808 (PC)   Same artist and album
                                                                                                                                                                                          identified on both certificates
Ex. 956          It's Goin' Down                    Yung Joc                                6014       3094      SR0000393525       PX-3300 (RC)        PA0001349210       PX-5029 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7346 (PC)        PA0001164441       PX-8261 (PC)   certificates
Ex. 957          It's Not Over                      Daughtry                                1342       2190      SR0000399960       PX-1636 (RC)        PA0001349172       PX-3652 (RC)   Same artist and album                         X
                                                                                                                                    PX-7367 (PC)                                          identified on both certificates
Ex. 958          It's Not Right But It's Okay       Whitney Houston                         561        321       SR0000298453       PX-1536 (RC)        PA0000954971       PX-4473 (PC)   Same artist and album                         X
                                                                                                                                    PX-7109 (PC)                                          identified on both certificates
Ex. 959          It's OK                            CeeLo Green                             6030       422       SR0000673160       PX-3333 (RC)        PA0001769596       PX-5768 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7642 (PC)                                          certificates
Ex. 960          It's That Time Of Day              Kenny Chesney                           2006       705       SR0000726972       PX-1779 (RC)        PA0001899360       PX-1207 (RC)   Same artist and album                         X
                                                                                                                                    PX-7867 (PC)                           PX-6419 (PC)   identified on both certificates
Ex. 961          It's Time                          Imagine Dragons                         4364       1105      SR0000695196       PX-2054 (RC)        PA0001796482       PX-2872 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7701 (PC)                           PX-5921 (PC)   certificates
Ex. 962          It's Your World                    Common                                  3878       1106      SR0000377106       PX-2112 (RC)        PA0001302108       PX-4988 (PC)   Same artist and album                         X
                                                                                                                                    PX-7302 (PC)        PA0001302107       PX-4987 (PC)   identified on both certificates
Ex. 963          Ivan Meets G.I. Joe                The Clash                               2836       992       SR0000024334       PX-1281 (RC)        PA0000112397       PX-2464 (PC)   Same artist and album                         X
                                                                                                                                    PX-6712 (PC)                           PX-4158 (PC)   identified on both certificates
Ex. 964          I've Come To Expect It From You    George Strait                           4254       922       SR0000358502       PX-2395 (RC)        PA0000482947       PX-2497 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7254 (PC)                           PX-4227 (PC)   certificates
Ex. 965          I've Committed Murder              Macy Gray                               2150       71        SR0000267460       PX-1510 (RC)        PA0000976706       PX-4489 (PC)   Same artist and album                         X
                                                                                                                                    PX-7060 (PC)                                          identified on both certificates
Ex. 966          J.A.R. (Jason Andrew Relva)        Green Day                               6495       2700      SR0000169250       PX-3374 (RC)        PA0000773776       PX-4314 (PC)   Same artist and album
                                                                                                                                    PX-6934 (PC)                                          identified on both certificates
Ex. 967          Jack & Jill                        Avant                                   3668       1457      SR0000308368       PX-2106 (RC)        PA0001087674       PX-3086 (PC)   Same artist and album                         X
                                                                                                                                    PX-7137 (PC)                           PX-4683 (PC)   identified on both certificates
Ex. 968          Jaded                              Green Day                               6496       2701      SR0000188562       PX-3366 (RC)        PA0000774217       PX-4316 (PC)   Same artist and album                         X
                                                                                                                                    PX-6956 (PC)                                          identified on both certificates
Ex. 969          James Brown                        Cage The Elephant                       1112       706       SR0000631003       PX-1674 (RC)        PA0001794291       PX-1093 (RC)   Same artist and album                         X
                                                                                                                                    PX-7507 (PC)                           PX-5914 (PC)   identified on both certificates
Ex. 970          Japanese Buffalo                   Cage The Elephant                       1113       707       SR0000703665       PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                    PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 971          Jealous                            Beyoncé                                 797        3051      SR0000747291       PX-1834 (RC)        PA0001918143       PX-3555 (RC)   Same artist and album                         X
                                                                                                                                    PX-7956 (PC)                                          identified on both certificates
Ex. 972          Jesus For A Day                    Macy Gray                               2151       2191      SR0000336638       PX-1576 (RC)        PA0001157410       PX-3897 (RC)   Same artist and album                         X
                                                                                                                                    PX-7200 (PC)                                          identified on both certificates
Ex. 973          Jesus Of Suburbia                  Green Day                               6497       2702      SR0000362126       PX-3371 (RC)        PA0001251310       PX-3757 (RC)   Same artist and album                         X
                                                                                                                                    PX-7264 (PC)                                          identified on both certificates
Ex. 974          Jesus Or A Gun                     Fuel                                    1561       993       PA0000939885       PX-1466 (RC)        PA0000893225       PX-4420 (PC)   Same artist and album
                                                                                                                                    PX-4449 (PC)                                          identified on both certificates


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  RC - Registration Certificate                                                                                           35
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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                 Track                                     Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)          MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                       Part of Same Compilation
Ex. 975        Jewels N' Drugs                         Lady Gaga                               4719      3271      SR0000737557        PX-1888 (RC)        PA0001893363       PX-3830 (RC)       Same artist and album                         X
                                                                                                                                       PX-7918 (PC)                           PX-6390 (PC)       identified on both certificates
Ex. 976         Juice Box                              Pitbull                                 2568      710       SR0000641804        PX-1683 (RC)        PA0001733404       PX-5570 (PC)       Same artist identified on both                X
                                                                                                                                       PX-7542 (PC)                                              certificates
Ex. 977         Jump                                   Simple Plan                             5889      2704      SR0000375167        PX-3458 (RC)        PA0001251376       n/a                Same artist identified on both                X
                                                                                                                                       PX-7299 (PC)                                              certificates
Ex. 978         Jump (feat. Nelly Furtado)             Flo Rida                                5553      711       SR0000658178        PX-3306 (RC)        PA0001807841       PX-5984 (PC)       Same artist identified on both                X
                                                                                                                                       PX-7589 (PC)                                              certificates
Ex. 979         Jumping Someone Else's Train           The Cure                                6103      1806      SR0000072370        PX-3482 (RC)        PA0000205032       PX-2474 (RC)       Same artist identified on both                X
                                                                                                                                       PX-6837 (PC)                           PX-4177 (PC)       certificates
Ex. 980         Junk Bond Trader                       Elliott Smith                           3987      1299      SR0000280584        PX-2085 (RC)        PA0001015781       PX-3207 (RC)       Same artist and album                         X
                                                                                                                                       PX-7187 (PC)                           PX-4531 (PC)       identified on both certificates
Ex. 981         Jurassic Park                          Weird Al Yankovic                       3041      994       SR0000184456        PX-6949 (PC)        PA0000713893       PX-2516 (RC)       Same artist and album                         X
                                                                                                                                                                              PX-4280 (PC)       identified on both certificates
Ex. 982         Just A Feeling                         Maroon 5                                4946      1300      SR0000664531        PX-1929 (RC)        PA0001726281       PX-2947 (RC)       Same date of first publication                X
                                                                                                                                       PX-7606 (PC)                           PX-5478 (PC)       on both certificates
Ex. 983         Just A Kiss                            Lady Antebellum                         3428      2193      SR0000679267        PX-2194 (RC)        PA0001817035       PX-3821 (RC)       Same artist identified on both
                                                                                                                                       PX-7665 (PC)                                              certificates
Ex. 984         Just A Lil Bit                         50 Cent                                 3555      1671      SR0000366051        PX-2111 (RC)        PA0001298496       PX-2425 (RC)       Same artist and album                         X
                                                                                                                                       PX-7275 (PC)                           PX-4968 (PC)       identified on both certificates
Ex. 985         Just About Now                         Faith Hill                              6434      926       SR0000182853        PX-3362 (RC)        PA0000669876       PX-4268 (PC)       Same artist and album                         X
                                                                                                                                       PX-6947 (PC)                                              identified on both certificates
Ex. 986         Just Around The Eyes                   Faith Hill                              6435      927       SR0000182853        PX-3362 (RC)        PA0000713702       PX-3191 (RC)       Same artist and album                         X
                                                                                                                                       PX-6947 (PC)                           PX-4278 (PC)       identified on both certificates
Ex. 987         Just Dance                             Lady GaGa                               4722      712       SR0000613221        PX-1882 (RC)        PA0001685310       PX-917 (RC)        Same artist identified on both
                                                                                                                                       PX-7406 (PC)                           PX-5341 (PC)       certificates
Ex. 988         Just Don't Give A Fuck (Explicit)      Eminem                                  4037      1874      SR0000262686        PX-2407 (RC)        PA0000954432       PX-8227 (PC)       Same artist and album                         X
                                                                                                                                       PX-7047 (PC)                                              identified on both certificates
Ex. 989         Just For                               Nickelback                              6181      2194      SR0000330446        PX-8003 (PC)        PA0001103819       PX-3927 (RC)       Same artist and album                         X
                                                                                                                                                                                                 identified on both certificates
Ex. 990         Just For One Day                       Emblem3                                 1443      245       SR0000726978        PX-1781 (RC)        PA0001920253       PX-6472 (PC)       Same artist and album                         X
                                                                                                                                       PX-7869 (PC)        PA0001879169       PX-6334 (PC)       identified on both certificates
Ex. 991         Just Like Me                           Usher                                   643       3057      SR0000257730        PX-1458 (RC)        PA0001033071       PX-4569 (PC)       Same artist and album                         X
                                                                                                                                       PX-7041 (PC)        PA0000893385       PX-4427 (PC)       identified on both certificates
Ex. 992         Just Lose It                           Eminem                                  4038      1107      SR0000362082        PX-2227 (RC)        PA0001284525       PX-3687 (RC)       Same artist identified on both
                                                                                                                                       PX-7263 (PC)                           PX-4954 (PC)       certificates
Ex. 993         Just Push Play                         Aerosmith                               725       928       SR0000299932        PX-1540 (RC)        PA0001048574       PX-3261 (RC)       Same artist and album
                                                                                                                                       PX-7114 (PC)                           PX-4592 (PC)       identified on both certificates
Ex. 994         Just Stop                              Disturbed                               6372      2705      SR0000380289        PX-3351 (RC)        PA0001296198       PX-3503 (RC)       Same artist and album                         X
                                                                                                                                       PX-7313 (PC)                           PX-8392 (PC)       identified on both certificates
                                                                                                                                                                              PX-8393 (PC)
Ex. 995         Kangaroo Court                         Capital Cities                          3310      714       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)        Same album identified on both                 X
                                                                                                                                       PX-7858 (PC)                           PX-1221 (RC)       certificates
                                                                                                                                                                              PX-6518 (PC)
Ex. 996         Karma                                  Alicia Keys                             26        246       SR0000346869        PX-1584 (RC)        PA0001158372       PX-694 (RC)        Same artist and album                         X
                                                                                                                                       PX-7227 (PC)                           PX-4802 (PC)       identified on both certificates
Ex. 997         Karma (feat. YG Hootie, Popa Smurf &   Waka Flocka Flame                       5954      2195      SR0000672357        PX-3299 (RC)        PA0001739133       PX-4055 (RC)       Same artist and album                         X
                Slim Dunkin)                                                                                                           PX-7638 (PC)                                              identified on both certificates
Ex. 998         Karmageddon                            M.I.A.                                  4912      2706      SR0000736308        PX-2327 (RC)        PA0001919074       PX-3892 (RC)       Same artist and album                         X
                                                                                                                                       PX-7912 (PC)                                              identified on both certificates
Ex. 999         Kashmir                                Led Zeppelin                            5686      2707      N21799              PX-8049 (PC)        Eu0000557529       PX-8026 (PC)                                                     X
Ex. 1000        Keep Dancin' On Me                     Ciara                                   1303      2708      SR0000631011        PX-1675 (RC)        PA0001659055       PX-3573 (RC)       Same artist and album                         X
                                                                                                                                       PX-7508 (PC)                                              identified on both certificates
Ex. 1001        Keep Me From Loving You                Chris Cagle                             3321      2196      SR0000640838        PX-2186 (RC)        PA0001641540       PX-3640 (RC)       Same artist and album                         X
                                                                                                                                       PX-7538 (PC)                                              identified on both certificates
Ex. 1002        Keep You With Me                       Hot Chelle Rae                          1680      2197      SR0000412466        PX-8434 (PC)        PA0001856129       PX-3568 (RC)       Same artist and album                         X
                                                                                                                                       PX-8435 (PC)                                              identified on both certificates
Ex. 1003        Killing An Arab                        The Cure                                6104      1807      SR0000072370        PX-3482 (RC)        PA0000205039       PX-2475 (PC)       Same artist identified on both                X
                                                                                                                                       PX-6837 (PC)                           PX-4178 (PC)       certificates


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  RC - Registration Certificate                                                                                              36
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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                   Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)          MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                      Part of Same Compilation
Ex. 1004       King For A Day                       Green Day                                 6498      2709      SR0000244558        PX-3367 (RC)        PA0001059865       PX-4603 (PC)       Same artist and album                         X
                                                                                                                                      PX-7016 (PC)                                              identified on both certificates
Ex. 1005        Kiss                                Prince And The Revolution                 6683      1794      SR0000069888        PX-6830 (PC)        PA0000284474       PX-4195 (PC)       Same artist and album
                                                                                                                                                                                                identified on both certificates
Ex. 1006        Kisses Don't Lie                    Rihanna                                   5196      1109      SR0000387137        PX-2333 (RC)        PA0001164299       n/a                Same artist and album                         X
                                                                                                                                      PX-7332 (PC)                                              identified on both certificates
Ex. 1007        Knife Prty                          Deftones                                  6316      2710      SR0000284862        PX-7082 (PC)        PA0001029983       PX-3497 (RC)       Same artist and album                         X
                                                                                                                                                                                                identified on both certificates
Ex. 1008        Knives                              Fuel                                      1562      995       SR0000269920        PX-1512 (RC)        PA0001025290       PX-2566 (PC)       Same artist and album                         X
                                                                                                                                      PX-7062 (PC)                           PX-4559 (PC)       identified on both certificates
Ex. 1009        Knock It Out                        Yung Joc                                  6015      2199      SR0000393525        PX-3300 (RC)        PA0001347991       PX-4072 (RC)       Same artist and album                         X
                                                                                                                                      PX-7346 (PC)                                              identified on both certificates
Ex. 1010        Knock You Down                      Keri Hilson                               4630      2200      SR0000629123        PX-1867 (RC)        PA0001767248       PX-5759 (PC)       Same artist and album                         X
                                                                                                                                      PX-7497 (PC)                                              identified on both certificates
Ex. 1011        Kody                                Matchbox Twenty                           5750      344       SR0000227755        PX-3294 (RC)        PA0000844644       PX-4366 (PC)       Same artist and album                         X
                                                                                                                                      PX-7003 (PC)                                              identified on both certificates
Ex. 1012        Krazy                               Pitbull Feat. Lil Jon;Shawty Lo           2580      715       SR0000641804        PX-1683 (RC)        PA0001733987       PX-5575 (PC)       Same artist identified on both                X
                                                                                                                                      PX-7542 (PC)                                              certificates
Ex. 1013        La Contestacion                     Los Lonely Boys                           2111      423       SR0000352465        PX-1587 (RC)        PA0001159599       PX-4848 (PC)       Same artist and album                         X
                                                                                                                                      PX-7238 (PC)                                              identified on both certificates
Ex. 1014        Lace and Leather                    Britney Spears                            3106      3255      SR0000620789        PX-1661 (RC)        PA0001622996       PX-5152 (PC)       Same artist and album                         X
                                                                                                                                      PX-7465 (PC)        PA0001647942       PX-5253 (PC)       identified on both certificates
Ex. 1015        Lacerated                           Shinedown                                 5867      247       SR0000342566        PX-3455 (RC)        PA0001131838       PX-681 (RC)        Same artist and album                         X
                                                                                                                                      PX-7215 (PC)                           PX-4771 (PC)       identified on both certificates
Ex. 1016        Lady, Lady                          Luther Vandross                           2128      929       SR0000171321        PX-1407 (RC)        PA0000731125       PX-2518 (PC)       Same artist and album                         X
                                                                                                                                      PX-6937 (PC)                           PX-4285 (PC)       identified on both certificates
Ex. 1017        Ladykiller                          Maroon 5                                  4948      1303      SR0000705167        PX-1928 (RC)        PA0001810778       PX-2948 (RC)       Same date of first publication                X
                                                                                                                                      PX-7755 (PC)                           PX-6007 (PC)       on both certificates
Ex. 1018        Lanterns                            Rise Against                              5246      716       SR0000674467        PX-1995 (RC)        PA0001887807       PX-6365 (PC)       Same album identified on both
                                                                                                                                      PX-7648 (PC)                                              certificates
Ex. 1019        Larger Than Life                    Backstreet Boys                           3071      1459      SR0000275134        PX-1517 (RC)        PA0000940713       PX-3285 (RC)       Same artist and album                         X
                                                                                                                                      PX-7070 (PC)                           PX-4450 (PC)       identified on both certificates
Ex. 1020        Lasso                               The Band Perry                            5308      424       SR0000664551        PX-2009 (RC)        PA0001728410       PX-5494 (PC)       Same date of first publication                X
                                                                                                                                      PX-7609 (PC)                                              on both certificates
Ex. 1021        Last Beautiful Girl                 Matchbox Twenty                           5751      3061      SR0000305708        PX-3431 (RC)        PA0000978638       PX-4494 (PC)       Same artist and album                         X
                                                                                                                                      PX-7130 (PC)        PA0001006951       PX-4514 (PC)       identified on both certificates
Ex. 1022        Last Call Casualty                  Bowling For Soup                          3084      1460      SR0000361081        PX-1597 (RC)        PA0001159767       PX-2591 (PC)       Same artist and album                         X
                                                                                                                                      PX-7260 (PC)                           PX-4867 (PC)       identified on both certificates
Ex. 1023        Last Friday Night (T.G.I.F.)        Katy Perry                                3364      2712      SR0000662268        PX-2190 (RC)        PA0001753637       PX-5705 (PC)       Same artist and album                         X
                                                                                                                                      PX-7599 (PC)                                              identified on both certificates
Ex. 1024        Last Hope                           Paramore                                  5809      2713      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)       Same artist and album                         X
                                                                                                                                      PX-7850 (PC)                                              identified on both certificates
Ex. 1025        Last Name                           Carrie Underwood                          1153      1305      SR0000627157        PX-1670 (RC)        PA0001642858       PX-5222 (PC)       Same artist and album                         X
                                                                                                                                      PX-7487 (PC)                                              identified on both certificates
Ex. 1026        Last Night                          Pitbull feat. Afrojack & Havana Brown     2573      566       SR0000714643        PX-1745 (RC)        PA0001833744       PX-1160 (RC)       Same date of first publication                X
                                                                                                                                      PX-7799 (PC)                           PX-6138 (PC)       on both certificates
Ex. 1027        Last Time                           Fuel                                      1563      996       SR0000269920        PX-1512 (RC)        PA0001025281       PX-3116 (PC)       Same artist and album                         X
                                                                                                                                      PX-7062 (PC)                           PX-4550 (PC)       identified on both certificates
Ex. 1028        Latch                               Disclosure                                3910      1876      SR0000724303        PX-2371 (RC)        PA0001916095       PX-2773 (RC)
                                                                                                                                      PX-7848 (PC)                           PX-6461 (PC)
Ex. 1029        Laura Palmer                        Bastille                                  3246      1877      SR0000753441        PX-2147 (RC)        PA0001915734       PX-2709 (RC)                                                     X
                                                                                                                                      PX-2408 (RC)                           PX-6458 (PC)
                                                                                                                                      PX-7972 (PC)
Ex. 1030        Lazy Lies                           Capital Cities                            3311      717       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)        Same album identified on both                 X
                                                                                                                                      PX-7858 (PC)                           PX-1221 (RC)       certificates
                                                                                                                                                                             PX-6518 (PC)
Ex. 1031        Leaf                                Elle Varner                               1427      1110      SR0000721189        PX-1765 (RC)        PA0002000110       PX-3152 (PC)       Same artist and album                         X
                                                                                                                                      PX-7834 (PC)                           PX-6578 (PC)       identified on both certificates
Ex. 1032        Learn To Fly                        Foo Fighters                              1495      1672      SR0000285034        PX-1522 (RC)        PA0001693305       PX-2847 (RC)       Same artist and album                         X
                                                                                                                                      PX-7083 (PC)                           PX-5372 (PC)       identified on both certificates

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                                                                                 Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                             37
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                      Track                              Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1033       Leathers                             Deftones                                   6317      2716      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)   Same artist and album                         X
                                                                                                                                       PX-7824 (PC)                           PX-3501 (RC)   identified on both certificates
Ex. 1034        Leave                               Matchbox Twenty                            5752      425       SR0000305708        PX-3431 (RC)        PA0001006950       PX-637 (RC)    Same artist and album                         X
                                                                                                                                       PX-7130 (PC)                           PX-4513 (PC)   identified on both certificates
                                                                                                                                                                              PX-8366 (PC)
                                                                                                                                                                              PX-8367 (PC)
Ex. 1035        Leave Love Alone                    Carrie Underwood                           1154      1111      SR0000700157        PX-1725 (RC)        PA0001810767       PX-6006 (PC)   Same date of first publication                X
                                                                                                                                       PX-7728 (PC)                                          on both certificates
Ex. 1036        Leave Out All The Rest              Linkin Park                                6568      1461      SR0000406841        PX-3385 (RC)        PA0001167571       PX-2445 (PC)   Same artist and album                         X
                                                                                                                                       PX-7383 (PC)                           PX-8214 (PC)   identified on both certificates
Ex. 1037        Leaving California                  Boys Like Girls                            934       82        SR0000731314        PX-1793 (RC)        PA0001831261       PX-1153 (RC)   Same date of first publication                X
                                                                                                                                       PX-7890 (PC)                           PX-6126 (PC)   on both certificates
Ex. 1038        Left Behind                         Slipknot                                   6202      83        SR0000330440        PX-3462 (RC)        PA0001102120       PX-4705 (PC)   Same artist and album                         X
                                                                                                                                       PX-7185 (PC)                                          identified on both certificates
Ex. 1039        Left Out                            Shinedown                                  5868      248       SR0000342566        PX-3455 (RC)        PA0001131839       PX-682 (RC)    Same artist and album                         X
                                                                                                                                       PX-7215 (PC)                           PX-4772 (PC)   identified on both certificates
Ex. 1040        Legs Shakin'                        R. Kelly feat. Ludacris                    2614      3096      SR0000737848        PX-1807 (RC)        PA0001933961       PX-6491 (PC)   Same artist and album                         X
                                                                                                                                       PX-7919 (PC)                                          identified on both certificates
Ex. 1041        Lemme See                           Usher                                      2906      370       SR0000731104        PX-1792 (RC)        PA0001828069       PX-6122 (PC)   Same artist and album                         X
                                                                                                                                       PX-7889 (PC)                                          identified on both certificates
Ex. 1042        Let It Go (feat. Akon)              Wiz Khalifa                                5969      3217      SR0000715951        PX-3297 (RC)        PA0001951623       PX-6516 (PC)   Same artist and album                         X
                                                                                                                                       PX-7809 (PC)        PA0001874344       PX-1185 (RC)   identified on both certificates
                                                                                                                                                                              PX-6317 (PC)
Ex. 1043        Let Me Love You                     Mario                                      316       84        SR0000363091        PX-1600 (RC)        PA0001160636       PX-740 (RC)    Same artist and album
                                                                                                                                       PX-7268 (PC)                           PX-4905 (PC)   identified on both certificates
Ex. 1044        Let The Flames Begin                Paramore                                   5810      2718      SR0000631909        PX-3323 (RC)        PA0001595049       PX-3962 (RC)   Same artist and album                         X
                                                                                                                                       PX-7510 (PC)                                          identified on both certificates
Ex. 1045        Let The Groove Get In               Justin Timberlake                          1950      2206      SR0000717770        PX-1751 (RC)        PA0001915504       PX-6455 (PC)   Same artist and album                         X
                                                                                                                                       PX-7811 (PC)                                          identified on both certificates
Ex. 1046        Let's Go Out Tonight                Paula DeAnda featuring P.B.                483       85        SR0000393631        PX-1624 (RC)        PA0001166136       PX-2502 (RC)   Same artist and album                         X
                                                                                                                                       PX-7347 (PC)                           PX-8273 (PC)   identified on both certificates
Ex. 1047        Let's Go To Bed                     The Cure                                   6724      1808      SR0000045130        PX-3406 (RC)        PA0000190147       PX-2470 (PC)   Same artist identified on both
                                                                                                                                       PX-6769 (PC)                           PX-4170 (PC)   certificates
Ex. 1048        Let's Make a Deal                   Avant                                      3669      1464      SR0000281220        PX-2105 (RC)        PA0001025467       PX-3085 (PC)   Same artist and album                         X
                                                                                                                                       PX-7189 (PC)                           PX-4563 (PC)   identified on both certificates
Ex. 1049        Let's Make Love                     Faith Hill & Tim McGraw                    6474      2207      SR0000276629        PX-7075 (PC)        PA0000988178       PX-8230 (PC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1050        Lhabia                              Deftones                                   6318      2719      SR0000244493        PX-7015 (PC)        PA0000870906       PX-3502 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1051        Liberate                            Disturbed                                  6374      2720      SR0000316958        PX-3348 (RC)        PA0001111236       PX-3511 (RC)   Same artist and album                         X
                                                                                                                                       PX-7156 (PC)                           PX-3558 (RC)   identified on both certificates
                                                                                                                                                                              PX-3559 (RC)
Ex. 1052        Lie About Us                        Avant                                      3670      1465      SR0000396388        PX-2117 (RC)        PA0001167119       PX-2618 (PC)   Same artist and album                         X
                                                                                                                                       PX-7358 (PC)                           PX-8290 (PC)   identified on both certificates
                                                                                                                                                                              PX-8291 (PC)
Ex. 1053        Lie To Me                           Darius Rucker                              3328      1673      SR0000724693        PX-2143 (RC)        PA0001868630       PX-6302 (PC)   Same artist and album                         X
                                                                                                                                       PX-7855 (PC)                                          identified on both certificates
Ex. 1054        Lies Greed Misery                   Linkin Park                                6569      1466      SR0000708311        PX-3386 (RC)        PA0001805743       PX-2910 (RC)   Same artist and album                         X
                                                                                                                                       PX-7770 (PC)                           PX-5939 (PC)   identified on both certificates
Ex. 1055        Life Of The Party                   Boys Like Girls                            935       86        SR0000717244        PX-1750 (RC)        PA0001831259       PX-6125 (PC)                                                 X
                                                                                                                                       PX-7810 (PC)
Ex. 1056        Life, Love And The Meaning Of       Billy Currington                           3744      1675      SR0000617590        PX-2123 (RC)        PA0001697492       PX-2723 (RC)   Same artist and album                         X
                                                                                                                                       PX-7437 (PC)                           PX-5390 (PC)   identified on both certificates
Ex. 1057        Lifeline                            Papa Roach                                 5081      2208      SR0000627411        PX-1960 (RC)        PA0001671748       PX-3950 (RC)   Same artist identified on both
                                                                                                                                       PX-7489 (PC)                                          certificates
Ex. 1058        Lifetime                            Usher                                      644       249       SR0000620940        PX-1662 (RC)        PA0001602821       PX-5130 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7466 (PC)                                          certificates
Ex. 1059        Lifter                              Deftones                                   6319      2722      SR0000171111        PX-6935 (PC)        PA0000776635       PX-3494 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates


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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 1060       Lighters                             Bad Meets Evil                           3709      3063      SR0000678636        PX-2135 (RC)        PA0001842411       PX-3542 (RC)   Same artist and album                         X
                                                                                                                                     PX-7662 (PC)                           PX-6185 (PC)   identified on both certificates
Ex. 1061        Like A G6                           Far East Movement                        4140      718       SR0000658290        PX-2411 (RC)        PA0001778021       PX-5824 (PC)   Same date of first publication
                                                                                                                                     PX-7590 (PC)                                          on both certificates
Ex. 1062        Like A Surgeon                      Ciara                                    1304      2724      SR0000631011        PX-1675 (RC)        PA0001659055       PX-3573 (RC)   Same artist and album                         X
                                                                                                                                     PX-7508 (PC)                                          identified on both certificates
Ex. 1063        Like Sugar                          Matchbox Twenty                          5753      87        SR0000714896        PX-3434 (RC)        PA0001850238       PX-6214 (PC)   Same date of first publication                X
                                                                                                                                     PX-7803 (PC)                                          on both certificates
Ex. 1064        Like This                           Brandy                                   5485      357       SR0000345858        PX-7224 (PC)        PA0001072623       PX-4637 (PC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 1065        Like We Never Loved At All          Faith Hill                               6441      2209      SR0000374377        PX-3359 (RC)        PA0001290857       PX-3712 (RC)   Same artist and album                         X
                                                                                                                                     PX-7294 (PC)                                          identified on both certificates
Ex. 1066        Like You'll Never See Me Again      Alicia Keys                              28        250       SR0000627148        PX-1668 (RC)        PA0001590110       PX-809 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7485 (PC)                           PX-5092 (PC)   certificates
Ex. 1067        Lil Freak                           Usher feat. Nicki Minaj                  2917      559       SR0000652023        PX-1688 (RC)        PA0001700473       PX-929 (RC)                                                  X
                                                                                                                                     PX-7568 (PC)                           PX-5408 (PC)
Ex. 1068        Lindisfarne II                      James Blake                              4416      1878      SR0000673339        PX-2056 (RC)        PA0001827813       PX-2886 (RC)   Same artist and album                         X
                                                                                                                                     PX-7643 (PC)                           PX-6117 (PC)   identified on both certificates
Ex. 1069        Lindy                               Kenny Chesney                            2008      719       SR0000726972        PX-1779 (RC)        PA0001899353       PX-1206 (RC)   Same artist and album                         X
                                                                                                                                     PX-7867 (PC)                           PX-6418 (PC)   identified on both certificates
Ex. 1070        Lions, Tigers & Bears               Jazmine Sullivan                         255       88        SR0000618093        PX-1656 (RC)        PA0001640779       PX-876 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7442 (PC)                           PX-5212 (PC)   certificates
Ex. 1071        Little Bit Of Everything            Keith Urban                              3396      426       SR0000733375        PX-1894 (RC)        PA0001947440       PX-6509 (PC)   Same album identified on both                 X
                                                                                                                                     PX-7899 (PC)                                          certificates
Ex. 1072        Little Girl                         Mary Mary                                2200      89        SR0000317087        PX-1561 (RC)        PA0001111575       PX-671 (RC)    Same artist and album                         X
                                                                                                                                     PX-7157 (PC)                           PX-4726 (PC)   identified on both certificates
Ex. 1073        Little Man                          Alan Jackson                             395       2725      SR0000295185        PX-1534 (RC)        PA0001318139       PX-5004 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7105 (PC)                                          certificates
Ex. 1074        Live A Lie                          Jazmine Sullivan                         256       90        SR0000618093        PX-1656 (RC)        PA0001640780       PX-877 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7442 (PC)                           PX-5213 (PC)   certificates
Ex. 1075        Live By The Gun (feat. RA Diggs &   Waka Flocka Flame                        5955      2210      SR0000672357        PX-3299 (RC)        PA0001746038       PX-4056 (RC)   Same artist and album                         X
                Uncle Murda)                                                                                                         PX-7638 (PC)                                          identified on both certificates
Ex. 1076        Live Fast, Die Young                Rick Ross                                5147      1985      SR0000656701        PX-1974 (RC)        PA0001739156       PX-3997 (RC)   Same artist and album                         X
                                                                                                                                     PX-7581 (PC)                           PX-5617 (PC)   identified on both certificates
Ex. 1077        Live-In Skin                        Foo Fighters                             1497      1677      SR0000285034        PX-1522 (RC)        PA0001693317       PX-2848 (RC)   Same artist and album                         X
                                                                                                                                     PX-7083 (PC)                           PX-5376 (PC)   identified on both certificates
Ex. 1078        Livin' On Love                      Alan Jackson                             396       2726      SR0000202090        PX-1416 (RC)        PA0000727505       PX-3537 (RC)   Same artist identified on both                X
                                                                                                                                     PX-6970 (PC)                                          certificates
Ex. 1079        Livin' On The Edge                  Aerosmith                                3580      930       SR0000678414        PX-2133 (RC)        PA0000832940       PX-4363 (PC)   Same artist identified on both
                                                                                                                                     PX-7659 (PC)                                          certificates
Ex. 1080        Living In The Sky With Diamonds     Cobra Starship                           6144      3068      SR0000657140        PX-3413 (RC)        PA0001678956       PX-3646 (RC)   Same artist and album                         X
                                                                                                                                     PX-7586 (PC)                           PX-5324 (PC)   identified on both certificates
Ex. 1081        Living Proof                        Bad Meets Evil                           3710      3069      SR0000678636        PX-2135 (RC)        PA0001841719       PX-3543 (RC)   Same artist and album                         X
                                                                                                                                     PX-7662 (PC)                           PX-6175 (PC)   identified on both certificates
Ex. 1082        Lloyd (Intro)                       Lloyd                                    4850      2017      SR0000391940        PX-2325 (RC)        PA0001387423       PX-3877 (RC)   Same artist and album                         X
                                                                                                                                     PX-7344 (PC)                           PX-5054 (PC)   identified on both certificates
Ex. 1083        Locked Out of Heaven                Bruno Mars                               5513      3052      SR0000715738        PX-3305 (RC)        PA0001869823       PX-3651 (RC)   Same artist and album                         X
                                                                                                                                     PX-7807 (PC)                                          identified on both certificates
Ex. 1084        London Bridge                       Fergie                                   4175      91        SR0000399946        PX-2390 (RC)        PA0001165471       PX-772 (RC)    Same artist and album
                                                                                                                                     PX-7366 (PC)                           PX-8269 (PC)   identified on both certificates
Ex. 1085        Lonely Lonely                       Feist                                    4152      1820      SR0000374394        PX-2385 (RC)        PA0001166704       PX-2617 (RC)   Same artist and album                         X
                                                                                                                                     PX-7296 (PC)                           PX-8287 (PC)   identified on both certificates
Ex. 1086        Lonely No More                      Rob Thomas                               5845      92        SR0000373876        PX-3453 (RC)        PA0001161188       PX-747 (RC)    Same artist and album                         X
                                                                                                                                     PX-7291 (PC)                           PX-4924 (PC)   identified on both certificates
Ex. 1087        Long Day                            Matchbox Twenty                          5754      345       SR0000227755        PX-3294 (RC)        PA0000844644       PX-4366 (PC)   Same artist and album                         X
                                                                                                                                     PX-7003 (PC)                                          identified on both certificates
Ex. 1088        Long Distance Interlude             Brandy                                   1005      427       SR0000622255        PX-1665 (RC)        PA0001641290       PX-5218 (PC)   Same artist and album                         X
                                                                                                                                     PX-7474 (PC)                                          identified on both certificates
Ex. 1089        Long Road To Ruin                   Foo Fighters                             1498      1115      SR0000617325        PX-1655 (RC)        PA0001625301       PX-2840 (RC)   Same artist and album                         X
                                                                                                                                     PX-7436 (PC)                           PX-5162 (PC)   identified on both certificates

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                                                                                             Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                              Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 1090       Longview                             Green Day                               6499      2727      SR0000185457        PX-3365 (RC)        PA0000713967       PX-4281 (PC)   Same artist and album                         X
                                                                                                                                    PX-6953 (PC)                                          identified on both certificates
Ex. 1091        Look At Me Now                      Chris Brown featuring Lil Wayne &       1284      2213      SR0000677541        PX-1705 (RC)        PA0001921210       PX-3637 (RC)   Same artist identified on both                X
                                                    Busta Rhymes                                                                    PX-7654 (PC)                                          certificates
Ex. 1092        Lookin' At You                      Ciara                                   3147      2214      SR0000355316        PX-1594 (RC)        PA0001263491       PX-3581 (RC)   Same artist and album                         X
                                                                                                                                    PX-7247 (PC)                                          identified on both certificates
Ex. 1093        Looking Up                          Paramore                                5811      2728      SR0000657157        PX-3450 (RC)        PA0001676905       PX-3954 (RC)   Same artist and album                         X
                                                                                                                                    PX-7587 (PC)                                          identified on both certificates
Ex. 1094        Lord Knows                          2Pac                                    3526      931       SR0000198774        PX-2107 (RC)        PA0000773740       PX-2527 (RC)   Same artist and album                         X
                                                                                                                                    PX-2108 (RC)                           PX-4311 (PC)   identified on both certificates
                                                                                                                                    PX-6964 (PC)
Ex. 1095        Lose Control (Featuring JoJo)       Timbaland                               5371      3273      SR0000411631        n/a                 PA0001780014       PX-5835 (PC)   Same artist identified on both                X
                                                                                                                                                        PA0001755876       PX-5723 (PC)   certificates
Ex. 1096        Lose My Cool                        SWV featuring Redman                    343       1311      SR0000249300        PX-1449 (RC)        PA0001318280       PX-5005 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7026 (PC)                                          certificates
Ex. 1097        Lose Myself                         SWV                                     329       1312      SR0000249300        PX-1449 (RC)        PA0000884229       PX-3275 (RC)   Same artist and album                         X
                                                                                                                                    PX-7026 (PC)                           PX-4413 (PC)   identified on both certificates
Ex. 1098        Lose Yourself                       Eminem                                  4040      1881      SR0000322706        PX-2224 (RC)        PA0001152688       PX-3132 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7174 (PC)                           PX-4786 (PC)   certificates (Eminem is the
                                                                                                                                                                                          psudonym of Marshall
                                                                                                                                                                                          Mathers) see PX-2705
Ex. 1099        Losing Grip                         Avril Lavigne                           423       251       SR0000312786        PX-1556 (RC)        PA0001101505       PX-4695 (PC)   Same artist and album                         X
                                                                                                                                    PX-7147 (PC)                                          identified on both certificates
Ex. 1100        Losing My Way                       Justin Timberlake                       3165      2003      SR0000395943        PX-1630 (RC)        PA0001368885       PX-5037 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7356 (PC)                                          certificates
Ex. 1101        Losing You                          Keyshia Cole                            4647      2426      SR0000615233        PX-1869 (RC)        PA0001637010       PX-3810 (RC)   Same artist and album                         X
                                                                                                                                    PX-7423 (PC)                                          identified on both certificates
Ex. 1102        Lost                                Gorilla Zoe                             5990      2729      SR0000663781        PX-3307 (RC)        PA0001669756       PX-3745 (RC)   Same artist and album
                                                                                                                                    PX-7602 (PC)                                          identified on both certificates
Ex. 1103        Lost In The Echo                    Linkin Park                             6570      1467      SR0000708311        PX-3386 (RC)        PA0001805740       PX-2911 (RC)   Same artist and album                         X
                                                                                                                                    PX-7770 (PC)                           PX-5936 (PC)   identified on both certificates
Ex. 1104        Lost In The World                   Kanye West                              4580      2391      SR0000683430        PX-7679 (PC)        PA0001784045       PX-5858 (PC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 1105        Lost In You                         Darius Rucker                           3329      1116      SR0000724693        PX-2143 (RC)        PA0001855522       PX-2768 (RC)   Same artist identified in both                X
                                                                                                                                    PX-7855 (PC)                           PX-6243 (PC)   certificates
Ex. 1106        Lotus                               Cage The Elephant                       1115      722       SR0000631003        PX-1674 (RC)        PA0001794291       PX-1093 (RC)   Same artist and album                         X
                                                                                                                                    PX-7507 (PC)                           PX-5914 (PC)   identified on both certificates
Ex. 1107        Loud Noises                         Bad Meets Evil                          3711      3080      SR0000678636        PX-2135 (RC)        PA0001808399       PX-3544 (RC)   Same artist and album                         X
                                                                                                                                    PX-7662 (PC)                           PX-5989 (PC)   identified on both certificates
Ex. 1108        Love Ain't Like That                Faith Hill                              6442      428       SR0000253752        PX-7036 (PC)        PA0000894510       PX-4432 (PC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 1109        Love Away                           Capital Cities                          3312      723       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)    Same artist identified in both                X
                                                                                                                                    PX-7858 (PC)                           PX-1221 (RC)   certificates
                                                                                                                                                                           PX-6518 (PC)
Ex. 1110        Love Drunk                          Boys Like Girls                         936       93        SR0000643654        PX-1684 (RC)        PA0001735247       PX-991 (RC)                                                  X
                                                                                                                                    PX-7554 (PC)                           PX-5588 (PC)
Ex. 1111        Love Faces                          Trey Songz                              5926      2216      SR0000671697        PX-3298 (RC)        PA0001856243       PX-4040 (RC)   Same artist and album                         X
                                                                                                                                    PX-7631 (PC)                                          identified on both certificates
Ex. 1112        Love Gun (Feat. Lauren Bennett)     CeeLo Green                             6031      998       SR0000673160        PX-3333 (RC)        PA0001727659       PX-5487 (PC)   Same artist identified in both                X
                                                                                                                                    PX-7642 (PC)                                          certificates
Ex. 1113        Love Hangover                       Jason Derulo                            6532      3218      SR0000685175        PX-3380 (RC)        PA0001742580       PX-3770 (RC)   Same artist and album                         X
                                                                                                                                    PX-7683 (PC)        PA0001813216       PX-5639 (PC)   identified on both certificates
                                                                                                                                                                           PX-6025 (PC)
Ex. 1114        Love Her Like She's Leavin'         Brad Paisley feat. Don Henley           980       2454      SR0000680360        PX-1710 (RC)        PA0001769705       PX-5769 (PC)   Same artist and album                         X
                                                                                                                                    PX-7669 (PC)                                          identified on both certificates
Ex. 1115        Love In This Club                   Usher                                   2908      569       SR0000742199        PX-1814 (RC)        PA0001659003       PX-897 (RC)    Same artist identified in both
                                                                                                                                    PX-7931 (PC)                           PX-5281 (PC)   certificates
Ex. 1116        Love In This Club, Part II          Usher                                   645       3183      SR0000620940        PX-1662 (RC)        PA0001690182       PX-5356 (PC)   Same artist and album                         X
                                                                                                                                    PX-7466 (PC)        PA0001658976       PX-895 (RC)    identified on both certificates
                                                                                                                                                                           PX-5279 (PC)

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                                                                               Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                           40
  SR - Sound Recording
  MC - Musical Composition
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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                 Track                                  Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 1117       Love Is On The Way (Real Love)       Luther Vandross                           2129      932       SR0000171321        PX-1407 (RC)        PA0000731122       PX-4284 (PC)   Same artist and album                         X
                                                                                                                                      PX-6937 (PC)                                          identified on both certificates
Ex. 1118        Love is...                          Common                                    3879      1117      SR0000377106        PX-2112 (RC)        PA0001302102       PX-4983 (PC)   Same artist and album                         X
                                                                                                                                      PX-7302 (PC)                                          identified on both certificates
Ex. 1119        Love I've Found In You              Lady Antebellum                           3431      2217      SR0000686148        PX-2196 (RC)        PA0001817038       PX-3825 (RC)   Same artist and album                         X
                                                                                                                                      PX-2372 (RC)                                          identified on both certificates
                                                                                                                                      PX-7690 (PC)
Ex. 1120        Love Me Love Me                     Big Time Rush                             837       1468      SR0000697856        PX-1722 (RC)        PA0001784544       PX-3036 (RC)   Same date of first publication                X
                                                                                                                                      PX-7715 (PC)                           PX-5864 (PC)   on both certificates
Ex. 1121        Love Money Party                    Miley Cyrus feat. Big Sean                2269      3021      SR0000735242        PX-1803 (RC)        PA0001870000       PX-3912 (RC)   Same artist and album                         X
                                                                                                                                      PX-7907 (PC)                                          identified on both certificates
Ex. 1122        Love On Top                         Beyoncé                                   799       2730      SR0000683948        PX-1715 (RC)        PA0001861938       PX-3552 (RC)   Same artist and album                         X
                                                                                                                                      PX-7681 (PC)                                          identified on both certificates
Ex. 1123        Love School                         Avant                                     3671      1469      SR0000308368        PX-2106 (RC)        PA0001087673       PX-3084 (PC)   Same artist and album                         X
                                                                                                                                      PX-7137 (PC)                           PX-4682 (PC)   identified on both certificates
Ex. 1124        Love Sex Magic (Main Version)       Ciara Featuring Justin Timberlake         1314      94        SR0000631011        PX-1675 (RC)        PA0001649982       PX-889 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7508 (PC)                                          certificates
Ex. 1125        Love Somebody                       Maroon 5                                  4951      429       SR0000705167        PX-1928 (RC)        PA0001824576       PX-6106 (PC)   Same album identified on both                 X
                                                                                                                                      PX-7755 (PC)                                          certificates
Ex. 1126        Love Song                           Miranda Lambert                           2303      3219      SR0000641403        PX-1681 (RC)        PA0001691877       PX-5358 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7540 (PC)        PA0001682742       PX-5333 (PC)   certificates
Ex. 1127        Love That Girl                      Raphael Saadiq                            2624      1954      SR0000619872        PX-1658 (RC)        PA0001612668       PX-5144 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7452 (PC)                                          certificates
Ex. 1128        Love The Girls (Explicit)           Chris Brown featuring Eva Simons          1281      724       SR0000679366        PX-1708 (RC)        PA0001772294       PX-1055 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7667 (PC)                           PX-5784 (PC)   certificates
Ex. 1129        Love The Way You Lie                Eminem                                    4041      1211      SR0000653572        PX-2087 (RC)        PA0001730976       PX-2810 (RC)   Same artist identified on both                X
                                                                                                                                      PX-7573 (PC)                           PX-5523 (PC)   certificates
Ex. 1130        Love The Way You Lie (Part II)      Rihanna                                   5198      1212      SR0000684805        PX-2334 (RC)        PA0001732821       PX-2640 (PC)   Same date of first publication                X
                                                                                                                                      PX-8458 (PC)                           PX-5556 (PC)   on both certificates
                                                                                                                                      PX-8459 (PC)
Ex. 1131        Love Will Save Your Soul            Grouplove                                 5602      2731      SR0000704081        PX-3418 (RC)        PA0001762863       PX-3560 (RC)   Same artist and album                         X
                                                                                                                                      PX-7744 (PC)                           PX-8404 (PC)   identified on both certificates
                                                                                                                                                                             PX-8405 (PC)
Ex. 1132        Love You                            Maxwell                                   2208      371       SR0000639738        PX-1678 (RC)        PA0001707770       PX-953 (RC)    Same artist and album                         X
                                                                                                                                      PX-7536 (PC)                           PX-5443 (PC)   identified on both certificates
Ex. 1133        Love You Gently                     Usher                                     646       1679      SR0000620940        PX-1662 (RC)        PA0001602834       PX-5132 (PC)   Same artist identified on both                X
                                                                                                                                      PX-7466 (PC)                                          certificates
Ex. 1134        LoveGame                            Lady GaGa                                 4723      726       SR0000617841        PX-1885 (RC)        PA0001685315       PX-918 (RC)    Same artist and album                         X
                                                                                                                                      PX-7439 (PC)                           PX-5342 (PC)   identified on both certificates
Ex. 1135        Lovely Cup                          Grouplove                                 5603      2732      SR0000704081        PX-3418 (RC)        PA0001762863       PX-3560 (RC)   Same artist and album                         X
                                                                                                                                      PX-7744 (PC)                           PX-8404 (PC)   identified on both certificates
                                                                                                                                                                             PX-8405 (PC)
Ex. 1136        loveofmylife                        Musiq Soulchild                           5780      95        SR0000706644        PX-3435 (RC)        PA0001625858       PX-852 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7764 (PC)                           PX-5170 (PC)   certificates (Talib Johnson is
                                                                                                                                                                                            the psudonym of Musiq
                                                                                                                                                                                            Soulchild) see PX-5071
Ex. 1137        Lover's Thing                       Ciara feat. The-Dream                     1313      3256      SR0000631011        PX-1675 (RC)        PA0001659046       PX-1038 (RC)   Same artist and album                         X
                                                                                                                                      PX-7508 (PC)        PA0001755160       PX-5283 (PC)   identified on both certificates
                                                                                                                                                                             PX-5721 (PC)
Ex. 1138        Love's Poster Child                 Keith Urban                               3398      567       SR0000733375        PX-1894 (RC)        PA0001947446       PX-6511 (PC)   Same album identified on both                 X
                                                                                                                                      PX-7899 (PC)                                          certificates
Ex. 1139        LoveStoned / I Think She Knows      Justin Timberlake                         3166      2004      SR0000395943        PX-1630 (RC)        PA0001368884       PX-5036 (PC)   Same artist and album                         X
                Interlude                                                                                                             PX-7356 (PC)                                          identified on both certificates
Ex. 1140        Low (feat T-Pain)                   Flo Rida                                  5554      727       SR0000629161        PX-3314 (RC)        PA0001644879       PX-886 (RC)    Same artist identified on both                X
                                                                                                                                      PX-7498 (PC)                           PX-5240 (PC)   certificates
Ex. 1141        Loyal                               Chris Brown feat. Lil Wayne & Tyga        1272      2218      SR0000760918        PX-1847 (RC)        PA0001912898       PX-6444 (PC)   Same artist identified on both
                                                                                                                                      PX-7979 (PC)                                          certificates
Ex. 1142        Luck                                Fuel                                      1565      999       SR0000342237        PX-1579 (RC)        PA0001245155       PX-2623 (PC)   Same artist and album                         X
                                                                                                                                      PX-7213 (PC)                                          identified on both certificates


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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1143       Lucky Strike                           Maroon 5                                 4952      1314      SR0000705167        PX-1928 (RC)        PA0001810804       PX-2949 (RC)   Same date of first publication                X
                                                                                                                                       PX-7755 (PC)                           PX-6010 (PC)   on both certificates
Ex. 1144        Lucky You                             Deftones                                 6320      2733      SR0000335169        PX-7198 (PC)        PA0001146106       PX-8240 (PC)   Same artist identified on both                X
                                                                                                                                                                                             certificates
Ex. 1145        Lullaby                               The Cure                                 6106      1809      SR0000104305        PX-3478 (RC)        PA0001073354       PX-4662 (PC)   Same artist identified on both                X
                                                                                                                                       PX-6874 (PC)                                          certificates
Ex. 1146        Luxurious                             Gwen Stefani                             4317      96        SR0000364759        PX-2282 (RC)        PA0001160424       PX-737 (RC)    Same artist and album                         X
                                                                                                                                       PX-2341 (RC)                           PX-4901 (PC)   identified on both certificates
                                                                                                                                       PX-7272 (PC)
Ex. 1147        Mad Season (Remastered Version)       Matchbox Twenty                          5755      346       SR0000633456        PX-3433 (RC)        PA0001006950       PX-637 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7515 (PC)                           PX-4513 (PC)   certificates
                                                                                                                                                                              PX-8366 (PC)
                                                                                                                                                                              PX-8367 (PC)
Ex. 1148        Made In America                       JAY-Z                                    4424      2219      SR0000683714        PX-7680 (PC)        PA0001768256       PX-5766 (PC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1149        Made To Be Together                   Trey Songz                               5927      2220      SR0000671697        PX-3298 (RC)        PA0001856238       PX-4044 (PC)   Same artist and album                         X
                                                                                                                                       PX-7631 (PC)                                          identified on both certificates
Ex. 1150        Mafia Music (Explicit)                Rick Ross                                5148      729       SR0000631748        PX-2330 (RC)        PA0001748285       PX-1012 (RC)   Same artist identified on both
                                                                                                                                                                              PX-5653 (PC)   certificates
Ex. 1151        Main Title (From "Star Wars")         John Williams and the London             1897      2221      SR0000247474        PX-1443 (RC)        PA0000062943       PX-3796 (RC)   Same artist identified on both                X
                                                      Symphony Orchestra                                                               PX-7021 (PC)                           PX-8330 (PC)   certificates
                                                                                                                                                                              PX-8331 (PC)
Ex. 1152        Maintain the Pain                     Miranda Lambert                          2305      730       SR0000641403        PX-1681 (RC)        PA0001682745       PX-916 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7540 (PC)                           PX-5336 (PC)   certificates
Ex. 1153        Make Her Say                          Kid Cudi                                 4665      2734      SR0000641951        PX-1873 (RC)        PA0001847910       PX-3812 (RC)   Same artist identified on both
                                                                                                                                       PX-7543 (PC)                                          certificates
Ex. 1154        Make It Stop (September's Children)   Rise Against                             5247      731       SR0000671827        PX-1993 (RC)        PA0001887807       PX-6365 (PC)   Same album identified on both                 X
                                                                                                                                       PX-7635 (PC)                                          certificates
Ex. 1155        Make My Day                           Common                                   3880      322       SR0000619987        PX-2125 (RC)        PA0001731490       PX-979 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7455 (PC)                           PX-5538 (SR)   certificates (Common is the
                                                                                                                                                                                             pseudonym of Lonnie Rashid
                                                                                                                                                                                             Lynn) see PX-4979
Ex. 1156        Makin' Good Love                      Avant                                    3672      1470      SR0000308368        PX-2106 (RC)        PA0001087666       PX-3083 (RC)   Same artist and album                         X
                                                                                                                                       PX-7137 (PC)                           PX-4675 (PC)   identified on both certificates
Ex. 1157        Makin' Plans                          Miranda Lambert                          2306      732       SR0000641403        PX-1681 (RC)        PA0001682745       PX-916 (RC)    Same artist and album                         X
                                                                                                                                       PX-7540 (PC)                           PX-5336 (PC)   identified on both certificates
Ex. 1158        Mama Africa                           Akon                                     3587      733       SR0000610156        PX-2119 (RC)        PA0001167181       PX-780 (RC)    Same artist and album                         X
                                                                                                                                       PX-2293 (RC)                           PX-8293 (PC)   identified on both certificates
                                                                                                                                       PX-2415 (RC)
                                                                                                                                       PX-7397 (PC)
Ex. 1159        Mama's Broken Heart                   Miranda Lambert                          2308      2223      PA0001805349        PX-1495 (RC)        PA0001790000       PX-3915 (RC)   Same artist and album                         X
                                                                                                                                       PX-5935 (PC)                                          identified on both certificates
Ex. 1160        Man Down                              Rihanna                                  5201      1681      SR0000684805        PX-2334 (RC)        PA0001732813       PX-3020 (RC)   Same artist identified on both                X
                                                                                                                                       PX-8458 (PC)                           PX-5554 (PC)   certificates
                                                                                                                                       PX-8459 (PC)
Ex. 1161        Man On The Moon                       Phillip Phillips                         5097      1118      SR0000712841        PX-1963 (RC)        PA0001839481       PX-2996 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7795 (PC)                           PX-6158 (PC)   certificates
Ex. 1162        MANiCURE                              Lady Gaga                                4724      3274      SR0000737557        PX-1888 (RC)        PA0001893362       PX-3829 (RC)   Same artist and album                         X
                                                                                                                                       PX-7918 (PC)                           PX-6389 (PC)   identified on both certificates
Ex. 1163        Manos Al Aire                         Nelly Furtado                            5030      734       SR0000641955        PX-1946 (RC)        PA0001760999       PX-5741 (PC)   Same artist identified on both
                                                                                                                                       PX-7545 (PC)                                          certificates
Ex. 1164        Marley                                Kenny Chesney                            2010      737       SR0000726972        PX-1779 (RC)        PA0001899367       PX-1208 (RC)   Same artist and album                         X
                                                                                                                                       PX-7867 (PC)                           PX-6420 (PC)   identified on both certificates
Ex. 1165        Marry Me                              Jason Derulo                             6533      738       SR0000763207        PX-3292 (RC)        PA0001896439       PX-6405 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7983 (PC)                                          certificates
Ex. 1166        Marry The Night                       Lady Gaga                                4725      3221      SR0000678406        PX-1887 (RC)        PA0001757748       PX-1026 (RC)   Same artist and album                         X
                                                                                                                                       PX-7657 (PC)        PA0001751986       PX-5686 (PC)   identified on both certificates
                                                                                                                                                                              PX-5729 (PC)
Ex. 1167        Marry The P***y (Explicit)            R. Kelly                                 2605      1471      SR0000737848        PX-1807 (RC)        PA0001934438       PX-2537 (RC)   Same artist and album                         X
                                                                                                                                       PX-7919 (PC)                           PX-6493 (PC)   identified on both certificates

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                                                                                  Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                              42
  SR - Sound Recording
  MC - Musical Composition
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Cox Submission                Track                                      Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)          MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                       Part of Same Compilation
Ex. 1168       Marvin & Chardonnay                     Big Sean                                3725      2224      SR0000678630        PX-2134 (RC)        PA0001760433       n/a                Same artist identified on both                X
                                                                                                                                       PX-7661 (PC)                                              certificates
Ex. 1169        Mary Jane Holland                      Lady Gaga                               4726      739       SR0000737557        PX-1888 (RC)        PA0001893360       PX-6388 (PC)       Same artist and album                         X
                                                                                                                                       PX-7918 (PC)                                              identified on both certificates
Ex. 1170        Mary Pretends                          Fuel 238                                1581      1000      SR0000253431        PX-1455 (RC)        PA0000893220       PX-3173 (RC)       Same artist and album                         X
                                                                                                                                       PX-7035 (PC)                           PX-4416 (PC)       identified on both certificates
Ex. 1171        Massage                                Trey Songz                              5928      3145      SR0000671697        PX-3298 (RC)        PA0001856242       PX-5874 (PC)       Same artist and album                         X
                                                                                                                                       PX-7631 (PC)        PA0001786345       PX-6250 (PC)       identified on both certificates
Ex. 1172        MATANGI                                M.I.A.                                  4915      2736      SR0000736308        PX-2327 (RC)        PA0001919076       PX-3893 (RC)       Same artist and album                         X
                                                                                                                                       PX-7912 (PC)                                              identified on both certificates
Ex. 1173        Maybach Music                          Rick Ross                               5150      740       SR0000642144        PX-1972 (RC)        PA0001639897       PX-5191 (PC)       Same artist and album                         X
                                                                                                                                       PX-7549 (PC)                                              identified on both certificates
Ex. 1174        Maybe You're Right                     Miley Cyrus                             2264      3275      SR0000735242        PX-1803 (RC)        PA0001870023       PX-6306 (PC)       Same artist and album                         X
                                                                                                                                       PX-7907 (PC)        PA0001920676       PX-6475 (PC)       identified on both certificates
Ex. 1175        MC Hammer                              Rick Ross                               5152      741       SR0000656701        PX-1974 (RC)        PA0001821908       PX-1141 (RC)       Same artist and album                         X
                                                                                                                                       PX-7581 (PC)                           PX-6086 (PC)       identified on both certificates
Ex. 1176        Me & U                                 Flo Rida                                5555      2737      SR0000629161        PX-3314 (RC)        PA0001627318       PX-3719 (RC)       Same artist and album                         X
                                                                                                                                       PX-7498 (PC)                                              identified on both certificates
Ex. 1177        Me and Your Cigarettes                 Miranda Lambert                         2310      742       SR0000641403        PX-1681 (RC)        PA0001682744       PX-915 (RC)        Same artist identified on both                X
                                                                                                                                       PX-7540 (PC)                           PX-5335 (PC)       certificates
Ex. 1178        Meaning Of Life                        Disturbed                               6375      2739      SR0000280324        PX-3353 (RC)        PA0001000622       PX-3505 (RC)       Same artist and album                         X
                                                                                                                                       PX-7186 (PC)                                              identified on both certificates
Ex. 1179        Measurements                           James Blake                             4417      1884      SR0000673339        PX-2056 (RC)        PA0001824202       PX-6105 (PC)       Same artist and album                         X
                                                                                                                                       PX-7643 (PC)                                              identified on both certificates
Ex. 1180        Medicated (feat. Chevy Woods & Juicy   Wiz Khalifa                             5970      2225      SR0000715951        PX-3297 (RC)        PA0001952869       PX-4061 (RC)       Same artist and album                         X
                J)                                                                                                                     PX-7809 (PC)                                              identified on both certificates
Ex. 1181        Medicine Ball                          Eminem                                  4043      3162      SR0000633152        PX-2378 (RC)                       PX-6205 (PC)
                                                                                                                                                           PA0001848048 PA0001706432             Same artist and album                         X
                                                                                                                                       PX-7513 (PC)                       PX-936 (RC)            identified on both certificates
                                                                                                                                                                          PX-5424 (PC)
Ex. 1182        Medley: Sexy Ladies / Let Me Talk to   Justin Timberlake                       3167      2006      SR0000395943        PX-1630 (RC)        PA0001368884 PX-5036 (PC)             Same artist and album                         X
                You (Prelude)                                                                                                          PX-7356 (PC)                                              identified on both certificates
Ex. 1183        Meet Me Halfway                        Black Eyed Peas                         3766      1120      SR0000633584        PX-2128 (RC)        PA0001659066       PX-3037 (RC)       Same date of first publication                X
                                                                                                                                       PX-8452 (PC)                           PX-5285 (PC)       on both certificates
                                                                                                                                       PX-8453 (PC)
Ex. 1184        Meet You There                         Simple Plan                             5891      2740      SR0000351060        PX-3457 (RC)        PA0001084656       PX-4010 (RC)       Same artist and album                         X
                                                                                                                                       PX-7235 (PC)                                              identified on both certificates
Ex. 1185        Melt My Heart To Stone                 Adele                                   701       1885      SR0000616701        PX-1654 (RC)        PA0001975706       PX-3060 (PC)       Same artist and album                         X
                                                                                                                                       PX-7431 (PC)                           PX-6546 (PC)       identified on both certificates
Ex. 1186        Memories Pt 2                          Big Sean                                3726      1121      SR0000678630        PX-2134 (RC)        PA0001780744       PX-2718 (RC)       Same artist identified on both                X
                                                                                                                                       PX-7661 (PC)                           PX-5847 (PC)       certificates
Ex. 1187        Mercy.1                                Kanye West                              4582      2228      SR0000763373        PX-2039 (RC)        PA0001913931       PX-6446 (PC)       Same artist identified on both                X
                                                                                                                                       PX-7984 (PC)                                              certificates
Ex. 1188        Midnight Hands                         Rise Against                            5248      744       SR0000671827        PX-1993 (RC)        PA0001887807       PX-6365 (PC)       Same artist and album                         X
                                                                                                                                       PX-7635 (PC)                                              identified on both certificates
Ex. 1189        Midnight In Montgomery                 Alan Jackson                            397       2742      SR0000138302        PX-1392 (RC)        PA0000533558       PX-3535 (RC)       Same artist identified on both                X
                                                                                                                                       PX-6909 (PC)                                              certificates
Ex. 1190        Mighty "O"                             OutKast                                 2422      576       SR0000747300        PX-1835 (RC)        PA0001165509       PX-773 (RC)        Same artist and album
                                                                                                                                       PX-7957 (PC)                           PX-8270 (PC)       identified on both certificates
Ex. 1191        Million Dollar Bills                   Lorde                                   4893      254       SR0000724529        PX-1911 (RC)        PA0002007289       PX-6584 (PC)       Same artist identified on both                X
                                                                                                                                       PX-7852 (PC)                                              certificates


Ex. 1192        Million Miles                          Fuel                                    1566      1001      SR0000342237        PX-1579 (RC)        PA0001245162       PX-2630 (PC)       Same artist and album                         X
                                                                                                                                       PX-7213 (PC)                                              identified on both certificates
Ex. 1193        Mind On My Money                       Flo Rida                                5556      745       SR0000658178        PX-3306 (RC)        PA0001807828       PX-5980 (PC)       Same artist identified on both                X
                                                                                                                                       PX-7589 (PC)                                              certificates
Ex. 1194        Mine (Explicit)                        Beyoncé feat. Drake                     823       2743      SR0000747291        PX-1834 (RC)        PA0001918125       PX-3594 (RC)       Same artist and album                         X
                                                                                                                                       PX-7956 (PC)                                              identified on both certificates
Ex. 1195        Mine Would Be You                      Blake Shelton                           6277      528       SR0000721082        PX-3330 (RC)        PA0001859225       PX-6270 (PC)       Same artist and album                         X
                                                                                                                                       PX-7831 (PC)                                              identified on both certificates

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  RC - Registration Certificate                                                                                              43
  SR - Sound Recording
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Cox Submission                      Track                               Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1196       Minerva                                Deftones                                 6321      2744      SR0000335169        PX-7198 (PC)        PA0001157469       PX-8241 (PC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1197        Minority                              Green Day                                6501      2745      SR0000288352        PX-3368 (RC)        PA0001022884       PX-4547 (PC)   Same artist and album                         X
                                                                                                                                       PX-7091 (PC)                                          identified on both certificates
Ex. 1198        Minus Blindfold                       Deftones                                 6322      2746      SR0000171111        PX-6935 (PC)        PA0000776635       PX-3494 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1199        Miracle                               Foo Fighters                             1501      1122      SR0000377762        PX-1609 (RC)        PA0001730876       PX-2841 (RC)   Same artist and album                         X
                                                                                                                                       PX-7304 (PC)                           PX-5511 (PC)   identified on both certificates
Ex. 1200        Mirage (Explicit)                     Chris Brown featuring Nas                1286      746       SR0000711816        PX-1742 (RC)        PA0001896025       PX-1198 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7791 (PC)                           PX-6393 (PC)   certificates.
Ex. 1201        Misery                                Maroon 5                                 4953      1318      SR0000659947        PX-1933 (RC)        PA0001726265       PX-2950 (RC)
                                                                                                                                       PX-7595 (PC)                           PX-5474 (PC)
Ex. 1202        Misery Business                       Paramore                                 5813      2747      SR0000631909        PX-3323 (RC)        PA0001595045       PX-3958 (RC)   Same artist and album                         X
                                                                                                                                       PX-7510 (PC)                                          identified on both certificates
Ex. 1203        Misguided Ghosts                      Paramore                                 5814      2748      SR0000657157        PX-3450 (RC)        PA0001676906       PX-3955 (RC)   Same artist and album                         X
                                                                                                                                       PX-7587 (PC)                                          identified on both certificates
Ex. 1204        Miss You                              Darius Rucker                            3331      1682      SR0000724693        PX-2143 (RC)        PA0001864797       PX-6286 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7855 (PC)                                          certificates
Ex. 1205        Miss You Being Gone                   The Band Perry                           5309      431       SR0000664551        PX-2009 (RC)        PA0001727845       PX-5488 (PC)                                                 X
                                                                                                                                       PX-7609 (PC)
Ex. 1206        Missing You                           Black Eyed Peas                          3767      1123      SR0000633584        PX-2128 (RC)        PA0001659068       PX-3038 (RC)   Same date of first publication                X
                                                                                                                                       PX-8452 (PC)                           PX-5286 (PC)   on both certificates
                                                                                                                                       PX-8453 (PC)
Ex. 1207        Mistress                              Disturbed                                6376      2749      SR0000316958        PX-3348 (RC)        PA0001111236       PX-3511 (RC)   Same artist and album                         X
                                                                                                                                       PX-7156 (PC)                           PX-3558 (RC)   identified on both certificates
                                                                                                                                                                              PX-3559 (RC)
Ex. 1208        Mmm Papi                              Britney Spears                           3109      1320      SR0000620789        PX-1661 (RC)        PA0001800249       PX-5924 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7465 (PC)                                          certificates
Ex. 1209        Moana                                 Deftones                                 6323      2750      SR0000335169        PX-7198 (PC)        PA0001157471       PX-8242 (PC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1210        Mobile                                Avril Lavigne                            424       255       SR0000312786        PX-1556 (RC)        PA0001101509       PX-4699 (PC)   Same artist and album                         X
                                                                                                                                       PX-7147 (PC)                                          identified on both certificates
Ex. 1211        Mojo So Dope                          Kid Cudi                                 4668      748       SR0000696989        PX-2318 (RC)        PA0001750010       PX-1015 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7708 (PC)                           PX-5662 (PC)   certificates
Ex. 1212        Molly's Chambers                      Kings Of Leon                            311       2427      SR0000330401        PX-1573 (RC)        PA0001204545       PX-8197 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7184 (PC)                                          certificates
Ex. 1213        Mo'Murda                              Bone Thugs-N-Harmony                     901       1683      SR0000225335        PX-1434 (RC)        PA0000767834       PX-2731 (RC)   Same artist and album                         X
                                                                                                                                       PX-6999 (PC)                           PX-4307 (PC)   identified on both certificates
Ex. 1214        Money Bought                          Nickelback                               6182      2234      SR0000330446        PX-8003 (PC)        PA0001103822       PX-3926 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1215        Money Right (feat. Rick Ross & Brisco) Flo Rida                                5557      749       SR0000629161        PX-3314 (RC)        PA0001644871       PX-883 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7498 (PC)                           PX-5237 (PC)   certificates
Ex. 1216        Monster                               Lady Gaga                                4728      750       SR0000642917        PX-1886 (RC)        PA0001751978       PX-1020 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7552 (PC)                           PX-5679 (PC)   certificates
Ex. 1217        Moonshine                             Puddle Of Mudd                           5115      2752      SR0000618742        PX-1966 (RC)        PA0001669444       PX-3974 (RC)   Same artist and album                         X
                                                                                                                                       PX-7445 (PC)                                          identified on both certificates
Ex. 1218        More                                  Usher                                    2909      751       SR0000652023        PX-1688 (RC)        PA0001745641       PX-5650 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7568 (PC)                                          certificates
Ex. 1219        More Than A Memory                    Carly Rae Jepsen                         3830      432       SR0000738473        PX-2146 (RC)        PA0001864022       PX-6277 (PC)   Same artist and album                         X
                                                                                                                                       PX-7924 (PC)                                          identified on both certificates
Ex. 1220        More Than Love                        Los Lonely Boys                          2112      433       SR0000352465        PX-1587 (RC)        PA0001159604       PX-724 (RC)    Same artist and album                         X
                                                                                                                                       PX-7238 (PC)                           PX-4853 (PC)   identified on both certificates
Ex. 1221        More Than This                        One Direction                            2391      1886      SR0000703645        PX-1729 (RC)        PA0001830362       PX-2989 (RC)                                                 X
                                                                                                                                       PX-7737 (PC)                           PX-6124 (PC)
Ex. 1222        Morning After Dark (Featuring Nelly   Timbaland                                5373      3276      SR0000411631        n/a                 PA0001780007       PX-5833 (PC)                                                 X
                Furtado & SoShy)                                                                                                                           PA0001755873       PX-5722 (PC)
Ex. 1223        Mosh                                  Eminem                                   4045      2235      SR0000364769        PX-2283 (RC)        PA0001284524       PX-3688 (RC)   Same artist and album                         X
                                                                                                                                       PX-2376 (RC)                                          identified on both certificates
                                                                                                                                       PX-7273 (PC)


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                                                                                  Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                              44
  SR - Sound Recording
  MC - Musical Composition
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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                       Track                             Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)          MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Same Compilation
Ex. 1224       Most Of All                          Fuel                                     1567      1002      SR0000342237        PX-1579 (RC)        PA0001245158       PX-2626 (RC)       Same artist and album                         X
                                                                                                                                     PX-7213 (PC)                                              identified on both certificates
Ex. 1225        Mother Father                       Dave Matthews Band                       171       935       SR0000300313        PX-1541 (RC)        PA0001039329       PX-4582 (PC)       Same artist and album                         X
                                                                                                                                     PX-7115 (PC)                                              identified on both certificates
Ex. 1226        Motivation                          Kelly Rowland                            4622      3146      SR0000677261        PX-1862 (RC)        PA0001763331       PX-5752 (PC)       Same artist identified on both
                                                                                                                                     PX-7653 (PC)        PA0001760929                          certificates
Ex. 1227        Move Like You Gonna Die             Cobra Starship                           6145      891       SR0000657140        PX-3413 (RC)        PA0001875762       PX-1192 (RC)       Same date of first publication                X
                                                                                                                                     PX-7586 (PC)        PA0001662776       PX-6325 (PC)       on both certificates
                                                                                                                                                                            PX-5300 (PC)
Ex. 1228        Movin' Down the Line                Raphael Saadiq                           2625      1003      SR0000677734        PX-1706 (RC)        PA0001752522       PX-3007 (RC)       Same artist identified on both                X
                                                                                                                                     PX-7655 (PC)                           PX-5700 (PC)       certificates
Ex. 1229        Movin' On                           Brandy                                   5488      1124      SR0000202696        PX-3303 (RC)        PA0000757403       PX-2523 (RC)       Same artist and album                         X
                                                                                                                                     PX-6971 (PC)                           PX-4299 (PC)       identified on both certificates
Ex. 1230        Mr. Bill Collector                  Bone Thugs-N-Harmony                     903       1685      SR0000225335        PX-1434 (RC)        PA0000767831       PX-3250 (RC)       Same artist and album                         X
                                                                                                                                     PX-6999 (PC)                           PX-4306 (PC)       identified on both certificates
Ex. 1231        Mr. Know It All                     Kelly Clarkson                           1993      3002      SR0000715680        PX-1749 (RC)        PA0001851190       PX-6230 (PC)       Same artist identified on both
                                                                                                                                     PX-7806 (PC)                                              certificates
Ex. 1232        Mr. Man                             Alicia Keys;Jimmy Cozier                 57        98        SR0000299410        PX-1538 (RC)        PA0001065080       PX-646 (RC)        Same artist and album                         X
                                                                                                                                     PX-7111 (PC)                           PX-4619 (PC)       identified on both certificates
Ex. 1233        Mr. Mathers                         Eminem                                   4046      1125      SR0000633152        PX-2378 (RC)        PA0001943944       PX-2811 (RC)       Same artist identified on both                X
                                                                                                                                     PX-7513 (PC)                           PX-6504 (PC)       certificates
Ex. 1234        Mr. Rager                           Kid Cudi                                 4669      752       SR0000695775        PX-1874 (RC)        PA0001750006       PX-1014 (RC)       Same artist and album
                                                                                                                                     PX-7707 (PC)                           PX-5661 (PC)       identified on both certificates
Ex. 1235        Mr. Right Now                       Pitbull Featuring Akon & DJ Frank E      2586      3195      SR0000683282        PX-1714 (RC)        PA0001852397       PX-6236 (PC)       Same artist and album                         X
                                                                                                                                     PX-7678 (PC)        PA0001780994       PX-1067 (RC)       identified on both certificates
                                                                                                                                                                            PX-5851 (PC)
Ex. 1236        Mr. Worldwide (Intro)               Pitbull Featuring Vein                   2600      753       SR0000681904        PX-1713 (RC)        PA0001780983       n/a                Same artist identified on both                X
                                                                                                                                     PX-7677 (PC)                                              certificates
Ex. 1237        Ms. Hangover                        Flo Rida                                 5558      1686      SR0000629161        PX-3314 (RC)        PA0001639096       PX-3188 (RC)       Same artist and album                         X
                                                                                                                                     PX-7498 (PC)                           PX-5188 (PC)       identified on both certificates
Ex. 1238        Murder To Excellence                JAY-Z                                    4425      2754      SR0000683714        PX-7680 (PC)        PA0001816414       PX-6046 (PC)       Same artist identified on both                X
                                                                                                                                                                                               certificates
Ex. 1239        Mushaboom                           Feist                                    4153      1821      SR0000388836        PX-2387 (RC)        PA0001166692       PX-2616 (PC)       Same artist identified on both
                                                                                                                                     PX-7338 (PC)                           PX-8285 (PC)       certificates
Ex. 1240        Music Sounds Better                 Big Time Rush                            838       755       SR0000697856        PX-1722 (RC)        PA0001825036       PX-1151 (RC)       Same date of first publication                X
                                                                                                                                     PX-7715 (PC)                           PX-6110 (PC)       on both certificates
Ex. 1241        Must Be Something I Missed          Kenny Chesney                            2011      756       SR0000726972        PX-1779 (RC)        PA0001899368       PX-1209 (RC)       Same artist and album                         X
                                                                                                                                     PX-7867 (PC)                           PX-6421 (PC)       identified on both certificates
Ex. 1242        Must Be The Ganja                   Eminem                                   4047      3171      SR0000633152        PX-2378 (RC)        PA0001848040       PX-6201 (PC)       Same artist and album                         X
                                                                                                                                     PX-7513 (PC)        PA0001706429       PX-935 (RC)        identified on both certificates
                                                                                                                                                                            PX-5422 (PC)
Ex. 1243        Must Get Out                        Maroon 5                                 4955      1321      SR0000702833        PX-1932 (RC)        PA0001073090       PX-2653 (RC)       Same artist and album                         X
                                                                                                                                     PX-7735 (PC)                           PX-4650 (PC)       identified on both certificates
Ex. 1244        MX                                  Deftones                                 6324      2755      SR0000244493        PX-7015 (PC)        PA0000870906       PX-3502 (RC)       Same artist and album                         X
                                                                                                                                                                                               identified on both certificates
Ex. 1245        My Alien                            Simple Plan                              5892      2756      SR0000351060        PX-3457 (RC)        PA0001084656       PX-4010 (RC)       Same artist and album                         X
                                                                                                                                     PX-7235 (PC)                                              identified on both certificates
Ex. 1246        My Baby                             Britney Spears                           3110      1474      SR0000620789        PX-1661 (RC)        PA0001888781       PX-2736 (RC)       Same artist identified on both                X
                                                                                                                                     PX-7465 (PC)                           PX-6368 (PC)       certificates
Ex. 1247        My Boo                              Usher & Alicia Keys                      3208      3070      SR0000352165        PX-1586 (RC)        PA0001159778       PX-732 (RC)        Same artist and album                         X
                                                                                                                                     PX-7237 (PC)                           PX-4877 (PC)       identified on both certificates
Ex. 1248        My Dad's Gone Crazy                 Eminem                                   4050      2757      SR0000317924        PX-2277 (RC)        PA0001118665       PX-3697 (RC)       Same artist and album                         X
                                                                                                                                     PX-2380 (RC)                                              identified on both certificates
                                                                                                                                     PX-7160 (PC)
Ex. 1249        My Darlin'                          Miley Cyrus feat. Future                 2272      3023      SR0000735242        PX-1803 (RC)        PA0001870022       PX-6305 (PC)       Same artist and album                         X
                                                                                                                                     PX-7907 (PC)        PA0001920653                          identified on both certificates
Ex. 1250        My Fondest Childhood Memories       Macy Gray                                2152      100       SR0000336638        PX-1576 (RC)        PA0001131694       n/a                Same artist identified on both                X
                                                                                                                                     PX-7200 (PC)                                              certificates
Ex. 1251        My Foolish Heart                    Jazmine Sullivan                         257       1475      SR0000618093        PX-1656 (RC)        PA0001950235       PX-2893 (RC)       Same artist and album                         X
                                                                                                                                     PX-7442 (PC)                           PX-6512 (PC)       identified on both certificates

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                                                                                Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                            45
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                  Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                        Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Same Compilation
Ex. 1252       My Happy Ending                            Avril Lavigne                          73        530       SR0000332312        PX-1575 (RC)        PA0001159309       PX-708 (RC)    Same artist and album                         X
                                                                                                                                         PX-7193 (PC)                           PX-4834 (PC)   identified on both certificates
Ex. 1253        My Hometown                               Bowling For Soup                       3085      1476      SR0000361081        PX-1597 (RC)        PA0001159769       PX-2592 (PC)   Same artist and album                         X
                                                                                                                                         PX-7260 (PC)                           PX-4869 (PC)   identified on both certificates
Ex. 1254        My Mom                                    Eminem                                 4052      3173      SR0000633152        PX-2378 (RC)        PA0001848040       PX-6201 (PC)   Same artist and album                         X
                                                                                                                                         PX-7513 (PC)        PA0001707169       PX-952 (RC)    identified on both certificates
                                                                                                                                                                                PX-5442 (PC)
Ex. 1255        My Moon My Man                            Feist                                  4154      1942      SR0000620089        PX-2389 (RC)        PA0001692639       PX-2823 (RC)   Same artist and album
                                                                                                                                         PX-7461 (PC)                           PX-5359 (PC)   identified on both certificates
Ex. 1256        My Piece                                  Miguel                                 2252      1689      SR0000673073        PX-1700 (RC)        PA0001751375       PX-2962 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7640 (PC)                           PX-5672 (PC)   certificates
Ex. 1257        My Plague                                 Slipknot                               6203      102       SR0000330440        PX-3462 (RC)        PA0001102120       PX-4705 (PC)   Same album identified on both                 X
                                                                                                                                         PX-7185 (PC)                                          certificates
Ex. 1258        My President                              Young Jeezy                            5427      434       SR0000616586        PX-2339 (RC)        PA0001697454       PX-5389 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7430 (PC)                                          certificates
Ex. 1259        My Same                                   Adele                                  702       1888      SR0000616701        PX-1654 (RC)        PA0001975716       PX-3059 (PC)   Same artist and album                         X
                                                                                                                                         PX-7431 (PC)                           PX-6550 (PC)   identified on both certificates
Ex. 1260        My Toy Soldier                            50 Cent                                3556      1128      SR0000366051        PX-2111 (RC)        PA0001298500       PX-3266 (RC)   Same artist and album                         X
                                                                                                                                         PX-7275 (PC)                           PX-4971 (PC)   identified on both certificates
Ex. 1261        My Way                                    Usher                                  648       305       SR0000257730        PX-1458 (RC)        PA0000893387       PX-1236 (RC)   Same artist and album                         X
                                                                                                                                         PX-7041 (PC)                           PX-4429 (PC)   identified on both certificates
Ex. 1262        My Wild Frontier                          Faith Hill                             6446      2237      SR0000253752        PX-7036 (PC)        PA0000901850       PX-3710 (RC)   Same artist and album                         X
                                                                                                                                                                                               identified on both certificates
Ex. 1263        N.I.*.*.E.R. (The Slave and the Master)   Nas                                    5010      435       SR0000614072        PX-1941 (RC)        PA0001396103       PX-5077 (PC)   Same artist and album                         X
                                                                                                                                         PX-7414 (PC)                                          identified on both certificates
Ex. 1264        Naked                                     Avril Lavigne                          425       1690      SR0000312786        PX-1556 (RC)        PA0001101517       PX-2697 (RC)   Same artist and album                         X
                                                                                                                                         PX-7147 (PC)                           PX-4704 (PC)   identified on both certificates
Ex. 1265        Naked Kids                                Grouplove                              5604      2759      SR0000704081        PX-3418 (RC)        PA0001762865       PX-3574 (RC)   Same artist and album                         X
                                                                                                                                         PX-7744 (PC)                                          identified on both certificates
Ex. 1266        Naughty Girl                              Beyoncé                                801       1979      SR0000342236        PX-1578 (RC)        PA0001375850       PX-3589 (RC)   Same artist and album                         X
                                                                                                                                         PX-7212 (PC)                           PX-5053 (PC)   identified on both certificates
Ex. 1267        Neva End                                  Future                                 1593      3024      SR0000701457        PX-1728 (RC)        PA0001856290       PX-6257 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7734 (PC)                                          certificates
Ex. 1268        Never                                     Flo Rida                               5559      758       SR0000658178        PX-3306 (RC)        PA0001807823       PX-1104 (RC)   Same artist identified on both                X
                                                                                                                                         PX-7589 (PC)                           PX-5977 (PC)   certificates
Ex. 1269        Never Again                               Trey Songz                             5929      2238      SR0000715080        PX-3296 (RC)        PA0001819832       PX-4041 (RC)   Same artist and album                         X
                                                                                                                                         PX-7805 (PC)                                          identified on both certificates
Ex. 1270        Never Call U B**** Again                  2Pac                                   3528      1691      SR0000323532        PX-2212 (RC)        PA0001115088       PX-2583 (PC)   Same artist and album                         X
                                                                                                                                         PX-7175 (PC)                           PX-4744 (PC)   identified on both certificates
Ex. 1271        Never Change                              Puddle Of Mudd                         5116      2760      SR0000301465        PX-1965 (RC)        PA0001311759       PX-8017 (PC)   Same artist and album                         X
                                                                                                                                         PX-2267 (RC)        PA0001075311       PX-8396 (PC)   identified on both certificates
                                                                                                                                         PX-7119 (PC)                           PX-8397 (PC)
                                                                                                                                                                                PX-8235 (PC)
                                                                                                                                                                                PX-8236 (PC)
                                                                                                                                                                                PX-8237 (PC)
Ex. 1272        Never Enough                              Eminem                                 4054      2761      SR0000364769        PX-2283 (RC)        PA0001284523       PX-3689 (RC)   Same artist and album                         X
                                                                                                                                         PX-2376 (RC)                                          identified on both certificates
                                                                                                                                         PX-7273 (PC)
Ex. 1273        Never Ever                                Ciara                                  1305      2239      SR0000723761        n/a                 PA0001659049       PX-3644 (RC)   Same artist identified on both
                                                                                                                                                                                               certiciates
Ex. 1274        Never Forget Ya                           Obie Trice                             5056      1799      SR0000341637        PX-2245 (RC)        PA0001245493       PX-2493 (PC)   Same artist and album                         X
                                                                                                                                         PX-7211 (PC)                           PX-3051 (RC)   identified on both certificates
Ex. 1275        Never Forget You (feat. John Legend)      Lupe Fiasco                            5704      323       SR0000704469        PX-3291 (RC)        PA0001738485       PX-1005 (RC)   Same artist identifed on both                 X
                                                                                                                                         PX-7747 (PC)                           PX-5606 (PC)   certificates
Ex. 1276        Never Gonna Leave This Bed                Maroon 5                               4956      1323      SR0000664531        PX-1929 (RC)        PA0001726273       PX-2951 (RC)   Same date of first publication                X
                                                                                                                                         PX-7606 (PC)                           PX-5476 (PC)   on both certificates
Ex. 1277        Never Let Me Down                         Kanye West                             4584      2762      SR0000347391        PX-7228 (PC)        PA0001159068       PX-4822 (PC)   Same artist and album                         X
                                                                                                                                                                                               identified on both certificates



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  RC - Registration Certificate                                                                                                46
  SR - Sound Recording
  MC - Musical Composition
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Cox Submission                Track                                    Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 1278       Never Took The Time                  Akon                                     3588      759       SR0000610156        PX-2119 (RC)        PA0001663701       PX-5303 (PC)                                                 X
                                                                                                                                     PX-2293 (RC)
                                                                                                                                     PX-2415 (RC)
                                                                                                                                     PX-7397 (PC)
Ex. 1279        New God Flow                        Pusha T                                  5129      1988      SR0000703870        PX-1968 (RC)        PA0001839620       PX-3984 (RC)
                                                                                                                                     PX-7740 (PC)                           PX-6166 (PC)
Ex. 1280        New God Flow.1                      Kanye West                               4585      1989      SR0000683430        PX-7679 (PC)        PA0001839620       PX-3984 (RC)   Same artist identified on both                X
                                                                                                                                                                            PX-6166 (PC)   certificates
Ex. 1281        New Joc City (Intro)                Yung Joc                                 6018      2240      SR0000393525        PX-3300 (RC)        PA0001347982       PX-4073 (RC)   Same artist and album                         X
                                                                                                                                     PX-7346 (PC)                                          identified on both certificates
Ex. 1282        New Slaves                          Kanye West                               4586      2241      SR0000724178        PX-2316 (RC)        PA0001890237       PX-6372 (PC)   Same artist and album                         X
                                                                                                                                     PX-7847 (PC)                                          identified on both certificates
Ex. 1283        New Thing                           Fuel 238                                 1582      1004      SR0000253431        PX-1455 (RC)        PA0000893230       PX-3172 (RC)   Same artist and album                         X
                                                                                                                                     PX-7035 (PC)                           PX-4425 (PC)   identified on both certificates
Ex. 1284        Next Ex-Girlfriend                  Bowling For Soup                         3086      1477      SR0000361081        PX-1597 (RC)        PA0001159768       PX-3040 (RC)   Same artist and album                         X
                                                                                                                                     PX-7260 (PC)                           PX-4868 (PC)   identified on both certificates
Ex. 1285        Next To You                         Chris Brown featuring Justin Bieber      1283      1130      SR0000679366        PX-1708 (RC)        PA0001750522       PX-2755 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7667 (PC)                           PX-5669 (PC)   certificates
Ex. 1286        Next Year                           Foo Fighters                             1507      1692      SR0000285034        PX-1522 (RC)        PA0001693320       PX-2850 (RC)   Same artist and album                         X
                                                                                                                                     PX-7083 (PC)                           PX-5377 (PC)   identified on both certificates
Ex. 1287        Nice & Slow                         Usher                                    649       306       SR0000257730        PX-1458 (RC)        PA0000893386       PX-4428 (PC)   Same artist and album                         X
                                                                                                                                     PX-7041 (PC)                                          identified on both certificates
Ex. 1288        Night Is Young                      Nelly Furtado                            5031      760       SR0000756992        PX-1947 (RC)        PA0001753995       PX-1036 (RC)   Same artist and album
                                                                                                                                     PX-7977 (PC)                           PX-5719 (PC)   identified on both certificates
Ex. 1289        No Angel                            Beyoncé                                  802       2768      SR0000747291        PX-1834 (RC)        PA0001918140       PX-3591 (RC)   Same artist and album                         X
                                                                                                                                     PX-7956 (PC)                                          identified on both certificates
Ex. 1290        No Better                           Lorde                                    4894      256       SR0000736121        PX-1914 (RC)        PA0002007289       PX-6584 (PC)   Same artist identified on both
                                                                                                                                     PX-7909 (PC)                                          certificates
Ex. 1291        No BS (Explicit)                    Chris Brown feat. Kevin McCall           1270      1225      SR0000679366        PX-1708 (RC)        PA0001750518       PX-5668 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7667 (PC)                                          certificates
Ex. 1292        No Church In The Wild               JAY-Z                                    4426      1973      SR0000683714        PX-7680 (PC)        PA0001762032       PX-3788 (RC)   Same artist and album                         X
                                                                                                                                                                            PX-5748 (PC)   identified on both certificates
Ex. 1293        No Curtain Call                     Maroon 5                                 4957      1324      SR0000664531        PX-1929 (RC)        PA0001726287       PX-2952 (RC)   Same date of first publication                X
                                                                                                                                     PX-7606 (PC)                           PX-5481 (PC)   on both certificates
Ex. 1294        No Hands (feat. Roscoe Dash and     Waka Flocka Flame                        5956      2769      SR0000672357        PX-3299 (RC)        PA0001739078       PX-4060 (RC)   Same artist and album                         X
                Wale)                                                                                                                PX-7638 (PC)                                          identified on both certificates
Ex. 1295        No Lie                              2 Chainz                                 3506      2393      SR0000700831        PX-2139 (RC)        PA0001846688       PX-3521 (RC)   Same artist identified on both
                                                                                                                                     PX-7732 (PC)                                          certificates
Ex. 1296        No More Love                        Shinedown                                5870      1694      SR0000342566        PX-3455 (RC)        PA0001278081       PX-2636 (PC)   Same artist and album                         X
                                                                                                                                     PX-7215 (PC)                           PX-4951 (PC)   identified on both certificates
Ex. 1297        No One                              Alicia Keys                              31        257       SR0000627148        PX-1668 (RC)        PA0001648485       PX-5254 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7485 (PC)        PA0001590102       PX-8302 (PC)   certificates
Ex. 1298        No One Gonna Love You               Jennifer Hudson                          1813      436       SR0000674220        PX-1703 (RC)        PA0001738399       PX-1001 (RC)   Same date of first publication                X
                                                                                                                                     PX-7647 (PC)                           PX-5602 (PC)   on both certificates
Ex. 1299        No One Has Eyes Like You            Billy Currington                         3745      1695      SR0000617590        PX-2123 (RC)        PA0001618391       PX-5146 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7437 (PC)                                          certificates
Ex. 1300        No Quarter                          Led Zeppelin                             5687      2771      N5660               PX-3328 (RC)        EP0000316459       PX-3834 (RC)   Same artist and album                         X
                                                                                                                                                                            PX-8101 (PC)   identified on both certificates
Ex. 1301        No Snitchin'                        Chamillionaire                           3842      1696      SR0000381901        PX-2114 (RC)        PA0001317545       PX-4997 (PC)   Same artist and album                         X
                                                                                                                                     PX-2362 (RC)                                          identified on both certificates
                                                                                                                                     PX-7316 (PC)
Ex. 1302        No Such Thing As Too Late           Brandy                                   1007      3132      SR0000710136        PX-1739 (RC)        PA0001835409       PX-6153 (PC)   Same artist and album                         X
                                                                                                                                     PX-7785 (PC)        PA0001882752       PX-6346 (PC)   identified on both certificates
Ex. 1303        No Way Back                         Foo Fighters                             1508      1131      SR0000377762        PX-1609 (RC)        PA0001730955       PX-5517 (PC)   Same artist and album                         X
                                                                                                                                     PX-7304 (PC)                                          identified on both certificates
Ex. 1304        No. 1                               Rick Ross                                5154      761       SR0000656701        PX-1974 (RC)        PA0001821894       PX-1140 (RC)   Same artist and album                         X
                                                                                                                                     PX-7581 (PC)                           PX-6085 (PC)   identified on both certificates
Ex. 1305        Nobody Else                         Los Lonely Boys                          2113      437       SR0000352465        PX-1587 (RC)        PA0001159606       PX-726 (RC)    Same artist and album                         X
                                                                                                                                     PX-7238 (PC)                           PX-4855 (PC)   identified on both certificates


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                                                                                Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                            47
  SR - Sound Recording
  MC - Musical Composition
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                                                                                             Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                   Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 1306       Nobody Ever Told You                 Carrie Underwood                        1156      1330      SR0000700157        PX-1725 (RC)        PA0001810765       PX-2741 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7728 (PC)                           PX-6005 (PC)   certificates
Ex. 1307        Nobody Feelin' No Pain              Jake Owen                               1786      2773      SR0000697851        PX-1721 (RC)        PA0001904211       PX-3763 (RC)   Same artist and album                         X
                                                                                                                                    PX-7714 (PC)                                          identified on both certificates
Ex. 1308        Nobody Not Really (Interlude)       Alicia Keys                             32        258       SR0000346869        PX-1584 (RC)        PA0001158373       PX-695 (RC)    Same artist and album                         X
                                                                                                                                    PX-7227 (PC)                           PX-4803 (PC)   identified on both certificates
Ex. 1309        Nobody Told Me                      Puddle Of Mudd                          5117      2774      SR0000301465        PX-1965 (RC)        PA0001075310       PX-3972 (RC)   Same artist and album                         X
                                                                                                                                    PX-2267 (RC)                           PX-8372 (PC)   identified on both certificates
                                                                                                                                    PX-7119 (PC)                           PX-8373 (PC)
Ex. 1310        Nobody's Fault But Mine             Led Zeppelin                            5688      2775      N31545              PX-8048 (card)      Eu0000655751       PX-4114 (PC)                                                 X
                                                                                                                                                                           PX-8118 (PC)
Ex. 1311        Nobody's Fool                       Avril Lavigne                           426       1697      SR0000312786        PX-1556 (RC)        PA0001101515       PX-2698 (RC)   Same artist and album                         X
                                                                                                                                    PX-7147 (PC)                           PX-4703 (PC)   identified on both certificates
Ex. 1312        Nobody's Home                       Avril Lavigne                           74        1698      SR0000332312        PX-1575 (RC)        PA0001251268       PX-2633 (PC)   Same artist and album                         X
                                                                                                                                    PX-7193 (PC)                                          identified on both certificates
Ex. 1313        Nosebleed                           Deftones                                6326      2776      SR0000171111        PX-6935 (PC)        PA0000776635       PX-3494 (RC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 1314        Not A Bad Thing                     Justin Timberlake                       1951      3223      SR0000743696        PX-1825 (RC)        PA0001896719       PX-6408 (PC)   Same artist and album                         X
                                                                                                                                    PX-7943 (PC)                                          identified on both certificates
Ex. 1315        Not Afraid                          Eminem                                  4057      1132      SR0000653571        PX-2090 (RC)        PA0001730957       PX-2812 (RC)   Same artist identified on both
                                                                                                                                    PX-7572 (PC)                           PX-5518 (PC)   certificates
Ex. 1316        Not Coming Home                     Maroon 5                                4958      1331      SR0000702833        PX-1932 (RC)        PA0001073094       PX-2657 (RC)   Same artist and album                         X
                                                                                                                                    PX-7735 (PC)                           PX-4654 (PC)   identified on both certificates
Ex. 1317        Not Like The Movies (Explicit)      Katy Perry                              3368      2777      SR0000662268        PX-2190 (RC)        PA0001753643       PX-5711 (PC)   Same artist and album                         X
                                                                                                                                    PX-7599 (PC)                                          identified on both certificates
Ex. 1318        Not Tonight                         Elle Varner                             1428      1133      SR0000721189        PX-1765 (RC)        PA0002000109       PX-3153 (PC)   Same artist and album                         X
                                                                                                                                    PX-7834 (PC)                           PX-6577 (PC)   identified on both certificates
Ex. 1319        Nothin' At All                      Heart                                   3346      936       SR0000075726        PX-2160 (RC)        PA0000284908       PX-2478 (RC)   Same artist and album                         X
                                                                                                                                    PX-6839 (PC)                           PX-4196 (PC)   identified on both certificates
Ex. 1320        Nothin' Like The First Time         Lady Antebellum                         3432      1134      SR0000724696        PX-1877 (RC)        PA0001858363       PX-3274 (RC)   Same date of first publication                X
                                                                                                                                    PX-7856 (PC)                           PX-6260 (PC)   on both certificates
Ex. 1321        Nothin' On You (feat. Bruno Mars)   B.o.B                                   5447      1135      SR0000704831        PX-3490 (RC)        PA0001731018       PX-2704 (RC)   Same artist identified on both
                                                                                                                                    PX-7750 (PC)                           PX-5529 (PC)   certificates
Ex. 1322        Nothing                             Brandy                                  5491      104       SR0000345858        PX-7224 (PC)        PA0001072625       PX-4638 (PC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 1323        Nothing Even Matters                Big Time Rush                           840       762       SR0000668082        PX-1694 (RC)        PA0001807063       PX-5959 (PC)   Same date of first publication                X
                                                                                                                                    PX-7613 (PC)                                          on both certificates
Ex. 1324        Nothing Left To Lose                Puddle Of Mudd                          5118      2778      SR0000347741        PX-7229 (PC)        PA0001249431       PX-3982 (RC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 1325        Nothing Left To Say / Rocks         Imagine Dragons                         4366      1136      SR0000707482        PX-2052 (RC)        PA0001816026       PX-2874 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7766 (PC)                           PX-6044 (PC)   certificates
Ex. 1326        Notorious Thugs                     The Notorious B.I.G.                    5992      2779      SR0000220411        PX-3315 (RC)        PA0001005836       PX-4511 (PC)   Same artist and album
                                                                                                                                    PX-6991 (PC)                                          identified on both certificates
Ex. 1327        Now                                 Paramore                                5815      2780      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist and album                         X
                                                                                                                                    PX-7850 (PC)                                          identified on both certificates
Ex. 1328        Now Comes The Night                 Rob Thomas                              5847      105       SR0000373876        PX-3453 (RC)        PA0001161195       PX-752 (RC)    Same artist and album                         X
                                                                                                                                    PX-7291 (PC)                           PX-4929 (PC)   identified on both certificates
Ex. 1329        Now I Know                          Rihanna                                 5203      438       SR0000372611        PX-7285 (PC)        PA0001162729       PX-2613 (PC)   Same artist and album                         X
                                                                                                                                                                           PX-8251 (PC)   identified on both certificates
Ex. 1330        Now You Got Someone                 Avant                                   3676      1701      SR0000396388        PX-2117 (RC)        PA0001371421       PX-2683 (RC)   Same artist and album                         X
                                                                                                                                    PX-7358 (PC)                           PX-5045 (PC)   identified on both certificates
Ex. 1331        Numb                                Disturbed                               6378      2781      SR0000685183        PX-3355 (RC)        PA0001000622       PX-3505 (RC)   Same artist and album                         X
                                                                                                                                    PX-7684 (PC)                                          identified on both certificates
Ex. 1332        Numb / Encore                       Linkin Park & Jay-Z                     6594      2782      SR0000362316        PX-3317 (RC)        PA0001160198       PX-4898 (PC)   Same artist and album
                                                                                                                                    PX-7267 (PC)                                          identified on both certificates
Ex. 1333        Nylon 6/6                           Stone Sour                              6229      106       SR0000689549        PX-3468 (RC)        PA0001718972       PX-967 (RC)    Same artist identified on both                X
                                                                                                                                    PX-7697 (PC)                           PX-5461 (PC)   certificates
Ex. 1334        O Let's Do It (Feat. Cap)           Waka Flocka Flame                       5957      2783      SR0000672357        PX-3299 (RC)        PA0001847140       PX-6200 (PC)   Same artist and album                         X
                                                                                                                                    PX-7638 (PC)                                          identified on both certificates


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                                                                               Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                           48
  SR - Sound Recording
  MC - Musical Composition
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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 1335       Oblivion                             Macy Gray                                2153      1479      SR0000302804        PX-1544 (RC)        PA0001066429       PX-3104 (PC)   Same artist and album                         X
                                                                                                                                     PX-7122 (PC)                           PX-4622 (PC)   identified on both certificates
Ex. 1336        October Song                        Amy Winehouse                            3627      1943      SR0000614121        PX-2182 (RC)        PA0001792201       PX-2677 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7417 (PC)                           PX-5911 (PC)   certificates
Ex. 1337        Oh My Love                          Chris Brown                              1256      764       SR0000679366        PX-1708 (RC)        PA0001772289       PX-1053 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7667 (PC)                           PX-5782 (PC)   certificates
Ex. 1338        Oh Well, okay                       Elliott Smith                            3988      1332      SR0000241677        PX-2223 (RC)        PA0000943579       PX-3148 (PC)   Same artist and album                         X
                                                                                                                                     PX-7012 (PC)                           PX-4461 (PC)   identified on both certificates
Ex. 1339        Oh Yeah                             Big Time Rush                            841       765       SR0000668082        PX-1694 (RC)        PA0001807062       PX-1098 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7613 (PC)                           PX-5958 (PC)   certificates
Ex. 1340        Oklahoma Sky                        Miranda Lambert                          2314      2007      PA0001805349        PX-1495 (RC)        PA0001789998       PX-5903 (PC)   Same artist and album                         X
                                                                                                                                     PX-5935 (PC)                                          identified on both certificates
Ex. 1341        Old Man & Me                        Hootie & The Blowfish                    5616      107       SR0000223661        PX-3423 (RC)        PA0000795267       PX-4349 (PC)   Same album identified on both                 X
                                                                                                                                     PX-6994 (PC)                                          certificates
Ex. 1342        Old School (Explicit)               2Pac                                     3529      937       SR0000198774        PX-2107 (RC)        PA0000773742       PX-3161 (RC)   Same artist and album                         X
                                                                                                                                     PX-2108 (RC)                           PX-4313 (PC)   identified on both certificates
                                                                                                                                     PX-6964 (PC)
Ex. 1343        Old Time's Sake                     Eminem                                   4058      3174      SR0000633157        PX-2091 (RC)        PA0001848040       PX-6201 (PC)   Same artist identified on both
                                                                                                                                     PX-7514 (PC)        PA0001706421       PX-933 (RC)    certificates
                                                                                                                                                                            PX-5420 (PC)
Ex. 1344        On and On (feat. Kevin Rudolf)      Flo Rida                                 5560      766       SR0000672870        PX-3316 (RC)        PA0001735747       PX-5592 (PC)   Same artist and album                         X
                                                                                                                                     PX-7639 (PC)                                          identified on both certificates
Ex. 1345        On Fire                             Eminem                                   4060      108       SR0000653572        PX-2087 (RC)        PA0001735856       PX-5594 (PC)   Same artist and album                         X
                                                                                                                                     PX-7573 (PC)        PA0001731108       PX-5535 (PC)   identified on both certificates
Ex. 1346        On Sight                            Kanye West                               4587      2246      SR0000724178        PX-2316 (RC)        PA0001890235       PX-6370 (PC)   Same artist and album                         X
                                                                                                                                     PX-7847 (PC)                                          identified on both certificates
Ex. 1347        On The Mend                         Foo Fighters                             1509      1137      SR0000377762        PX-1609 (RC)        PA0001730887       PX-2842 (RC)   Same artist and album                         X
                                                                                                                                     PX-7304 (PC)                           PX-5515 (PC)   identified on both certificates
Ex. 1348        On Top of the World                 Imagine Dragons                          4367      1138      SR0000707482        PX-2052 (RC)        PA0001796480       PX-2875 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7766 (PC)                           PX-5919 (PC)   certificates
Ex. 1349        Once And Forever                    Charlie Wilson                           1229      1703      SR0000679365        PX-1707 (RC)        PA0001779598       PX-2744 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7666 (PC)                           PX-5830 (PC)   certificates
Ex. 1350        Onda                                Los Lonely Boys                          2114      440       SR0000352465        PX-1587 (RC)        PA0001160202       PX-736 (RC)    Same artist and album                         X
                                                                                                                                     PX-7238 (PC)                           PX-4899 (PC)   identified on both certificates
Ex. 1351        One And Only                        Adele                                    703       1891      SR0000673074        PX-1701 (RC)        PA0001734869       PX-2665 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7641 (PC)                           PX-5580 (PC)   certificates
Ex. 1352        One Day                             Simple Plan                              5895      2789      SR0000351060        PX-3457 (RC)        PA0001084657       PX-4007 (RC)   Same artist and album                         X
                                                                                                                                     PX-7235 (PC)                                          identified on both certificates
Ex. 1353        One Day You'll Be Mine              Usher                                    650       307       SR0000257730        PX-1458 (RC)        PA0000893389       PX-4431 (PC)   Same artist and album                         X
                                                                                                                                     PX-7041 (PC)                                          identified on both certificates
Ex. 1354        One Foot                            fun.                                     6156      3257      SR0000704930        PX-3416 (RC)        PA0001791458       PX-3723 (RC)   Same artist and album                         X
                                                                                                                                     PX-7752 (PC)        PA0001811984       PX-5910 (PC)   identified on both certificates
                                                                                                                                                                            PX-1120 (RC)
                                                                                                                                                                            PX-6016 (PC)
Ex. 1355        One Foot Wrong                      P!nk                                     610       1892      SR0000619959        PX-1659 (RC)        PA0001698064       PX-2501 (PC)   Same artist and album                         X
                                                                                                                                     PX-7453 (PC)                           PX-5392 (PC)   identified on both certificates
Ex. 1356        One For Me                          Macy Gray                                4924      2790      SR0000395382        PX-2326 (RC)        PA0001396264       PX-3896 (RC)   Same artist and album                         X
                                                                                                                                     PX-7352 (PC)                                          identified on both certificates
Ex. 1357        One Love                            Justin Bieber                            4524      1705      SR0000710074        PX-2204 (RC)        PA0001850371       PX-6225 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7784 (PC)                                          certificates
Ex. 1358        One More Night                      Maroon 5                                 4959      1333      SR0000705170        PX-1934 (RC)        PA0001810344       PX-2953 (RC)
                                                                                                                                     PX-7757 (PC)                           PX-5996 (PC)
Ex. 1359        One Night Stand                     Jazmine Sullivan                         259       1481      SR0000618093        PX-1656 (RC)        PA0001897141       PX-2892 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7442 (PC)                           PX-6411 (PC)   certificates
Ex. 1360        One Of Those Girls                  Avril Lavigne                            75        259       SR0000609671        PX-1648 (RC)        PA0001167509       PX-786 (RC)    Same artist and album                         X
                                                                                                                                     PX-7394 (PC)                           PX-8218 (PC)   identified on both certificates
Ex. 1361        One of Those Lives                  Brad Paisley                             968       3081      SR0000680360        PX-1710 (RC)        PA0002004472       PX-6582 (PC)   Same artist and album                         X
                                                                                                                                     PX-7669 (PC)                                          identified on both certificates
Ex. 1362        One Thing                           One Direction                            2392      441       SR0000703645        PX-1729 (RC)        PA0001848513       PX-6208 (PC)   Same date of first publication                X
                                                                                                                                     PX-7737 (PC)                                          on both certificates

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                                                                                Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                            49
  SR - Sound Recording
  MC - Musical Composition
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Cox Submission                     Track                                Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1363       One Tribe                              Black Eyed Peas                          3769      1139      SR0000633584        PX-2128 (RC)        PA0001659076       PX-2724 (RC)   Same date of first publication                X
                                                                                                                                       PX-8452 (PC)                           PX-5288 (PC)   on both certificates
                                                                                                                                       PX-8453 (PC)
Ex. 1364        One Way Street                        Avant                                    3677      1482      SR0000308368        PX-2106 (RC)        PA0001087672       PX-3081 (PC)   Same artist and album                         X
                                                                                                                                       PX-7137 (PC)                           PX-4681 (PC)   identified on both certificates
Ex. 1365        One Way Ticket                        Carrie Underwood                         1157      1334      SR0000700157        PX-1725 (RC)        PA0001810764       PX-2740 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7728 (PC)                           PX-6004 (PC)   certificates
Ex. 1366        One Weak                              Deftones                                 6327      2791      SR0000171111        PX-6935 (PC)        PA0000776635       PX-3494 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1367        One, Two Step                         Ciara feat. Missy Elliott                3153      2248      SR0000355316        PX-1594 (RC)        PA0001263489       PX-4946 (PC)   Same artist and album                         X
                                                                                                                                       PX-7247 (PC)                                          identified on both certificates
Ex. 1368        Online                                Brad Paisley                             93        260       SR0000610946        PX-1650 (RC)        PA0001167813       PX-789 (RC)    Same artist and album                         X
                                                                                                                                       PX-7398 (PC)                           PX-8209 (PC)   identified on both certificates
Ex. 1369        Only Prettier                         Miranda Lambert                          2315      768       SR0000641403        PX-1681 (RC)        PA0001682740       PX-912 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7540 (PC)                           PX-5331 (PC)   certificates
Ex. 1370        Only Thing I Ever Get For Christmas   Justin Bieber                            4525      1706      SR0000704701        PX-7749 (PC)        PA0001780235       PX-3112 (PC)   Same artist identified on both                X
                                                                                                                                                                              PX-5840 (PC)   certificates
Ex. 1371        Only Wanna Be With You                Hootie & The Blowfish                    5618      109       SR0000193960        PX-3422 (RC)        PA0000734279       PX-4286 (PC)   Same artist and album                         X
                                                                                                                                       PX-6962 (PC)                                          identified on both certificates
Ex. 1372        Only Wanna Give It To You             Elle Varner Featuring J. Cole            1435      1140      SR0000721192        PX-1767 (RC)        PA0002000105       PX-3151 (PC)   Same artist identified on both
                                                                                                                                       PX-7836 (PC)                           PX-6576 (PC)   certificates
Ex. 1373        Ooh Aah                               Avant                                    3678      1483      SR0000281220        PX-2105 (RC)        PA0001012582       PX-3080 (PC)   Same artist and album                         X
                                                                                                                                       PX-7189 (PC)                           PX-4524 (PC)   identified on both certificates
Ex. 1374        Orchids                               Stone Sour                               6230      110       SR0000330447        PX-3466 (RC)        PA0001115050       PX-672 (RC)    Same artist and album                         X
                                                                                                                                       PX-8004 (PC)                           PX-4741 (PC)   identified on both certificates
                                                                                                                                                                              PX-8374 (PC)
                                                                                                                                                                              PX-8375 (PC)
Ex. 1375        Origami                               Capital Cities                           3313      769       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)    Same album identified on both                 X
                                                                                                                                       PX-7858 (PC)                           PX-1221 (RC)   certificates
                                                                                                                                                                              PX-6518 (PC)
Ex. 1376        Otis                                  JAY-Z                                    4427      1974      SR0000683714        PX-7680 (PC)        PA0001762031       PX-3789 (RC)   Same artist and album                         X
                                                                                                                                                                              PX-5747 (PC)   identified on both certificates
Ex. 1377        Our Song                              Matchbox Twenty                          5756      111       SR0000714896        PX-3434 (RC)        PA0001850280       PX-1176 (RC)   Same date of first publication                X
                                                                                                                                       PX-7803 (PC)                           PX-6217 (PC)   on both certificates
Ex. 1378        Out Like That                         Luke Bryan                               3445      2795      SR0000728445        PX-1919 (RC)        PA0001870872       PX-3888 (RC)   Same artist and album                         X
                                                                                                                                       PX-7876 (PC)                                          identified on both certificates
Ex. 1379        Out Of Breath                         Lifehouse                                4819      442       SR0000321812        PX-1903 (RC)        PA0001104538       PX-656 (RC)    Same artist and album                         X
                                                                                                                                       PX-7167 (PC)                           PX-4707 (PC)   identified on both certificates
Ex. 1380        Out of Character                      Avant                                    3230      443       SR0000648878        PX-2188 (RC)        PA0001395668       PX-5062 (PC)   Same artist and album                         X
                                                                                                                                       PX-7563 (PC)                                          identified on both certificates
Ex. 1381        Out Of Goodbyes                       Maroon 5                                 4960      1337      SR0000664531        PX-1929 (RC)        PA0001726285       PX-2954 (RC)   Same date of first publication                X
                                                                                                                                       PX-7606 (PC)                           PX-5480 (PC)   on both certificates
Ex. 1382        Out Of My Head (feat. Trey Songz)     Lupe Fiasco                              5705      3062      SR0000704469        PX-3291 (RC)        PA0001750279       PX-5666 (PC)   Same artist and album                         X
                                                                                                                                       PX-7747 (PC)        PA0001738574       PX-1006 (RC)   identified on both certificates
                                                                                                                                                                              PX-5607 (PC)
Ex. 1383        Out Of Town Girl                      Justin Bieber                            4526      770       SR0000710074        PX-2204 (RC)        PA0001835122       PX-1167 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7784 (PC)                           PX-6152 (PC)   certificates
Ex. 1384        Out on the Town (Bonus Track)         fun.                                     6157      2798      SR0000704930        PX-3416 (RC)        PA0001791458       PX-3723 (RC)   Same artist and album                         X
                                                                                                                                       PX-7752 (PC)                           PX-5910 (PC)   identified on both certificates
Ex. 1385        Outro                                 Chamillionaire                           3843      1708      SR0000381901        PX-2114 (RC)        PA0001317551       PX-3242 (RC)   Same artist and album                         X
                                                                                                                                       PX-2362 (RC)                           PX-5003 (PC)   identified on both certificates
                                                                                                                                       PX-7316 (PC)
Ex. 1386        Outro (Obie Trice/ Cheers)            Obie Trice                               5057      347       SR0000341637        PX-2245 (RC)        PA0001159257       PX-705 (RC)    Same artist and album                         X
                                                                                                                                       PX-7211 (PC)                           PX-4831 (PC)   identified on both certificates
Ex. 1387        Outta Control                         50 Cent                                  3557      2799      SR0000366051        PX-2111 (RC)        PA0001298486       PX-4962 (PC)   Same artist and album                         X
                                                                                                                                       PX-7275 (PC)                                          identified on both certificates
Ex. 1388        Over And Out                          Foo Fighters                             1511      1142      SR0000377762        PX-1609 (RC)        PA0001730884       PX-2843 (RC)   Same artist and album                         X
                                                                                                                                       PX-7304 (PC)                           PX-5514 (PC)   identified on both certificates
Ex. 1389        Over The Hills And Far Away           Led Zeppelin                             5689      2800      N5660               PX-3328 (RC)        EP0000314551       PX-4098 (PC)                                                 X
                                                                                                                                                           RE0000840949       PX-8099 (PC)

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                                                                                  Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                              50
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                              Artist                   PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1390       Over You                             Raphael Saadiq                             2627      1005      SR0000677734        PX-1706 (RC)        PA0001752515       PX-3008 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7655 (PC)                           PX-5698 (PC)   certificates
Ex. 1391        Overburdened                        Disturbed                                  6379      2801      SR0000380289        PX-3351 (RC)        PA0001296200       PX-3504 (RC)   Same artist and album                         X
                                                                                                                                       PX-7313 (PC)                                          identified on both certificates
Ex. 1392        Overjoyed                           Matchbox Twenty                            5757      112       SR0000714896        PX-3434 (RC)        PA0001850364       PX-1180 (RC)   Same date of first publication                X
                                                                                                                                       PX-7803 (PC)                           PX-6222 (PC)   on both certificates
Ex. 1393        Oye Baby                            Pitbull vs. Nicola Fasano                  2601      771       SR0000683282        PX-1714 (RC)        PA0001745498       PX-5649 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7678 (PC)                                          certificates
Ex. 1394        Ozone                               Fuel 238                                   1583      1006      SR0000253431        PX-1455 (RC)        PA0000893222       PX-3171 (RC)   Same artist and album                         X
                                                                                                                                       PX-7035 (PC)                           PX-4418 (PC)   identified on both certificates
Ex. 1395        P.Y.T. (Pretty Young Thing)         Michael Jackson                            2244      2252      SR0000041965        PX-1314 (RC)        PA0000159305       PX-4167 (PC)   Same artist and album                         X
                                                                                                                                       PX-6762 (PC)        PA0000193603       PX-8221 (PC)   identified on both certificates
Ex. 1396        Pain Redefined                      Disturbed                                  6380      2802      SR0000380289        PX-3351 (RC)        PA0001352640       PX-8015 (PC)   Same artist and album                         X
                                                                                                                                       PX-7313 (PC)        PA0001296201       PX-8400 (PC)   identified on both certificates
                                                                                                                                                                              PX-8401 (PC)
                                                                                                                                                                              PX-8016 (PC)
                                                                                                                                                                              PX-8394 (PC)
                                                                                                                                                                              PX-8395 (PC)
Ex. 1397        Paint This House                    Brandy                                     1009      2253      SR0000710136        PX-1739 (RC)        PA0001882750       PX-3617 (RC)   Same artist and album                         X
                                                                                                                                       PX-7785 (PC)                                          identified on both certificates
Ex. 1398        Pak Man                             Yung Joc                                   6019      2254      SR0000622799        PX-3489 (RC)        PA0001648771       PX-4063 (RC)   Same artist and album                         X
                                                                                                                                       PX-7478 (PC)                                          identified on both certificates
Ex. 1399        Panama                              Van Halen                                  6733      2803      SR0000054482        PX-3409 (RC)        PA0000785636       PX-4325 (PC)   Same artist identified on both                X
                                                                                                                                       PX-8418 (PC)                                          certificates
                                                                                                                                       PX-8419 (PC)
Ex. 1400        Panic Prone                         Chevelle                                   1239      2255      SR0000363500        PX-1602 (RC)        PA0001253726       PX-4092 (RC)   Same artist and album                         X
                                                                                                                                       PX-7271 (PC)                                          identified on both certificates
Ex. 1401        Panty Wetter                        Trey Songz                                 5931      2256      SR0000715080        PX-3296 (RC)        PA0001865865       PX-4042 (RC)   Same artist and album                         X
                                                                                                                                       PX-7805 (PC)                                          identified on both certificates
Ex. 1402        Paparazzi                           Lady Gaga                                  4729      772       SR0000617841        PX-1885 (RC)        PA0001685323       PX-920 (RC)    Same artist and album                         X
                                                                                                                                       PX-7439 (PC)                           PX-5344 (PC)   identified on both certificates
Ex. 1403        Paper Gangsta                       Lady GaGa                                  4730      773       SR0000617841        PX-1885 (RC)        PA0001685367       PX-926 (RC)    Same artist and album                         X
                                                                                                                                       PX-7439 (PC)                           PX-5351 (PC)   identified on both certificates
Ex. 1404        Paperbond                           Wiz Khalifa                                5972      3224      SR0000715951        PX-3297 (RC)        PA0001874342       PX-1184 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7809 (PC)                           PX-6316 (PC)   certificates
Ex. 1405        Papercut                            Linkin Park                                6574      1484      SR0000288402        PX-3382 (RC)        PA0001092506       PX-4689 (PC)   Same artist and album                         X
                                                                                                                                       PX-7092 (PC)                                          identified on both certificates
Ex. 1406        Papers                              Usher                                      2911      308       SR0000652023        PX-1688 (RC)        PA0001753740       PX-5715 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7568 (PC)                                          certificates
Ex. 1407        Parachute                           Future featuring R. Kelly                  1607      1485      SR0000701457        PX-1728 (RC)        PA0001856273       PX-2856 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7734 (PC)                           PX-6254 (PC)   certificates
Ex. 1408        Parasite                            Disturbed                                  6381      2805      SR0000695381        PX-3352 (RC)        PA0001677916       PX-3507 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7702 (PC)                                          certificates
Ex. 1409        Paris, Tokyo                        Lupe Fiasco                                5706      570       SR0000639320        PX-3302 (RC)        PA0001600832       PX-828 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7533 (PC)                           PX-5120 (PC)   certificates
Ex. 1410        Part II                             Paramore                                   5816      2806      SR0000724441        PX-3451 (RC)        PA0001854436       PX-3959 (RC)   Same artist and album                         X
                                                                                                                                       PX-7850 (PC)                                          identified on both certificates
Ex. 1411        Part Of Me                          Katy Perry                                 3370      2807      SR0000695742        PX-2199 (RC)        PA0001845827       PX-6197 (PC)   Same artist and album
                                                                                                                                       PX-7705 (PC)                                          identified on both certificates
Ex. 1412        Partition (Explicit)                Beyoncé                                    803       2260      SR0000747291        PX-1834 (RC)        PA0001918144       PX-3586 (RC)   Same artist and album                         X
                                                                                                                                       PX-7956 (PC)                                          identified on both certificates
Ex. 1413        Party Hard / Cadillac (Interlude)   Chris Brown feat. Sevyn                    1276      775       SR0000711816        PX-1742 (RC)        PA0001896504       PX-6406 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7791 (PC)                                          certificates
Ex. 1414        Party Hard / Cadillac (Interlude)   Chris Brown featuring Sevyn                1287      775       SR0000711816        PX-1742 (RC)        PA0001896504       PX-6406 (PC)   Same artist identified on both                X
                (Explicit)                                                                                                             PX-7791 (PC)                                          certificates
Ex. 1415        Passenger                           Deftones                                   6328      2809      SR0000284862        PX-7082 (PC)        PA0001029982       PX-3496 (RC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1416        Past In Present                     Feist                                      4157      1944      SR0000406936        PX-2388 (RC)        PA0001692670       PX-2824 (RC)   Same artist and album                         X
                                                                                                                                       PX-7385 (PC)                           PX-5366 (PC)   identified on both certificates


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  RC - Registration Certificate                                                                                              51
  SR - Sound Recording
  MC - Musical Composition
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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                 Track                                   Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 1417       Patience Gets Us Nowhere Fast          Capital Cities                         3314      776       SR0000725325        PX-2073 (RC)        PA0001952597       PX-612 (RC)    Same album identified on both                 X
                                                                                                                                     PX-7858 (PC)                           PX-1221 (RC)   certificates
                                                                                                                                                                            PX-6518 (PC)
Ex. 1418        Patron                                Yung Joc                               6020      2261      SR0000393525        PX-3300 (RC)        PA0001347986       PX-4069 (RC)   Same artist and album                         X
                                                                                                                                     PX-7346 (PC)                                          identified on both certificates
Ex. 1419        Paul (Skit)                           Eminem                                 4063      1893      SR0000364769        PX-2283 (RC)        PA0001295388       PX-3134 (PC)   Same artist and album                         X
                                                                                                                                     PX-2376 (RC)                           PX-4958 (PC)   identified on both certificates
                                                                                                                                     PX-7273 (PC)
Ex. 1420        Pause                                 Pitbull                                2570      777       SR0000681904        PX-1713 (RC)        PA0001780988       PX-1065 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7677 (PC)                           PX-5849 (PC)   certificates
Ex. 1421        Pay Me                                Miguel                                 2253      778       SR0000673073        PX-1700 (RC)        PA0001808680       PX-1110 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7640 (PC)                           PX-5994 (PC)   certificates
Ex. 1422        Payphone                              Maroon 5                               4961      2262      SR0000705168        PX-1935 (RC)        PA0001849242       PX-3905 (RC)   Same artist identified on both
                                                                                                                                     PX-7756 (PC)                                          certificates
Ex. 1423        Peacock                               Katy Perry                             3371      2811      SR0000662268        PX-2190 (RC)        PA0001753921       PX-5717 (PC)   Same artist and album                         X
                                                                                                                                     PX-7599 (PC)                                          identified on both certificates
Ex. 1424        Pearl (Explicit)                      Katy Perry                             3372      2812      SR0000662268        PX-2190 (RC)        PA0001753642       PX-5710 (PC)   Same artist and album                         X
                                                                                                                                     PX-7599 (PC)                                          identified on both certificates
Ex. 1425        Perfect                               Simple Plan                            5896      2813      SR0000351060        PX-3457 (RC)        PA0001084657       PX-4007 (RC)   Same artist and album                         X
                                                                                                                                     PX-7235 (PC)                                          identified on both certificates
Ex. 1426        Perfect Insanity                      Disturbed                              6382      2814      SR0000647297        PX-7562 (PC)        PA0001687498       PX-3508 (RC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 1427        Perfect World                         Simple Plan                            5897      2815      SR0000375167        PX-3458 (RC)        PA0001251377       PX-4009 (RC)   Same artist and album                         X
                                                                                                                                     PX-7299 (PC)                                          identified on both certificates
Ex. 1428        Perfume (The Dreaming Mix)            Britney Spears                         1032      1486      SR0000738040        PX-1810 (RC)        PA0001915193       PX-3268 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7922 (PC)                           PX-6453 (PC)   certificates
Ex. 1429        Permanent Scar                        Future                                 1594      1710      SR0000701457        PX-1728 (RC)        PA0001856298       PX-2852 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7734 (PC)                           PX-6528 (PC)   certificates
Ex. 1430        Pete Wentz Is The Only Reason We're   Cobra Starship                         6147      261       SR0000657140        PX-3413 (RC)        PA0001667218       PX-5307 (PC)   Same date of first publication                X
                Famous                                                                                                               PX-7586 (PC)                                          on both certificates
Ex. 1431        Phoenix Rise                          Maxwell                                2209      372       SR0000639738        PX-1678 (RC)        PA0001707770       PX-953 (RC)    Same artist and album                         X
                                                                                                                                     PX-7536 (PC)                           PX-5443 (PC)   identified on both certificates
Ex. 1432        Phone Sex (That's What's Up)          Avant                                  3679      1487      SR0000339561        PX-2110 (RC)        PA0001158621       PX-3282 (RC)   Same artist and album                         X
                                                                                                                                     PX-7203 (PC)                           PX-4814 (PC)   identified on both certificates
Ex. 1433        Piano Man                             Brandy                                 1010      348       SR0000622255        PX-1665 (RC)        PA0001625977       PX-853 (RC)    Same date of first publication                X
                                                                                                                                     PX-7474 (PC)                           PX-5171 (PC)   on both certificates
Ex. 1434        Pick Up The Phone                     Ciara                                  3150      2264      SR0000355316        PX-1594 (RC)        PA0001263490       PX-3576 (RC)   Same artist and album                         X
                                                                                                                                     PX-7247 (PC)                                          identified on both certificates
Ex. 1435        Pieces                                Stone Sour                             6231      113       SR0000689549        PX-3468 (RC)        PA0001718970       PX-966 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7697 (PC)                           PX-5460 (PC)   certificates
Ex. 1436        Pieces Of Me                          Ledisi                                 4778      3097      SR0000611046        PX-1893 (RC)        PA0001778259       PX-3842 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7399 (PC)        PA0001760343       PX-5826 (PC)   certificates
                                                                                                                                                                            PX-1041 (RC)
                                                                                                                                                                            PX-5733 (PC)
Ex. 1437        Piggy Bank                            50 Cent                                3558      1712      SR0000366051        PX-2111 (RC)        PA0001298491       PX-4964 (PC)   Same artist and album                         X
                                                                                                                                     PX-7275 (PC)                                          identified on both certificates
Ex. 1438        Pink Maggit                           Deftones                               6329      2817      SR0000284862        PX-7082 (PC)        PA0001029983       PX-3497 (RC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 1439        Pirate Flag                           Kenny Chesney                          2012      445       SR0000726974        PX-1780 (RC)        PA0001904652       PX-6433 (PC)   Same artist and album
                                                                                                                                     PX-7868 (PC)                                          identified on both certificates
Ex. 1440        Pitseleh                              Elliott Smith                          3989      1339      SR0000241677        PX-2223 (RC)        PA0000943578       PX-3149 (PC)   Same artist and album                         X
                                                                                                                                     PX-7012 (PC)                           PX-4460 (PC)   identified on both certificates
Ex. 1441        Play It Again                         Luke Bryan                             3446      3179      SR0000728445        PX-1919 (RC)        PA0001870876       PX-6310 (PC)   Same artist and album                         X
                                                                                                                                     PX-7876 (PC)        PA0001967424       PX-1224 (RC)   identified on both certificates
                                                                                                                                                                            PX-6529 (PC)
Ex. 1442        Play Your Cards                       Yung Joc                               6022      2266      SR0000622799        PX-3489 (RC)        PA0001648743       PX-4064 (RC)   Same artist and album                         X
                                                                                                                                     PX-7478 (PC)                                          identified on both certificates
Ex. 1443        Player's Prayer                       Lloyd                                  4852      2267      SR0000391940        PX-2325 (RC)        PA0001387429       PX-3878 (RC)   Same artist and album                         X
                                                                                                                                     PX-7344 (PC)                                          identified on both certificates


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  RC - Registration Certificate                                                                                            52
  SR - Sound Recording
  MC - Musical Composition
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                                                                                             Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                      Track                             Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 1444       Playin' Hard                         Trey Songz                              5933      2268      SR0000715080        PX-3296 (RC)        PA0001866123       PX-6295 (PC)   Same artist and album                         X
                                                                                                                                    PX-7805 (PC)                                          identified on both certificates
Ex. 1445        Playing God                         Paramore                                5817      2819      SR0000657157        PX-3450 (RC)        PA0001676906       PX-3955 (RC)   Same artist and album                         X
                                                                                                                                    PX-7587 (PC)                                          identified on both certificates
Ex. 1446        Playing Possum                      Maxwell                                 2210      373       SR0000639738        PX-1678 (RC)        PA0001707770       PX-953 (RC)    Same artist and album                         X
                                                                                                                                    PX-7536 (PC)                           PX-5443 (PC)   identified on both certificates
Ex. 1447        Please Return My Call               Trey Songz                              5934      2269      SR0000671697        PX-3298 (RC)        PA0001771885       PX-4045 (RC)   Same artist and album                         X
                                                                                                                                    PX-7631 (PC)                                          identified on both certificates
Ex. 1448        Pocahontas Proud                    Gretchen Wilson                         1651      2270      PA0001245662        PX-1477 (RC)        PA0001227155       PX-3759 (RC)   Same artist and album                         X
                                                                                                                                    PX-8033 (PC)                           PX-8181 (PC)   identified on both certificates
Ex. 1449        Points Of Authority                 Linkin Park                             6575      1489      SR0000288402        PX-3382 (RC)        PA0001092509       PX-2444 (PC)   Same artist and album                         X
                                                                                                                                    PX-7092 (PC)                           PX-4691 (PC)   identified on both certificates
Ex. 1450        Poker Face                          Lady GaGa                               4731      780       SR0000617843        PX-1883 (RC)        PA0001685342       PX-922 (RC)    Same artist identified on both
                                                                                                                                    PX-7441 (PC)                           PX-5346 (PC)   certificates
Ex. 1451        Poltergeist                         Deftones                                6331      2821      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)   Same artist and album                         X
                                                                                                                                    PX-7824 (PC)                           PX-3501 (RC)   identified on both certificates
Ex. 1452        Pon de Replay                       Rihanna                                 5207      3025      SR0000378134        PX-2416 (RC)        PA0001311248       PX-3999 (RC)   Same artist and album
                                                                                                                                    PX-7307 (PC)                                          identified on both certificates
Ex. 1453        Pontoon                             Little Big Town                         4842      446       SR0000709014        PX-2203 (RC)        PA0002049153       PX-1230 (RC)
                                                                                                                                    PX-7772 (PC)                           PX-6588 (PC)
Ex. 1454        Pop That                            French Montana                          4210      2271      SR0000702917        PX-2393 (RC)        PA0001861940       PX-3722 (RC)   Same artist identified on both
                                                                                                                                    PX-7736 (PC)                                          certificates
Ex. 1455        Poprocks & Coke                     Green Day                               6503      2822      SR0000306999        PX-3369 (RC)        PA0001062007       PX-4607 (PC)   Same artist and album                         X
                                                                                                                                    PX-7135 (PC)                                          identified on both certificates
Ex. 1456        Position Of Power                   50 Cent                                 3559      2431      SR0000366051        PX-2111 (RC)        PA0001868739       PX-3525 (RC)   Same artist and album                         X
                                                                                                                                    PX-7275 (PC)                                          identified on both certificates
Ex. 1457        POWER                               Kanye West                              4590      3053      SR0000683430        PX-7679 (PC)        PA0001866095       PX-6294 (PC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 1458        POWERLESS                           Linkin Park                             6576      1490      SR0000708311        PX-3386 (RC)        PA0001805751       PX-2912 (RC)   Same artist and album                         X
                                                                                                                                    PX-7770 (PC)                           PX-5946 (PC)   identified on both certificates
Ex. 1459        PPr:Kut                             Linkin Park                             6577      1491      SR0000316952        PX-7155 (PC)        PA0001237300       PX-2620 (PC)   Same artist identified on both                X
                                                                                                                                                                                          certificates
Ex. 1460        Praise                              Marvin Gaye                             4984      114       SR0000024441        PX-1939 (RC)        PA0000101381       PX-639 (RC)    Same artist and album
                                                                                                                                    PX-2273 (RC)                           PX-4153 (PC)   identified on both certificates
                                                                                                                                    PX-6713 (PC)
Ex. 1461        Praise You Forever                  Marvin Sapp                             2191      447       PA0001749838        PX-1493 (RC)        PA0001708382       PX-5445 (PC)   Same artist identified on both                X
                                                                                                                                    PX-5660 (PC)                                          certificates
Ex. 1462        Prayer                              Disturbed                               6383      2823      SR0000316958        PX-3348 (RC)        PA0001111236       PX-3511 (RC)   Same artist and album                         X
                                                                                                                                    PX-7156 (PC)                           PX-3558 (RC)   identified on both certificates
                                                                                                                                                                           PX-3559 (RC)
Ex. 1463        Prayin' For You/Superman            Anthony Hamilton                        415       448       SR0000625444        PX-7484 (PC)        PA0001627414       PX-858 (RC)    Same artist identified on both                X
                                                                                                                                                                           PX-5178 (PC)   certificates
Ex. 1464        Prelude 3.0                         Slipknot                                6205      115       SR0000358238        PX-3463 (RC)        PA0001231062       PX-792 (RC)    Same artist and album                         X
                                                                                                                                    PX-7253 (PC)                           PX-8177 (PC)   identified on both certificates
Ex. 1465        Prelude To A Kiss                   Alicia Keys                             34        263       SR0000627148        PX-1668 (RC)        PA0001590111       PX-810 (RC)    Same artist identified on both                X
                                                                                                                                    PX-7485 (PC)                           PX-5093 (PC)   certificates
Ex. 1466        Pretty Girl Rock                    Keri Hilson                             4632      116       SR0000668316        PX-1868 (RC)        PA0001729610       PX-5501 (PC)   Same date of first publication
                                                                                                                                    PX-7614 (PC)                                          on both certificates
Ex. 1467        Pretty Girl's Lie                   Trey Songz                              5936      2276      SR0000715080        PX-3296 (RC)        PA0001865867       PX-4048 (RC)   Same artist and album                         X
                                                                                                                                    PX-7805 (PC)                                          identified on both certificates
Ex. 1468        Pretty Hurts                        Beyoncé                                 804       2824      SR0000747291        PX-1834 (RC)        PA0001918127       PX-3556 (RC)   Same artist and album                         X
                                                                                                                                    PX-7956 (PC)                                          identified on both certificates
Ex. 1469        Pretty Wings                        Maxwell                                 2211      781       SR0000639738        PX-1678 (RC)        PA0001707770       PX-953 (RC)    Same artist and album                         X
                                                                                                                                    PX-7536 (PC)                           PX-5443 (PC)   identified on both certificates
Ex. 1470        Priceless (feat. Birdman)           Flo Rida                                5561      782       SR0000629161        PX-3314 (RC)        PA0001644888       PX-5241 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7498 (PC)                                          certificates
Ex. 1471        Private Room Intro                  Avant                                   3680      1145      SR0000339561        PX-2110 (RC)        PA0001371763       PX-2679 (RC)   Same artist and album                         X
                                                                                                                                    PX-7203 (PC)                           PX-5047 (PC)   identified on both certificates
Ex. 1472        Problem Girl                        Rob Thomas                              5848      117       SR0000373876        PX-3453 (RC)        PA0001161191       PX-749 (RC)    Same artist and album                         X
                                                                                                                                    PX-7291 (PC)                           PX-4926 (PC)   identified on both certificates

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                                                                               Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                           53
  SR - Sound Recording
  MC - Musical Composition
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                                                                                              Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                     Track                               Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 1473       Promises                              The Cranberries                         5330      1964      SR0000264395        PX-2251 (RC)        PA0000968357       PX-3223 (RC)   Same artist and album                         X
                                                                                                                                     PX-7056 (PC)                           PX-4482 (PC)   identified on both certificates
Ex. 1474        Proof                                Paramore                                5818      2827      SR0000724441        PX-3451 (RC)        PA0001854436       PX-3959 (RC)   Same artist and album                         X
                                                                                                                                     PX-7850 (PC)                                          identified on both certificates
Ex. 1475        Prove                                Fuel                                    1569      1007      SR0000269920        PX-1512 (RC)        PA0001025286       PX-2564 (PC)   Same artist and album                         X
                                                                                                                                     PX-7062 (PC)                           PX-4555 (PC)   identified on both certificates
Ex. 1476        Pts.OF.Athrty                        Linkin Park                             6578      1492      SR0000316952        PX-7155 (PC)        PA0001237292       PX-2446 (RC)   Same artist identified on both                X
                                                                                                                                                                            PX-8169 (PC)   certificates
Ex. 1477        Pucker Up                            Ciara                                   1306      450       SR0000631011        PX-1675 (RC)        PA0001649988       PX-5265 (PC)                                                 X
                                                                                                                                     PX-7508 (PC)
Ex. 1478        Pump It Harder                       Black Eyed Peas                         3772      2392      SR0000633584        PX-2128 (RC)        PA0001723093       PX-3597 (RC)   Same artist and album                         X
                                                                                                                                     PX-8452 (PC)                           PX-5470 (PC)   identified on both certificates
                                                                                                                                     PX-8453 (PC)
Ex. 1479        Pusher Love Girl                     Justin Timberlake                       1952      2278      SR0000717770        PX-1751 (RC)        PA0001915504       PX-6455 (PC)   Same artist and album                         X
                                                                                                                                     PX-7811 (PC)                                          identified on both certificates
Ex. 1480        Put Your Hands Up                    Matchbox Twenty                         5760      118       SR0000714896        PX-3434 (RC)        PA0001850287       PX-1177 (RC)   Same date of first publication                X
                                                                                                                                     PX-7803 (PC)                           PX-6219 (PC)   on both certificates
Ex. 1481        Quando, Quando, Quando (with Nelly   Michael Bublé                           6616      2829      SR0000370205        PX-3390 (RC)        EP0000162847       PX-3908 (RC)
                Furtado)                                                                                                             PX-7281 (PC)        RE0000451824       PX-8072 (PC)
                                                                                                                                                                            PX-8159 (PC)
Ex. 1482        Quickie                              Miguel                                  2254      784       SR0000673073        PX-1700 (RC)        PA0001808680       PX-1110 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7640 (PC)                           PX-5994 (PC)   certificates
Ex. 1483        R.O.O.T.S.                           Flo Rida                                5562      785       SR0000658178        PX-3306 (RC)        PA0001807832       PX-1107 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7589 (PC)                           PX-5981 (PC)   certificates
Ex. 1484        Rabbit Heart (Raise It Up)           Florence + The Machine                  4190      1894      SR0000645045        PX-2101 (RC)        PA0001892789       PX-3122 (PC)   Same artist and album                         X
                                                                                                                                     PX-7560 (PC)                           PX-6377 (PC)   identified on both certificates
Ex. 1485        Radar                                Britney Spears                          3116      1713      SR0000609604        PX-1647 (RC)        PA0001732673       PX-5553 (PC)   Same artist and album                         X
                                                                                                                                     PX-7393 (PC)                                          identified on both certificates
Ex. 1486        Radiate                              Puddle Of Mudd                          5121      2830      SR0000618742        PX-1966 (RC)        PA0001657838       PX-3977 (RC)   Same artist and album                         X
                                                                                                                                     PX-7445 (PC)                                          identified on both certificates
Ex. 1487        Radiation                            Gavin DeGraw                            1612      2280      SR0000412465        PX-8432 (PC)        PA0001763960       PX-3730 (PC)   Same artist and album                         X
                                                                                                                                     PX-8433 (PC)                                          identified on both certificates
Ex. 1488        Rag Doll                             Aerosmith                               3582      1714      SR0000085369        PX-2216 (RC)        PA0000349998       PX-3260 (RC)   Same artist and album                         X
                                                                                                                                     PX-6858 (PC)                           PX-4207 (PC)   identified on both certificates
Ex. 1489        Rain                                 Chamillionaire                          3847      1715      SR0000381901        PX-2114 (RC)        PA0001317547       PX-3241 (RC)   Same artist and album                         X
                                                                                                                                     PX-2362 (RC)                           PX-4999 (PC)   identified on both certificates
                                                                                                                                     PX-7316 (PC)
Ex. 1490        Rain Man                             Eminem                                  4067      3026      SR0000364769        PX-2283 (RC)        PA0001284524       PX-3688 (RC)   Same artist and album                         X
                                                                                                                                     PX-2376 (RC)                                          identified on both certificates
                                                                                                                                     PX-7273 (PC)
Ex. 1491        Rain, Tax (It's Inevitable)          Céline Dion                             1204      2832      SR0000311366        PX-1554 (RC)        PA0001102058       PX-3620 (RC)   Same artist and album                         X
                                                                                                                                     PX-7142 (PC)                                          identified on both certificates
Ex. 1492        Raining In Baltimore                 Counting Crows                          3898      451       SR0000172267        PX-2220 (RC)        PA0000708863       PX-4276 (PC)   Same artist and album                         X
                                                                                                                                     PX-6940 (PC)                           PX-8352 (PC)   identified on both certificates
                                                                                                                                                                            PX-8353 (PC)
Ex. 1493        Raining Men                          Rihanna                                 5208      1227      SR0000684805        PX-2334 (RC)        PA0001732814       PX-3017 (RC)   Same date of first publication                X
                                                                                                                                     PX-8458 (PC)                           PX-5555 (PC)   on both certificates
                                                                                                                                     PX-8459 (PC)
Ex. 1494        Raise 'Em Up                         Keith Urban                             3400      787       SR0000733375        PX-1894 (RC)        PA0001947439       PX-1217 (RC)   Same album identified on both                 X
                                                                                                                                     PX-7899 (PC)                           PX-6508 (PC)   certificates
Ex. 1495        Rap Name (Explicit)                  Obie Trice                              5058      1895      SR0000322706        PX-2224 (RC)        PA0001248992       PX-2632 (PC)   Recording artist identified on                X
                                                                                                                                     PX-7174 (PC)                                          composition certificate
Ex. 1496        Razor                                Foo Fighters                            1512      1147      SR0000396409        PX-1632 (RC)        PA0001731043       PX-2844 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7359 (PC)                           PX-5532 (PC)   certificates
Ex. 1497        Reaction                             Avant                                   3681      1494      SR0000281220        PX-2105 (RC)        PA0001054035       PX-3079 (PC)   Same artist and album                         X
                                                                                                                                     PX-7189 (PC)                           PX-4598 (PC)   identified on both certificates
Ex. 1498        Read Your Mind                       Avant                                   3682      1495      SR0000344351        PX-2348 (RC)        PA0001158618       PX-3283 (RC)   Same artist identified on both
                                                                                                                                     PX-7217 (PC)                           PX-4811 (PC)   certificates
Ex. 1499        Ready To Roll                        Blake Shelton                           6283      789       SR0000693085        PX-3320 (RC)        PA0001890859       PX-1195 (RC)   Same date of first publication                X
                                                                                                                                     PX-7699 (PC)                           PX-6376 (PC)   on both certificates

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  RC - Registration Certificate                                                                                            54
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                                                                                             Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                               Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 1500       Ready To Run                         Dixie Chicks                            1377      1347      SR0000309667        PX-1552 (RC)        PA0000955178       PX-4474 (PC)   Recording artist identified on
                                                                                                                                    PX-7139 (PC)                                          composition certificate
Ex. 1501        Real Emotions                       Los Lonely Boys                         2115      452       SR0000352465        PX-1587 (RC)        PA0001159607       PX-727 (RC)    Same artist and album                         X
                                                                                                                                    PX-7238 (PC)                           PX-4856 (PC)   identified on both certificates
Ex. 1502        Real Hip Hop                        Jadakiss                                4408      3125      SR0000356267        PX-2239 (RC)        PA0001314213       PX-4993 (PC)   Same artist and album                         X
                                                                                                                                    PX-7250 (PC)        PA0001159524       PX-713 (RC)    identified on both certificates
                                                                                                                                                        PA0001241282       PX-4841 (PC)
                                                                                                                                                                           PX-8167 (PC)
Ex. 1503        Real People                         Common                                  3882      1148      SR0000377106        PX-2112 (RC)        PA0001302105       PX-2765 (RC)   Same artist and album                         X
                                                                                                                                    PX-7302 (PC)                           PX-4985 (PC)   identified on both certificates
Ex. 1504        Real Thing                          Boys Like Girls                         939       552       SR0000643654        PX-1684 (RC)        PA0001735194       PX-988 (RC)                                                  X
                                                                                                                                    PX-7554 (PC)                           PX-5585 (PC)
Ex. 1505        Real World                          Matchbox Twenty                         5762      349       SR0000227755        PX-3294 (RC)        PA0001655141       PX-5271 (PC)                                                 X
                                                                                                                                    PX-7003 (PC)
Ex. 1506        Really Might Be Gone                Bowling For Soup                        3088      1497      SR0000361081        PX-1597 (RC)        PA0001159773       PX-3248 (RC)   Same artist and album                         X
                                                                                                                                    PX-7260 (PC)                           PX-4873 (PC)   identified on both certificates
Ex. 1507        Recognize (Explicit)                Warren G                                5406      1008      SR0000629800        PX-2028 (RC)        PA0000896403       PX-2550 (RC)   Same artist and album                         X
                                                                                                                                    PX-7502 (PC)                           PX-4435 (PC)   identified on both certificates
Ex. 1508        Red Camaro                          Keith Urban                             3401      2836      SR0000733375        PX-1894 (RC)        PA0001878244       PX-6331 (PC)   Same artist and album                         X
                                                                                                                                    PX-7899 (PC)                                          identified on both certificates
Ex. 1509        Red Light                           Usher                                   3206      532       SR0000352165        PX-1586 (RC)        PA0001241918       PX-8164 (PC)   Same artist and album                         X
                                                                                                                                    PX-7237 (PC)                                          identified on both certificates
Ex. 1510        Redundant                           Green Day                               6504      2838      SR0000244558        PX-3367 (RC)        PA0001059862       PX-4601 (PC)   Same artist and album                         X
                                                                                                                                    PX-7016 (PC)                                          identified on both certificates
Ex. 1511        Rehab                               Rihanna                                 5210      1498      SR0000635072        PX-1988 (RC)        PA0001641351       PX-3018 (RC)   Same artist identified on both
                                                                                                                                    PX-7520 (PC)                           PX-5219 (PC)   certificates
Ex. 1512        Relating To A Psychopath            Macy Gray                               2154      120       SR0000302804        PX-1544 (RC)        PA0001092131       PX-4687 (PC)   Same artist and album                         X
                                                                                                                                    PX-7122 (PC)                                          identified on both certificates
Ex. 1513        Relax My Beloved                    Alex Clare                              3597      1896      SR0000700527        PX-2201 (RC)        PA0001806292       PX-2676 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7729 (PC)                           PX-5953 (PC)   certificates
Ex. 1514        Remember                            Disturbed                               6384      2840      SR0000316958        PX-3348 (RC)        PA0001111236       PX-3511 (RC)   Same artist and album                         X
                                                                                                                                    PX-7156 (PC)                           PX-3558 (RC)   identified on both certificates
                                                                                                                                                                           PX-3559 (RC)
Ex. 1515        Remember My Name                    Chris Brown feat. Sevyn                 1277      1149      SR0000711816        PX-1742 (RC)        PA0001821988       PX-6089 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7791 (PC)                                          certificates
Ex. 1516        Remember When                       Avril Lavigne                           766       1717      SR0000680182        PX-1709 (RC)        PAu003539449       PX-6618 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7668 (PC)                                          certificates
Ex. 1517        Remember You (feat. The Weeknd)     Wiz Khalifa                             5973      3277      SR0000715951        PX-3297 (RC)        PA0001872896       PX-6312 (PC)   Same artist and album                         X
                                                                                                                                    PX-7809 (PC)                                          identified on both certificates
Ex. 1518        Remind Me                           Brad Praisley                           982       121       SR0000680360        PX-1710 (RC)        PA0001743361       PX-5642 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7669 (PC)                                          certificates
Ex. 1519        Renegade (Explicit)                 JAY-Z                                   4428      2841      SR0000305948        PX-2058 (RC)        PA0001038351       PX-4573 (PC)   Same artist identified on both
                                                                                                                                    PX-7131 (PC)                                          certificates
Ex. 1520        Resist The Temptation               2Pac                                    3530      1718      SR0000628433        PX-2127 (RC)        PA0001640073       PX-3264 (RC)   Same artist and album                         X
                                                                                                                                    PX-7495 (PC)                           PX-5193 (PC)   identified on both certificates
Ex. 1521        Resolve                             Foo Fighters                            1513      1150      SR0000377762        PX-1609 (RC)        PA0001730791       PX-5505 (PC)   Same artist and album                         X
                                                                                                                                    PX-7304 (PC)                                          identified on both certificates
Ex. 1522        Respirator                          Flo Rida                                5563      791       SR0000672870        PX-3316 (RC)        PA0001821672       PX-1136 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7639 (PC)                           PX-6080 (PC)   certificates
Ex. 1523        Rest Stop                           Matchbox Twenty                         5763      350       SR0000305708        PX-3431 (RC)        PA0001038500       PX-642 (RC)                                                  X
                                                                                                                                    PX-7130 (PC)                           PX-4574 (PC)
Ex. 1524        Return of the "G" (Explicit)        OutKast                                 455       1348      SR0000264092        PX-1507 (RC)        PA0000956080       PX-2499 (PC)   Same artist and album                         X
                                                                                                                                    PX-7055 (PC)                           PX-4476 (PC)   identified on both certificates
Ex. 1525        Return The Favor                    Keri Hilson                             4633      122       SR0000619820        PX-1865 (RC)        PA0001667243       PX-5308 (PC)   Same artist identified on both
                                                                                                                                    PX-7450 (PC)                                          certificates
Ex. 1526        Revolver                            Madonna                                 6595      3027      SR0000662296        PX-3387 (RC)        PA0001764628       PX-3898 (RC)   Same artist and album
                                                                                                                                    PX-7600 (PC)                                          identified on both certificates
Ex. 1527        Rewind (feat. Wyclef Jean)          Flo Rida                                5564      792       SR0000658178        PX-3306 (RC)        PA0001807819       PX-1103 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7589 (PC)                           PX-5976 (PC)   certificates


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                                                                               Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                           55
  SR - Sound Recording
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                                                                                                  Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                      Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Same Compilation
Ex. 1528       Ribs                                      Lorde                                   4895      266       SR0000732619        PX-1912 (RC)        PA0002007289       PX-6584 (PC)   Same artist and album                         X
                                                                                                                                         PX-7896 (PC)                                          identified on both certificates
Ex. 1529        Rich Girl                                Gwen Stefani                            4320      2845      SR0000364759        PX-2282 (RC)        PA0001274357       PX-3748 (RC)   Same artist and album                         X
                                                                                                                                         PX-2341 (RC)                                          identified on both certificates
                                                                                                                                         PX-7272 (PC)
Ex. 1530        Ridaz                                    Eminem                                  4070      3028      SR0000659181        PX-2094 (RC)        PA0001848889       PX-3693 (RC)   Same artist and album
                                                                                                                                         PX-7592 (PC)                                          identified on both certificates
Ex. 1531        Ride                                     Ciara                                   1307      1720      SR0000671337        PX-1697 (RC)        PA0001849604       PX-6211 (PC)   Same artist and album
                                                                                                                                         PX-7629 (PC)                                          identified on both certificates
Ex. 1532        Ridiculous                               Bowling For Soup                        3089      1499      SR0000361081        PX-1597 (RC)        PA0001159765       PX-2590 (PC)   Same artist and album                         X
                                                                                                                                         PX-7260 (PC)                           PX-4865 (PC)   identified on both certificates
                                                                                                                                                                                PX-8388 (PC)
                                                                                                                                                                                PX-8389 (PC)
Ex. 1533        Ridiculous Thoughts                      The Cranberries                         5331      1965      SR0000218047        PX-2012 (RC)        PA0000734579       PX-2520 (RC)   Same artist and album                         X
                                                                                                                                         PX-2272 (RC)                           PX-4290 (PC)   identified on both certificates
                                                                                                                                         PX-6988 (PC)
Ex. 1534        Ridin' (Explicit)                        Chamillionaire                          3848      1722      SR0000381901        PX-2114 (RC)        PA0001317544       PX-3240 (RC)   Same artist and album                         X
                                                                                                                                         PX-2362 (RC)                           PX-4996 (PC)   identified on both certificates
                                                                                                                                         PX-7316 (PC)
Ex. 1535        Ridin' Solo                              Jason Derulo                            6534      793       SR0000685175        PX-3380 (RC)        PA0001813218       PX-6026 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7683 (PC)                                          certificates
Ex. 1536        Right Before My Eyes                     Cage The Elephant                       1116      794       SR0000703665        PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                         PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 1537        Right For Me                             Justin Timberlake                       3171      2846      SR0000319834        PX-1563 (RC)        PA0001149533       PX-3803 (RC)   Same artist and album                         X
                                                                                                                                         PX-7163 (PC)                                          identified on both certificates
Ex. 1538        Right In Front Of You                    Céline Dion                             1205      2284      SR0000311366        PX-1554 (RC)        PA0001102062       PX-3621 (RC)   Same artist and album                         X
                                                                                                                                         PX-7142 (PC)                                          identified on both certificates
Ex. 1539        Right On the Money                       Alan Jackson                            399       312       SR0000295185        PX-1534 (RC)        PA0000922532       PX-4442 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7105 (PC)                                          certificates
Ex. 1540        Right Place, Wrong Time                  Avant                                   3683      1151      SR0000396388        PX-2117 (RC)        PA0001371418   PX-2680 (RC)       Same artist and album                         X
                                                                                                                                         PX-7358 (PC)                       PX-5042 (PC)       identified on both certificates
Ex. 1541        Right Round                              Flo Rida                                5565      797       SR0000658178        PX-3306 (RC)                       PX-3720 (RC)
                                                                                                                                                             PA0001639208 PA0001648304         Same artist identified on both                X
                                                                                                                                         PX-7589 (PC)                       PX-5190 (PC)       certificates
Ex. 1542        Rise                                     Disturbed                               6385      2847      SR0000316958        PX-3348 (RC)        PA0001111236 PX-3511 (RC)         Same artist and album                         X
                                                                                                                                         PX-7156 (PC)                       PX-3558 (RC)       identified on both certificates
                                                                                                                                                                            PX-3559 (RC)
Ex. 1543        Rise Above (feat. Pharrell, Tuki Carter & Wiz Khalifa                            5974      2286      SR0000715951        PX-3297 (RC)        PA0001951621 PX-4062 (PC)         Same artist and album                         X
                Amber Rose)                                                                                                              PX-7809 (PC)                                          identified on both certificates
Ex. 1544        Rnw@y                                     Linkin Park                            6579      1500      SR0000316952        PX-7155 (PC)        PA0001237301       PX-2621 (PC)   Same artist identified on both                X
                                                                                                                                                                                               certificates
Ex. 1545        ROADS UNTRAVELED                         Linkin Park                             6580      1501      SR0000708311        PX-3386 (RC)        PA0001805747       PX-2913 (RC)   Same artist and album                         X
                                                                                                                                         PX-7770 (PC)                           PX-5943 (PC)   identified on both certificates
Ex. 1546        Roar                                     Katy Perry                              3373      2848      SR0000734383        PX-1858 (RC)        PA0001861206       PX-6273 (PC)   Same artist identified on both
                                                                                                                                         PX-7902 (PC)                                          certificates
Ex. 1547        Rock Me In                               Britney Spears                          3117      123       SR0000620789        PX-1661 (RC)        PA0001626940       PX-5175 (PC)   Same artist identified on both                X
                                                                                                                                         PX-7465 (PC)                                          certificates
Ex. 1548        Rock That Body                           Black Eyed Peas                         3774      124       SR0000633584        PX-2128 (RC)        PA0001666771       PX-5305 (PC)                                                 X
                                                                                                                                         PX-8452 (PC)
                                                                                                                                         PX-8453 (PC)
Ex. 1549        Rock The BeaT                            LMFAO                                   4876      2850      SR0000641967        PX-1909 (RC)        PA0001679015       PX-3882 (RC)   Same artist and album                         X
                                                                                                                                         PX-7546 (PC)                                          identified on both certificates
Ex. 1550        Rocket (Explicit)                        Beyoncé                                 807       2287      SR0000747291        PX-1834 (RC)        PA0001918124       PX-3593 (RC)   Same artist and album                         X
                                                                                                                                         PX-7956 (PC)                                          identified on both certificates
Ex. 1551        Rocketeer                                Far East Movement                       4141      799       SR0000664587        PX-2099 (RC)        PA0001778016       PX-1062 (RC)   Same date of first publication
                                                                                                                                         PX-7610 (PC)                           PX-5823 (PC)   on both certificates
Ex. 1552        Rockin To The Beat                       Black Eyed Peas                         3775      1152      SR0000633584        PX-2128 (RC)        PA0001659078       PX-2726 (RC)   Same date of first publication                X
                                                                                                                                         PX-8452 (PC)                           PX-5289 (PC)   on both certificates
                                                                                                                                         PX-8453 (PC)
Ex. 1553        ROCKSTAR 101                             Rihanna                                 5212      2851      SR0000644571        PX-1982 (RC)        PA0001711708       PX-4002 (RC)   Same artist and album                         X
                                                                                                                                         PX-7558 (PC)                                          identified on both certificates

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                                                                                    Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                                56
  SR - Sound Recording
  MC - Musical Composition
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                                                                                             Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                   Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 1554       Roll (feat. Sean Kingston)           Flo Rida                                5566      1724      SR0000629161        PX-3314 (RC)        PA0001639100       PX-3187 (RC)   Same artist and album                         X
                                                                                                                                    PX-7498 (PC)                           PX-5189 (PC)   identified on both certificates
Ex. 1555         Romantic Dreams                    Deftones                                6332      2852      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)   Same artist and album                         X
                                                                                                                                    PX-7824 (PC)                           PX-3501 (RC)   identified on both certificates
Ex. 1556         Rosemary                           Deftones                                6333      2853      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)   Same artist and album                         X
                                                                                                                                    PX-7824 (PC)                           PX-3501 (RC)   identified on both certificates
Ex. 1557         Round and Round                    Imagine Dragons                         4369      1154      SR0000695196        PX-2054 (RC)        PA0001796481       PX-2437 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7701 (PC)                           PX-5920 (PC)   certificates
Ex. 1558         Round Here                         Counting Crows                          3899      454       SR0000172267        PX-2220 (RC)        PA0000708854       PX-4274 (PC)   Same artist and album                         X
                                                                                                                                    PX-6940 (PC)                           PX-8348 (PC)   identified on both certificates
                                                                                                                                                                           PX-8349 (PC)
Ex. 1559         Royals                             Lorde                                   4896      267       SR0000724529        PX-1911 (RC)        PA0002007289       PX-6584 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7852 (PC)                                          certificates
Ex. 1560         Rubber Ball                        Cage The Elephant                       1117      800       SR0000703665        PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                    PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 1561         Rumour Has It                      Adele                                   706       1898      SR0000673074        PX-1701 (RC)        PA0001734865       PX-2666 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7641 (PC)                           PX-5578 (PC)   certificates
Ex. 1562         Run Every Time                     Gavin DeGraw                            1613      2288      SR0000412465        PX-8432 (PC)        PA0001763961       PX-3731 (RC)   Same artist and album                         X
                                                                                                                                    PX-8433 (PC)                                          identified on both certificates
Ex. 1563         Run The World (Girls)              Beyoncé                                 808       2855      SR0000683948        PX-1715 (RC)        PA0001861905       PX-3547 (RC)   Same artist and album                         X
                                                                                                                                    PX-7681 (PC)                                          identified on both certificates
Ex. 1564         Run To You                         Whitney Houston                         565       939       SR0000152583        PX-1404 (RC)        PA0000840168       PX-4365 (PC)   Same artist and album                         X
                                                                                                                                    PX-6928 (PC)                                          identified on both certificates
Ex. 1565         Running Away                       Fuel                                    1571      1009      SR0000342237        PX-1579 (RC)        PA0001245159       PX-2627 (PC)   Same artist and album                         X
                                                                                                                                    PX-7213 (PC)                                          identified on both certificates
Ex. 1566         Running Out of Time                Simple Plan                             5899      2856      SR0000686779        PX-3460 (RC)        PA0001644610       PX-4012 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7691 (PC)                                          certificates
Ex. 1567         Russian Roulette                   Rihanna                                 5215      125       SR0000644571        PX-1982 (RC)        PA0001704500       PX-932 (RC)    Same date of first publication                X
                                                                                                                                    PX-7558 (PC)                           PX-5417 (PC)   on both certificates
Ex. 1568         Rx Queen                           Deftones                                6334      2857      SR0000284862        PX-7082 (PC)        PA0001029983       PX-3497 (RC)   Same artist and album                         X
                                                                                                                                                                                          identified on both certificates
Ex. 1569         Ryder Music                        50 Cent                                 3560      1727      SR0000366051        PX-2111 (RC)        PA0001298498   PX-2660 (RC)       Same artist and album                         X
                                                                                                                                    PX-7275 (PC)                       PX-4970 (PC)       identified on both certificates
Ex. 1570         Sabertooth Tiger                   Cage The Elephant                       1118      802       SR0000703665        PX-1730 (RC)        PA0001794286 PX-1092 (RC)         Same album identified on both                 X
                                                                                                                                    PX-7738 (PC)                       PX-5913 (PC)       certificates
Ex. 1571         Sacred Lie                         Disturbed                               6387      2858      SR0000380289        PX-3351 (RC)                       PX-8015 (PC)
                                                                                                                                                        PA0001352640 PA0001296201         Same artist and album                         X
                                                                                                                                    PX-7313 (PC)                       PX-8400 (PC)       identified on both certificates
                                                                                                                                                                       PX-8401 (PC)
                                                                                                                                                                       PX-8016 (PC)
                                                                                                                                                                       PX-8394 (PC)
                                                                                                                                                                       PX-8395 (PC)
Ex. 1572         Sad                                Maroon 5                                4964      1353      SR0000705167        PX-1928 (RC)        PA0001810801 PX-2956 (RC)         Same date of first publication                X
                                                                                                                                    PX-7755 (PC)                       PX-6009 (PC)       on both certificates
Ex. 1573         Sad Sad Situation                  Bowling For Soup                        3090      1503      SR0000361081        PX-1597 (RC)        PA0001159772 PX-2595 (PC)         Same artist and album                         X
                                                                                                                                    PX-7260 (PC)                       PX-4872 (PC)       identified on both certificates
Ex. 1574         Sadiddy                            Brandy                                  5494      2859      SR0000370673        PX-3289 (RC)        PA0001236712 PX-3607 (RC)         Same artist and album                         X
                                                                                                                                    PX-7283 (PC)                       PX-8173 (PC)       identified on both certificates
Ex. 1575         Safe and Sound                     Capital Cities                          3315      803       SR0000725325        PX-2073 (RC)        PA0001952597 PX-612 (RC)          Same album identified on both                 X
                                                                                                                                    PX-7858 (PC)                       PX-1221 (RC)       certificates
                                                                                                                                                                       PX-6518 (PC)
Ex. 1576         Safe European Home                 The Clash                               2847      1899      SR0000006482        PX-1255 (RC)        PA0000044734 PX-2449 (PC)         Same artist and album                         X
                                                                                                                                    PX-6671 (PC)                       PX-4133 (PC)       identified on both certificates
Ex. 1577         Said                               Puddle Of Mudd                          5122      2860      SR0000301465        PX-1965 (RC)        PA0001153778 PX-4788 (PC)         Same artist and album                         X
                                                                                                                                    PX-2276 (RC)                       PX-8380 (PC)       identified on both certificates
                                                                                                                                    PX-7119 (PC)                       PX-8381 (PC)
Ex. 1578         Same Old You                       Miranda Lambert                         2318      2863      PA0001805349        PX-1495 (RC)        PA0001789997 PX-3916 (RC)         Same artist and album                         X
                                                                                                                                    PX-5935 (PC)                                          identified on both certificates
Ex. 1579         Same Song & Dance                  Eminem                                  4071      3175      SR0000633152        PX-2378 (RC)                       PX-6202 (PC)
                                                                                                                                                        PA0001848044 PA0001706456         Same artist and album                         X
                                                                                                                                    PX-7513 (PC)                       PX-938 (RC)        identified on both certificates
                                                                                                                                                                       PX-5426 (PC)

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  RC - Registration Certificate                                                                                           57
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Cox Submission               Track                                    Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 1580       Samsonite Man                        Alicia Keys                             36        268       SR0000346869        PX-1584 (RC)        PA0001158374       PX-696 (RC)    Same artist and album                         X
                                                                                                                                    PX-7227 (PC)                           PX-4804 (PC)   identified on both certificates
Ex. 1581        Sanctuary                           Alex Clare                              3598      1900      SR0000700527        PX-2201 (RC)        PA0001806278       PX-2675 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7729 (PC)                           PX-5948 (PC)   certificates
Ex. 1582        Satellite                           Rise Against                            5249      804       SR0000671827        PX-1993 (RC)        PA0001887807       PX-6365 (PC)   Same album identified on both                 X
                                                                                                                                    PX-7635 (PC)                                          certificates
Ex. 1583        Satisfied                           CeeLo Green                             6034      269       SR0000673160        PX-3333 (RC)        PA0001731823       PX-5547 (PC)                                                 X
                                                                                                                                    PX-7642 (PC)
Ex. 1584        Save You Tonight                    One Direction                           2395      374       SR0000703645        PX-1729 (RC)        PA0001784623       PX-3938 (RC)   Same artist and album                         X
                                                                                                                                    PX-7737 (PC)                           PX-5866 (PC)   identified on both certificates
Ex. 1585        Say Goodbye Hollywood               Eminem                                  4072      1901      SR0000317924        PX-2277 (RC)        PA0001090374       PX-3135 (PC)   Same artist and album                         X
                                                                                                                                    PX-2380 (RC)                           PX-4686 (PC)   identified on both certificates
                                                                                                                                    PX-7160 (PC)
Ex. 1586        Say It With Me                      Chris Brown                             1258      805       SR0000679366        PX-1708 (RC)        PA0001772291       PX-1054 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7667 (PC)                           PX-5783 (PC)   certificates
Ex. 1587        Say Something (Featuring Drake)     Timbaland                               5374      2289      SR0000411631        n/a                 PA0001728554       PX-4023 (RC)   Same album identified on both                 X
                                                                                                                                                                                          certificates
Ex. 1588        Say What You Say                    Eminem                                  4073      2866      SR0000317924        PX-2277 (RC)        PA0001118663       PX-3698 (RC)   Same artist and album                         X
                                                                                                                                    PX-2380 (RC)                                          identified on both certificates
                                                                                                                                    PX-7160 (PC)
Ex. 1589        Say You'll Haunt Me                 Stone Sour                              6233      126       SR0000689549        PX-3468 (RC)        PA0001722494       PX-971 (RC)    Same artist identified on both                X
                                                                                                                                    PX-7697 (PC)                           PX-5468 (PC)   certificates
Ex. 1590        Scar                                Fuel                                    1572      1010      SR0000269920        PX-1512 (RC)        PA0001025284       PX-2563 (PC)   Same artist and album                         X
                                                                                                                                    PX-7062 (PC)                           PX-4553 (PC)   identified on both certificates
Ex. 1591        Scared Of Beautiful                 Brandy                                  1011      806       SR0000710136        PX-1739 (RC)        PA0001846377       PX-6199 (PC)                                                 X
                                                                                                                                    PX-7785 (PC)
Ex. 1592        Screamin'                           Macy Gray                               2155      1504      SR0000336638        PX-1576 (RC)        PA0001131232       PX-3106 (PC)   Same artist and album                         X
                                                                                                                                    PX-7200 (PC)                           PX-4761 (PC)   identified on both certificates
Ex. 1593        Scumbag                             Green Day                               6505      2867      SR0000315909        PX-3370 (RC)        PA0001070002       PX-4628 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7151 (PC)                                          certificates
Ex. 1594        Sealion                             Feist                                   4158      2868      SR0000406936        PX-2388 (RC)        PA0001382155       PX-3717 (RC)   Same artist and album                         X
                                                                                                                                    PX-7385 (PC)                                          identified on both certificates
Ex. 1595        Second Chance                       Shinedown                               5871      533       SR0000673788        PX-3456 (RC)        PA0001601042       PX-829 (RC)                                                  X
                                                                                                                                    PX-7644 (PC)                           PX-5121 (PC)
Ex. 1596        Secret                              Maroon 5                                4965      1356      SR0000702833        PX-1932 (RC)        PA0001073092       PX-2655 (RC)   Same artist and album                         X
                                                                                                                                    PX-7735 (PC)                           PX-4652 (PC)   identified on both certificates
Ex. 1597        Seduction                           Usher                                   3207      271       SR0000352165        PX-1586 (RC)        PA0001159869       PX-734 (RC)    Same artist and album                         X
                                                                                                                                    PX-7237 (PC)                           PX-4881 (PC)   identified on both certificates
Ex. 1598        See Me Now                          Kanye West                              4596      2290      SR0000667365        PX-2072 (RC)        PA0001865581       PX-6290 (PC)   Same artist identified on both
                                                                                                                                    PX-7611 (PC)                                          certificates
Ex. 1599        See You Again                       Carrie Underwood                        1158      455       SR0000700157        PX-1725 (RC)        PA0001807700       PX-1102 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7728 (PC)                           PX-5974 (PC)   certificates
Ex. 1600        See You In My Nightmares            Kanye West                              4597      2291      SR0000620203        PX-2067 (RC)        PA0001643088       PX-5229 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7462 (PC)                                          certificates
Ex. 1601        Seems To Be                         Avant                                   3684      1505      SR0000339561        PX-2110 (RC)        PA0001158623       PX-3267 (RC)   Same artist and album                         X
                                                                                                                                    PX-7203 (PC)                           PX-4816 (PC)   identified on both certificates
Ex. 1602        Seize The Day                       Avenged Sevenfold                       6244      272       SR0000374368        PX-3337 (RC)        PA0001162009       PX-758 (RC)    Same artist and album                         X
                                                                                                                                    PX-7293 (PC)                           PX-4935 (PC)   identified on both certificates
Ex. 1603        Selene                              Imagine Dragons                         4370      1155      SR0000707482        PX-2052 (RC)        PA0001822212       PX-6100 (PC)   Same artist and album                         X
                                                                                                                                    PX-7766 (PC)                                          identified on both certificates
Ex. 1604        Sell Yourself                       Cage The Elephant                       1119      808       SR0000703665        PX-1730 (RC)        PA0001794286       PX-1092 (RC)   Same album identified on both                 X
                                                                                                                                    PX-7738 (PC)                           PX-5913 (PC)   certificates
Ex. 1605        Send It Up                          Kanye West                              4598      2293      SR0000724178        PX-2316 (RC)        PA0001890236       PX-6371 (PC)   Same artist and album                         X
                                                                                                                                    PX-7847 (PC)                                          identified on both certificates
Ex. 1606        Send The Pain Below                 Chevelle                                1240      2870      SR0000324184        PX-1569 (RC)        PA0001859504       PX-3569 (RC)   Same artist and album                         X
                                                                                                                                    PX-7177 (PC)                                          identified on both certificates
Ex. 1607        Senorita                            Los Lonely Boys                         2116      456       SR0000352465        PX-1587 (RC)        PA0001159605       PX-725 (RC)    Same artist and album                         X
                                                                                                                                    PX-7238 (PC)                           PX-4854 (PC)   identified on both certificates
Ex. 1608        Sensuality                          Avant                                   3233      273       SR0000648878        PX-2188 (RC)        PA0001395664       PX-5060 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7563 (PC)                                          certificates

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  RC - Registration Certificate                                                                                           58
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Cox Submission                     Track                                Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1609       Sentimental                            Kenny G                                  2024      2871      SR0000709272        PX-1737 (RC)                       PX-4248 (PC)
                                                                                                                                                           PA0000627933 PA0000597871         Same artist and album                         X
                                                                                                                                       PX-7776 (PC)                       PX-4244 (PC)       identified on both certificates
Ex. 1610        Separated                             Avant                                    3685      1506      SR0000281220        PX-2105 (RC)        PA0001012575 PX-3078 (PC)         Same artist identified on both                X
                                                                                                                                       PX-7189 (PC)                       PX-4520 (PC)       certificates
Ex. 1611        Serious                               Avant                                    3686      1507      SR0000281220        PX-2105 (RC)        PA0001025468 PX-3077 (PC)         Same artist and album                         X
                                                                                                                                       PX-7189 (PC)                       PX-4564 (PC)       identified on both certificates
Ex. 1612        Session                               Linkin Park                              6582      1508      SR0000346247        PX-3383 (RC)        PA0001256413 PX-2635 (PC)         Same artist identified on both                X
                                                                                                                                       PX-7225 (PC)                                          certificates
Ex. 1613        Sex-o-matic Venus Freak               Macy Gray                                2156      1509      SR0000267460        PX-1510 (RC)        PA0000982322       PX-3107 (PC)   Same artist and album                         X
                                                                                                                                       PX-7060 (PC)                           PX-4502 (PC)   identified on both certificates
Ex. 1614        Sexual Healing                        Marvin Gaye                              2181      127       SR0000038850        PX-1306 (RC)        PA0000162210       PX-4168 (PC)   Same artist identified on both
                                                                                                                                       PX-6753 (PC)                           PX-8336 (PC)   certificates
                                                                                                                                                                              PX-8337 (PC)
Ex. 1615        Sexual Revolution                     Macy Gray                                2157      1510      SR0000302804        PX-1544 (RC)        PA0001088199       PX-3108 (PC)   Same artist and album                         X
                                                                                                                                       PX-7122 (PC)                           PX-4685 (PC)   identified on both certificates
Ex. 1616        Sexy Ladies                           Justin Timberlake                        3174      2008      SR0000395943        PX-1630 (RC)        PA0001368884       PX-5036 (PC)   Same artist and album                         X
                                                                                                                                       PX-7356 (PC)                                          identified on both certificates
Ex. 1617        SexyBack                              Justin Timberlake                        1953      2009      SR0000719411        PX-1760 (RC)        PA0001368818       PX-5035 (PC)   Same artist identified on both
                                                                                                                                       PX-7822 (PC)                                          certificates
Ex. 1618        Shake Senora                          Pitbull Featuring T-Pain & Sean Paul     2598      810       SR0000681904        PX-1713 (RC)        PA0001820421       PX-6069 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7677 (PC)                                          certificates
Ex. 1619        Shake Senora Remix                    Pitbull Featuring T-Pain, Sean Paul &    2599      811       SR0000683282        PX-1714 (RC)        PA0001820421       PX-6069 (PC)   Same artist identifed on both                 X
                                                      Ludacris                                                                         PX-7678 (PC)                                          certificates
Ex. 1620        Shape Of My Heart                     Backstreet Boys                          3074      1826      SR0000289455        PX-1527 (RC)        PA0001039513       PX-4584 (PC)   Same artist and album                         X
                                                                                                                                       PX-7096 (PC)                                          identified on both certificates
Ex. 1621        Shattered Glass                       Britney Spears                           3118      2296      SR0000609604        PX-1647 (RC)        PA0001632385       PX-3606 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7393 (PC)                                          certificates
Ex. 1622        Shattered Heart                       Brandy                                   1012      128       SR0000622255        PX-1665 (RC)        PA0001624650       PX-5158 (PC)   Same date of first publication                X
                                                                                                                                       PX-7474 (PC)                                          on both certificates
Ex. 1623        She                                   Green Day                                6506      2872      SR0000185457        PX-3365 (RC)        PA0000713967       PX-4281 (PC)   Same artist identified on both                X
                                                                                                                                       PX-6953 (PC)                                          certificates
Ex. 1624        She Ain't You                         Chris Brown                              1259      3258      SR0000679366        PX-1708 (RC)                       PX-5804 (PC)
                                                                                                                                                           PA0001775944 PA0001772287         Same artist and album                         X
                                                                                                                                       PX-7667 (PC)                       PX-1052 (RC)       identified on both certificates
                                                                                                                                                                          PX-5781 (PC)
Ex. 1625        She Don't Like The Lights             Justin Bieber                            4529      812       SR0000710074        PX-2204 (RC)        PA0001822166 PX-6097 (PC)         Same artist and album                         X
                                                                                                                                       PX-7784 (PC)                                          identified on both certificates
Ex. 1626        She Don't Write Songs About You       Macy Gray                                2158      1512      SR0000336638        PX-1576 (RC)        PA0001131226       PX-2939 (RC)   Same artist and album                         X
                                                                                                                                       PX-7200 (PC)                           PX-4759 (PC)   identified on both certificates
Ex. 1627        She Thinks My Tractor's Sexy          Kenny Chesney                            299       457       SR0000263302        PX-1461 (RC)        PA0000950753       PX-4467 (PC)   Same artist and album                         X
                                                                                                                                       PX-7050 (PC)                                          identified on both certificates
Ex. 1628        She Will Be Loved                     Maroon 5                                 4967      1357      SR0000674174        PX-1936 (RC)        PA0001073087       PX-2957 (RC)   Same artist identified on both
                                                                                                                                       PX-7645 (PC)                           PX-4647 (PC)   certificates
Ex. 1629        She's A Rebel                         Green Day                                6507      2874      SR0000362126        PX-3371 (RC)        PA0001251316       PX-3758 (RC)   Same artist and album                         X
                                                                                                                                       PX-7264 (PC)                                          identified on both certificates
Ex. 1630        She's Got A Boyfriend Now             Boys Like Girls                          941       129       SR0000643654        PX-1684 (RC)        PA0001736534       PX-995 (RC)                                                  X
                                                                                                                                       PX-7554 (PC)                           PX-5596 (PC)
Ex. 1631        She's Got It All                      Kenny Chesney                            300       571       SR0000238371        PX-1438 (RC)        PA0000886673       PX-4415 (PC)   Same artist and album                         X
                                                                                                                                       PX-7009 (PC)                                          identified on both certificates
Ex. 1632        She's Got the Rhythm (And I Got the   Alan Jackson                             400       2875      SR0000147716        PX-1402 (RC)                       PX-4240 (PC)
                                                                                                                                                           PA0000586645 PAu001522810         Same artist and album                         X
                Blues)                                                                                                                 PX-6923 (PC)                       PX-6600 (PC)       identified on both certificates
Ex. 1633        She's So Mean                         Matchbox Twenty                          5764      130       SR0000714896        PX-3434 (RC)        PA0001850358 PX-1178 (RC)         Same date of first publication                X
                                                                                                                                       PX-7803 (PC)                       PX-6220 (PC)       on both certificates
Ex. 1634        Shimmer                               Fuel                                     1574      1011      SR0000253431        PX-1455 (RC)        PA0000893226 PX-2549 (RC)         Same artist and album                         X
                                                                                                                                       PX-7035 (PC)                       PX-4421 (PC)       identified on both certificates
Ex. 1635        Shit Hits The Fan                     Obie Trice                               5059      2876      SR0000341637        PX-2245 (RC)        PA0001245810 PX-3936 (RC)         Same artist and album                         X
                                                                                                                                       PX-7211 (PC)                                          identified on both certificates
Ex. 1636        Shiver                                Maroon 5                                 4968      1358      SR0000702833        PX-1932 (RC)        PA0001073086       PX-2650 (RC)   Same artist and album                         X
                                                                                                                                       PX-7735 (PC)                           PX-4646 (PC)   identified on both certificates
Ex. 1637        Shone (feat. Pleasure P)              Flo Rida                                 5567      816       SR0000658178        PX-3306 (RC)        PA0001807835       PX-5982 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7589 (PC)                                          certificates

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  RC - Registration Certificate                                                                                              59
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                   Artist                   PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1638       Shotz To Tha Double Glock            Bone Thugs-N-Harmony                       907       1732      SR0000225335        PX-1434 (RC)        PA0000767835       PX-3249 (RC)   Same artist and album                         X
                                                                                                                                       PX-6999 (PC)                           PX-4308 (PC)   identified on both certificates
                                                                                                                                                                              PX-8354 (PC)
                                                                                                                                                                              PX-8355 (PC)
Ex. 1639        Should I Go                         Brandy                                     5496      2878      SR0000370673        PX-3289 (RC)        PA0001236715       PX-3612 (RC)   Same artist and album                         X
                                                                                                                                       PX-7283 (PC)                           PX-8171 (PC)   identified on both certificates
Ex. 1640        Shoulda Let You Go                  Keyshia Cole                               4649      1360      SR0000615233        PX-1869 (RC)        PA0001395956       PX-2905 (RC)   Same artist and album                         X
                                                                                                                                       PX-7423 (PC)                           PX-5070 (PC)   identified on both certificates
Ex. 1641        Should've Kissed You                Chris Brown                                1260      458       SR0000679366        PX-1708 (RC)        PA0001772278       PX-1050 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7667 (PC)                           PX-5779 (PC)   certificates
Ex. 1642        Shut-Up And Smile                   Bowling For Soup                           3091      1513      SR0000361081        PX-1597 (RC)        PA0001159766       PX-4866 (PC)   Same artist and album                         X
                                                                                                                                       PX-7260 (PC)                                          identified on both certificates
Ex. 1643        Sickened                            Disturbed                                  6389      2881      SR0000695381        PX-3352 (RC)        PA0001790006       PX-3515 (RC)   Same artist and album                         X
                                                                                                                                       PX-7702 (PC)                                          identified on both certificates
Ex. 1644        Sidewinder                          Avenged Sevenfold                          6245      276       SR0000374368        PX-3337 (RC)        PA0001162011       PX-760 (RC)    Same artist and album                         X
                                                                                                                                       PX-7293 (PC)                           PX-4937 (PC)   identified on both certificates
Ex. 1645        Signs                               Beyoncé feat. Missy Elliott                827       1955      SR0000342236        PX-1578 (RC)        PA0001193822       PX-8206 (PC)   Same artist and album                         X
                                                                                                                                       PX-7212 (PC)                                          identified on both certificates
Ex. 1646        Silent Night                        Justin Bieber                              4530      1733      SR0000704701        PX-7749 (PC)        PA0001782591       PX-2899 (RC)   Same artist identified on both                X
                                                                                                                                                                              PX-5854 (PC)   certificates
Ex. 1647        Simon                               Lifehouse                                  4822      459       SR0000289389        PX-1904 (RC)        PA0001051657       PX-644 (RC)    Same artist and album                         X
                                                                                                                                       PX-2275 (RC)                           PX-4594 (PC)   identified on both certificates
                                                                                                                                       PX-7095 (PC)
Ex. 1648        Simple Things                       Usher                                      353       3099      SR0000354784        PX-1591 (RC)                       PX-8180 (PC)
                                                                                                                                                           PA0001227182 PA0001159549         Same artist and album                         X
                                                                                                                                       PX-7243 (PC)                       PX-716 (RC)        identified on both certificates
                                                                                                                                                                          PX-4843 (PC)
Ex. 1649        Simply Amazing                      Trey Songz                                 5938      2304      SR0000715080        PX-3296 (RC)        PA0001868036 PX-4047 (RC)         Same artist and album                         X
                                                                                                                                       PX-7805 (PC)                                          identified on both certificates
Ex. 1650        Sin For A Sin                       Miranda Lambert                            2319      819       SR0000641403        PX-1681 (RC)        PA0001682734       PX-909 (RC)    Same artist identified on both                X
                                                                                                                                       PX-7540 (PC)                           PX-5328 (PC)   certificates
Ex. 1651        Sin With A Grin                     Shinedown                                  5872      534       SR0000673788        PX-3456 (RC)        PA0001601054                                                                    X
                                                                                                                                       PX-7644 (PC)                           PX-5128 (PC)
Ex. 1652        Sing For The Moment                 Eminem                                     4076      1903      SR0000317924        PX-2277 (RC)        PA0001093104       PX-3136 (RC)   Same artist and album                         X
                                                                                                                                       PX-2380 (RC)                           PX-4694 (PC)   identified on both certificates
                                                                                                                                       PX-7160 (PC)
Ex. 1653        Single Ladies (Put A Ring On It)    Beyoncé                                    812       2883      SR0000723765        PX-1770 (RC)        PA0001630370       PX-3550 (RC)   Same artist identified on both
                                                                                                                                       PX-7845 (PC)                                          certificates
Ex. 1654        Sinner                              Josh Thompson                              1931      820       SR0000652025        PX-1689 (RC)        PA0001777809       PX-1061 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7569 (PC)                           PX-5822 (PC)   certificates
Ex. 1655        Sister Rose                         Kenny G                                    2025      2884      SR0000709272        PX-1737 (RC)        PA0000627931       PX-4247 (PC)   Same artist and album                         X
                                                                                                                                       PX-7776 (PC)                                          identified on both certificates
Ex. 1656        Six In Da Morning                   Avant                                      3687      1515      SR0000308368        PX-2106 (RC)        PA0001087670       PX-3076 (PC)   Same artist and album                         X
                                                                                                                                       PX-7137 (PC)                           PX-4679 (PC)   identified on both certificates
Ex. 1657        Sk8er Boi                           Avril Lavigne                              427       1734      SR0000312786        PX-1556 (RC)        PA0001101507       PX-3251 (RC)   Same artist and album                         X
                                                                                                                                       PX-7147 (PC)                           PX-4697 (PC)   identified on both certificates
Ex. 1658        Ski Mask Way                        50 Cent                                    3561      2306      SR0000366051        PX-2111 (RC)        PA0001281578       PX-3526 (RC)   Same artist and album                         X
                                                                                                                                       PX-7275 (PC)                                          identified on both certificates
Ex. 1659        SKIN TO BONE                        Linkin Park                                6583      1516      SR0000708311        PX-3386 (RC)        PA0001805748       PX-2914 (RC)   Same artist and album                         X
                                                                                                                                       PX-7770 (PC)                           PX-5944 (PC)   identified on both certificates
Ex. 1660        Sleep to Dream Her                  Dave Matthews Band                         183       941       SR0000300313        PX-1541 (RC)        PA0001039328       PX-4581 (PC)   Same artist and album                         X
                                                                                                                                       PX-7115 (PC)                                          identified on both certificates
Ex. 1661        Sleeping At The Wheel               Matchbox Twenty                            5765      133       SR0000714896        PX-3434 (RC)        PA0001850160       PX-6212 (PC)   Same date of first publication                X
                                                                                                                                       PX-7803 (PC)                                          on both certificates
Ex. 1662        Slip of the Tongue                  Kenny G                                    445       3033      SR0000079028        PX-1364 (RC)        PA0000308826       PX-4197 (PC)   Same artist and album                         X
                                                                                                                                       PX-6848 (PC)                                          identified on both certificates
Ex. 1663        Slipped Away                        Avril Lavigne                              77        1735      SR0000332312        PX-1575 (RC)        PA0001251269       PX-2700 (RC)   Same artist and album                         X
                                                                                                                                       PX-7193 (PC)                                          identified on both certificates
Ex. 1664        Slow Dance                          Keri Hilson                                4634      2886      SR0000629123        PX-1867 (RC)        PA0001767256       PX-3807 (RC)   Same artist and album                         X
                                                                                                                                       PX-7497 (PC)                                          identified on both certificates


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Cox Submission                    Track                                 Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Same Compilation
Ex. 1665       Slow Down                               Alicia Keys                              37        277       SR0000346869        PX-1584 (RC)        PA0001158938       PX-699 (RC)    Same artist and album                         X
                                                                                                                                        PX-7227 (PC)                           PX-4821 (PC)   identified on both certificates
Ex. 1666        Slower                                 Brandy                                   1013      375       SR0000710136        PX-1739 (RC)        PA0001835570       PX-6154 (PC)   Same artist identified on both                X
                                                                                                                                        PX-7785 (PC)                                          certificates
Ex. 1667        Smash Into You                         Beyoncé                                  813       2887      SR0000623449        PX-1667 (RC)        PA0001624967       PX-3551 (RC)   Same artist and album                         X
                                                                                                                                        PX-7482 (PC)                                          identified on both certificates
Ex. 1668        Smile                                  Avril Lavigne                            767       1736      SR0000680182        PX-1709 (RC)        PA0001785766       PX-2701 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7668 (PC)                           PX-5869 (PC)   certificates
Ex. 1669        Smoke, Drank (feat. Bo Deal, Mouse &   Waka Flocka Flame                        5958      2888      SR0000672357        PX-3299 (RC)        PA0001847147       PX-4059 (RC)   Same artist and album                         X
                Kebo Gotti)                                                                                                             PX-7638 (PC)                                          identified on both certificates
Ex. 1670        Smoothie King                          Bowling For Soup                         3092      1517      SR0000361081        PX-1597 (RC)        PA0001159771       PX-2594 (PC)   Same artist and album                         X
                                                                                                                                        PX-7260 (PC)                           PX-4871 (PC)   identified on both certificates
Ex. 1671        SMS (Bangerz)                          Miley Cyrus feat. Britney Spears         2270      3034      SR0000735242        PX-1803 (RC)        PA0001870020       PX-3913 (RC)   Same artist and album                         X
                                                                                                                                        PX-7907 (PC)                                          identified on both certificates
Ex. 1672        Snake In The Grass (feat. Cartier Kitten) Waka Flocka Flame                     5959      2889      SR0000672357        PX-3299 (RC)        PA0001739078       PX-4060 (RC)   Same artist and album                         X
                                                                                                                                        PX-7638 (PC)                                          identified on both certificates

Ex. 1673        So Amazing                             50 Cent                                  3562      2435      SR0000366051        PX-2111 (RC)        PA0001868740       PX-6303 (PC)   Same artist and album                         X
                                                                                                                                        PX-7275 (PC)                                          identified on both certificates
Ex. 1674        So Appalled                            Kanye West                               4600      1975      SR0000683430        PX-7679 (PC)        PA0001740945       PX-5622 (PC)   Same artist and album                         X
                                                                                                                                                                                              identified on both certificates
Ex. 1675        So Bad                                 Eminem                                   4077      3176      SR0000653572        PX-2087 (RC)                       PX-6275 (PC)
                                                                                                                                                            PA0001861898 PA0001730981         Same artist and album                         X
                                                                                                                                        PX-7573 (PC)                       PX-5525 (PC)       identified on both certificates
Ex. 1676        So Happy I Could Die                   Lady Gaga                                4736      821       SR0000642917        PX-1886 (RC)                       PX-1021 (RC)
                                                                                                                                                            PA0001751980 PA0001668692         Same artist and album                         X
                                                                                                                                        PX-7552 (PC)                       PX-3833 (RC)       identified on both certificates
                                                                                                                                                                           PX-5681 (PC)
Ex. 1677        So Hard                                Ciara                                    1308      2010      SR0000757150        PX-1846 (RC)        PA0001375845 PX-5051 (PC)         Same artist and album
                                                                                                                                        PX-7978 (PC)                                          identified on both certificates
Ex. 1678        So Many Tears                          2Pac                                     3531      943       SR0000198774        PX-2107 (RC)        PA0000773738       PX-3263 (RC)   Same artist and album                         X
                                                                                                                                        PX-2108 (RC)                           PX-4310 (PC)   identified on both certificates
                                                                                                                                        PX-6964 (PC)
Ex. 1679        So Many Ways                           Avant                                    3688      1230      SR0000396388        PX-2117 (RC)        PA0001371413       PX-3255 (RC)   Same artist and album                         X
                                                                                                                                        PX-7358 (PC)                           PX-5040 (PC)   identified on both certificates
Ex. 1680        So Much Like My Dad                    George Strait                            4274      1978      SR0000358502        PX-2395 (RC)        PA0000225775       PX-3735 (RC)                                                 X
                                                                                                                                        PX-7254 (PC)                           PX-4182 (PC)
Ex. 1681        So Much More                           Big Sean                                 3728      1158      SR0000678630        PX-2134 (RC)        PA0001780714       PX-2719 (RC)   Same artist identified on both                X
                                                                                                                                        PX-7661 (PC)                           PX-5842 (PC)   certificates
Ex. 1682        So Right                               Dave Matthews Band                       186       944       SR0000300313        PX-1541 (RC)        PA0001039323       PX-4577 (PC)   Same artist and album                         X
                                                                                                                                        PX-7115 (PC)                                          identified on both certificates
Ex. 1683        So Simple                              Alicia Keys feat. Lellow                 56        351       SR0000346869        PX-1584 (RC)        PA0001158375   PX-697 (RC)        Same artist and album                         X
                                                                                                                                        PX-7227 (PC)                       PX-4805 (PC)       identified on both certificates
Ex. 1684        Soil To The Sun                        Cage The Elephant                        1121      822       SR0000631003        PX-1674 (RC)        PA0001794291 PX-1093 (RC)         Same artist identified on both                X
                                                                                                                                        PX-7507 (PC)                       PX-5914 (PC)       certificates
Ex. 1685        Solace                                 Fuel                                     1576      1014      SR0000269920        PX-1512 (RC)        PA0001025289 PX-2565 (PC)         Same artist and album                         X
                                                                                                                                        PX-7062 (PC)                       PX-4558 (PC)       identified on both certificates
Ex. 1686        Soldier                                Eminem                                   4078      1904      SR0000317924        PX-2277 (RC)        PA0001073064 PX-3137 (PC)         Same artist identified on both                X
                                                                                                                                        PX-2380 (RC)                       PX-4640 (PC)       certificates
                                                                                                                                        PX-7160 (PC)                       PX-8370 (PC)
                                                                                                                                                                           PX-8371 (PC)
Ex. 1687        Some Nights                            fun.                                     6158      3259      SR0000704930        PX-3416 (RC)                       PX-5908 (PC)
                                                                                                                                                            PA0001791456 PA0001810594         Same artist identified on both                X
                                                                                                                                        PX-7752 (PC)                       PX-1113 (RC)       certificates
                                                                                                                                                                           PX-5998 (PC)
Ex. 1688        Some Nights (Intro)                    fun.                                     6159      3260      SR0000704930        PX-3416 (RC)                       PX-5908 (PC)
                                                                                                                                                            PA0001791456 PA0001810593         Same artist identified on both                X
                                                                                                                                        PX-7752 (PC)                       PX-1112 (RC)       certificates
Ex. 1689        Somebody Got Murdered                  The Clash                                2849      1015      SR0000024334        PX-1281 (RC)        PA0000112402 PX-2465 (PC)         Same artist and album                         X
                                                                                                                                        PX-6712 (PC)                       PX-4159 (PC)       identified on both certificates
Ex. 1690        Somebody Stand By Me                   Faith Hill                               6449      2892      SR0000253752        PX-7036 (PC)        PA0000705224 PX-3715 (RC)                                                       X
Ex. 1691        Someone                                SWV featuring Puff Daddy                 342       1016      SR0000249300        PX-1449 (RC)        PA0001003696 PX-2561 (PC)         Same artist and album                         X
                                                                                                                                        PX-7026 (PC)                       PX-4510 (PC)       identified on both certificates


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Cox Submission                    Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Same Compilation
Ex. 1692       Someone Else                          Miley Cyrus                             2267      3126      SR0000735242        PX-1803 (RC)        PA0001870024       PX-3910 (RC)   Same artist and album                         X
                                                                                                                                     PX-7907 (PC)                           PX-6307 (PC)   identified on both certificates
Ex. 1693        Someone Else's Dream                 Faith Hill                              6450      1737      SR0000169102        PX-3360 (RC)        PA0000764860       PX-3189 (RC)   Same artist and album                         X
                                                                                                                                     PX-6933 (PC)                           PX-4302 (PC)   identified on both certificates
Ex. 1694        Someone Else's Song                  Lifehouse                               4824      460       SR0000289389        PX-1904 (RC)        PA0001051657       PX-644 (RC)    Same artist and album                         X
                                                                                                                                     PX-2275 (RC)                           PX-4594 (PC)   identified on both certificates
                                                                                                                                     PX-7095 (PC)
Ex. 1695        Someone To Love Me (Naked)           Mary J. Blige                           4985      3060      SR0000676435        PX-2192 (RC)        PA0001842413       PX-3906 (RC)   Same artist identified on both
                                                                                                                                     PX-7621 (PC)                           PX-6186 (PC)   certificates
Ex. 1696        Someone To Watch Over Me             Amy Winehouse                           3633      2893      SR0000613567        n/a                 E00000651512       PX-4083 (RC)
Ex. 1697        Something Special                    Usher                                   652       136       SR0000620940        PX-1662 (RC)        PA0001602832       PX-5131 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7466 (PC)                                          certificates
Ex. 1698        Something For The DJs                Pitbull                                 2571      823       SR0000681904        PX-1713 (RC)        PA0001774899       PX-5802 (PC)                                                 X
                                                                                                                                     PX-7677 (PC)
Ex. 1699        Something To Be                      Rob Thomas                              5849      137       SR0000373876        PX-3453 (RC)        PA0001161192       PX-750 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7291 (PC)                           PX-4927 (PC)   certificates
Ex. 1700        Something To Die For                 Carolina Liar                           5524      1827      SR0000637774        PX-3410 (RC)        PA0001677407       PX-5315 (PC)   Same album identified on both                 X
                                                                                                                                     PX-7528 (PC)                                          certificates
Ex. 1701        Somewhere I Belong                   Linkin Park                             6584      1518      SR0000346247        PX-3383 (RC)        PA0001256410       PX-2634 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7225 (PC)                                          certificates
Ex. 1702        Somewhere In My Car                  Keith Urban                             3406      1159      SR0000733375        PX-1894 (RC)        PA0001898869       PX-2904 (RC)   Same artist identified on both                X
                                                                                                                                     PX-7899 (PC)                           PX-6415 (PC)   certificates
Ex. 1703        Somewhere Love Remains               Lady Antebellum                         3434      2308      SR0000686148        PX-2196 (RC)        PA0001817433       PX-6050 (PC)   Same artist and album                         X
                                                                                                                                     PX-2372 (RC)                                          identified on both certificates
                                                                                                                                     PX-7690 (PC)
Ex. 1704        Somewhere Only We Know               Keane                                   4617      1813      SR0000355429        PX-2299 (RC)        PA0001160739       PX-2902 (RC)   Same artist and album
                                                                                                                                     PX-7248 (PC)                           PX-4906 (PC)   identified on both certificates
Ex. 1705        Song For You                         Fuel 238                                1584      1017      SR0000253431        PX-1455 (RC)        PA0000893221       PX-3170 (RC)   Same artist and album                         X
                                                                                                                                     PX-7035 (PC)                           PX-4417 (PC)   identified on both certificates
Ex. 1706        Songbird                             Kenny G                                 446       462       SR0000079028        PX-1364 (RC)        PA0000330273       PX-1232 (RC)   Same artist and album                         X
                                                                                                                                     PX-6848 (PC)                           PX-4201 (PC)   identified on both certificates
Ex. 1707        Sons Of Plunder                      Disturbed                               6390      2895      SR0000380289        PX-3351 (RC)        PA0001296200       PX-3504 (RC)   Same artist and album                         X
                                                                                                                                     PX-7313 (PC)                                          identified on both certificates
Ex. 1708        Sorry                                Avant                                   3689      1519      SR0000308368        PX-2106 (RC)        PA0001087667       PX-3075 (PC)   Same artist and album                         X
                                                                                                                                     PX-7137 (PC)                           PX-4676 (PC)   identified on both certificates
Ex. 1709        Soul's On Fire                       Anthony Hamilton                        416       1161      SR0000625444        PX-7484 (PC)        PA0001768252       PX-3034 (RC)   Same artist and album                         X
                                                                                                                                                                            PX-5764 (PC)   identified on both certificates
Ex. 1710        Sound Of Madness                     Shinedown                               5874      535       SR0000673788        PX-3456 (RC)        PA0001601045       PX-830 (RC)                                                  X
                                                                                                                                     PX-7644 (PC)                           PX-5122 (PC)
Ex. 1711        Space                                Hootie & The Blowfish                   5620      138       SR0000334892        PX-3427 (RC)        PA0001194022       PX-613 (RC)    Same artist identified on both                X
                                                                                                                                     PX-7197 (PC)                           PX-8205 (PC)   certificates
Ex. 1712        Spaceship Coupe                      Justin Timberlake                       1954      2309      SR0000717770        PX-1751 (RC)        PA0001915506       PX-3805 (RC)   Same artist and album                         X
                                                                                                                                     PX-7811 (PC)                                          identified on both certificates
Ex. 1713        Spaghetti                            Emblem3                                 1447      824       SR0000726978        PX-1781 (RC)        PA0001879175       PX-6335 (PC)   Same album identified on both                 X
                                                                                                                                     PX-7869 (PC)                                          certificates
Ex. 1714        Spectrum                             Zedd                                    5443      536       SR0000736147        PX-2036 (RC)        PA0001832077       PX-6132 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7910 (PC)                                          certificates
Ex. 1715        Spell It Out                         Gavin DeGraw                            1614      2310      SR0000412465        PX-8432 (PC)        PA0001763961       PX-3731 (RC)   Same artist and album                         X
                                                                                                                                     PX-8433 (PC)                                          identified on both certificates
Ex. 1716        Spend Some Time                      Eminem                                  4080      1906      SR0000364769        PX-2283 (RC)        PA0001295395       PX-4959 (PC)   Same artist and album                         X
                                                                                                                                     PX-2376 (RC)                                          identified on both certificates
                                                                                                                                     PX-7273 (PC)
Ex. 1717        Spin                                 Lifehouse                               4826      463       SR0000321812        PX-1903 (RC)        PA0001104539       PX-657 (RC)    Same artist and album                         X
                                                                                                                                     PX-7167 (PC)                           PX-4708 (PC)   identified on both certificates
Ex. 1718        Spin You Around                      Puddle Of Mudd                          5123      2897      SR0000347741        PX-7229 (PC)        PA0001249431       PX-3982 (RC)   Same artist and album                         X
                                                                                                                                                                                           identified on both certificates
Ex. 1719        Spit It Out                          Slipknot                                6208      140       SR0000301094        PX-3461 (RC)        PA0000965864       PX-4480 (PC)   Same artist identified on both                X
                                                                                                                                     PX-7118 (PC)                                          certificates
Ex. 1720        Spread The Love (featuring The Wailers Kenny Chesney                         2014      826       SR0000726972        PX-1779 (RC)        PA0001899352       PX-1239 (RC)   Same artist and album                         X
                with Elan)                                                                                                           PX-7867 (PC)                           PX-6417 (PC)   identified on both certificates

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                                                                                Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                            62
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                      Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1721       Spun                                     Grouplove                              5606      2898      SR0000704081        PX-3418 (RC)        PA0001762863       PX-3560 (RC)   Same artist and album                         X
                                                                                                                                       PX-7744 (PC)                           PX-8404 (PC)   identified on both certificates
                                                                                                                                                                              PX-8405 (PC)
Ex. 1722        Square Dance                            Eminem                                 4081      1907      SR0000317924        PX-2277 (RC)        PA0001073065       PX-2572 (PC)   Same artist identified on both                X
                                                                                                                                       PX-2380 (RC)                           PX-4641 (PC)   certificates
                                                                                                                                       PX-7160 (PC)
Ex. 1723        St. Elsewhere                           Gnarls Barkley                         5587      2311      SR0000398345        PX-3293 (RC)        PA0001338251       PX-3742 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7361 (PC)                                          certificates
Ex. 1724        St. Jimmy                               Green Day                              6508      2899      SR0000362126        PX-3371 (RC)        PA0001251316       PX-3758 (RC)   Same artist and album                         X
                                                                                                                                       PX-7264 (PC)                                          identified on both certificates
Ex. 1725        Stacked Actors                          Foo Fighters                           1516      1739      SR0000285034        PX-1522 (RC)        PA0001693331   PX-3179 (RC)       Same artist and album                         X
                                                                                                                                       PX-7083 (PC)                       PX-5381 (PC)       identified on both certificates
Ex. 1726        Stanley Climbfall                       Lifehouse                              4827      464       SR0000321812        PX-1903 (RC)        PA0001104540 PX-658 (RC)          Same artist and album                         X
                                                                                                                                       PX-7167 (PC)                       PX-4709 (PC)       identified on both certificates
Ex. 1727        Starstruck                              Lady GaGa                              4738      829       SR0000617841        PX-1885 (RC)                       PX-3831 (RC)
                                                                                                                                                           PA0001685366 PA0001650637         Same artist and album                         X
                                                                                                                                       PX-7439 (PC)                       PX-5350 (PC)       identified on both certificates
Ex. 1728        State Run Radio (feat. Matt Mahaffey)   Lupe Fiasco                            5708      1371      SR0000704469        PX-3291 (RC)        PA0001739098 PX-2923 (RC)         Same artist identified on both                X
                                                                                                                                       PX-7747 (PC)                       PX-5612 (PC)       certificates
Ex. 1729        Statues                                 Foo Fighters                           1517      1162      SR0000617325        PX-1655 (RC)        PA0001625338 PX-2845 (RC)         Same artist and album                         X
                                                                                                                                       PX-7436 (PC)                       PX-5166 (PC)       identified on both certificates
Ex. 1730        Stay Fly                                Three 6 Mafia                          2871      595       PA0001305910        PX-1481 (RC)        PA0001328092 PX-5011 (PC)         Same artist identified on both
                                                                                                                                       PX-4991 (PC)                                          certificates
Ex. 1731        Stay Free                               The Clash                              2851      1908      SR0000006482        PX-1255 (RC)        PA0000044740       PX-2452 (PC)   Same artist and album                         X
                                                                                                                                       PX-6671 (PC)                           PX-4136 (PC)   identified on both certificates
Ex. 1732        Stay The Night                          Zedd                                   5445      1163      SR0000736147        PX-2036 (RC)        PA0001902216       PX-6429 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7910 (PC)                                          certificates
Ex. 1733        Stay Wide Awake                         Eminem                                 4082      3177      SR0000642488        PX-2379 (RC)                       PX-6202 (PC)
                                                                                                                                                           PA0001848044 PA0001943940         Same artist and album                         X
                                                                                                                                       PX-7551 (PC)                       PX-6503 (PC)       identified on both certificates
Ex. 1734        Stealing                                Gavin DeGraw                           1615      2312      SR0000412465        PX-8432 (PC)        PA0001763960 PX-3730 (RC)         Same artist and album                         X
                                                                                                                                       PX-8433 (PC)                                          identified on both certificates
Ex. 1735        Still Ballin' (Explicit)                2Pac                                   3532      1957      SR0000323532        PX-2212 (RC)        PA0001219183       PX-8188 (PC)   Same artist and album                         X
                                                                                                                                       PX-7175 (PC)                                          identified on both certificates
Ex. 1736        Still Don't Give A Fuck                 Eminem                                 4083      1909      SR0000262686        PX-2407 (RC)        PA0000954424       PX-2556 (PC)   Same artist and album                         X
                                                                                                                                       PX-7047 (PC)                           PX-4471 (PC)   identified on both certificates
Ex. 1737        Still Into You                          Paramore                               5819      2901      SR0000724441        PX-3451 (RC)        PA0001854435       PX-3956 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7850 (PC)                                          certificates
Ex. 1738        Still Missin                            Flo Rida                               5568      832       SR0000629161        PX-3314 (RC)        PA0001644870       PX-882 (RC)    Same album identified on both                 X
                                                                                                                                       PX-7498 (PC)                           PX-5236 (PC)   certificates
Ex. 1739        Still On My Brain                       Justin Timberlake                      3175      142       SR0000319834        PX-1563 (RC)        PA0001118861       PX-674 (RC)    Same artist and album                         X
                                                                                                                                       PX-7163 (PC)                           PX-4748 (PC)   identified on both certificates
Ex. 1740        Still Sane                              Lorde                                  4897      278       SR0000732619        PX-1912 (RC)        PA0002007289       PX-6584 (PC)   Same artist and album                         X
                                                                                                                                       PX-7896 (PC)                                          identified on both certificates
Ex. 1741        Stone Rollin                            Raphael Saadiq                         2631      1018      SR0000677734        PX-1706 (RC)        PA0001764528       PX-3009 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7655 (PC)                           PX-5754 (PC)   certificates
Ex. 1742        Stop Cheatin' On Me                     Kellie Pickler                         1979      465       SR0000697940        PX-1723 (RC)        PA0001907989       PX-6434 (PC)   Same date of first publication                X
                                                                                                                                       PX-7716 (PC)                                          on both certificates
Ex. 1743        Stop Standing There                     Avril Lavigne                          768       1740      SR0000680182        PX-1709 (RC)        PA0001742271       PX-3035 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7668 (PC)                           PX-5632 (PC)   certificates
Ex. 1744        Stop The World                          Maxwell                                2212      376       SR0000639738        PX-1678 (RC)        PA0001707770       PX-953 (RC)    Same album identified on both                 X
                                                                                                                                       PX-7536 (PC)                           PX-5443 (PC)   certificates
Ex. 1745        Straight Jacket Fashion                 Chevelle                               1241      2315      SR0000407044        PX-1643 (RC)        PA0001387418       PX-3630 (RC)   Same artist and album                         X
                                                                                                                                       PX-7388 (PC)                                          identified on both certificates
Ex. 1746        Straight Up                             Future                                 1597      2316      SR0000701457        PX-1728 (RC)        PA0001808141       PX-3724 (RC)   Same artist and album                         X
                                                                                                                                       PX-7734 (PC)                                          identified on both certificates
Ex. 1747        Stranger Things Have Happened           Foo Fighters                           1519      1165      SR0000617325        PX-1655 (RC)        PA0001625352       PX-5169 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7436 (PC)                                          certificates
Ex. 1748        Strawberry Bubblegum                    Justin Timberlake                      1955      2317      SR0000717770        PX-1751 (RC)        PA0001915506       PX-3805 (RC)   Same artist and album                         X
                                                                                                                                       PX-7811 (PC)                                          identified on both certificates
Ex. 1749        StreetLove                              Lloyd                                  4853      2318      SR0000391940        PX-2325 (RC)        PA0001387433       PX-3879 (RC)   Same artist identified on both                X
                                                                                                                                       PX-7344 (PC)                                          certificates

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  RC - Registration Certificate                                                                                              63
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Cox Submission                 Track                                  Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Same Compilation
Ex. 1750       Streets Of New York                  Alicia Keys                              39        280       SR0000379937        PX-7311 (PC)        PA0001162554       PX-8246 (PC)      Same artist and album                         X
                                                                                                                                                                            PX-8247 (PC)      identified on both certificates
Ex. 1751        Strength Of The World               Avenged Sevenfold                        6246      281       SR0000374368        PX-3337 (RC)        PA0001162012       PX-0761 (RC)      Same album identified on both                 X
                                                                                                                                     PX-7293 (PC)                           PX-4938 (PC)      certificates
Ex. 1752        Stricken                            Disturbed                                6391      2903      SR0000380288        PX-3350 (RC)        PA0001296198       PX-3503 (RC)      Same artist identified on both
                                                                                                                                     PX-7312 (PC)                           PX-8393 (PC)      certificates
Ex. 1753        Strip                               Chris Brown                              1261      833       SR0000711816        PX-7791 (PC)        PA0001896031       PX-1201 (RC)      Same artist identified on both                X
                                                                                                                                     PX-1742 (RC)                           PX-6396 (PC)      certificates
Ex. 1754        Stronger (What Doesn't Kill You)    Kelly Clarkson                           1995      1828      SR0000693113        PX-8462 (PC)        PA0001771872       PX-2443 (other)   Same date of first publication                X
                (Audio)                                                                                                              PX-8463 (PC)                           PX-5773 (PC)      on both certificates
                                                                                                                                     PX-1717 (RC)
Ex. 1755        Stuck in the Middle                 Boys Like Girls                          944       143       SR0000731314        PX-7890 (PC)        PA0001831360       PX-6129 (PC)      Same date of first publication                X
                                                                                                                                     PX-1793 (RC)                                             on both certificates
Ex. 1756        Stuck On Stupid                     Chris Brown                              1262      1167      SR0000711816        PX-7791 (PC)        PA0002094523       PX-6593 (PC)      Same artist and album                         X
                                                                                                                                     PX-1742 (RC)                                             identified on both certificates
Ex. 1757        Stuck With Me                       Green Day                                6509      2905      SR0000188562        PX-3366 (RC)        PA0000774217       PX-4316 (PC)      Same artist identified on both                X
                                                                                                                                     PX-6956 (PC)                                             certificates
Ex. 1758        Stupid Love                         Jason Derulo                             6536      3230      SR0000763207        PX-7983 (PC)        PA0001924144       PX-3772 (RC)      Same artist and album                         X
                                                                                                                                     PX-3292 (RC)                           PX-6479 (PC)      identified on both certificates
Ex. 1759        Stupidity Tries                     Elliott Smith                            3992      1373      SR0000280584        PX-2085 (RC)        PA0001015786       PX-3198 (RC)      Same artist identified on both                X
                                                                                                                                     PX-7187 (PC)                           PX-4535 (PC)      certificates
Ex. 1760        Stupify                             Disturbed                                6392      2906      SR0000280324        PX-3353 (RC)        PA0001000622       PX-3505 (RC)      Same artist and album                         X
                                                                                                                                     PX-7186 (PC)                                             identified on both certificates
Ex. 1761        Stutter                             Maroon 5                                 4969      1374      SR0000664531        PX-1929 (RC)        PA0001784067       PX-5860 (PC)      Same artist and album                         X
                                                                                                                                     PX-7606 (PC)                                             identified on both certificates
Ex. 1762        Sugar                               Kid Rock                                 5679      2319      SR0000622796        PX-3332 (RC)        PA0001638753       PX-3818 (RC)      Same artist identified on both                X
                                                                                                                                     PX-7477 (PC)                                             certificates
Ex. 1763        Suicide                             Avant                                    3690      1522      SR0000308368        PX-2106 (RC)        PA0001087675       PX-3074 (other)   Same artist and album                         X
                                                                                                                                     PX-7137 (PC)                           PX-4684 (PC)      identified on both certificates
Ex. 1764        Suit & Tie featuring JAY Z          Justin Timberlake                        1956      2320      SR0000714855        PX-7802 (PC)        PA0001939563       PX-6498 (PC)      Same artist identified on both
                                                                                                                                     PX-1748 (RC)                                             certificates
Ex. 1765        Summer Love                         Justin Timberlake                        3176      2011      SR0000395943        PX-1630 (RC)        PA0001368885       PX-5037 (PC)      Same artist identified on both                X
                                                                                                                                     PX-7356 (PC)                                             certificates
Ex. 1766        Summerboy                           Lady GaGa                                4739      834       SR0000617841        PX-1885 (RC)        PA0001685365       PX-0925 (RC)      Same artist and album                         X
                                                                                                                                     PX-7439 (PC)                           PX-5349 (PC)      identified on both certificates
Ex. 1767        Summer's End                        Foo Fighters                             1520      1168      SR0000617325        PX-1655 (RC)        PA0001625330       PX-5165 (PC)      Same artist and album                         X
                                                                                                                                     PX-7436 (PC)                                             identified on both certificates
Ex. 1768        Sunburnt Lips                       Luke Bryan                               3448      3133      SR0000728445        PX-7876 (PC)        PA0001884828       PX-6357 (PC)      Same date of first publication                X
                                                                                                                                     PX-1919 (RC)                                             on both certificates
Ex. 1769        Sunday Morning                      Maroon 5                                 4970      1375      SR0000702833        PX-1932 (RC)        PA0001073091       PX-2654 (RC)      Same artist and album                         X
                                                                                                                                     PX-7735 (PC)                           PX-4651 (PC)      identified on both certificates
Ex. 1770        Sunshine & Summertime               Faith Hill                               6453      2321      SR0000374377        PX-3359 (RC)        PA0001290858       PX-3716 (RC)      Same artist and album                         X
                                                                                                                                     PX-7294 (PC)                                             identified on both certificates
Ex. 1771        Superman                            Eminem                                   4084      1910      SR0000317924        PX-2380 (RC)        PA0001073066       PX-2573 (other)   Same artist identified on both                X
                                                                                                                                     PX-7160 (PC)                           PX-4642 (PC)      certificates
Ex. 1772        Superpower                          Beyoncé feat. Frank Ocean                824       2910      SR0000747291        PX-7956 (PC)        PA0001918119       PX-3595 (RC)      Same artist and album                         X
                                                                                                                                     PX-1834 (RC)                                             identified on both certificates
Ex. 1773        Superstar (feat. Matthew Santos)    Lupe Fiasco                              5710      1376      SR0000639320        PX-3302 (RC)        PA0001914364       PX-2924 (RC)      Same artist identified on both                X
                                                                                                                                     PX-7533 (PC)                           PX-6448 (PC)      certificates
Ex. 1774        Superwoman                          Alicia Keys                              40        144       SR0000627148        PX-7485 (PC)        PA0001590140       PX-5098 (PC)      Same artist identified on both                X
                                                                                                                                     PX-1668 (RC)                                             certificates
Ex. 1775        Sure Thing                          Miguel                                   2255      1742      SR0000673073        PX-7640 (PC)        PA0001751394       PX-5675 (PC)      Same artist identified on both                X
                                                                                                                                     PX-1700 (RC)                           PX-2963 (RC)      certificates
Ex. 1776        Surfacing                           Slipknot                                 6210      145       SR0000301094        PX-7118 (PC)        PA0000965864       PX-4480 (PC)      Same artist identified on both                X
                                                                                                                                     PX-3461 (RC)                                             certificates
Ex. 1777        Survival                            Eminem                                   4085      1231      SR0000735450        n/a                 PA0001965032       PX-6525 (PC)      Same artist identified on both
                                                                                                                                                                            PX-3195 (RC)      certificates
Ex. 1778        Survivor Guilt                      Rise Against                             5250      836       SR0000671827        PX-7635 (PC)        PA0001887807       PX-6365 (PC)      Same album identified on both                 X
                                                                                                                                     PX-1993 (RC)                                             certificates


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Cox Submission                Track                                      Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 1779       Swagger Jagger                          Cher Lloyd                              1233      2911      SR0000724733        PX-7857 (PC)        PA0001884104       PX-3627 (RC)   Same artist identified on both
                                                                                                                                       PX-1773 (RC)                                          certificates
Ex. 1780        Sweet Adeline                          Elliott Smith                           3993      1377      SR0000241677        PX-7012 (PC)        PA0000943577       PX-3197 (RC)   Same artist and album                         X
                                                                                                                                       PX-2223 (RC)                           PX-4459 (PC)   identified on both certificates
Ex. 1781        Sweet Love                             Chris Brown                             1263      1169      SR0000711816        PX-7791 (PC)        PA0002094537       PX-6595 (PC)   Same artist and album                         X
                                                                                                                                       PX-1742 (RC)                                          identified on both certificates
Ex. 1782        Sweet Surrender                        Sarah McLachlan                         527       839       SR0000243027        PX-7013 (PC)        PA0000866242       PX-4396 (PC)   Same artist and album                         X
                                                                                                                                                                                             identified on both certificates
Ex. 1783        Sweeter                                Gavin DeGraw                            1616      2322      SR0000412465        PX-8432 (PC)        PA0001763962       PX-3729 (RC)   Same artist identified on both                X
                                                                                                                                       PX-8433 (PC)                                          certificates
Ex. 1784        Sweetest Goodbye                       Maroon 5                                4971      1378      SR0000664148        PX-1937 (RC)        PA0001073095       PX-2658 (RC)   Same artist identified on both
                                                                                                                                       PX-7603 (PC)                           PX-4655 (PC)   certificates
Ex. 1785        Sweetie                                Carly Rae Jepsen                        3831      840       SR0000738473        PX-7924 (PC)        PA0001864023       PX-6278 (PC)   Same artist and album                         X
                                                                                                                                       PX-2146 (RC)                                          identified on both certificates
Ex. 1786        Swerve City                            Deftones                                6338      2912      SR0000719493        PX-7824 (PC)        PA0001849262   PX-3495 (RC)       Same artist and album                         X
                                                                                                                                       PX-3347 (RC)                       PX-3501 (RC)       identified on both certificates
Ex. 1787        Swine                                  Lady Gaga                               4740      3278      SR0000737557        PX-7918 (PC)        PA0001893362 PX-3829 (RC)         Same artist and album                         X
                                                                                                                                       PX-1888 (RC)                       PX-6389 (PC)       identified on both certificates
Ex. 1788        Sydney                                 Puddle Of Mudd                          5124      2913      SR0000347741        PX-7229 (PC)        PA0001225980 PX-8184 (PC)         Same artist and album                         X
                                                                                                                                                                          PX-3981 (RC)       identified on both certificates
Ex. 1789        Take A Bow                             Rihanna                                 5223      1523      SR0000616718        PX-1981 (RC)        PA0001692696 PX-3019 (RC)         Same artist identified on both                X
                                                                                                                                       PX-7432 (PC)                       PX-5367 (PC)       certificates
Ex. 1790        Take A Number                          Stone Sour                              6234      147       SR0000330447        PX-8004 (PC)        PA0001115050 PX-8374 (PC)         Same artist identified on both                X
                                                                                                                                       PX-3466 (RC)                       PX-8375 (PC)       certificates
                                                                                                                                                                          PX-0672 (RC)
Ex. 1791        Take Back The Night                    Justin Timberlake                       1957      3231      SR0000743698        PX-1826 (RC)                       PX-3801 (RC)
                                                                                                                                                           PA0001985062 PA0001896718         Same artist and album
                                                                                                                                       PX-7944 (PC)                       PX-6566 (PC)       identified on both certificates
                                                                                                                                                                          PX-8163 (PC)
Ex. 1792        Take From Me                           Bad Meets Evil                          3713      3082      SR0000678636        PX-2135 (RC)        PA0001808393 PX-3545 (RC)         Same artist identified on both                X
                                                                                                                                       PX-7662 (PC)                       PX-5988 (PC)       certificates
Ex. 1793        Take It All                            Adele                                   709       1911      SR0000673074        PX-1701 (RC)        PA0001734872 PX-2664 (RC)         Same artist identified on both                X
                                                                                                                                       PX-7641 (PC)                       PX-5581 (PC)       certificates
Ex. 1794        Take My Hand                           Simple Plan                             5901      2914      SR0000639323        PX-3459 (RC)        PA0001644614 PX-4014 (RC)         Same artist and album                         X
                                                                                                                                       PX-7534 (PC)                                          identified on both certificates
Ex. 1795        Take Our Time                          TLC                                     628       149       SR0000198743        PX-1413 (RC)        PA0000797830       PX-4352 (PC)   Same artist and album                         X
                                                                                                                                       PX-6963 (PC)                                          identified on both certificates
Ex. 1796        Take You                               Justin Bieber                           4532      3035      SR0000710074        PX-2204 (RC)        PA0001884089       PX-3798 (RC)   Same artist and album                         X
                                                                                                                                       PX-7784 (PC)                                          identified on both certificates
Ex. 1797        Take You Down                          Chris Brown                             3138      2915      SR0000630132        PX-1673 (RC)        PA0001395676       PX-5065 (PC)   Same artist and album                         X
                                                                                                                                       PX-7503 (PC)                                          identified on both certificates
Ex. 1798        Take You Home                          Lloyd                                   4854      2324      SR0000391940        PX-2325 (RC)        PA0001387431       PX-3880 (RC)   Same artist and album                         X
                                                                                                                                       PX-7344 (PC)                                          identified on both certificates
Ex. 1799        Take You Out                           Luther Vandross                         315       554       SR0000298047        PX-7108 (PC)        PA0001068165       PX-4624 (PC)   Same artist and album                         X
                                                                                                                                       PX-1535 (RC)                           PX-1227 (RC)   identified on both certificates
Ex. 1800        Take Your Hand                         Usher                                   355       466       SR0000354784        PX-7243 (PC)        PA0001159167       PX-4830 (PC)   Same artist identified on both                X
                                                                                                                                       PX-1591 (RC)                           PX-0704 (RC)   certificates
Ex. 1801        Taken                                  One Direction                           2401      150       SR0000703645        PX-7737 (PC)        PA0001813025       PX-6018 (PC)   Same album identified on both                 X
                                                                                                                                       PX-1729 (RC)                                          certificates
Ex. 1802        Takin' It There                        Young Jeezy                             5429      325       SR0000616586        PX-7430 (PC)        PA0001640699       PX-5199 (PC)   Same artist identified on both                X
                                                                                                                                       PX-2339 (RC)                           PX-0863 (RC)   certificates
Ex. 1803        Talk About Our Love (Featuring Kanye   Brandy                                  5498      1976      SR0000370673        PX-3289 (RC)        PA0001281568       PX-3616 (RC)   Same artist identified on both                X
                West)                                                                                                                  PX-7283 (PC)                                          certificates
Ex. 1804        Talk Dirty (feat. 2 Chainz)            Jason Derulo                            6537      3232      SR0000763207        PX-3292 (RC)        PA0001924145   PX-3771 (RC)       Same artist identified on both                X
                                                                                                                                       PX-7983 (PC)                       PX-6480 (PC)       certificates
Ex. 1805        Talk That Talk                         Rihanna                                 5224      3185      SR0000689431        PX-1980 (RC)                       PX-6210 (PC)
                                                                                                                                                           PA0001848908 PA0002003919         Same artist identified on both                X
                                                                                                                                       PX-7695 (PC)                       PX-1228 (RC)       certificates
                                                                                                                                                                          PX-6580 (PC)
Ex. 1806        Talkin' 2 Myself                       Eminem                                  4086      1170      SR0000653572        PX-2087 (RC)        PA0001730970 PX-3048 (RC)         Same artist identified on both                X
                                                                                                                                       PX-7573 (PC)                       PX-5521 (PC)       certificates


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                                                                                  Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                              65
  SR - Sound Recording
  MC - Musical Composition
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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                                 Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                   Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Same Compilation
Ex. 1807       Tangled                                Maroon 5                                4972      1379      SR0000702833        PX-1932 (RC)        PA0001073088       PX-2651 (RC)      Same artist and album                         X
                                                                                                                                      PX-7735 (PC)                           PX-4648 (PC)      identified on both certificates
Ex. 1808        Tattoo Of My Name                     Kid Ink                                 2034      2916      SR0000742556        PX-1824 (RC)        PA0001896737       PX-3814 (RC)      Same artist and album                         X
                                                                                                                                      PX-7941 (PC)                                             identified on both certificates
Ex. 1809        Tears Of Joy                          Rick Ross                               5160      3194      SR0000656701        PX-1974 (RC)        PA0001821877       PX-1139 (RC)      Same artist and album                         X
                                                                                                                                      PX-7581 (PC)                           PX-6084 (PC)      identified on both certificates
Ex. 1810        Teenage Dream                         Katy Perry                              3375      2917      SR0000662268        PX-2190 (RC)        PA0001753645       PX-5713 (PC)      Same artist and album                         X
                                                                                                                                      PX-7599 (PC)                                             identified on both certificates
Ex. 1811        Teenage Love Affair                   Alicia Keys                             42        352       SR0000627148        PX-1668 (RC)        PA0001590132       PX-5097 (PC)      Same artist identified on both                X
                                                                                                                                      PX-7485 (PC)                           PX-0814 (RC)      certificates
Ex. 1812        Teeth                                 Lady Gaga                               4741      842       SR0000642917        PX-1886 (RC)        PA0001751976       PX-1019 (RC)      Same artist identified on both                X
                                                                                                                                      PX-7552 (PC)                           PX-5678 (PC)      certificates
Ex. 1813        Tell Me                               Boston                                  917       1019      SR0000239485        PX-1439 (RC)        PA0000863655       PX-2546 (RC)      Same artist and album                         X
                                                                                                                                      PX-7011 (PC)                           PX-4392 (PC)      identified on both certificates
Ex. 1814        Tell Me How To Live                   Capital Cities                          3316      843       SR0000725325        PX-2073 (RC)        PA0001952597       PX-1221 (RC)      Same album identified on both                 X
                                                                                                                                      PX-7858 (PC)                           PX-6518 (PC)      certificates
                                                                                                                                                                             PX-0612 (RC)
Ex. 1815        Tell Me What Your Name Is             Ciara                                   1309      2918      SR0000631011        PX-1675 (RC)        PA0001659058       n/a               Same artist and album                         X
                                                                                                                                      PX-7508 (PC)                                             identified on both certificates
Ex. 1816        Tell Me Why                           Los Lonely Boys                         2117      467       SR0000352465        PX-1587 (RC)        PA0001159608       PX-4857 (PC)      Same artist identified on both                X
                                                                                                                                      PX-7238 (PC)                           PX-0728 (RC)      certificates
Ex. 1817        Tell Somebody                         Chris Brown                             1264      2327      SR0000711816        PX-1742 (RC)        PA0001842284       PX-3635 (RC)      Same artist and album                         X
                                                                                                                                      PX-7791 (PC)                                             identified on both certificates
Ex. 1818        Tell You Something (Nana's Reprise)   Alicia Keys                             43        151       SR0000627148        PX-1668 (RC)        PA0001590108       PX-5090 (PC)      Same artist identified on both                X
                                                                                                                                      PX-7485 (PC)                           PX-0807 (RC)      certificates
Ex. 1819        Tempest                               Deftones                                6339      2919      SR0000719493        PX-3347 (RC)        PA0001849262       PX-3495 (RC)      Same artist and album                         X
                                                                                                                                      PX-7824 (PC)                           PX-3501 (RC)      identified on both certificates
Ex. 1820        Temptations (Explicit)                2Pac                                    3533      946       SR0000198774        PX-2107 (RC)        PA0000875889       PX-4408 (PC)      Same artist and album                         X
                                                                                                                                      PX-6964 (PC)                                             identified on both certificates
Ex. 1821        Ten Thousand Fists                    Disturbed                               6393      2920      SR0000380289        PX-3351 (RC)                       PX-8398 (PC)
                                                                                                                                                          PA0001347236 PA0001296198            Same date of first publication                X
                                                                                                                                      PX-7313 (PC)                       PX-8399 (PC)          on both certificates
                                                                                                                                                                         PX-3503 (RC)
                                                                                                                                                                         PX-8392 (PC)
                                                                                                                                                                         PX-8393 (PC)
Ex. 1822        Ten Times Crazier                     Blake Shelton                           6290      537       SR0000721082        PX-3330 (RC)        PA0001859226 PX-6271 (PC)            Same artist identified on both                X
                                                                                                                                      PX-7831 (PC)                                             certificates
Ex. 1823        Tennis Court                          Lorde                                   4899      283       SR0000726964        PX-1913 (RC)        PA0002007289       PX-6584 (PC)      Same artist identified on both                X
                                                                                                                                      PX-7866 (PC)                                             certificates
Ex. 1824        Tequila Sunrise (Explicit)            Cypress Hill                            1330      1525      SR0000263930        PX-1464 (RC)        PA0000978418       PX-3159 (other)   Same artist and album                         X
                                                                                                                                      PX-7053 (PC)                           PX-4493 (PC)      identified on both certificates
Ex. 1825        Testify                               Common                                  3884      1171      SR0000377106        PX-2112 (PC)        PA0001302101       PX-2766 (RC)      Same artist and album                         X
                                                                                                                                      PX-2287 (RC)                           PX-4982 (PC)      identified on both certificates
                                                                                                                                      PX-7302 (PC)
Ex. 1826        Text Me Texas                         Chris Young                             1296      1745      SR0000726878        PX-1776 (RC)        PA0001878108       PX-2756 (RC)                                                    X
                                                                                                                                      PX-7863 (PC)                           PX-6327 (PC)
Ex. 1827        Thank God For Hometowns               Carrie Underwood                        1162      2455      SR0000700157        PX-1725 (RC)        PA0001848754       PX-3623 (RC)      Same artist and album                         X
                                                                                                                                      PX-7728 (PC)                                             identified on both certificates
Ex. 1828        That Girl                             Justin Timberlake                       1958      2329      SR0000717770        PX-1751 (RC)        PA0001915505       PX-3806 (RC)      Same artist and album                         X
                                                                                                                                      PX-7811 (PC)                                             identified on both certificates
Ex. 1829        That's Gonna Leave A Memory           Easton Corbin                           3930      1172      SR0000709974        PX-2076 (RC)        PA0001910312       PX-3046 (RC)      Same date of first publication                X
                                                                                                                                      PX-7783 (PC)                           PX-6435 (PC)      on both certificates
Ex. 1830        That's How You Like It                Beyoncé feat. Jay-Z                     826       2922      SR0000342236        PX-1578 (RC)        PA0001131257       PX-4763 (PC)      Same artist and album                         X
                                                                                                                                      PX-7212 (PC)                                             identified on both certificates
Ex. 1831        That's My Bitch                       JAY-Z                                   4429      2923      SR0000683714        PX-7680 (PC)        PA0001762034   PX-3790 (RC)          Same artist and album                         X
                                                                                                                                                                         PX-5750 (PC)          identified on both certificates
Ex. 1832        That's My Kind Of Night               Luke Bryan                              3449      3066      SR0000728445        PX-1919 (RC)                       PX-6311 (PC)
                                                                                                                                                          PA0001870880 PA0001967409            Same artist identified on both                X
                                                                                                                                      PX-7876 (PC)                       PX-1222 (RC)          certificates
                                                                                                                                                                         PX-6527 (PC)
Ex. 1833        That's Right                          Ciara feat. Lil Jon                     578       1173      SR0000404728        PX-1640 (RC)        PA0001885587 PX-3160 (other)         Same artist and album                         X
                                                                                                                                      PX-7379 (PC)                       PX-6358 (PC)          identified on both certificates

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Cox Submission                 Track                                  Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)          MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Same Compilation
Ex. 1834       That's What I Need                   SWV                                      335       947       SR0000146905        PX-1400 (RC)        PA0000664035       PX-4259 (PC)       Same artist and album                         X
                                                                                                                                     PX-6921 (PC)                                              identified on both certificates
Ex. 1835        That's What It's Made For           Usher                                    356       3101      SR0000354784        PX-1591 (RC)                       PX-8179 (PC)
                                                                                                                                                         PA0001227183 PA0001159550             Same artist and album                         X
                                                                                                                                     PX-7243 (PC)                       PX-0717 (RC)           identified on both certificates
                                                                                                                                                                        PX-4844 (PC)
Ex. 1836        That's What You Get                 Paramore                                 5820      2924      SR0000631909        PX-3323 (RC)        PA0001595073 PX-3963 (RC)             Same artist and album                         X
                                                                                                                                     PX-7510 (PC)                                              identified on both certificates
Ex. 1837        That's Why I'm Here                 Kenny Chesney                            304       468       SR0000238371        PX-1438 (RC)        PA0000867535       PX-4397 (PC)       Same artist and album                         X
                                                                                                                                     PX-7009 (PC)                                              identified on both certificates
Ex. 1838        The Answer                          Raphael Saadiq                           2633      1020      SR0000677734        PX-1706 (RC)        PA0001752536       PX-3052 (RC)       Same artist identified on both                X
                                                                                                                                     PX-7655 (PC)                           PX-5702 (PC)       certificates
Ex. 1839        The Bed                             Gretchen Wilson                          1654      3102      PA0001245662        PX-1477 (RC)        PA0001227153       PX-8183 (PC)       Same artist and album                         X
                                                                                                                                     PX-8033 (PC)        PA0001159332       PX-4835 (PC)       identified on both certificates
Ex. 1840        The Best Damn Thing                 Avril Lavigne                            78        538       SR0000609671        PX-1648 (RC)        PA0001354251       PX-0794 (RC)       Same artist identified on both                X
                                                                                                                                     PX-7394 (PC)                           PX-5031 (PC)       certificates
Ex. 1841        The Best Day                        George Strait                            4275      1021      SR0000278800        PX-7079 (PC)        PA0001028241       PX-4566 (PC)       Same artist identified on both
                                                                                                                                     PX-2044 (RC)                                              certificates
Ex. 1842        The Bitter End                      Stone Sour                               6235      153       SR0000689549        PX-3468 (RC)        PA0001718944       PX-0965 (RC)       Same artist identified on both                X
                                                                                                                                     PX-7697 (PC)                           PX-5459 (PC)       certificates
Ex. 1843        The Blister Exists                  Slipknot                                 6211      154       SR0000358238        PX-7253 (PC)        PA0001231062       PX-8177 (PC)       Same artist and album                         X
                                                                                                                                     PX-6463 (PC)                           PX-0792 (RC)       identified on both certificates
Ex. 1844        The Bluff (feat. Cam'Ron)           Wiz Khalifa                              5975      3233      SR0000715951        PX-7809 (PC)        PA0001874346       PX-6318 (PC)       Same artist identified on both                X
                                                                                                                                     PX-3297 (RC)                           PX-1186 (RC)       certificates
Ex. 1845        The Boogie Monster                  Gnarls Barkley                           5588      2330      SR0000398345        PX-7361 (PC)        PA0001338253       PX-5022 (PC)       Same album identified on both                 X
                                                                                                                                     PX-3293 (RC)                                              certificates
Ex. 1846        The Boss                            Rick Ross                                5161      1527      SR0000642192        PX-7550 (PC)        PA0001643618       PX-5230 (PC)       Same artist identified on both
                                                                                                                                     PX-1978 (RC)                           PX-2638 (PC)       certificates
Ex. 1847        The Caterpillar                     The Cure                                 6725      1814      SR0000054339        PX-6796 (PC)        PA0000215389       PX-4180 (PC)       Same artist and album
                                                                                                                                     PX-3407 (RC)                                              identified on both certificates
Ex. 1848        The Chair                           George Strait                            4277      1747      SR0000073980        PX-6838 (PC)        PA0000258281       n/a                                                              X
                                                                                                                                     PX-2237 (RC)
Ex. 1849        The Clincher                        Chevelle                                 1242      2331      SR0000363500        PX-7271 (PC)        PA0001253725       PX-4093 (PC)       Same artist and album                         X
                                                                                                                                     PX-1602 (RC)                                              identified on both certificates
Ex. 1850        The Corner                          Common                                   3886      1174      SR0000369647        PX-7280 (PC)        PA0001302098       PX-4980 (PC)       Same artist identified on both
                                                                                                                                     PX-2219 (RC)                           PX-3224 (RC)       certificates
Ex. 1851        The Crow & The Butterfly            Shinedown                                5876      539       SR0000673788        PX-3456 (RC)        PA0001601051       PX-5126 (PC)                                                     X
                                                                                                                                     PX-7644 (PC)                           PX-0834 (RC)
Ex. 1852        The Curse                           Disturbed                                6394      2926      SR0000647297        PX-7562 (PC)        PA0001697242       PX-3509 (RC)       Same artist and album                         X
                                                                                                                                                                                               identified on both certificates
Ex. 1853        The Deepest Blues Are Black         Foo Fighters                             1521      1175      SR0000377762        PX-7304 (PC)        PA0001730830       PX-5507 (PC)       Same artist and album                         X
                                                                                                                                     PX-1609 (RC)                                              identified on both certificates
Ex. 1854        The Definition                      Brandy                                   1015      155       SR0000622255        PX-1665 (RC)        PA0001626025       PX-5173 (PC)       Same artist and album                         X
                                                                                                                                     PX-7474 (PC)                           PX-0855 (RC)       identified on both certificates
Ex. 1855        The Downeaster 'Alexa'              Billy Joel                               875       1748      SR0000109420                            PA0000458309       PX-2496 (Other)    Same artist and album                         X
                                                                                                                                     PX-1377 (RC)                           PX-4224 (PC)       identified on both certificates
Ex. 1856        The Edge Of Glory                   Lady Gaga                                4743      3234      SR0000678409        PX-7658 (PC)        PA0001757746                          Same artist identified on both
                                                                                                                                     PX-1892 (RC)        PA0001751987       PX-5687 (PC)       certificates
Ex. 1857        The End                             Simple Plan                              5903      2021      SR0000639323        PX-7534 (PC)        PA0001644615       PX-5234            Same artist identified on both                X
                                                                                                                                     PX-3459 (RC)                                              certificates
Ex. 1858        The Fad                             Chevelle                                 1243      2332      SR0000407044        PX-7388 (PC)        PA0001387418       PX-3630 (RC)       Same artist and album                         X
                                                                                                                                     PX-1643 (RC)                                              identified on both certificates
Ex. 1859        The Fighter (feat. Ryan Tedder)     Gym Class Heroes                         6163      156       SR0000704012        PX-7741 (PC)        PA0001806416       PX-5956 (PC)       Same artist and album
                                                                                                                                     PX-3421 (RC)                                              identified on both certificates
Ex. 1860        The First Time                      Boys Like Girls                          947       157       SR0000717244        PX-7810 (PC)        PA0001607088       PX-5136 (PC)                                                     X
                                                                                                                                     PX-1750 (RC)
Ex. 1861        The Food                            Common                                   3887      2441      SR0000377106        PX-7302 (PC)        PA0001299025       PX-3649 (RC)       Same artist and album                         X
                                                                                                                                     PX-2112 (RC)        PA0001302104       PX-4974 (PC)       identified on both certificates
Ex. 1862        The Future Is Now                   Future featuring Big Rube                1605      1749      SR0000701457        PX-7734 (PC)        PA0001856271       PX-6253 (PC)       Same artist identified on both                X
                                                                                                                                     PX-1728 (RC)                           PX-2854 (RC)       certificates


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Cox Submission                     Track                                 Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                   Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                      Part of Same Compilation
Ex. 1863       The Game                                Disturbed                               6395      2927      SR0000280324        PX-3353 (RC)        PA0001000622       PX-3505 (RC)      Same album identified on both                 X
                                                                                                                                       PX-7186 (PC)                                             certificates
Ex. 1864        The Great Escape                       Boys Like Girls                         948       557       SR0000724396        PX-7849 (PC)        PA0001165808       PX-8271(PC)       Same artist and album                         X
                                                                                                                                       PX-1771 (RC)                                             identified on both certificates
Ex. 1865        The Grouch                            Green Day                                6511      2928      SR0000244558        PX-7016 (PC)        PA0001059862       PX-4601 (PC)      Same artist and album                         X
                                                                                                                                       PX-3367 (RC)                                             identified on both certificates
Ex. 1866        The Hanging Garden                     The Cure                                6110      1815      SR0000036019        PX-6748 (PC)        PA0000192007       PX-3091 (other)   Same artist identified on both
                                                                                                                                                                              PX-4171 (PC)      certificates
Ex. 1867        The Heretic Anthem                     Slipknot                                6212      158       SR0000330440        PX-3462 (RC)        PA0001102120       PX-4705 (PC)      Same artist and album                         X
                                                                                                                                       PX-7185 (PC)                                             identified on both certificates
Ex. 1868        The Last Time                          Rihanna                                 5228      1177      SR0000372611        PX-7285 (PC)        PA0001328099                         Same artist and album                         X
                                                                                                                                                                              PX-5012 (PC)      identified on both certificates
Ex. 1869        The Lazy Song                          Bruno Mars                              6023      2930      SR0000671062        PX-3290 (RC)        PA0001869989       PX-3605 (RC)      Same artist and album
                                                                                                                                       PX-7627 (PC)                                             identified on both certificates
Ex. 1870        The Letter                             Macy Gray                               2162      1530      SR0000267460        PX-1510 (RC)        PA0000982327       PX-3109 (other)   Same artist and album                         X
                                                                                                                                       PX-7060 (PC)                           PX-4503 (PC)      identified on both certificates
Ex. 1871        The Love Club                          Lorde                                   4900      284       SR0000724529        PX-1911 (RC)        PA0001904440       PX-6432 (PC)      Same artist identified on both                X
                                                                                                                                       PX-7852 (PC)                                             certiciates
Ex. 1872        The More Boys I Meet                   Carrie Underwood                        1164      470       SR0000627157        PX-1670 (RC)        PAu003038078       PX-6617 (PC)                                                    X
                                                                                                                                       PX-7487 (PC)        PA0001590022       PX-0805 (RC)
Ex. 1873        The More I Drink                       Blake Shelton                           6291      160       SR0000406834        PX-3342 (RC)        PA0001993843       PX-6569 (PC)      Same artist and album                         X
                                                                                                                                       PX-7382 (PC)                                             identified on both certificates
Ex. 1874        The Nameless                          Slipknot                                 6213      161       SR0000358238        PX-7253 (PC)        PA0001231062       PX-8177 (PC)      Same artist and album                         X
                                                                                                                                       PX-3463 (RC)                           PX-0792 (RC)      identified on both certificates
Ex. 1875        The News                               Anthony Hamilton                        418       1178      SR0000625444        PX-7484 (PC)        PA0001631133       PX-3070 (other)   Same artist identified on both                X
                                                                                                                                                                              PX-5182 (PC)      certiciates
Ex. 1876        The Night                             Disturbed                                6396      2931      SR0000647297        PX-7562 (PC)        PA0001697227       PX-3506 (RC)      Same artist and album                         X
                                                                                                                                                                                                identified on both certificates
Ex. 1877        The Night Before (Life Goes On)        Carrie Underwood                        1165      2333      SR0000383054        PX-7320 (PC)        PA0001302091       PX-3625 (RC)      Same artist and album                         X
                                                                                                                                       PX-1612 (RC)                                             identified on both certificates
Ex. 1878        The One                               Backstreet Boys                          3077      1531      SR0000275134        PX-7070 (PC)        PA0000940719       PX-4452 (PC)      Same artist and album                         X
                                                                                                                                       PX-1517 (RC)                                             identified on both certificates
Ex. 1879        The One I Love (Featuring Keri Hilson & Timbaland                              5376      3279      SR0000411631        n/a                 PA0001755880       PX-4024 (PC)      Recording artist identified on                X
                D.O.E.)                                                                                                                                                       PX-5724 (PC)      composition certificate
Ex. 1880        The Only Exception                      Paramore                               5821      2934      SR0000657157        PX-7587 (PC)        PA0001676905       PX-3954 (RC)      Same artist and album                         X
                                                                                                                                       PX-3450 (RC)                                             identified on both certificates
Ex. 1881        The Only One                           Hot Chelle Rae                          1681      845       SR0000412466        PX-8434 (PC)        PA0001807094       PX-1101 (RC)      Same album identified on both                 X
                                                                                                                                       PX-8435 (PC)                           PX-5962 (PC)      certificates
Ex. 1882        The Only Way                           Cypress Hill                            1331      573       SR0000384639        PX-7324 (PC)        PA0001163482       PX-8254 (PC)      Same artist and album                         X
                                                                                                                                       PX-1614 (RC)                                             identified on both certificates
Ex. 1883        The Park                               Feist                                   4162      1948      SR0000406936        PX-7385 (PC)        PA0001692751       PX-2825 (RC)      Same artist identified on both                X
                                                                                                                                       PX-2388 (RC)                           PX-5368 (PC)      certificates
Ex. 1884        The Point Of It All                    Anthony Hamilton                        419       540       SR0000625444        PX-7484 (PC)        PA0001631133       PX-3070 (other)   Same artist identified on both                X
                                                                                                                                                                              PX-5182 (PC)      certificates
Ex. 1885        The Pretender                          Foo Fighters                            1523      1179      SR0000748786        PX-7962 (PC)        PA0001623649       PX-5154 (PC)      Same artist identified on both
                                                                                                                                       PX-1837 (RC)                                             certificates
Ex. 1886        The Queen                              Lady Gaga                               4745      3236      SR0000678406        PX-7657 (PC)        PA0001757748       PX-5729 (PC)      Same artist and album                         X
                                                                                                                                       PX-1887 (RC)        PA0001751984       PX-1024 (RC)      identified on both certificates
                                                                                                                                                                              PX-5684 (PC)
Ex. 1887        The Rain                              Akon                                     3591      1750      SR0000610156        PX-2119 (RC)        PA0001396083       PX-5074 (PC)      Same artist and album                         X
                                                                                                                                       PX-2415 (RC)                                             identified on both certificates
                                                                                                                                       PX-7397 (PC)
Ex. 1888        The Real Slim Shady                    Eminem                                  4091      2935      SR0000293541        PX-2228 (RC)        PA0001040874       PX-4586 (PC)      Same artist identified on both
                                                                                                                                       PX-7103 (PC)                                             certificates
Ex. 1889        The Recession                          Young Jeezy                             5430      472       SR0000616586        PX-2339 (RC)        PA0001640694       PX-5197 (PC)      Same artist identified on both                X
                                                                                                                                       PX-7430 (PC)                           PX-0861 (RC)      certificates
Ex. 1890        The Red                               Chevelle                                 1244      2936      PA0001060682        PX-4605 (PC)        PA0001859504       PX-3569 (RC)      Same artist identified on both
                                                                                                                                       PX-1467 (RC)                                             certificates
Ex. 1891        The Reunion                           Bad Meets Evil                           3714      1180      SR0000678636        PX-2135 (RC)        PA0001784195       PX-5862 (PC)      Same date of first publication                X
                                                                                                                                       PX-7662 (PC)        PA0001842406       PX-6182 (PC)      on both certificates

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                                                                                  Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
  RC - Registration Certificate                                                                                              68
  SR - Sound Recording
  MC - Musical Composition
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                                                                                                  Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                    Track                                    Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                   Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                        Part of Same Compilation
Ex. 1892       The River                                 Imagine Dragons                         4371      1181      SR0000707482        PX-2052 (RC)        PA0001822211       PX-2876 (RC)      Same artist and album                         X
                                                                                                                                         PX-7766 (PC)                           PX-6099 (PC)      identified on both certificates
Ex. 1893        The Scene Is Dead; Long Live The         Cobra Starship                          6148      285       SR0000657140        PX-3413 (RC)        PA0001662732       PX-5297 (PC)      Same date of first publication                X
                Scene                                                                                                                    PX-7586 (PC)                           PX-0903 (RC)      on both certificates
Ex. 1894        The Shot Heard 'Round The World          Boys Like Girls                         949       162       SR0000643654        PX-7554 (PC)        PA0001735286       PX-5590 (PC)                                                    X
                                                                                                                                         PX-1684 (RC)                           PX-0993 (RC)
Ex. 1895        The Show Goes On                         Lupe Fiasco                             5712      3237      SR0000704469        PX-3291 (RC)        PA0001750275       PX-5665 (PC)      Same artist and album                         X
                                                                                                                                         PX-7747 (PC)        PA0001735709       PX-5591 (PC)      identified on both certificates
Ex. 1896        The Sky's The Limit                      Jason Derulo                            6538      3265      SR0000685175        PX-3380 (RC)        PA0001742577       PX-5638 (PC)      Same artist and album                         X
                                                                                                                                         PX-7683 (PC)        PA0001813221       PX-6027 (PC)      identified on both certificates
Ex. 1897        The Song Remains The Same                Led Zeppelin                            5690      2937      N5660               PX-3328 (other)     EU0000402444       PX-8141 (PC)      Same artist and album                         X
                                                                                                                                                             RE0000841595       PX-4100 (PC)      identified on both certificates
                                                                                                                                                             EP0000316464       PX-8102 (PC)
                                                                                                                                                             RE0000840966       PX-8142 (PC)
Ex. 1898        The Star Spangled Banner / 4th of July   Boston                                  918       1024      SR0000239485        PX-1439 (RC)        PA0000863656       PX-2547 (RC)      Same artist and album                         X
                Reprise                                                                                                                  PX-7011 (PC)                           PX-4393 (PC)      identified on both certificates
Ex. 1899        The Street Parade                        The Clash                               2856      1025      SR0000024334        PX-1281 (RC)        PA0000112420       PX-2466 (other)   Same artist and album                         X
                                                                                                                                         PX-6712 (PC)                           PX-4160 (PC)      identified on both certificates
Ex. 1900        The Sun                                  Maroon 5                                4974      1381      SR0000702833        PX-1932 (RC)        PA0001073089       PX-2652 (RC)      Same artist and album                         X
                                                                                                                                         PX-7735 (PC)                           PX-4649 (PC)      identified on both certificates
Ex. 1901        The Sun Will Rise                        Kelly Clarkson                          1996      846       SR0000693113        PX-8462 (PC)        PA0001807177       PX-5965 (PC)      Same date of first publication                X
                                                                                                                                         PX-8463 (PC)                                             on both certificates
                                                                                                                                         PX-1717 (RC)
Ex. 1902        The Sweet Escape                         Gwen Stefani                            4323      847       SR0000400614        PX-2304 (RC)        PA0001166379       PX-8282 (PC)      Same artist identified on both                X
                                                                                                                                         PX-7374 (PC)                           PX-0775 (RC)      certificates
Ex. 1903        The Time (Dirty Bit)                     Black Eyed Peas                         3780      848       SR0000717504        PX-2357 (other)     PA0001796440       PX-5917 (PC)
Ex. 1904        The Title                                Ciara                                   3151      1993      SR0000355316        PX-1594 (RC)        PA0001263488       PX-3643 (RC)      Same artist and album                         X
                                                                                                                                         PX-7247 (PC)                           PX-4945 (PC)      identified on both certificates
Ex. 1905        The War Is Over                          Kelly Clarkson                          1997      849       SR0000693113        PX-8462 (PC)        PA0001807174       PX-5964 (PC)      Same date of first publication                X
                                                                                                                                         PX-8463 (PC)                                             on both certificates
                                                                                                                                         PX-1717 (RC)
Ex. 1906        The Water                                Feist                                   4163      1949      SR0000406936        PX-2388 (RC)        PA0001692757       PX-3126 (other)   Same artist and album                         X
                                                                                                                                         PX-7385 (PC)                           PX-5369 (PC)      identified on both certificates
Ex. 1907        The Way                                  Ariana Grande                           3648      892       SR0000722427        PX-7838 (PC)        PA0001903036       PX-6431 (PC)      Same date of first publication
                                                                                                                                         PX-2141 (RC)                                             on both certificates
Ex. 1908        The Way He Was Raised                    Josh Turner                             4492      1752      SR0000621055        PX-7467 (PC)        PA0001642914       PX-5226 (PC)      Same artist and album                         X
                                                                                                                                         PX-2062 (RC)                           PX-2436 (RC)      identified on both certificates
Ex. 1909        The Way You Love Me                      Faith Hill                              6459      3036      SR0000276629        PX-7075 (PC)        PA0000977102       PX-3707(RC)                                                     X
Ex. 1910        The Wedding Song                         Kenny G                                 2026      2939      SR0000709272        PX-7776 (PC)        PA0000627930       PX-4246 (PC)      Same artist and album                         X
                                                                                                                                         PX-1737 (RC)                                             identified on both certificates
Ex. 1911        The Wicked End                           Avenged Sevenfold                       6247      286       SR0000374368        PX-7293 (PC)        PA0001162014       PX-4940 (PC)      Same artist and album                         X
                                                                                                                                         PX-3337 (RC)                           PX-0763 (RC)      identified on both certificates
Ex. 1912        The World Will Never Do (feat. B.o.B)    Cobra Starship                          6149      287       SR0000657140        PX-3413 (RC)        PA0001662901       PX-5301 (PC)      Same date of first publication                X
                                                                                                                                         PX-7586 (PC)                                             on both certificates
Ex. 1913        The Worst Day Ever                       Simple Plan                             5904      2940      SR0000351060        PX-3457 (RC)        PA0001084655       PX-4006 (RC)      Same artist and album                         X
                                                                                                                                         PX-7235 (PC)                                             identified on both certificates
Ex. 1914        Then                                     Brad Paisley                            971       2456      SR0000680448        PX-1712 (RC)        PA0001703715       PX-5414 (PC)      Same artist and album
                                                                                                                                         PX-7671 (PC)                                             identified on both certificates
Ex. 1915        There Goes My Baby                       Usher                                   2915      473       SR0000652023        PX-1688 (RC)        PA0001716542       PX-0962 (RC)      Same artist identified on both                X
                                                                                                                                         PX-7568 (PC)                           PX-5456 (PC)      certificates
Ex. 1916        There Will Come A Day                    Faith Hill                              6460      1383      SR0000276629        PX-7075 (PC)        PA0001104206       PX-4706 (PC)      Same artist and album                         X
                                                                                                                                                                                                  identified on both certificates
Ex. 1917        There's A Thug In My Life                Rihanna                                 5229      948       SR0000372611        PX-7285 (PC)        PA0001162730       PX-3093 (other)   Same artist and album                         X
                                                                                                                                                                                                  identified on both certificates
Ex. 1918        These Hard Times                         Matchbox Twenty                         5770      163       SR0000633456        PX-3433 (RC)        PA0001588614       PX-0799 (RC)                                                    X
                                                                                                                                         PX-7515 (PC)                           PX-5084 (PC)
Ex. 1919        These Things                             Fuel                                    1578      1026      SR0000342237        PX-1579 (RC)        PA0001245160       PX-2628 (PC)      Same artist and album                         X
                                                                                                                                         PX-7213 (PC)                                             identified on both certificates
Ex. 1920        These Worries                            Kid Cudi                                4680      850       SR0000696989        PX-2318 (RC)        PA0001750006       PX-1014 (RC)      Same artist and album                         X
                                                                                                                                         PX-7708 (PC)                           PX-5661 (PC)      identified on both certificates

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                                                                                                 Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                 Track                                      Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                   Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                       Part of Same Compilation
Ex. 1921       They Don't Give A F**** About Us         2Pac                                    3534      1755      SR0000323532        PX-2212 (RC)        PA0001115097       PX-2584 (other)   Same artist and album                         X
                                                                                                                                        PX-7175 (PC)                           PX-4745 (PC)      identified on both certificates
Ex. 1922         They Say                               Common                                  3888      1183      SR0000377106        PX-2112 (RC)        PA0001302106       PX-2767 (RC)      Same artist identified on both                X
                                                                                                                                        PX-2287 (other)                        PX-4986 (PC)      certificates
                                                                                                                                        PX-7302 (PC)
Ex. 1923         Things I'll Never Say                  Avril Lavigne                           428       1756      SR0000312786        PX-1556 (RC)        PA0001101513       PX-2579 (other)   Same artist and album                         X
                                                                                                                                        PX-7147 (PC)                           PX-4702 (RC)      identified on both certificates
Ex. 1924         Things That Made Me Change             Macy Gray                               2163      1534      SR0000336638        PX-1576 (RC)        PA0001131224       PX-2941 (RC)      Same album identified on both                 X
                                                                                                                                        PX-7200 (PC)                           PX-4757 (PC)      certificates
Ex. 1925         Things We Lost in the Fire (Abbey Road Bastille                                3260      1914      SR0000753441        PX-2147 (RC)        PA0001915726       PX-2713 (RC)                                                    X
                 Sessions)                                                                                                              PX-2408 (RC)                           PX-6456 (PC)
                                                                                                                                        PX-7972 (PC)
Ex. 1926         Think                                  Puddle Of Mudd                          5125      2943      SR0000347741        PX-7229 (PC)        PA0001204554       PX-8019 (PC)      Same artist identified on both                X
                                                                                                                                                            PA0001225979       PX-8191 (PC)      certificates
                                                                                                                                                                               PX-3983 (RC)
                                                                                                                                                                               PX-8020 (PC)
                                                                                                                                                                               PX-8185 (PC)
Ex. 1927         Think I'm Crazy                        Chamillionaire                          3850      1757      SR0000381901        PX-2114 (PC)        PA0001167383       PX-2619 (other)   Same artist and album                         X
                                                                                                                                        PX-7316 (PC)                           PX-8294 (PC)      identified on both certificates
Ex. 1928         Think Like A Man                       Jennifer Hudson & Ne-Yo feat. Rick      1818      165       SR0000712017        PX-1743 (RC)        PA0001820629       PX-6071 (PC)      Same album identified on both
                                                        Ross                                                                            PX-7792 (PC)                                             certificates
Ex. 1929         Think Twice                            Céline Dion                             1218      1384      SR0000191558        PX-1412 (RC)        PA0000681510       PX-4269 (PC)      Same artist and album                         X
                                                                                                                                        PX-6959 (PC)                                             identified on both certificates
Ex. 1930         Think You're Gonna Like It             SWV                                     336       949       SR0000146905        PX-1400 (RC)        PA0000664034       PX-2512 (other)   Same artist and album                         X
                                                                                                                                        PX-6921 (PC)                           PX-4258 (PC)      identified on both certificates
Ex. 1931         Thinkin' About You                     Avant                                   3691      1535      SR0000308368        PX-2106 (RC)        PA0001087669       PX-3073 (other)   Same artist and album                         X
                                                                                                                                        PX-7137 (PC)                           PX-4678 (PC)      identified on both certificates
Ex. 1932         Thinking About You                     Puddle Of Mudd                          5126      2945      SR0000618742        PX-1966 (RC)        PA0001657895       PX-3978 (RC)      Same artist and album                         X
                                                                                                                                        PX-7445 (PC)                                             identified on both certificates
Ex. 1933         This Is 50                             50 Cent                                 3563      1758      SR0000366051        PX-7275 (PC)        PA0001298490       PX-4963 (PC)      Same artist and album                         X
                                                                                                                                        PX-2111 (RC)                           PX-2661 (other)   identified on both certificates
Ex. 1934         This Is Letting Go                     Rise Against                            5251      852       SR0000671827        PX-7635 (PC)        PA0001887807       PX-6365 (PC)      Same album identified on both                 X
                                                                                                                                        PX-1993 (RC)                                             certificates
Ex. 1935         This Is Me                             Faith Hill                              6461      1184      SR0000321377        PX-7165 (PC)        PA0001131262       PX-4764 (PC)      Same artist and album                         X
                                                                                                                                        PX-3358 (RC)                                             identified on both certificates
Ex. 1936         This Is The Day                        The Cranberries                         5332      1966      SR0000303013        PX-2015 (RC)        PA0001277414       PX-4949 (PC)      Same artist and album                         X
                                                                                                                                        PX-7123 (PC)                                             identified on both certificates
Ex. 1937         This Kiss                              Carly Rae Jepsen                        3832      474       SR0000709280        n/a                 PA0001864024       PX-6279 (PC)      Same artist identified on both
                                                                                                                                                                                                 certificates
Ex. 1938         This Love                              Maroon 5                                4975      1385      SR0000348508        PX-1938 (RC)        PA0001073085       PX-3166 (RC)      Same artist identified on both
                                                                                                                                        PX-7233 (PC)                           PX-4645 (PC)      certificates
Ex. 1939         This Moment                            Disturbed                               6397      2947      SR0000695381        PX-3352 (RC)        PA0001599219       PX-3514 (RC)      Same artist and album                         X
                                                                                                                                        PX-7702 (PC)                                             identified on both certificates
Ex. 1940         This Time                              Avant                                   3693      1536      SR0000281220        PX-2105 (RC)        PA0001025469       PX-2567 (other)   Same artist and album                         X
                                                                                                                                        PX-7189 (PC)                           PX-4565 (PC)      identified on both certificates
Ex. 1941         Threadbare                             Stone Sour                              6236      166       SR0000689549        PX-3468 (RC)        PA0001718936       PX-5458 (PC)      Same artist identified on both                X
                                                                                                                                        PX-7697 (PC)                           PX-0964 (RC)      certificates
Ex. 1942         Through With You                       Maroon 5                                4976      1386      SR0000702833        PX-1932 (RC)        PA0001073093       PX-2656 (RC)      Same artist and album                         X
                                                                                                                                        PX-7735 (PC)                           PX-4653 (PC)      identified on both certificates
Ex. 1943         Throw This Money On You (Explicit)     R. Kelly                                2609      1537      SR0000737848        PX-1807 (RC)        PA0001934439       PX-2447 (RC)      Same artist and album                         X
                                                                                                                                        PX-7919 (PC)                           PX-6494 (PC)      identified on both certificates
Ex. 1944         Throw Your Set In The Air              Cypress Hill                            1332      1538      SR0000215690        PX-6985 (PC)        PA0000864778       PX-4395 (PC)      Same artist and album
                                                                                                                                        PX-1426 (RC)                                             identified on both certificates
Ex. 1945         Throwback                              Usher                                   357       167       SR0000354784        PX-7243 (PC)        PA0001159346       PX-4837 (PC)      Same artist and album                         X
                                                                                                                                        PX-1591 (RC)                           PX-0710 (RC)      identified on both certificates
Ex. 1946         Throwed                                Chris Brown                             3139      2012      SR0000630132        PX-7503 (PC)        PA0001719705       PX-5464 (PC)      Same artist and album                         X
                                                                                                                                        PX-1673 (RC)                                             identified on both certificates
Ex. 1947         Thug Style                             Ciara                                   3152      2339      SR0000355316        PX-7247 (PC)        PA0001263491       PX-3581 (RC)      Same artist and album                         X
                                                                                                                                        PX-1594 (RC)                                             identified on both certificates


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                                                                                                 Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                Track                                      Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                       Part of Same Compilation
Ex. 1948       Thugz Mansion (Explicit)                2Pac                                     3535      1759      SR0000323532        PX-2212 (RC)        PA0001115087       PX-4743 (PC)      Same artist identified on both                X
                                                                                                                                        PX-7175 (PC)                                             certificates
Ex. 1949         Tickets                               Maroon 5                                 4977      1387      SR0000705167        PX-1928 (RC)        PA0001810805       PX-2958 (RC)      Same date of first publication                X
                                                                                                                                        PX-7755 (PC)                           PX-6011 (PC)      on both certificates
Ex. 1950         Ticks                                 Brad Paisley                             105       289       SR0000610946        PX-7398 (PC)        PA0001167818       PX-8207 (PC)      Same artist and album                         X
                                                                                                                                        PX-1650 (RC)                           PX-0791 (RC)      identified on both certificates
Ex. 1951         Tik Tik Boom                          Britney Spears feat. T.I.                1036      853       SR0000738040        PX-7922 (PC)        PA0001917951       PX-6466 (PC)      Same artist identified on both                X
                                                                                                                                        PX-1810 (RC)                                             certificates
Ex. 1952         Til I Forget About You                Big Time Rush                            844       542       SR0000668082        PX-7613 (PC)        PA0001733313       PX-5558 (PC)      Same artist and album                         X
                                                                                                                                        PX-1694 (RC)                                             identified on both certificates
Ex. 1953         Til It's Gone                         Britney Spears                           1033      854       SR0000738040        PX-7922 (PC)        PA0001917966       PX-6468 (PC)      Same artist identified on both                X
                                                                                                                                        PX-1810 (RC)                                             certificates
Ex. 1954         Till I Die (Explicit)                 Chris Brown feat. Big Sean & Wiz         1269      2340      SR0000711816        PX-7791 (PC)        PA0001842278       PX-3636 (RC)      Same artist and album                         X
                                                       Khalifa                                                                          PX-1742 (RC)                                             identified on both certificates
Ex. 1955         Till I Get There                      Lupe Fiasco                              5713      2948      SR0000704469        PX-7747 (PC)        PA0001739115       PX-5615 (PC)      Same artist identified on both                X
                                                                                                                                        PX-3291 (RC)                                             certificates
Ex. 1956         Timber                                Pitbull feat. Ke$ha                      2579      2949      SR0000737322        PX-7916 (PC)        PA0001868393       PX-3968 (RC)      Same artist identified on both
                                                                                                                                        PX-1806 (RC)                                             certificates
Ex. 1957         Time                                  Wiz Khalifa                              5977      855       SR0000715951        PX-7809 (PC)        PA0001874359       PX-1188 (RC)      Same artist identified on both                X
                                                                                                                                        PX-3297 (RC)                           PX-6321 (PC)      certificates
Ex. 1958         Time Is Ticking Out                   The Cranberries                          5333      1967      SR0000303013        PX-7123 (PC)        PA0001277412       PX-4948 (PC)      Same artist and album                         X
                                                                                                                                        PX-2015 (RC)                                             identified on both certificates
Ex. 1959         Time To Say Goodbye                   Simple Plan                              5905      2951      SR0000639323        PX-7534 (PC)        PA0001644605       PX-4016 (RC)      Same artist and album                         X
                                                                                                                                        PX-3459 (RC)                                             identified on both certificates
Ex. 1960         TINFOIL                               Linkin Park                              6585      1540      SR0000708311        PX-7770 (PC)        PA0001805750       PX-2915 (RC)      Same album identified on both                 X
                                                                                                                                        PX-3386 (RC)                           PX-5945 (PC)      certificates
Ex. 1961         Tiny Little Bows                      Carly Rae Jepsen                         3833      476       SR0000738473        PX-7924 (PC)        PA0001820569       PX-6070 (PC)      Same artist identified on both                X
                                                                                                                                        PX-2146 (RC)                                             certificates
Ex. 1962         Tiny Little Robots                    Cage The Elephant                        1122      856       SR0000631003        PX-7507 (PC)        PA0001794291       PX-1093 (RC)      Same album identified on both                 X
                                                                                                                                        PX-1674 (RC)                           PX-5914 (PC)      certificates
Ex. 1963         Tiptoe                                Imagine Dragons                          4372      1186      SR0000707482        PX-7766 (PC)        PA0001816000       PX-2877 (RC)      Same artist identified on both                X
                                                                                                                                        PX-2052 (RC)                           PX-6039 (PC)      certificates
Ex. 1964         Tired                                 Adele                                    711       1915      SR0000616701        PX-7431 (PC)        PA0001975712       PX-6548 (PC)      Same artist identified on both                X
                                                                                                                                        PX-1654 (RC)                                             certificates
Ex. 1965         Tired Of Runnin'                      Akon                                     3592      1760      SR0000610156        PX-7397 (PC)        PA0001396084       PX-2668 (RC)      Same artist identified on both                X
                                                                                                                                        PX-2119 (RC)                           PX-5075 (PC)      certificates
                                                                                                                                        PX-2415 (RC)
Ex. 1966         TKO                                   Justin Timberlake                        1959      1998      SR0000743696        PX-7943 (PC)        PA0001896712       PX-3802 (RC)      Same artist identified on both                X
                                                                                                                                        PX-1825 (RC)                           PX-6407 (PC)      certificates
Ex. 1967         To Care (Like You)                    James Blake                              4418      1916      SR0000673339        PX-7643 (PC)        PA0001824177       PX-2888 (RC)      Same artist identified on both                X
                                                                                                                                        PX-2056 (RC)                           PX-6104 (PC)      certificates
Ex. 1968         To The Moon                           Miguel                                   2257      1761      SR0000673073        PX-7640 (PC)        PA0001751378       PX-2964 (RC)      Same artist identified on both                X
                                                                                                                                        PX-1700 (RC)                           PX-5673 (PC)      certificates
Ex. 1969         Tommy Gun                             The Clash                                2859      1917      SR0000006482        PX-1255 (other)     PA0000044736       PX-2451 (other)   Same artist identified on both                X
                                                                                                                                        PX-6671 (PC)                           PX-4135 (PC)      certificates
Ex. 1970         Tomorrow                              Avril Lavigne                            429       1762      SR0000312786        PX-1556 (RC)        PA0001101511       PX-2702 (other)   Same artist identified on both                X
                                                                                                                                        PX-7147 (PC)                           PX-4700 (PC)      certificates
Ex. 1971         Tomorrow Tomorrow                     Elliott Smith                            3994      1388      SR0000241677        PX-2223 (RC)        PA0000943576       PX-3150 (other)   Same artist identified on both                X
                                                                                                                                        PX-7012 (PC)                           PX-4458 (PC)      certificates
Ex. 1972         Tomorrow In The Bottle (Featuring Chad Timbaland                               5378      2341      SR0000411631        n/a                 PA0001780008       PX-5834 (PC)      Same album identified on both                 X
                 Kroeger & Sebastian)                                                                                                                                                            certificates
Ex. 1973         Tongue Tied                            Grouplove                               5607      2953      SR0000704081        PX-7744 (PC)        PA0001762863       PX-8404 (PC)      Same artist identified on both                X
                                                                                                                                        PX-3418 (RC)                           PX-3560 (RC)      certificates
Ex. 1974         Tonite                                Air Supply                               386       1389      SR0000027866        PX-6719 (PC)        PA0000106854       PX-2667 (RC)      Same artist identified on both                X
                                                                                                                                                                               PX-4156 (PC)      certificates
Ex. 1975         Too Bad                               Nickelback                               6183      2342      SR0000330446        PX-8003 (PC)        PA0001103820       PX-3924 (RC)      Same artist identified on both                X
                                                                                                                                                                                                 certificates
Ex. 1976         Took My Love                          Pitbull Featuring Red Foo, Vein & David 2595       859       SR0000681904        PX-7677 (PC)        PA0001781001       PX-5853 (PC)      Same artist identified on both                X
                                                       Rush                                                                             PX-1713 (RC)                           PX-1069 (RC)      certificates


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  RC - Registration Certificate                                                                                               71
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                                                                                                  Schedule 1 - Derivative Works with Unique Track Names



Cox Submission                  Track                                Artist                      PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                        Part of Same Compilation
Ex. 1977       Top of the World                     Dixie Chicks                                 1384      1764      SR0000314722        PX-7150 (PC)        PA0001114803       PX-4740 (PC)      Same artist identified on both                X
                                                                                                                                         PX-1559 (RC)                           PX-2582 (other)   certificates
Ex. 1978        Torn                                Disturbed                                    6398      2954      SR0000647297        PX-7562 (PC)        PA0001697247       PX-3565 (RC)      Same artist identified on both                X
                                                                                                                                                                                                  certificates
Ex. 1979        Torn Down                           Brandy                                       1016      860       SR0000622255        PX-7474 (PC)        PA0001821291       PX-6075 (PC)                                                    X
                                                                                                                                         PX-1665 (RC)                           PX-1131 (RC)
Ex. 1980        Touch My Body                       Mariah Carey                                 4930      2955      SR0000612879        PX-1926 (RC)        PA0001769539       PX-3902 (RC)      Same artist identified on both
                                                                                                                                         PX-8442 (PC)                                             certificates
                                                                                                                                         PX-8443 (PC)
Ex. 1981        Touch The Sky                       Kanye West                                   4609      2344      SR0000372867        PX-7287 (PC)        PA0001299042       PX-4976 (PC)      Same artist and album                         X
                                                                                                                                                                                                  identified on both certificates
Ex. 1982        Trailerhood                         Josh Turner                                  4494      1765      SR0000621055        PX-2062 (RC)        PA0001642900       PX-3113 (other)   Same album identified on both                 X
                                                                                                                                         PX-7467 (PC)                           PX-5224 (PC)      certificates
Ex. 1983        Train In Vain                       The Clash                                    2860      1918      SR0000293426        PX-1532 (RC)        PA0000066125       PX-2459 (other)   Same artist identified on both                X
                                                                                                                                         PX-7102 (PC)                           PX-4147 (PC)      certificates
Ex. 1984        Trampled Underfoot                  Led Zeppelin                                 5691      2957      N21799              PX-8049 (other)     Eu0000557531       PX-8025 (other)                                                 X
Ex. 1985        Transformer                         Gnarls Barkley                               5590      2345      SR0000398345        PX-3293 (RC)        PA0001338256       PX-3744 (RC)      Same artist identified on both                X
                                                                                                                                         PX-7361 (PC)                                             certificates
Ex. 1986        Trashed And Scattered               Avenged Sevenfold                            6248      290       SR0000374368        PX-3337 (RC)        PA0001162013       PX-0762 (RC)      Same album identified on both                 X
                                                                                                                                         PX-7293 (PC)                           PX-4939 (PC)      certificates
Ex. 1987        Treading Water                      Alex Clare                                   3599      1919      SR0000700527        PX-2201 (RC)        PA0001806293       PX-2670 (RC)      Same artist identified on both                X
                                                                                                                                         PX-7729 (PC)                           PX-5954 (PC)      certificates
Ex. 1988        Treasure                            Bruno Mars                                   5514      3054      SR0000715738        PX-3305 (RC)        PA0001869830       PX-3604 (RC)      Same artist identified on both                X
                                                                                                                                         PX-7807 (PC)                                             certificates
Ex. 1989        Treat Me Like Your Money            Macy Gray                                    4927      1541      SR0000395382        PX-2326 (RC)        PA0001167777       PX-2942 (RC)      Same album identified on both                 X
                                                                                                                                         PX-7352 (PC)                           PX-8211 (PC)      certificates
Ex. 1990        Triple Beam Dream                   Rick Ross                                    5165      3148      SR0000706411        PX-1976 (RC)        PA0001868417       PX-3996 (RC)      Same album identified on both                 X
                                                                                                                                         PX-7762 (PC)                           PX-6301 (PC)      certificates
Ex. 1991        Triumph                             Pitbull featuring Avery Storm                2587      864       SR0000641804        PX-1683 (RC)        PA0001733388       PX-5567 (PC)      Same artist identified on both                X
                                                                                                                                         PX-7542 (PC)                                             certificates
Ex. 1992        Trucker Hat                         Bowling For Soup                             3093      1542      SR0000361081        PX-1597 (RC)        PA0001159761       PX-2588 (other)   Same album identified on both                 X
                                                                                                                                         PX-7260 (PC)                           PX-4862 (PC)      certificates
Ex. 1993        TRUE                                Brandy                                       1017      3238      SR0000622255        PX-1665 (RC)        PA0001821294       PX-1132 (RC)      Same artist and album                         X
                                                                                                                                         PX-7474 (PC)        PA0001882758       PX-6076 (PC)      identified on both certificates
                                                                                                                                                                                PX-3615 (RC)
                                                                                                                                                                                PX-6347 (PC)
Ex. 1994        True Believers                      Darius Rucker                                3335      1767      SR0000724693        PX-2143 (RC)        PA0001864805       PX-6287 (PC)      Same artist identified on both                X
                                                                                                                                         PX-7855 (PC)                                             certificates
Ex. 1995        Trumpet Lights                      Chris Brown feat. Sabrina Antionette         1275      2347      SR0000711816        PX-7791 (PC)        PA0001842283       PX-3638 (RC)      Same artist identified on both                X
                                                                                                                                         PX-1742 (RC)                                             certificates
Ex. 1996        Truth Gonna Hurt You                Future                                       1600      3037      SR0000701457        PX-7734 (PC)        PA0001852655       PX-3725 (RC)      Same artist identified on both                X
                                                                                                                                         PX-1728 (RC)                                             certificates
Ex. 1997        Truth Hurts                         Usher                                        358       3058      SR0000354784        PX-7243 (PC)        PA0001227182       PX-8180 (PC)      Same artist identified on both                X
                                                                                                                                         PX-1591 (RC)        PA0001159551       PX-4845 (PC)      certificates
Ex. 1998        Truth No. 2                         Dixie Chicks                                 1386      1768      SR0000314722        PX-7150 (PC)        PA0001114802       PX-3043 (RC)      Same artist identified on both                X
                                                                                                                                         PX-1559 (RC)                           PX-4739 (PC)      certificates
Ex. 1999        Truthfully                          Brandy                                       5501      950       SR0000256701        PX-7040 (PC)        PA0001147359       PX-2733 (RC)      Same artist and album                         X
                                                                                                                                         PX-3334 (RC)                           PX-4784 (PC)      identified on both certificates
Ex. 2000        Trying                              Lifehouse                                    4833      477       SR0000289389        PX-7095 (PC)        PA0001051657       PX-0644 (RC)      Same album identified on both                 X
                                                                                                                                         PX-1904 (RC)                           PX-4594 (PC)      certificates
                                                                                                                                         PX-2275 (RC)
Ex. 2001        TTG (Trained To Go) (feat. French   Waka Flocka Flame                            5960      2348      SR0000672357        PX-7638 (PC)        PA0001739067       PX-5609 (PC)      Same artist identified on both                X
                Montana, YG Hootie, Joe Moses &                                                                                          PX-3299 (RC)                                             certificates
                Baby Bomb)
Ex. 2002        Tulsa Texas                         Easton Corbin                                3932      1390      SR0000709974        PX-7783 (PC)        PA0001910314       PX-6436 (PC)      Same date of first publication                X
                                                                                                                                         PX-2076 (RC)                           PX-3045 (RC)      on both certificates
Ex. 2003        Tumult                              Stone Sour                                   6237      168       SR0000330447        PX-8004 (PC)        PA0001157849       PX-8386 (PC)      Same artist identified on both                X
                                                                                                                                         PX-3466 (RC)                           PX-8387 (PC)      certificates
                                                                                                                                                                                PX-4790 (PC)


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Cox Submission                   Track                                Artist                 PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 2004       Tunnel Vision                        Justin Timberlake                        1960      2349      SR0000717770        PX-7811 (PC)        PA0001915506       PX-3805 (RC)      Same artist identified on both               X
                                                                                                                                     PX-1751 (RC)                                             certificates
Ex. 2005        Turn Around (5,4,3,2,1)             Flo Rida                                 5572      3262      SR0000672870        PX-7639 (PC)        PA0001745024       PX-5645 (PC)      Same artist identified on both               X
                                                                                                                                     PX-3316 (RC)        PA0001821659       PX-6079 (PC)      certificates
                                                                                                                                                                            PX-1135 (RC)
Ex. 2006        Turn It Off                         Paramore                                 5822      2958      SR0000657157        PX-3450 (RC)        PA0001676905       PX-3954 (RC)      Same artist identified on both               X
                                                                                                                                     PX-7587 (PC)                                             certificates
Ex. 2007        Turn Me Up                          Carly Rae Jepsen                         3835      1771      SR0000738473        PX-2146 (RC)        PA0001842638       PX-2739 (RC)      Same artist identified on both               X
                                                                                                                                     PX-7924 (PC)                           PX-6189 (PC)      certificates
Ex. 2008        Turn On The Lights                  Future                                   1601      3038      SR0000701457        PX-1728 (RC)        PA0001852654       PX-3726 (RC)      Same artist identified on both               X
                                                                                                                                     PX-7734 (PC)                                             certificates
Ex. 2009        Turnin Me On                        Keri Hilson                              4636      2350      SR0000621818        PX-1866 (RC)        PA0001881520       PX-6341 (PC)      Same artist identified on both
                                                                                                                                     PX-7473 (PC)                                             certificates
Ex. 2010        Turning Tables                      Adele                                    712       1921      SR0000673074        PX-1701 (RC)        PA0001734878       PX-2662 (RC)      Same artist identified on both               X
                                                                                                                                     PX-7641 (PC)                           PX-5583 (PC)      certificates
Ex. 2011        Turntables                          Ciara feat. Chris Brown                  1310      1772      SR0000631011        PX-1675 (RC)        PA0001732352       PX-2759 (RC)      Same artist identified on both               X
                                                                                                                                     PX-7508 (PC)                           PX-5551 (PC)      certificates
Ex. 2012        Twisted                             Carrie Underwood                         1166      866       SR0000627157        PX-1670 (RC)        PA0001642854       PX-5221 (PC)      Same artist identified on both               X
                                                                                                                                     PX-7487 (PC)                                             certificates
Ex. 2013        Two Words                           Kanye West                               4610      1977      SR0000347391        PX-7228 (PC)        PA0001292803       PX-4957 (PC)      Same artist identified on both               X
                                                                                                                                                                                              certificates
Ex. 2014        Twork It Out                        Usher                                    655       291       SR0000307207        PX-1551 (RC)        PA0000846613       PX-4371 (PC)      Same artist identified on both               X
                                                                                                                                     PX-7136 (PC)                                             certificates
Ex. 2015        Two-Seater                          Bowling For Soup                         3094      1543      SR0000361081        PX-1597 (RC)        PA0001159775       PX-2597 (other)   Same artist identified on both               X
                                                                                                                                     PX-7260 (PC)                           PX-4875 (PC)      certificates
Ex. 2016        U Dont Know Me (Like U Used To)     Brandy                                   5503      478       SR0000256701        PX-3334 (RC)        PA0000965774       PX-4479 (PC)      Same artist identified on both               X
                                                                                                                                     PX-7040 (PC)                                             certificates
Ex. 2017        U Got It Bad                        Usher                                    657       3075      SR0000307207        PX-1551 (RC)        PA0001248726       PX-4372 (PC)      Same artist identified on both               X
                                                                                                                                     PX-7136 (PC)        PA0000846614                         certificates
Ex. 2018        U Got The Look                      Prince                                   6681      1795      SR0000082403        PX-3313 (RC)        PA0000339613       PX-4203 (PC)      Same artist identified on both
                                                                                                                                     PX-6852 (PC)                                             certificates
Ex. 2019        U Know What's Up                    Donell Jones featuring Left-Eye          3155      2959      PA0001280927        PX-1479 (RC)        PA0001087583       PX-3670 (RC)      Same artist identified on both
                                                                                                                                     PX-4953 (PC)                           PX-8239 (PC)      certificates
Ex. 2020        U Want Me 2                         Sarah McLachlan                          2677      867       SR0000661978        PX-7597 (PC)        PA0001719661       PX-0968 (RC)      Same artist identified on both               X
                                                                                                                                                                            PX-5462 (PC)      certificates
Ex. 2021        Umbrella                            Rihanna                                  5230      2961      SR0000615487        PX-1989 (RC)        PA0001602373       PX-4000 (RC)      Same artist identified on both
                                                                                                                                     PX-7425 (PC)                                             certificates
Ex. 2022        Unconditional Love                  2Pac                                     3537      951       SR0000246223        PX-2404 (RC)        PA0000980713       PX-4496 (PC)      Same artist identified on both               X
                                                                                                                                     PX-7018 (PC)                                             certificates
Ex. 2023        Underdog                            Imagine Dragons                          4373      1187      SR0000707482        PX-2052 (RC)        PA0001816019       PX-2878 (RC)      Same album identified on both                X
                                                                                                                                     PX-7766 (PC)                           PX-6043 (PC)      certificates
Ex. 2024        Undertow (Featuring The Fray &      Timbaland                                5379      170       SR0000411631        n/a                 PA0001779997       PX-4025 (RC)      Same album identified on both                X
                Esthero)                                                                                                                                                    PX-5832 (PC)      certificates
Ex. 2025        Undisputed                          Ludacris                                 4904      171       SR0000620048        PX-1917 (RC)        PA0001707774                         Same artist identified on both
                                                                                                                                     PX-7460 (PC)                           PX-5444 (PC)      certificates
Ex. 2026        Unfortunate                         Trey Songz                               5939      3239      SR0000671697        PX-3298 (RC)        PA0001856240       PX-6248 (PC)      Same artist identified on both               X
                                                                                                                                     PX-7631 (PC)        PA0001787038       PX-1073 (RC)      certificates
                                                                                                                                                                            PX-5878 (PC)
Ex. 2027        Unknown                             Lifehouse                                4835      479       SR0000289389        PX-1904 (RC)        PA0001051656       PX-0643 (RC)      Same artist identified on both               X
                                                                                                                                     PX-7095 (PC)                           PX-4593 (PC)      certificates
Ex. 2028        Unsaveable                          Faith Hill                               6463      1773      SR0000321377        PX-3358 (RC)        PA0001120337       PX-4750 (PC)      Same artist identified on both               X
                                                                                                                                     PX-7165 (PC)                                             certificates
Ex. 2029        Un-thinkable (I'm Ready)            Alicia Keys                              750       353       SR0000752593        PX-1842 (RC)        PA0001666749       PX-5304 (PC)      Same artist identified on both
                                                                                                                                     PX-8129 (PC)                                             certificates
Ex. 2030        until                               Musiq Soulchild                          5786      360       SR0000706644        PX-3435 (RC)        PA0001624579       PX-0847 (RC)                                                   X
                                                                                                                                     PX-7764 (PC)                           PX-5155 (PC)
Ex. 2031        UNTIL IT BREAKS                     Linkin Park                              6586      3115      SR0000708311        PX-3386 (RC)        PA0001840841       PX-3874 (PC)      Same album identified on both                X
                                                                                                                                     PX-7770 (PC)                                             certificates
Ex. 2032        Until The End Of Time               2Pac                                     3538      2963      SR0000295873        PX-2213 (RC)        PA0001053379       PX-4597 (PC)      Same artist identified on both
                                                                                                                                     PX-7106 (PC)                                             certificates

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Cox Submission                 Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)      MC Ex. No.                Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                Part of Same Compilation
Ex. 2033       Unusual (Feat. Drake)                Trey Songz                              5940      3240      SR0000671697        PX-3298 (RC)        PA0001771888       PX-5777 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7631 (PC)        PA0001787047       PX-1076 (RC)   certificates
                                                                                                                                                                           PX-5881 (PC)
Ex. 2034        Unwell                              Matchbox Twenty                         5771      480       SR0000345857        PX-7223 (PC)        PA0001104578       PX-0659 (RC)   Same album identified on both                 X
                                                                                                                                                                           PX-4710 (PC)   certificates
Ex. 2035        Up All Night                        Alex Clare                              3600      1922      SR0000700527        PX-2201 (RC)        PA0001806294       PX-2671 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7729 (PC)                           PX-5955 (PC)   certificates
Ex. 2036        Up In It                            Wiz Khalifa                             5978      3150      SR0000715951        PX-3297 (RC)        PA0001834384       PX-6147 (PC)   Same album identified on both                 X
                                                                                                                                    PX-7809 (PC)        PA0001951620       PX-6515 (PC)   certificates
Ex. 2037        Up Out My Face                      Mariah Carey                            4931      2964      SR0000633779        PX-1927 (RC)        PA0001677862       PX-3901 (RC)   Same album identified on both
                                                                                                                                    PX-8454 (PC)                                          certificates
                                                                                                                                    PX-8455 (PC)
Ex. 2038        Up To You                           Chris Brown                             1265      3116      SR0000679366        PX-1708 (RC)        PA0001750517       PX-5667 (PC)   Same date of first publication                X
                                                                                                                                    PX-7667 (PC)                                          on both certificates
Ex. 2039        Used To                             Daughtry                                1345      1392      SR0000399960        PX-1636 (RC)        PA0001166369       PX-2770 (RC)   Same album identified on both                 X
                                                                                                                                    PX-7367 (PC)                           PX-8277 (PC)   certificates
Ex. 2040        Vacation                            Young Jeezy                             5431      543       SR0000616586        PX-2339 (RC)        PA0001640774       PX-0874 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7430 (PC)                           PX-5210 (PC)   certificates
Ex. 2041        Valentine                           Lloyd                                   4855      2353      SR0000391940        PX-2325 (RC)        PA0001387428       PX-3876 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7344 (PC)                                          certificates
Ex. 2042        Valentine's Day                     Linkin Park                             6587      1544      SR0000406841        PX-3385 (RC)        PA0001167577       PX-8213 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7383 (PC)                                          certificates
Ex. 2043        Velvet Sky                          Los Lonely Boys                         2118      481       SR0000352465        PX-1587 (RC)        PA0001159613       PX-0729 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7238 (PC)                           PX-4858 (PC)   certificates
Ex. 2044        Venus                               Lady Gaga                               4746      868       SR0000737557        PX-1888 (RC)        PA0001893364       PX-8009 (PC)   Same album identified on both                 X
                                                                                                                                    PX-7918 (PC)                                          certificates
Ex. 2045        Vermilion Pt. 2                     Slipknot                                6218      172       SR0000358238        PX-3463 (RC)        PA0001231062       PX-8177 (PC)   Same album identified on both                 X
                                                                                                                                    PX-7253 (PC)                           PX-0792 (RC)   certificates
Ex. 2046        Vertigo (feat. Jordin Sparks)       Jason Derulo                            6539      1774      SR0000763207        PX-7983 (PC)        PA0001896435       PX-6404 (PC)   Same artist identified on both                X
                                                                                                                                    PX-3292 (RC)                                          certificates
Ex. 2047        VICTIMIZED                          Linkin Park                             6588      1545      SR0000708311        PX-7770 (PC)        PA0001805746       PX-2916 (RC)   Same album identified on both                 X
                                                                                                                                    PX-3386 (RC)                           PX-5942 (PC)   certificates
Ex. 2048        Violence Fetish                     Disturbed                               6400      2967      SR0000280324        PX-3353 (RC)        PA0001000622       PX-3505 (RC)   Same artist and album                         X
                                                                                                                                    PX-7186 (PC)                                          identified on both certificates
Ex. 2049        Virginia Bluebell                   Miranda Lambert                         2324      869       SR0000641403        PX-7540 (PC)        PA0001682743       PX-0914 (RC)   Same artist identified on both                X
                                                                                                                                    PX-1681 (RC)                           PX-5334 (PC)   certificates
Ex. 2050        Virginia Moon                       Foo Fighters                            1525      1190      SR0000377762        PX-7304 (PC)        PAu003542317       PX-6619 (PC)   Same album identified on both                 X
                                                                                                                                    PX-1609 (RC)                           PX-2846 (RC)   certificates
Ex. 2051        Vitamin R (Leading Us Along)        Chevelle                                1245      2354      PA0001263996        PX-4947 (PC)        PA0001253726       PX-4092 (PC)   Same artist identified on both
                                                                                                                                                                                          certificates
Ex. 2052        Vixen                               Miguel                                  2258      870       SR0000673073        PX-1700 (RC)        PA0001808680       PX-1110 (RC)   Same artist identified on both                X
                                                                                                                                    PX-7640 (PC)                           PX-5994 (PC)   certificates
Ex. 2053        Voices                              Disturbed                               6401      2968      SR0000280324        PX-7186 (PC)        PA0001000622       PX-3505 (RC)   Same artist identified on both                X
                                                                                                                                    PX-3353 (RC)                                          certificates
Ex. 2054        Void In My Life                     Chamillionaire                          3852      1775      SR0000381901        PX-7316 (PC)        PA0001317550       PX-5002 (PC)   Same artist identified on both                X
                                                                                                                                    PX-2114 (RC)                                          certificates
Ex. 2055        W.T.P.                              Eminem                                  4096      1191      SR0000653572        PX-7573 (PC)        PA0001730966       PX-5520 (PC)   Same artist identified on both                X
                                                                                                                                    PX-2087 (RC)                           PX-3047 (RC)   certificates
Ex. 2056        Wait And Bleed                      Slipknot                                6220      173       SR0000301094        PX-3461 (RC)        PA0001040104       PX-4585 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7118 (PC)                                          certificates
Ex. 2057        Wait For You                        Chris Brown                             1266      1193      SR0000711816        PX-7791 (PC)        PA0001821989       PX-6090 (PC)   Same artist identified on both                X
                                                                                                                                    PX-1742 (RC)                           PX-2754 (RC)   certificates
Ex. 2058        Wait Your Turn                      Rihanna                                 5231      1923      SR0000644571        PX-7558 (PC)        PA0001668381       PX-5310 (PC)   Same artist identified on both                X
                                                                                                                                    PX-1982 (RC)                           PX-3021 (RC)   certificates
Ex. 2059        Waitin' On a Woman                  Brad Paisley                            108       2355      SR0000366007        PX-7274 (PC)        PA0001288292       PX-3582 (RC)   Same artist identified on both                X
                                                                                                                                    PX-1603 (RC)                                          certificates
Ex. 2060        Waiting                             Green Day                               6512      2969      SR0000288352        PX-3368 (RC)        PA0001022884       PX-4547 (PC)   Same artist identified on both                X
                                                                                                                                    PX-7091 (PC)                                          certificates
Ex. 2061        Wake                                Linkin Park                             6589      1546      SR0000406841        PX-3385 (RC)        PA0001167569       PX-8215 (PC)   Same album identified on both                 X
                                                                                                                                    PX-7383 (PC)                           PX-3287 (RC)   certificates

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  RC - Registration Certificate                                                                                           74
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                                                                                               Schedule 1 - Derivative Works with Unique Track Names



Cox Submission              Track                                       Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Same Compilation
Ex. 2062       Wake Me Up When September Ends        Green Day                                6513      2970      SR0000362126        PX-3371 (RC)        PA0001251317       PX-3756 (RC)      Same album identified on both                 X
                                                                                                                                      PX-7264 (PC)                                             certificates
Ex. 2063        Wake Up                              Alicia Keys                              49        294       SR0000346869        PX-7227 (PC)        PA0001158369       PX-4799 (PC)      Same album identified on both                 X
                                                                                                                                      PX-1584 (RC)                           PX-0691 (RC)      certificates
Ex. 2064        Walking Contradiction                Green Day                                6515      2972      SR0000188562        PX-3366 (RC)        PA0000774217       PX-4316 (PC)      Same artist identified on both                X
                                                                                                                                      PX-6956 (PC)                                             certificates
Ex. 2065        Walking Alone                        Green Day                                6514      2971      SR0000244558        PX-3367 (RC)        PA0001059865       PX-4603 (PC)      Same artist identified on both                X
                                                                                                                                      PX-7016 (PC)                                             certificates
Ex. 2066        Waltz #1                             Elliott Smith                            3995      1393      SR0000241677        PX-2223 (RC)        PA0000943575       PX-3196 (RC)      Same artist identified on both                X
                                                                                                                                      PX-7012 (PC)                           PX-4457 (PC)      certificates
Ex. 2067        Wanna Be Close                       Avant                                    3694      1547      SR0000339561        PX-2110 (RC)        PA0001158624       PX-3284 (RC)      Same artist identified on both                X
                                                                                                                                      PX-7203 (PC)                           PX-4817 (PC)      certificates
Ex. 2068        Want                                 Disturbed                                6402      2973      SR0000280324        PX-3353 (RC)        PA0001000622       PX-3505 (RC)      Same artist and album                         X
                                                                                                                                      PX-7186 (PC)                                             identified on both certificates
Ex. 2069        Wanted Is Love                       Phillip Phillips                         5100      1194      SR0000712841        PX-1963 (RC)        PA0001839493       PX-2999 (RC)      Same artist identified on both                X
                                                                                                                                      PX-7795 (PC)                           PX-6163 (PC)      certificates
Ex. 2070        Wanted You More                      Lady Antebellum                          3435      2357      SR0000686145        PX-2256 (RC)        PA0001817205       PX-3826 (RC)      Same artist identified on both
                                                                                                                                      PX-7689 (PC)                                             certificates
Ex. 2071        Warm It Up (With Love)               Brandy                                   1018      354       SR0000622255        PX-1665 (RC)        PA0001624745       PX-0851 (RC)      Same date of first publication                X
                                                                                                                                      PX-7474 (PC)                           PX-5159 (PC)      on both certificates
Ex. 2072        Warning                              Green Day                                6516      2974      SR0000288352        PX-3368 (RC)        PA0001022884       PX-4547 (PC)      Same artist identified on both                X
                                                                                                                                      PX-7091 (PC)                                             certificates
Ex. 2073        Warriors                             M.I.A.                                   4918      1924      SR0000736308        PX-7912 (PC)        PA0001898514       PX-6413 (PC)      Same artist identified on both                X
                                                                                                                                      PX-2327 (RC)                                             certificates
Ex. 2074        Was It Worth It?                     Keyshia Cole                             4650      2013      SR0000615233        PX-7423 (PC)        PA0001603613       PX-5134 (PC)      Same album identified on both                 X
                                                                                                                                      PX-1869 (RC)                                             certificates
Ex. 2075        Wasted Time                          Kings Of Leon                            312       2446      SR0000330401        PX-7184 (PC)        PA0001204540       PX-8202 (PC)      Same artist identified on both                X
                                                                                                                                      PX-1573 (RC)                                             certificates
Ex. 2076        Wasted Years                         Maroon 5                                 4978      1970      SR0000705167        PX-7755 (PC)        PA0001819821       PX-3904 (RC)      Same artist identified on both                X
                                                                                                                                      PX-1928 (RC)                           PX-6068 (PC)      certificates
Ex. 2077        Watch N Learn                        Rihanna                                  5232      2359      SR0000689431        PX-7695 (PC)        PA0001842405       PX-6181 (PC)      Same album identified on both                 X
                                                                                                                                      PX-1980 (RC)                                             certificates
Ex. 2078        Waterfalls                           TLC                                      629       175       SR0000198743        PX-6963 (PC)        PA0000797831       PX-4353 (PC)      Same artist identified on both                X
                                                                                                                                      PX-1413 (RC)                                             certificates
Ex. 2079        Way Out Here                         Josh Thompson                            1932      872       SR0000652025        PX-7569 (PC)        PA0001777804       PX-5818 (PC)      Same artist identified on both                X
                                                                                                                                      PX-1689 (RC)                           PX-1057 (RC)      certificates
Ex. 2080        We Aite (Wake Your Mind Up)          Kid Cudi                                 4683      873       SR0000696989        PX-7708 (PC)        PA0001750006       PX-5661 (PC)      Same album identified on both                 X
                                                                                                                                      PX-2318 (RC)                           PX-1014 (RC)      certificates
Ex. 2081        We All Want Love                     Rihanna                                  5233      1196      SR0000689431        PX-7695 (PC)        PA0001778698       PX-5828 (PC)      Same date of first publication                X
                                                                                                                                      PX-1980 (RC)                           PX-3015 (RC)      on both certificates
Ex. 2082        We Are Broken                        Paramore                                 5823      2975      SR0000631909        PX-3323 (RC)        PA0001595053       PX-3961 (other)   Same artist identified on both                X
                                                                                                                                      PX-7510 (PC)                                             certificates
Ex. 2083        We Are Young (feat. Janelle Monae)   fun.                                     6161      2976      SR0000704930        PX-3416 (RC)        PA0001791456       PX-5908 (PC)      Same artist identified on both                X
                                                                                                                                      PX-7752 (PC)        PA0001811978       PX-1119 (RC)      certificates
Ex. 2084        We Belong To The Music (Featuring    Timbaland                                5380      2361      SR0000411631        n/a                 PA0001780088       PX-4026 (RC)      Same album identified on both                 X
                Miley Cyrus)                                                                                                                                                                   certificates
Ex. 2085        We Can't Stop                        Miley Cyrus                              2268      3041      SR0000726503        PX-7860 (PC)        PA0001870026       PX-6308 (PC)      Same artist identified on both
                                                                                                                                      PX-1775 (RC)                                             certificates
Ex. 2086        We Made You                          Eminem                                   4098      3127      SR0000642488        PX-7551 (PC)        PA0001848047       PX-6204 (PC)      Same artist identified on both                X
                                                                                                                                      PX-2379 (RC)        PA0001706448       PX-5425 (PC)      certificates
                                                                                                                                                          PA0001957226       PX-0937 (RC)
                                                                                                                                                                             PX-6523 (PC)
Ex. 2087        We Owned The Night                   Lady Antebellum                          3436      3149      SR0000686144        PX-7688 (PC)        PA0001817027       PX-3822 (RC)      Same artist identified on both
                                                                                                                                      PX-2257 (RC)                           PX-6049 (PC)      certificates
Ex. 2088        We Were Us                           Keith Urban                              3408      3103      SR0000733375        PX-7899 (PC)        PA0001878243       PX-6330 (PC)      Same artist identified on both                X
                                                                                                                                      PX-1894 (RC)        PA0001947445       PX-6510 (PC)      certificates
                                                                                                                                                                             PX-1220 (RC)
Ex. 2089        Welcome 2 Hell                       Bad Meets Evil                           3716      1395      SR0000678636        PX-2135 (RC)        PA0001808402       PX-5991 (PC)      Same artist identified on both                X
                                                                                                                                      PX-7662 (PC)        PA0001784192       PX-5861 (PC)      certificates


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Cox Submission              Track                                       Artist                  PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                      Part of Same Compilation
Ex. 2090       Welcome Back                           Young Jeezy                               5432      544       SR0000616586        PX-2339 (RC)        PA0001640693       PX-5196 (PC)      Same artist identified on both               X
                                                                                                                                        PX-7430 (PC)                           PX-0860 (RC)      certificates
Ex. 2091        Welcome To Paradise                   Green Day                                 6517      2977      SR0000185457        PX-3365 (RC)        PA0000713967       PX-4281 (PC)      Same artist identified on both               X
                                                                                                                                        PX-6953 (PC)                                             certificates
Ex. 2092        Welcome To The Jungle                 JAY-Z                                     4430      2363      SR0000683714        PX-7680 (PC)        PA0001816412       PX-6045 (PC)      Same artist identified on both               X
                                                                                                                                                                                                 certificates
Ex. 2093        Wet Hot American Summer               Cobra Starship                            6150      295       SR0000657140        PX-3413 (RC)        PA0001662916       PX-5302 (PC)      Same date of first publication               X
                                                                                                                                        PX-7586 (PC)                                             on both certificates
Ex. 2094        Wet The Bed                           Chris Brown feat. Ludacris                1273      900       SR0000679366        PX-1708 (RC)        PA0001883692       PX-6350 (PC)      Same artist identified on both               X
                                                                                                                                        PX-7667 (PC)                           PX-1193 (RC)      certificates
Ex. 2095        What A Shame                          Shinedown                                 5878      545       SR0000673788        PX-3456 (RC)        PA0001601047       PX-5124 (PC)                                                   X
                                                                                                                                        PX-7644 (PC)                           PX-0832 (RC)
Ex. 2096        What About Now                        Daughtry                                  1346      482       SR0000399960        PX-1636 (RC)        PA0001166336       PX-2615 (other)   Same album identified on both                X
                                                                                                                                        PX-7367 (PC)                           PX-8276 (PC)      certificates
Ex. 2097        What About Us?                        Brandy                                    5504      555       SR0000345858        PX-7224 (PC)        PA0001072616       PX-4636 (PC)      Same artist identified on both               X
                                                                                                                                                                                                 certificates
Ex. 2098        What Do You Want                      Avant                                     3695      1548      SR0000308368        PX-2106 (RC)        PA0001087664       PX-3072 (other)   Same artist identified on both               X
                                                                                                                                        PX-7137 (PC)                           PX-4673 (PC)      certificates
Ex. 2099        What Goes Around                      Big Sean                                  3730      1198      SR0000678630        PX-7661 (PC)        PA0001780251       PX-5841 (PC)      Same artist identified on both               X
                                                                                                                                        PX-2134 (RC)                           PX-2721 (RC)      certificates
Ex. 2100        What Goes Around... Comes Around      Justin Timberlake                         3179      2014      SR0000395943        PX-7356 (PC)        PA0001368884       PX-5036 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1630 (RC)                                             certificates
Ex. 2101        What Goes Around.../...Comes Around   Justin Timberlake                         3180      2015      SR0000395943        PX-7356 (PC)        PA0001368884       PX-5036 (PC)      Same artist identified on both               X
                Interlude                                                                                                               PX-1630 (RC)                                             certificates
Ex. 2102        What Happened                         Gretchen Wilson                           1655      2365      PA0001245662        PX-8033 (other)     PA0001227154       PX-3760 (RC)      Same artist identified on both               X
                                                                                                                                        PX-1477 (RC)                           PX-8182 (PC)      certificates
Ex. 2103        What Happened To You?                 Deftones                                  6342      2978      SR0000719493        PX-7824 (PC)        PA0001849262       PX-3495 (RC)      Same artist identified on both               X
                                                                                                                                        PX-3347 (RC)                           PX-3501 (RC)      certificates
Ex. 2104        What I Gotta Do                       Macy Gray                                 4928      1549      SR0000395382        PX-7352 (PC)        PA0001734468       PX-5576 (PC)      Same album identified on both                X
                                                                                                                                        PX-2326 (RC)                           PX-3110 (other)   certificates
Ex. 2105        What I Want                           Daughtry                                  1347      1396      SR0000399960        PX-7367 (PC)        PA0001166370       PX-2771 (RC)      Same album identified on both                X
                                                                                                                                        PX-1636 (RC)                           PX-8278 (PC)      certificates
Ex. 2106        What If                               Jason Derulo                              6540      875       SR0000685175        PX-3380 (RC)        PA0001813212       PX-6021 (PC)      Same artist identified on both               X
                                                                                                                                        PX-7683 (PC)                                             certificates
Ex. 2107        What If I Do?                         Foo Fighters                              1527      1199      SR0000377762        PX-7304 (PC)        PA0001730872       PX-5510 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1609 (RC)                                             certificates
Ex. 2108        What Makes You Beautiful              One Direction                             2404      483       SR0000703645        PX-7737 (PC)        PA0001790417       PX-5904 (PC)                                                   X
                                                                                                                                        PX-1729 (RC)
Ex. 2109        What The Hell                         Avril Lavigne                             769       1778      SR0000670616        PX-7626 (PC)        PA0001785765       PX-5868 (PC)      Same artist identified on both
                                                                                                                                        PX-1240 (RC)                                             certificates
Ex. 2110        What Them Girls Like                  Ludacris                                  4905      177       SR0000617041        PX-7434 (PC)        PA0001620075       PX-5148 (PC)      Same artist identified on both
                                                                                                                                        PX-1918 (RC)                           PX-0843 (RC)      certificates
Ex. 2111        What They Want                        Young Jeezy                               5433      546       SR0000616586        PX-7430 (PC)        PA0001640765       PX-5203 (PC)      Same artist identified on both               X
                                                                                                                                        PX-2339 (RC)                           PX-0867 (RC)      certificates
Ex. 2112        What You Are                          Dave Matthews Band                        203       952       SR0000300313        PX-7115 (PC)        PA0001039325       PX-4579 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1541 (RC)                                             certificates
Ex. 2113        What You Wanna Do                     Lloyd                                     4856      2367      SR0000391940        PX-7344 (PC)        PA0001387432       PX-3881 (RC)      Same artist identified on both               X
                                                                                                                                        PX-2325 (RC)                                             certificates
Ex. 2114        Whatcha Say                           Jason Derulo                              6541      876       SR0000685175        PX-3380 (RC)        PA0001813211       PX-6020 (PC)      Same artist identified on both               X
                                                                                                                                        PX-7683 (PC)                                             certificates
Ex. 2115        Whatever                              Hot Chelle Rae                            1683      2368      SR0000412466        PX-8434 (PC)        PA0001856129       PX-3568 (RC)      Same artist identified on both               X
                                                                                                                                        PX-8435 (PC)                                             certificates
Ex. 2116        What's In It For Me                   Faith Hill                                6465      1779      SR0000276629        PX-7075 (PC)        PA0000976311       PX-4488 (PC)      Same artist identified on both               X
                                                                                                                                                                                                 certificates
Ex. 2117        Wheels                                Foo Fighters                              1528      1200      SR0000636262        PX-7522 (PC)        PA0001705842       PX-5419 (PC)      Same album identified on both                X
                                                                                                                                        PX-1676 (RC)                                             certificates
Ex. 2118        When Girls Telephone Boys             Deftones                                  6343      2979      SR0000335169        PX-7198 (PC)        PA0001157470       PX-3498 (RC)      Same artist identified on both               X
                                                                                                                                                                                                 certificates
Ex. 2119        When I Get Free (Explicit)            2Pac                                      3539      1780      SR0000627960        PX-7491 (PC)        PA0001051889       PX-4595 (PC)      Same artist identified on both               X
                                                                                                                                        PX-2126 (RC)                                             certificates

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Cox Submission                Track                                    Artist                   PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                      Part of Same Compilation
Ex. 2120       When I Grow Up                       Pussycat Dolls                              5130       484       SR0000612860       PX-7405 (PC)        PA0001640788       PX-5216 (PC)      Same date of first publication
                                                                                                                                        PX-1969 (RC)                           PX-0880 (RC)      on both certificates
Ex. 2121        When I Think About Cheatin'         Gretchen Wilson                             1656       2369      PA0001245662       PX-8033 (other)     PA0001227155       PX-3759 (RC)      Same artist identified on both               X
                                                                                                                                        PX-1477 (RC)                           PX-8181 (PC)      certificates
Ex. 2122        When I'm Gone (Acoustic Version)    Simple Plan                                 5906       2022      SR0000686779       PX-3460 (RC)        PA0001644615       PX-5234 (PC)      Same artist identified on both               X
                                                                                                                                        PX-7691 (PC)                                             certificates
Ex. 2123        When I'm With You                   Simple Plan                                 5907       2980      SR0000351060       PX-3457 (RC)        PA0001084656       PX-4010 (RC)      Same artist identified on both               X
                                                                                                                                        PX-7235 (PC)                                             certificates
Ex. 2124        When It Hurts                       Avant                                       3234       296       SR0000649607       PX-7564 (PC)        PA0001621885       PX-5149 (PC)      Same artist identified on both
                                                                                                                                        PX-2189 (RC)                           PX-0844 (RC)      certificates
Ex. 2125        When The Heartache Ends             Rob Thomas                                  5851       179       SR0000373876       PX-3453 (RC)        PA0001161193       PX-4928 (PC)      Same artist identified on both               X
                                                                                                                                        PX-7291 (PC)                           PX-0751 (RC)      certificates
Ex. 2126        When The Music Stops                Eminem                                      4100       326       SR0000317924       PX-7160 (PC)        PA0001073068       PX-4643 (PC)      Same artist identified on both               X
                                                                                                                                        PX-2380 (RC)                           PX-8305 (PC)      certificates
Ex. 2127        When The World Ends                 Dave Matthews Band                          204        954       SR0000300313       PX-7115 (PC)        PA0001046455       PX-4590 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1541 (RC)                                             certificates
Ex. 2128        When U Cry                          SWV                                         339        1550      SR0000249300       PX-7026 (PC)        PA0000884230       PX-4414 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1449 (RC)                                             certificates
Ex. 2129        When U Love Someone                 Kid Rock                                    5680       2371      SR0000622796       PX-3332 (RC)        PA0001638755       PX-3816 (RC)      Same artist identified on both               X
                                                                                                                                        PX-7477 (PC)                                             certificates
Ex. 2130        When You Really Love Someone        Alicia Keys                                 50         180       SR0000346869       PX-7227 (PC)        PA0001158370       PX-4800 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1584 (RC)                           PX-0692 (RC)      certificates
Ex. 2131        When You Touch Me                   Brandy                                      5505       485       SR0000345858       PX-7224 (PC)        PA0001072626       PX-4639 (PC)      Same artist identified on both               X
                                                                                                                                                                               PX-0648 (other)   certificates
Ex. 2132        When You Were Mine                  Lady Antebellum                             3437       2372      SR0000686148       PX-7690 (PC)        PA0001817032       PX-3827 (RC)      Same artist identified on both               X
                                                                                                                                        PX-2196 (RC)                                             certificates
                                                                                                                                        PX-2373 (RC)
Ex. 2133        When You're Gone                    Avril Lavigne                               79         297       SR0000609671       PX-7394 (PC)        PA0001167506       PX-8297 (PC)      Same album identified on both                X
                                                                                                                                        PX-1648 (RC)                           PX-0783 (RC)      certificates
Ex. 2134        Where Did He Go                     Keri Hilson                                 4637       2016      SR0000629123       PX-7497 (PC)        PA0001767261       PX-5760 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1867 (RC)                                             certificates
Ex. 2135        Where Do I Hide                     Nickelback                                  6184       2373      SR0000330446       PX-8003 (PC)        PA0001103821       PX-3925 (RC)      Same artist identified on both               X
                                                                                                                                                                                                 certificates
Ex. 2136        Where Do We Go                      Pitbull Featuring Jamie Foxx                2591       486       SR0000681904       PX-7677 (PC)        PA0001760301       PX-5732 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1713 (RC)                           PX-1040 (RC)      certificates
Ex. 2137        Where Do We Go From Here            Alicia Keys                                 51         298       SR0000627148       PX-7485 (PC)        PA0001590129       PX-5096 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1668 (RC)                           PX-0813 (RC)      certificates
Ex. 2138        Where Have You Been                 Rihanna                                     5237       2457      SR0000689431       PX-7695 (PC)        PA0001801575       PX-4005 (RC)      Same album identified on both                X
                                                                                                                                        PX-1980 (RC)                                             certificates
Ex. 2139        Where The Lines Overlap             Paramore                                    5825       2983      SR0000657157       PX-3450 (RC)        PA0001676905       PX-3954 (RC)      Same album identified on both                X
                                                                                                                                        PX-7587 (PC)                                             certificates
Ex. 2140        Where We Came From                  Phillip Phillips                            5101       1201      SR0000712841       PX-7795 (PC)        PA0001839490       PX-3000 (RC)      Same artist identified on both               X
                                                                                                                                        PX-1963 (RC)                           PX-6161 (PC)      certificates
Ex. 2141        Where Were You (When the World      Alan Jackson                                4          299       SR0000311615       PX-7144 (PC)        PA0001076926       PX-4668 (PC)      Same artist identified on both               X
                Stopped Turning)                                                                                                                                               PX-0652 (RC)      certificates
Ex. 2142        Where Ya Wanna Go                   Black Eyed Peas                             3781       1233      SR0000633584       PX-8452 (PC)        PA0001824684       PX-2727 (RC)      Same date of first publication               X
                                                                                                                                        PX-8453 (PC)                           PX-6108 (PC)      on both certificates
                                                                                                                                        PX-2128 (PC)
Ex. 2143        Where You Are                       Gavin DeGraw                                1617       2374      SR0000412465       PX-8432 (PC)        PA0001763960       PX-3730 (RC)      Same artist identified on both               X
                                                                                                                                        PX-8433 (PC)                                             certificates
Ex. 2144        Whispering                          Alex Clare                                  3602       1926      SR0000700527       PX-7729 (PC)        PA0001806283       PX-5950 (PC)      Same artist identified on both               X
                                                                                                                                        PX-2201 (RC)                           PX-2672 (RC)      certificates
Ex. 2145        White Liar                          Miranda Lambert                             2326       878       SR0000641403       PX-7540 (PC)        PA0001682738       PX-5330 (PC)      Same artist identified on both               X
                                                                                                                                        PX-1681 (RC)                           PX-0911 (RC)      certificates
Ex. 2146        White Teeth Teens                   Lorde                                       4901       300       SR0000732619       PX-7896 (PC)        PA0002007289       PX-6584 (PC)      Same album identified on both                X
                                                                                                                                        PX-1912 (RC)                                             certificates
Ex. 2147        Who Am I Living For?                Katy Perry                                  3384       2985      SR0000695553       PX-7704 (PC)        PA0001753640       PX-5708 (PC)      Same artist identified on both               X
                                                                                                                                        PX-2198 (RC)                                             certificates
Ex. 2148        Who Dat                             Young Jeezy                                 5434       327       SR0000616586       PX-7430 (PC)        PA0001640769       PX-5207 (PC)      Same artist identified on both               X
                                                                                                                                        PX-2339 (RC)                           PX-0871 (RC)      certificates

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  RC - Registration Certificate                                                                                               77
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Cox Submission               Track                                         Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                       Part of Same Compilation
Ex. 2149       Who Gon Stop Me                           JAY-Z                                   4431      2375      SR0000683714        PX-7680 (PC)        PA0001850662       PX-6229 (PC)      Same artist identified on both               X
                                                                                                                                                                                                  certificates
Ex. 2150        Who I Am With You                        Chris Young                             1298      879       SR0000726878        PX-7863 (PC)        PA0001887676       PX-6363 (PC)      Same artist identified on both               X
                                                                                                                                         PX-1776 (RC)                                             certificates
Ex. 2151        Who Is She 2 U                           Brandy                                  5508      3118      SR0000370673        PX-3289 (RC)        PA0001236711       PX-3613 (RC)      Same artist identified on both               X
                                                                                                                                         PX-7283 (PC)        PA0001159573       PX-8174 (PC)      certificates
                                                                                                                                                                                PX-4847 (PC)
Ex. 2152        Who Knows                                Avril Lavigne                           80        1781      SR0000332312        PX-7193 (PC)        PA0001251272       PX-2703 (other)   Same artist identified on both               X
                                                                                                                                         PX-1575 (RC)                                             certificates
Ex. 2153        Who's Gonna Fill Their Shoes             George Jones                            1629      2986      PA0000262395        PX-4190 (PC)        PAu000755785       PX-6598 (PC)      Same artist identified in both
                                                                                                                                                             PA0000264133       PX-8139 (PC)      certificates
                                                                                                                                                             PA0000265526       PX-8222 (PC)
                                                                                                                                                             PA0000258925       PX-4188 (PC)
Ex. 2154        Why Am I the One                         fun.                                    6162      3263      SR0000704930        PX-7752 (PC)        PA0001791456       PX-5908 (PC)      Same artist identified on both               X
                                                                                                                                         PX-3416 (RC)        PA0001810596       PX-6000 (PC)      certificates
                                                                                                                                                                                PX-1115 (RC)
Ex. 2155        Why Didn't You Call Me                   Macy Gray                               2165      1552      SR0000267460        PX-7060 (PC)        PA0000982319       PX-3111 (other)   Same artist identified on both               X
                                                                                                                                         PX-1510 (RC)                           PX-4500 (PC)      certificates
Ex. 2156        Why Don't We Just Dance                  Josh Turner                             4499      880       SR0000635058        PX-7519 (PC)        PA0001689774       PX-5355 (PC)
                                                                                                                                         PX-2063 (RC)
Ex. 2157        Why Don't You Call Me?                   James Blake                             4420      1930      SR0000673339        PX-7643 (PC)        PA0001827815       PX-6118 (PC)      Same artist identified on both               X
                                                                                                                                         PX-2056 (RC)                           PX-2438 (RC)      certificates
Ex. 2158        Why Is It So Hard                        Jennifer Hudson                         1817      181       SR0000674220        PX-7647 (PC)        PA0001738400       PX-5603 (PC)      Same date of first publication               X
                                                                                                                                         PX-1703 (RC)                           PX-1002 (RC)      on both certificates
Ex. 2159        Why They Call It Falling                 Lee Ann Womack                          4795      2988      SR0000281198        PX-7188 (PC)        PA0001032265       PX-3843 (RC)      Same artist identified on both               X
                                                                                                                                         PX-2041 (RC)                                             certificates
Ex. 2160        Why You Up In Here (feat. Ludacris, Git Flo Rida                                 5574      3264      SR0000672870        PX-7639 (PC)        PA0001741641       PX-5626 (PC)      Same artist identified on both               X
                Fresh and Gucci Mane)                                                                                                    PX-3316 (RC)        PA0001821674       PX-6081 (PC)      certificates
                                                                                                                                                                                PX-1137 (RC)
Ex. 2161        Wide Awake                               Jake Owen                               1790      1783      SR0000697851        PX-1721 (RC)        PA0001765708       PX-5757 (PC)      Same date of first publication               X
                                                                                                                                         PX-7714 (PC)                                             on both certificates
Ex. 2162        Wild Ones (feat. Sia)                    Flo Rida                                5575      2376      SR0000754532        PX-3331 (other)     PA0001883945       PX-6352 (PC)      Same artist identified on both               X
                                                                                                                                         PX-7974 (PC)                                             certificates
Ex. 2163        Will Work For Love                       Usher                                   660       182       SR0000620940        PX-1662 (RC)        PA0001658983       PX-5280 (PC)      Same artist identified on both               X
                                                                                                                                         PX-7466 (PC)                           PX-0896 (RC)      certificates
Ex. 2164        Willing To Wait                          Rihanna                                 5238      1202      SR0000372611        PX-7285 (PC)        PA0001328103       PX-3016 (RC)      Same artist identified on both               X
                                                                                                                                                                                PX-5014 (PC)      certificates
Ex. 2165        Wine After Whiskey                       Carrie Underwood                        1173      488       SR0000700157        PX-7728 (PC)        PA0001807696       PX-5973 (PC)      Same artist identified on both               X
                                                                                                                                         PX-1725 (RC)                                             certificates
Ex. 2166        Wipe Your Eyes                           Maroon 5                                4979      2377      SR0000705167        PX-7755 (PC)        PA0001811795       PX-6013 (PC)      Same artist identified on both               X
                                                                                                                                         PX-1928 (RC)                                             certificates
Ex. 2167        With The Lights On                       Jason Derulo                            6542      3193      SR0000763207        PX-3292 (RC)        PA0001924140       PX-3774 (RC)      Same artist identified on both               X
                                                                                                                                         PX-7983 (PC)                           PX-6478 (PC)      certificates
Ex. 2168        With You, Without You                    Brad Paisley                            111       881       SR0000610946        PX-7398 (PC)        PA0001607900       PX-5138 (PC)      Same artist identified on both               X
                                                                                                                                         PX-1650 (RC)                                             certificates
Ex. 2169        Without A Woman                          Trey Songz                              5941      3190      SR0000715080        PX-3296 (RC)        PA0001865872       PX-4036 (RC)      Same artist identified on both               X
                                                                                                                                         PX-7805 (PC)                           PX-6293 (PC)      certificates
Ex. 2170        Without Me                               Eminem                                  4102      1932      SR0000317924        PX-7160 (PC)        PA0001143650       PX-4780 (PC)      Same artist identified on both               X
                                                                                                                                         PX-2380 (RC)                           PX-3194 (RC)      certificates
Ex. 2171        Without You                              Brandy                                  1022      377       SR0000710136        PX-1739 (RC)        PA0001877914       PX-6326 (PC)      Same artist identified on both               X
                                                                                                                                         PX-7785 (PC)                                             certificates
Ex. 2172        Woke Up This Morning                     Nickelback                              6185      2380      SR0000330446        PX-8003 (PC)        PA0001103820       PX-3924 (RC)      Same artist identified on both               X
                                                                                                                                                                                                  certificates
Ex. 2173        Won't Be Lonely Long - On The Road       Josh Thompson                           1933      882       SR0000652025        PX-7569 (PC)        PA0001777801       PX-5816 (PC)      Same artist identified on both               X
                                                                                                                                         PX-1689 (RC)                           PX-1238 (RC)      certificates
Ex. 2174        Word Forward                             Foo Fighters                            1530      1785      SR0000636262        PX-7522 (PC)        PA0001678922       PX-5323 (PC)      Same artist identified on both               X
                                                                                                                                         PX-1676 (RC)                                             certificates
Ex. 2175        Words I Never Said (feat. Skylar Grey)   Lupe Fiasco                             5714      1559      SR0000704469        PX-3291 (RC)        PA0001739113       PX-2917 (RC)      Same artist identified on both               X
                                                                                                                                         PX-7747 (PC)                           PX-5614 (PC)      certificates


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Cox Submission                 Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)       MC Ex. No.                  Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Same Compilation
Ex. 2176       Work Hard, Play Hard                 Wiz Khalifa                             5979       2381      SR0000715951       PX-3297 (RC)        PA0001951615       PX-4080 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7809 (PC)                                             certificates
Ex. 2177        Working Man                         Imagine Dragons                         4374       1205      SR0000706680       PX-2053 (RC)        PA0001840143       PX-2879 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7765 (PC)                           PX-6168 (PC)      certificates
Ex. 2178        Working On A Tan                    Brad Paisley                            976        3130      SR0000680360       PX-1710 (RC)        PA0001742330       PX-5636 (PC)      Same artist identified on both                X
                                                                                                                                    PX-7669 (PC)        PA0002004468       PX-6581 (PC)      certificates
Ex. 2179        Wouldn't Mama Be Proud?             Elliott Smith                           3996       1397      SR0000280584       PX-2085 (RC)        PA0001015788       PX-2804 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7187 (PC)                           PX-4537 (PC)      certificates
Ex. 2180        Wreckless Love                      Alicia Keys                             54         184       SR0000627148       PX-1668 (RC)        PA0001589833       PX-0801 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7485 (PC)                           PX-5086 (PC)      certificates
Ex. 2181        Wth>You                             Linkin Park                             6591       1787      SR0000316952       PX-7155 (PC)        PA0001237298       PX-8168 (PC)      Same artist identified on both                X
                                                                                                                                                                                             certificates
Ex. 2182        Wut We Doin?                        2 Chainz                                3507       2382      SR0000706415       PX-2140 (RC)        PA0001846684       PX-3520 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7763 (PC)                                             certificates
Ex. 2183        www.memory                          Alan Jackson                            5          2992      SR0000289367       PX-7094 (PC)        PA0001013750       PX-3533 (RC)      Same artist identified on both
                                                                                                                                                                                             certificates
Ex. 2184        Y.A.L.A.                            M.I.A.                                  4919       2994      SR0000736309       PX-1924 (RC)        PA0001919078       PX-3894 (RC)      Same artist identified on both
                                                                                                                                    PX-7913 (PC)                                             certificates
Ex. 2185        Yeah!                               Usher                                   359        302       SR0000354784       PX-1591 (RC)        PA0001159089       PX-0703 (RC)      Same artist and album                         X
                                                                                                                                    PX-7243 (PC)                           PX-4829 (PC)      identified on both certificates
Ex. 2186        You (Edited)                        Lloyd                                   4857       2383      SR0000391940       PX-2325 (RC)        PA0001387424       PX-5055 (PC)      Same album identified on both                 X
                                                                                                                                    PX-7344 (PC)                                             certificates
Ex. 2187        You Ain't Right                     Avant                                   3699       1554      SR0000308368       PX-2106 (RC)        PA0001087671       PX-2577 (other)   Same artist identified on both                X
                                                                                                                                    PX-7137 (PC)                           PX-4680 (PC)      certificates
Ex. 2188        You Ain't Seen Country Yet          Josh Thompson                           1934       884       SR0000652025       PX-1689 (RC)        PA0001777803       PX-1056 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7569 (PC)                                             certificates
Ex. 2189        You And I                           Lady Gaga                               4748       885       SR0000678406       PX-1887 (RC)        PA0001751989       PX-1028 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7657 (PC)                           PX-5688 (PC)      certificates
Ex. 2190        You And Me                          The Cranberries                         5334       1968      SR0000264395       PX-2251 (RC)        PA0000968358       PX-2558 (RC)      Same album identified on both                 X
                                                                                                                                    PX-7056 (PC)                           PX-4483 (PC)      certificates
Ex. 2191        You Can't Stop Us Now               Nas                                     5018       378       SR0000614072       PX-1941 (RC)        PA0001396096       PX-5076 (PC)      Same artist identified on both                X
                                                                                                                                    PX-7414 (PC)                                             certificates
Ex. 2192        You Can't Win                       Kelly Clarkson                          1999       2995      SR0000693113       PX-1717 (RC)        PA0001789856       PX-5899 (PC)      Same artist identified on both                X
                                                                                                                                    PX-8462 (PC)                                             certificates
                                                                                                                                    PX-8463 (PC)
Ex. 2193        You Deserve Better                  R. Kelly                                2610       1555      SR0000737848       PX-1807 (RC)        PA0001933962       PX-3003 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7919 (PC)                           PX-6492 (PC)      certificates
Ex. 2194        You Deserve It                      Future                                  1602       3044      SR0000701457       PX-1728 (RC)        PA0001808144       PX-3727 (RC)      Same artist identified on both                X
                                                                                                                                    PX-7734 (PC)                                             certificates
Ex. 2195        You Don't Know                      Eminem                                  4106       1206      SR0000400225       PX-2381 (RC)        PA0001396073       PX-2814 (RC)      Same artist identified on both
                                                                                                                                    PX-7371 (PC)                           PX-5072 (PC)      certificates
Ex. 2196        You Don't Know My Name              Alicia Keys                             55         328       SR0000346869       PX-7227 (PC)        PA0001158217       PX-4794 (PC)      Same artist identified on both                X
                                                                                                                                    PX-1584 (RC)                           PX-0686 (RC)      certificates
Ex. 2197        You Give Me Love                    Faith Hill                              6470       3045      SR0000253752       PX-7036 (PC)        PA0000901849       PX-3711 (RC)      Same album identified on both                 X
                                                                                                                                                                                             certificates
Ex. 2198        You Got Me                          Avant                                   3700       1556      SR0000339561       PX-7203 (PC)        PA0001158628       PX-4820 (PC)      Same artist identified on both                X
                                                                                                                                    PX-2110 (RC)        PA0001208305       PX-8190 (PC)      certificates
Ex. 2199        You Just Need Me                    Trey Songz                              5942       3244      SR0000671697       PX-7631 (PC)        PA0001771889       PX-5778 (PC)      Same artist identified on both                X
                                                                                                                                    PX-3298 (RC)        PA0001787045       PX-5880 (PC)      certificates
                                                                                                                                                                           PX-1075 (RC)
Ex. 2200        You Know What                       Avant                                   3701       3083      SR0000378385       PX-7309 (PC)        PA0001373489       PX-3538 (RC)      Same artist identified on both
                                                                                                                                    PX-2113 (RC)                           PX-5050 (PC)      certificates
Ex. 2201        You Know Where I'm At               Gavin DeGraw                            1618       2385      SR0000412465       PX-8432 (PC)        PA0001763960       PX-3730 (RC)      Same artist identified on both                X
                                                                                                                                    PX-8433 (PC)                                             certificates
Ex. 2202        You Lie                             The Band Perry                          5312       489       SR0000664551       PX-7609 (PC)        PA0001728328       PX-5490 (PC)      Same date of first publication                X
                                                                                                                                    PX-2009 (RC)                           PX-0974 (RC)      on both certificates
Ex. 2203        You Look So Good In Love            George Strait                           4290       2448      SR0000213745       PX-6984 (PC)        PAu000502409       PX-3738 (RC)                                                    X
                                                                                                                                    PX-2229 (RC)                           PX-8408 (PC)
                                                                                                                                                                           PX-8409 (PC)


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Cox Submission                     Track                             Artist                PX-01 # PX-02 #       Reg. No. (SR)         SR Ex. No.        Reg. No. (MC)          MC Ex. No.                Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                  Part of Same Compilation
Ex. 2204       You Love Me                          Kelly Clarkson                         2000      2996      SR0000693113        PX-8462 (PC)        PA0001789870       PX-5901 (PC)       Same album identified on both                X
                                                                                                                                   PX-8463 (PC)                                              certificates
                                                                                                                                   PX-1717 (RC)
Ex. 2205        You Make Me Wanna...                Usher                                  662       309       SR0000257730        PX-7041 (PC)        PA0000893384       PX-4426 (PC)       Same artist identified on both               X
                                                                                                                                   PX-1458 (RC)                                              certificates
Ex. 2206        You Stay With Me                    Faith Hill                             6471      1791      SR0000374377        PX-3359 (RC)        PA0001302582       PX-4990 (PC)       Same artist identified on both               X
                                                                                                                                   PX-7294 (PC)                                              certificates
Ex. 2207        You Will Be Mine                    Faith Hill                             6472      2025      SR0000169102        PX-3360 (RC)        PAu001966658       PX-3714 (RC)                                                    X
                                                                                                                                   PX-6933 (PC)
Ex. 2208        You Won't Be Mine                   Matchbox Twenty                        5772      355       SR0000305708        PX-3431 (RC)        PA0001006950       PX-4513 (PC)       Same album identified on both                X
                                                                                                                                   PX-7130 (PC)                           PX-8366 (PC)       certificates
                                                                                                                                                                          PX-8367 (PC)
                                                                                                                                                                          PX-0637 (RC)
Ex. 2209        Your Heart Is A Muscle              Carly Rae Jepsen                       3837      186       SR0000738473        PX-7924 (PC)        PA0001842646       PX-6192 (PC)       Same artist identified on both               X
                                                                                                                                   PX-2146 (RC)                                              certificates
Ex. 2210        Your Love Is A Lie                  Simple Plan                            5908      2998      SR0000639323        PX-3459 (RC)        PA0001644614       PX-4014 (RC)       Same album identified on both                X
                                                                                                                                   PX-7534 (PC)                                              certificates
Ex. 2211        Your Mama Should've Named You       Luke Bryan                             3452      895       SR0000728445        PX-7876 (PC)        PA0001914393       PX-6449 (PC)       Same album identified on both                X
                Whiskey                                                                                                            PX-1919 (RC)                                              certificates
Ex. 2212        Your Man                            Josh Turner                            4502      490       SR0000386947        PX-7331 (PC)        PA0001163481       PX-8253 (PC)       Same album identified on both                X
                                                                                                                                   PX-2060 (RC)                           PX-0766 (RC)       certificates
Ex. 2213        You're Always On My Mind            SWV                                    340       955       SR0000146905        PX-6921 (PC)        PA0000664031       PX-4257 (PC)       Same artist identified on both               X
                                                                                                                                   PX-1400 (RC)                           PX-8346 (PC)       certificates
                                                                                                                                                                          PX-8347 (PC)
Ex. 2214        You're Never Over                   Eminem                                 4107      1208      SR0000653572        PX-7573 (PC)        PA0001731110       PX-5536 (PC)       Same artist identified on both               X
                                                                                                                                   PX-2087 (RC)                           PX-2815 (RC)       certificates
Ex. 2215        You're Not Alone                    Big Time Rush                          847       1557      SR0000697856        PX-7715 (PC)        PA0001784547       PX-5865 (PC)       Same date of first publication               X
                                                                                                                                   PX-1722 (RC)                                              on both certificates
Ex. 2216        You're Not In On The Joke           Cobra Starship                         6151      893       SR0000657140        PX-3413 (RC)        PA0001875761       PX-6324 (PC)       Same date of first publication               X
                                                                                                                                   PX-7586 (PC)        PA0001662742       PX-1191 (other)    on both certificates
Ex. 2217        You're So Real                      Matchbox Twenty                        5773      185       SR0000345857        PX-7223 (PC)        PA0001104643       PX-4715 (PC)       Same artist identified on both               X
                                                                                                                                                                                             certificates
Ex. 2218        California Waiting                  Kings Of Leon                          309       2405      SR0000330401        PX-7184 (PC)        PA0001204543       PX-8199 (PC)       Same artist identified on both               X
                                                                                                                                   PX-1573 (RC)                                              certificates

Ex. 2219        Round Midnight                      Kenny G                                442       2854      SR0000289898        PX-7098 (PC)        EP0000127232;      n/a                                                             X
                                                                                                                                                       EP0000107653;
                                                                                                                                                       RE0000246069
Ex. 2220        Tonight Tonight                     Hot Chelle Rae                         1682      858       SR0000412466        PX-8434 (PC)        PA0001765703       PX-1049 (RC)                                                    X
                                                                                                                                   PX-8435 (PC)                           PX-5756 (PC)




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